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November 28, 2018

Eva Chavez

Sent via email to: eva11@unm.edu

Re: Investigative Issues (OEO# I-2018-08-43)


Dear Ms. Chavez,

The purpose of this correspondence is to relate to you the evidence before the Office of Equal Opportunity (OEO)
with regard to the above-referenced civil rights claim. Eva Chavez (herein Complainant), Graduate Student, asserts
that she was subjected to Sexual Harassment. Complainant asserts that Nick Flor (herein Respondent), Associate
Professor, Anderson School of Management, subjected her to this form of discrimination.


     I.    APPLICABLE UNIVERSITY GUIDELINES OR POLICIES

               University Policy #2740 Sexual Misconduct

This policy can be found on the UNM Policy Office website at http://policy.unm.edu/university-policies/index.html.

    II.    INVESTIGATION

Jurisdiction and Scope

The University of New Mexico is committed to creating and maintaining a community in which students and
employees can learn and work together in an atmosphere that enhances productivity and draws on the diversity
of its members, and is free from all forms of disrespectful conduct, intimidation, exploitation, and harassment.
The purpose of University Administrative Policy (UAP) 2740 is to guide University officials to take whatever
action is needed to prevent, correct, and when necessary, discipline behavior that violates University policy or
policies.

The OEO is an independent, impartial and neutral campus entity designated to ensure compliance with all
University policies that apply to civil rights including investigations of any allegations of civil rights violations
under UAP Policy 2740. The University prohibits harassment on the basis of sex, gender, race, color, religion,
disability, age, national origin, ancestry and any other characteristic protected under applicable law. When
University faculty, administrators, and supervisors witness or receive a written or oral report or complaint of
discrimination or harassment, they are required to engage in appropriate measures to prevent violations of this
policy and promptly notify the OEO, including notification of any actions taken to achieve informal resolution
of the complaint.

The OEO has sole discretion to determine which specific allegations it will investigate and the manner in which
it will conduct the investigation.1 When investigating an allegation of civil rights violations, the OEO acts as the
finder of fact and prepares an investigative report at the conclusion of the investigation. The OEO has no
sanctioning authority. If the OEO determines a civil rights policy has been violated, the OEO sends the
investigative report to the appropriate sanctioning authority on campus.

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    OEO DCP, Section VII. Procedural Options, D. Formal Investigation, 7. Evidence Gathering.
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Evidence Gathering

The OEO gathers information it deems pertinent to the investigation. Parties to the case may submit any
documentation they believe should be considered, and may identify any witnesses they believe should be
interviewed. The OEO may also identify documents and witnesses not identified by parties to the case if the
OEO determines such documents may be relevant to its investigation or the witnesses may have information
relevant to the investigation. The OEO may also receive information from other University offices as appropriate
or review public sources.

The OEO has sole discretion to determine which witnesses and documentation will be considered, the relevance
of the information to the investigation, and what, if any weight and credibility to assign that information.

The OEO does not have subpoena authority or other authority to compel document production or witness
participation. Document production and witness participation is therefore voluntary; however, the University
strongly encourages all members of the University community to participate in OEO investigations and provide
information when the OEO requests it pursuant to its role as investigator.

III.    INVESTIGATIVE BACKGROUND

The record shows OEO contacted Complainant on July 13, 2018 in regards to a complaint filed against her and met
with Complainant on July 25, 2018 to discuss the allegations against her. At this meeting Complainant reported that
she had been harassed by Respondent and requested to file a formal complaint.

Melissa Valdez-Lopez (herein Valdez-Lopez), EEO Compliance Specialist, was initially assigned the investigation.

Valdez-Lopez informed Complainant about OEO’s investigative procedure, his rights and responsibilities,
confidentiality, and the University’s anti-retaliation policy. Complainant provided a verbal complaint to Valdez-
Lopez on July 25, 2018, naming Respondent. Complainant elected to have a support person present at the meeting.

On August 1, 2018, Complainant was informed OEO accepted jurisdiction of the issues she presented.

On August 3, 2018, Complainant was informed that Ben FitzSimons (herein the investigator), a third-party,
contracted investigator, had been contracted to conduct the investigation. The investigator contacted Complainant
via email on August 10, 2018 and August 14, 2018. Complainant responded on August 14, 2018 and arrangements
were made to speak on the telephone on August 21, 2018.

A draft Confirmation of Allegations was provided to Complainant on August 22, 2018. Complainant noted a number
of revisions in her Confirmation of Allegations and requested an extension of the deadline to provide the revisions.
Complainant was informed any additional information and evidence would be included in the Draft Report. On
September 11, 2018, Complainant confirmed the issues to be investigated via a signed Confirmation of Allegations.

The record shows the investigator contacted Respondent via email on August 10, 2018. Respondent responded on
August 10, 2018 and arrangements were made to speak on the telephone on September 12, 2018.2

The investigator provided Respondent a draft Confirmation of Response on September 25, 2018, and he returned
the Confirmation of Response on September 30, 2018, with revisions. On October 2, 2018, the investigator provided
Respondent with a revised Confirmation of Response, which he signed and returned on October 2, 2018.

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 Note that Respondent also has an active OEO investigation as Complainant and the telephone meeting regarding that claim
occurred on an earlier date.

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Relevant emails, text messages, and information provided by Complainant and Respondent is summarized under
Documentary Evidence. No other witnesses or relevant documentation was identified.

IV.    COMPLAINANT’S STATEMENT

Complainant described the relevant events establishing the basis of this claim as follows (edited):

Sexual Harassment

      Complainant states that she first met Respondent on May 9, 2018.
      Complainant states that approximately 10 years ago her brother had taken an undergraduate course with
       Respondent and suggested that if the opportunity ever presented itself, she should try to take a course with
       him. Complainant states that after meeting Respondent for the first time, she considered taking one of his
       courses in the future, if there were to be a graduate-level option available.
      Complainant states that she sent Respondent an email, via their UNM email accounts, on May 11, 2018 to
       inquire whether he was teaching any graduate-level classes.
      Complainant states she and Respondent began to exchange emails and that on May 13, 2018, Respondent
       suggested they switch to personal email accounts, citing that UNM email could be “spied on.”
      Complainant states that shortly after switching to personal Gmail accounts Respondent began to talk about
       them working together and publishing together. Complainant states that Respondent indicated that he and
       Complainant were best friends. Complainant states that Respondent indicated that they were destined to
       meet.
      Complainant states that she and Respondent created a spreadsheet to track all of the things they were going
       to do together and that they both added entries and updated the list (emailing the revised spreadsheet back
       and forth with the updates).
      Complainant states she does not recall if she asked about a job opportunity or if Respondent originally
       offered, but that on May 21, 2018, Respondent initiated a formal request to hire her as a Project Assistant.
           o Complainant states this communication was sent by Respondent through the University of New
                Mexico's email system to Robin Luann Love, Tammy Cline, and Darlene Trujillo. The budget was
                $703. Complainant states the subject line of the email initiated by Respondent was Need to Hire
                PA for Index Code: 224384.
      Complainant states that on May 23, 2018 she told Respondent she had not consumed alcohol in 18
       months. Complainant states Respondent began indicating to her that he would “get her to drink alcohol
       again”. Complainant states that these types of comments concerned her and raised “red flags” in regards
       to working with an instructor who jokingly (or not) made these types of comments to a student and
       potential PA employee.
      Complainant states that around May 26, 2018 Respondent initiated multiple communications of an explicit
       sexual nature. Complainant states examples include, but are not limited to:
           o An email sent on May 26, 2018 where Respondent told Complainant he wanted to “make love” to
                her at school in his new office. Complainant asserts Respondent indicated he wanted it to happen
                soon, and in real-life. Complainant states she responded that it was not a good idea and asked why
                he wanted to do that. Complainant states Respondent replied, “So when I go into my office I’ll
                always remember you.”
           o An email sent on May 27, 2018 where Respondent stated that he “needed to be deep inside” the
                Complainant "from behind," with a mirror in front of them so he could see himself caressing
                Complainant while he was “lost deep inside” of her. Complaint states Respondent indicated he
                wanted to do this until he could not take it any longer and that he would “risk everything” to
                “explode inside” of Complainant while whispering her name, "Eva...mmm."


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              o  An email sent on June 5, 2018 where Respondent stated to Complainant, "...and we're doing it with
                 no protection because it feels so good and I know I should stop but all I can do is whisper your
                 name over and over 'Eva, mmm...'"
             o An email sent on June 5, 2018 where Respondent stated to Complainant, “Just imagine me on top
                 of you, our bare skin sliding over each other, my mind telling me to stop before I explode, but my
                 body thrusting deeper in you… while I whisper ‘Eva we have to stop…mmm Eva, we have to …
                 mmm Eva.’”
       Complainant states that she was uncomfortable with and did not know how to respond to the Respondent's
        messages of a sexual nature, however, she initially did respond based on the promises he made about
        working together on projects including the offered Project Assistantship, as well as publishing articles and
        books together.
       Complainant states that another reason she responded to Respondent's messages was due to the inherent
        power differential involved because Respondent was an instructor and the supervisor, and Complainant was
        a student and subordinate. Complainant states this element created an awkward and confusing dynamic that
        she felt could possibly hurt her education, employment, future assistantships or job opportunities,
        recommendations for graduate study, promotion, etc. Complainant states she was concerned that "a teacher
        or supervisor can have a decisive influence on a student’s or employee's success and future career at the
        University and beyond” as stated in the University's Policies and Procedures.
       Complainant states she was also fearful that Respondent would retaliate against her if she reported her
        concerns.
       Complainant is unsure of the exact date, but states that she was concerned that the Project Assistantship job
        opportunity was not worth it based on the hours and pay (~4 hours per week for 8 weeks), and due to the
        instructor's messages of an explicit (and implicit) sexual nature. Complainant states she sent Respondent
        an email expressing these concerns.
       Complainant states that after she expressed concerns, Respondent’s communication changed. Complainant
        states that she sent Respondent multiple emails to ask him to talk to her about the job (and other things
        Respondent had suggested, like publishing articles and books together) and that he would not do so.
       Complainant states Respondent eventually told her he was going to spend the $703 on “brain wave
        equipment” instead of the Project Assistantship because “the brain wave equipment opens up many more
        research avenues.”
       Complainant asserts that submission to Respondent’s emails of a sexual nature was an implied condition of
        the Project Assistantship job opportunity and that when she voiced a concern about the job, and working
        with Respondent, she was denied the job opportunity.
       Complainant also asserts that submission to Respondent’s emails of a sexual nature was the intent and basis
        for Respondent offering the Project Assistantship to Complainant.

Retaliation

       Complainant states that on June 24, 2018 at 10:28 am she expressed her intent (to Respondent) to reply
        back to the UNM PA emails screenshots of Respondent’s emails of an explicit sexual nature, and state on
        the email reply, “Has anybody heard from Nick? He sent me the attached correspondence on June 5th, and
        I have not heard much from him since?”
       Complainant states that on June 27, 2018 at 2:31 pm she responded to the same email (mentioned above
        with subject line: Mary Margaret Rogers) and expressed her intent to reply back to the UNM PA emails
        with screenshots of Respondent’s emails of an explicit sexual nature. Complainant asserts in this second
        email she stated, “Just curious as to if you think I’m kidding when I say I am going to go back on that PA
        email and send the screenshots attached and asked if anybody has heard from you?”
       Complainant states that on July 2, 2018 at 8:07 am she expressed her intent to report what she perceived as
        Respondent’s sexual misconduct to Kathryn Jacobson, Associate Dean at the Anderson School of
        Management, stating, “BTW, I’m meeting with Kathryn Jacobson next week…and not on my own volition

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          (nor did I set the meeting up myself, believe it or not) ….it was requested of me…” Complainant states she
          then mentioned, “Wish we could’ve touched based prior to and after you blatantly ignoring me because I’m
          confused as what to say or not say...but I suppose I’ll just take your advice.”
         Complainant states that on July 2, 2018 at 9:56am, Respondent texted, “Please stop communicating with
          me.” Complainant asserts this was the first time Respondent had asked her to stop communicating with
          him.
         Complainant states that on July 2, 2018 at 1:16 pm she received an email titled “Communication Ban and
          Behavioral Expectations” from the Dean of Students office.
         Complainant states that Respondent requested a “Communication Ban” from the Dean of Students office
          because she expressed her intent to report concerns regarding Respondent’s sexual misconduct.
         Complainant states that the action taken by Respondent that initiated the “Communication Ban and
          Behavioral Expectations” correspondence negatively affected her reputation and educational experience at
          the University and, as such, may have negatively affected her educational advancement opportunities at the
          University as well as future employment opportunities at the University.

 V.       RESPONDENT’S STATEMENT

Respondent’s statement (edited):

Sexual Harassment

   •      Respondent states that on or about May 10, 2018 Complainant introduced herself to him in a copy room.
          Respondent states that Complainant said something like, “Hey, are you Nick Flor, my brother had a class
          with you. You’re a great instructor.”
   •      Respondent states he had never met Complainant before.
   •      Respondent states that on May 11, 2018 Complainant sent him an email and that they quickly developed an
          online friendship.
   •      Respondent states that he never met Complainant in person again, that he and Complainant spoke on the
          telephone approximately three (3) times, and that the rest of their communication occurred via email, text
          messages, and social media.
   •      Respondent states that he suggested moving their email conversation to personal email accounts because
          Complainant wanted to gossip about other faculty and she asked where to send the gossip.
   •      Respondent states that Complainant initiated conversations about them working together and that
          Complainant initiated the discussion regarding a possible Project Assistantship.
   •      Respondent states that complainant initiated conversation regarding publishing a report together about
          propaganda in the book 1984. Respondent states that the Project Assistantship offer that he made to
          Complainant would have been paid out of a grant and that publishing is a standard action when working
          under a grant.
   •      Respondent states that they used the nickname “B” for one another, and complainant suggested that it stood
          for “bff”, which she clarified as “best friends forever”, and that they both discussed it.
   •      Respondent states that in her very first e-mail to him, Complainant said they were destined to meet and
          requested to meet and chat. Respondent states that Complainant initiated social topics, including the
          “synchronicity” of their meeting and meeting in past lives, that she frequently referenced the song “Past
          Lives” by Borns, that she stated she was communicating with him in the past using the number 3:33.
          Respondent states that he initially started to believe her but ultimately did not, and Respondent states that
          is one of the key reasons he ended their relationship.



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   •    Respondent states that Complainant initiated and created a spreadsheet to track things they had planned to
        do together, that she demanded that he add to it, and that they both added to it.
   •    Respondent states that he told Complainant he would get her to drink again “once a day” after she stated
        she had not consumed alcohol in 18 months, but that he had previously told her he liked only one drink a
        day to relax, and that he made it clear to her that the statement was a joke and that he was not going to get
        her drinking again; he did not say anything like it again after Complainant indicated she was serious.
   •    Respondent states that although he made the first comments of an explicitly sexual nature, Complainant
        initiated the sexual communication. As examples, Respondent states that Complainant told him “cuddling”
        was better than swimming when discussing ways to ease her chronic pain on May 24, 2018 and that
        Complainant kept a conversation on May 25, 2018 focused on “romance” after he attempted to redirect it.
   •    Respondent states that all communication of a sexual nature was consensual (based on Complainant’s
        responses and interaction) and that Complainant encouraged Respondent to tell “romantic stories.”
        Respondent also states that Complainant indicated she wanted to have “lots of” sex with him to remove her
        pain.
   •    Respondent states that Complainant never expressed that she was concerned about the communication of a
        sexual nature and that she never asked him to stop communicating in that manner.
   •    Respondent states that the only concern that Complainant voiced was that the Project Assistantship was not
        enough hours to be worth it to her so she ultimately turned it down.
   •    Respondent denies that submission to emails of a sexual nature was an implied condition of the Project
        Assistantship job opportunity and that when Complainant voiced a concern about working with Respondent,
        she was denied the job opportunity.
   •    Respondent denies that submission to communication of a sexual nature was the intent and basis for
        Respondent offering the Project Assistantship to Complainant.

Retaliation

   •    Respondent states that Complainant never expressed to him that she perceived their sexual communication
        as harassing or misconduct.
   •    Respondent states that after he expressed to Complainant that he could not be her close friend or have a
        romantic relationship with her, and that after he liked a tweet from a former female student on Twitter, that
        Complainant threatened to forward their prior sexual communication to multiple individuals at the
        University. Respondent states these threats did not express that Complainant felt the communication was
        harassment or misconduct, rather that Complainant was angry that Respondent would no longer engage in
        the behavior and wanted revenge, and that Complainant stated she was willing to lie to get revenge.
   •    Respondent states that he did not request the stop contact email from the Dean of Students office; the office
        offered to send the email after viewing text messages that Complainant sent to Respondent.




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VI.       OTHER EVIDENCE

Documentary Evidence3:

         The investigator reviewed 5476 emails4 and 185 text messages exchanged between May 11, 2018 and July
          2, 2018.
         Data:
               o Complainant sent 3258 emails.
               o Respondent sent 2218 emails.
               o Complainant and Respondent both initiated and responded to the other's emails.
               o Complainant sent 174 text messages.
               o Respondent sent 11 text messages.
               o 203 emails of an implicit and explicit sexual nature were exchanged, ranging from exchanges of
                   romantic or love-based songs to graphic descriptions of sexual intercourse.5
               o Complainant sent 134 emails of an implicit or explicit sexual nature.
               o Respondent sent 69 emails of an implicit or explicit sexual nature.
         Email initiated by Complainant dated May 11, 2018 (titled “2018 Fall Grad Courses" sent at 5:08 am),
          references first email communication and Complainant indicating their meeting “was likely meant to
          happen.” Exhibit A1.
         Email initiated by Complainant dated May 11, 2018 (titled “2018 Fall Grad Courses" sent at 6:06 pm),
          references Complainant telling Respondent "I’m not one of your grad students though..." after asking what
          Respondent would like to be called and Respondent indicating what students call him. Exhibit B1.
         Email initiated by Complainant dated May 12, 2018 (titled “Car Accident" sent at 8:36 pm), references
          Complainant stating she was on a “healing journey” and “can not find anyone to help me heal.” Also
          references that Complainant has video footage she took on public buses and a suggestion that she and
          Respondent could collaborate on a project using the footage. Exhibit C1.
         Email from Respondent dated May 13, 2018 (titled "18-year old Bitcoin millionaire" sent at 9:53 am),
          references Respondent stating " haha no, everything on UNM e-mail can be spied on! Send them to google
          hangouts chat or e-mail (professorf@gmail.com)" in response to Complainant stating she was going to send
          cryptic messages about "all the hidden insights I know about faculty members ha!" Exhibit D1.
         Email from Complainant dated May 14, 2018 (titled “Sweet dreams….” sent at 2:14 pm), references
          Complainant suggesting that they should “tentatively plan a GA in future times.” Exhibit E1.
         Email initiated by Complainant dated May 14, 2018 (titled “Xfiles. GP.IMG_4767.jpg” sent at 10:59 pm)
          references an image with a male UNM instructor and a woman; the woman’s left breast is circled and the
          man’s pubic area is circled. Exhibit F1.
         Email from Respondent dated May 17, 2018 (titled “Synchronicity & Hummingbirds too” sent at 4:48 am),
          references Respondent telling Complainant that they were "probably meant to do something great together"
          and references Complainant responding affirmatively at 10:27 am, stating “we shall definitely do something
          great together…. and there's not a doubt in my mind that we were meant to cross paths…." This exhibit
          reflects the broader context of communication at this point in time. Exhibit G1.
         Email initiated by Complainant dated May 17, 2018 (titled “When is your birthdate?” sent at 11:09 am),
          references Complainant requesting Respondent’s birthdate so she can “see what the secret language says”
          about their birthdates. Exhibit H1.

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  All correspondence noted in this section is between Complainant and Respondent, except when indicated. The volume of
correspondence is such that every relevant email is not noted in this list. Some emails are noted because of their specific
content; others are noted to reflect a broader pattern of communication. Emails that reflect a pattern are noted as such.
4
  A small number of emails were duplicates so the number of unique items is closer to 5400.
5
  Not all songs exchanged were romantic or love-based, but some that were became points of romantic or sexual
conversation.

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          Email from Complainant dated May 17, 2018 (titled “Omg this is immediate stress” sent at 12:35 pm),
           references Complainant indicating she wanted to email Respondent regarding “GA stuff.” Exhibit I1.
          Email initiated by Respondent dated May 17, 2018 (titled “Re: GA”), references (Exhibit J1):
                o Respondent informing Complainant that he may have an assistantship opening the following
                    semester if grant money comes through and indicating that if Complainant was willing to learn and
                    perform analytics he may be able to hire her. (4:10 pm)
                o Complainant indicating that she already had an assistantship for the following semester and asking
                    if Respondent had any funding for the summer “even if it is a few hours per week.” (4:14 pm)
                o Respondent indicating it would be “awesome” if they could study “viral spreading of information
                    on twitter” and stating that he may have some summer funding. (4:24 pm)
                o Complainant indicating that she wanted to work for Flor as a "PA/GA" (i.e. project or graduate
                    assistant) over the summer “even if it’s like 10 hrs per week or whatever” and that they should
                    “definitely make it happen.” (4:31 pm)
          Email initiated by Complainant dated May 17, 2018 (titled “Borns – past lives” sent at 8:12 pm), references
           Complainant sending a song with love-based or romantic lyrics. Also, response from Respondent at 8:14
           pm, references Respondent's affirmative response to the song and stating that Complainant is "magical or
           something." Exhibit K1.
          Email from Respondent dated May 18, 2018 (titled "WR theories" sent at 8:57 am), references Respondent
           stating that he was determining whether Complainant had a "significant other" and Complainant responding
           that he could have just asked her. Exhibit L1.
          Email initiated by Complainant dated May 18, 2018 (titled "PA $" sent at 2:44 pm), references Complainant
           asking Respondent if he'll be able to arrange a summer assistantship. Exhibit M1.
          Email initiated by Complainant dated May 18, 2018 (titled "Die Young – Sylvan Esso sent at 9:33 pm),
           references Complainant sending a song with love-based or romantic lyrics. Also response from Respondent
           at 10:12 pm that the song is about them and Complainant's affirmative response at 10:15 pm. Exhibit N1.
          Email initiated by Respondent dated May 18, 2018 (titled "Some news, but only $703"), references (Exhibit
           O1):
                o Respondent informing Complainant that he only has $703 left in his grant that could be applied to
                    an assistantship (4:55 pm)
                o Complainant replying that she would take it and that she wouldn't be upset or disappointed if it
                    didn't work out, that she wasn't "worried about the $ or amounts per se, but anything helps…", and
                    "35 hours for 7 weeks is fine if that's all there's availability for...." (May 19, 2018 at 1:58 am)
          Emails initiated by Complainant, references Complainant sending "love horoscopes" for their birth signs
           (Exhibit P1)6:
                o Dated May 19, 2018 (titled "Horoscopes 05/19/18" sent at 10:10 pm), asked Respondent for his
                    thoughts. Complainant sent horoscopes unrelated to love at 3:33 am as well.
                o Dated May 22, 2018 (titled "Horoscopes 05/22/18" sent at 10:41 pm).
                o Dated May 25, 2018 (titled "Aries 005/25/18" sent at 7:48 am).
                o Dated May 26, 2018 (titled "Horoscope 05/26/18" sent at 10:21 pm), implicitly referred to herself
                    as the "lover" in the horoscope.
                o Dated June 5, 2018 (titled "Horoscopes 06/05/18" sent at 3:27 pm), asked Respondent for his
                    thoughts. Respondent responded with sexual content. Complainant replied with sexual content.
                o Dated June 6, 2018 (titled "Horoscope 06/06/18" sent at 2:37 pm).
                o Dated June 9, 2018 (titled "Horoscopes 06/09/18" sent at 10:53 pm), asked Respondent for his
                    thoughts.
                o Dated June 10, 2018 (titled "More horoscopes 06/10/18" sent at 10:25 pm), asked Respondent for
                    his thoughts.


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    Respondent also initiated emails with non-romantic daily horoscopes. These were not catalogued for the investigation.

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      Email from Complainant on May 19, 2018 (titled "Some news, but only $703" sent at 2:30 pm), references
       Complainant stating, "the synchronicity keeps happening... and is strong..." Exhibit Q1.
      Email from Respondent on May 19, 2018 (titled "Horoscopes 5/19/18" sent at 5:57 pm), references
       Respondent offering a pact to work together at 5:45 pm and Complainant responding by offering a
       "friendship pact" at 5:55 pm, and Respondent agreeing at 5:57 pm. Exhibit R1.
      Email from Complainant on May 19, 2018 (titled "JB Files" sent at 6:14 pm), references Complainant
       stating that Respondent's love of playing the guitar is "WAY too synchronous" and that the "synchronicity
       here runs WAY to DEEP" as well as that it "just kinda went to another stratosphere buddy." Exhibit S1.
      Email initiated by Complainant on May 20, 2018 (titled "All about an Eva…" sent at 12:06 pm), references
       Complainant telling Respondent that "the synchronicity [of their meeting] is real." This exhibit reflects the
       broader context of communication at this point in time, with both parties indicating their meeting was
       "synchronous." To this point Complainant has stated on multiple occasions things like "all of these
       synchronicities are real" and that the universe had them meet; Respondent has agreed. Exhibit T1.
      Email from Respondent on May 20, 2018 (titled "Immortal Man" sent at 3:03 pm), references Respondent
       telling Complainant that she is his "new bestie." At 3:08 pm Complainant states the Respondent is her "new
       bestie" as well. Exhibit U1.
      Email from Complainant on May 20, 2018 (titled "Hey, I'll respond" sent at 6:28 pm), references
       Complainant indicating she will create a checklist of things they will do together and send it to Respondent.
       This is completed in the email titled "Task List: Important" sent on May 20, 2018 at 11:20 pm. Exhibit V1.
      Email from Respondent on May 21, 2018 (titled " Need to Hire PA for Index Code: 224384" sent at 1:42
       pm), references Respondent sending an official UNM email to initiate an assistantship for Complainant.
       Exhibit W1.
      Email from Respondent on May 21, 2018 (titled "2018 Mid-Year Investment Outlook…Facebook Co-
       Founder Chris Hughes on Fighting Inequality…Taking China’s Stock Market Global" sent at 3:38 pm),
       references Complainant asking what "B" stands for (Respondent has begun to call her that) and Respondent
       responding "Bestie, Buddie and all the other good B-words". Exhibit X1.
      Email thread on May 21, 2018 (titled "The Big Spank – Velvet Cheeks," references (Exhibit Y1):
            o Complainant stating that Respondent massaging her back (to try to relieve chronic pain) would be
                "desperately helpful" but could be "misunderstood", Complainant then stating "Yet perhaps
                anything misconstrued could also be an inevitability... not sure." (7:31 pm)
            o Respondent responding, "Well if it helps relieve your pain, who cares what others think is
                inappropriate!" (7:40 pm)
            o Complainant responding, "Very true. What do you think is appropriate?" (7:55 pm)
            o Respondent responding, "Anything that helps relieve you of pain!" (8:03 pm)
            o Complainant responding, "Anything?" 8:10 pm)
            o Respondent responding, "Yep!" (8:21 pm)
      Email initiated by Complainant on May 21, 2018 (titled "past lives // borns lyrics" sent at 11:29 pm),
       references Complainant stating, " I do feel like we’ve met before and I do feel like you can understand
       and/or at least communicate with me and *get* my sense of humor.... better than most ..." Also references
       Respondent responding at 5:15 am " lol that song's about me and you." Exhibit Z1.
      Email from Respondent on May 22, 2018 (titled "Dr Wayne Dyer Interviews Abraham Hicks – interview"
       sent at 8:30 pm), references Respondent telling Complainant "I wish I was there to caress the pain away"
       when she mentions her chronic back pain. Exhibit A2.
      Email from Respondent on May 23, 2018 (titled "past lives//borns" sent at 8:17 am), references Respondent
       asking Complainant to continue sending songs. Exhibit B2.
      Email from Complainant on May 23, 2018 (titled "I cried 😢" sent at 7:40 pm), references Complainant
       expressing that she is upset because Respondent referred to an individual who channels spirits as "cray
       cray" and that she does not " understand why your scientific mind is trying so hard to be skeptical about
       my life and day to day existence....." Also references Respondent responding at 9:10 pm that he does not
       feel their meeting was coincidence and that "It's like we've been drawn together finally, after ages of looking

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       for each other. And you've been doing all these things in the past and collecting information for me and to
       prove to me this connection is real. And finally, I didn't tell you this, but you're constantly on my mind.
       Like I'm supposed to do something important with you, and this is my last chance. Anyway, that probably
       doesn't make sense but it's what's on my mind." Exhibit C2.
      Email from Respondent on May 24, 2018 (titled "More 'Eva' stuff everywhere lmao" sent at 4:55 pm),
       references Respondent indicating he and Complainant were "probably passionate lovers" in a past life in
       answer to an email he sent on May 23, 2018 where he stated "I wonder what we were in our past lives."
       Exhibit D2.
      Email from Respondent dated May 24, 2018 (titled "Man does not remember…" sent at 5:10 pm),
       references Respondent stating that "all your songs relate to us in some way." Exhibit E2.
      Email from Complainant dated May 24, 2018 (titled "The Emails – Holographic" sent at 6:45 pm),
       references Complainant reminding Respondent that she is not one of his students. Exhibit F2.
      Email thread dated May 24, 2018 (titled "Wordcloud"), references Exhibit G2:
            o Complainant telling Respondent that she does not like using swimming pools (in response to
                Respondent suggesting she use swimming to ease her chronic back pain) but that "cuddles, healing
                vibes, and caring intuition" would help her pain. (6:38 pm)
            o Respondent responding, "when you tell me you're in pain, I just want to cuddle you and stroke you
                hair and caress you to sleep" (6:44 pm)
            o Complainant responding, "Cuddling is one of my all-time favorite past-times" (8:15 pm)
            o Respondent responding, "Can I caress your hair and kiss you on the neck too?"
            o Complainant responding, "Perhaps.......If/when the timing is right? And, If that leads to something
                more?" (8:50 pm)
            o Respondent responding, "it will be the most romantic thing we've ever experienced, hopefully
                under a crescent moon." (9:05 pm)
      Email thread dated May 24, 2018 (titled "Everybody is playing their parts…"), references the broader
       context of the conversation at this point, with both parties participating in flirtatious language (Exhibit
       H2):
            o Complainant initiating email to say "And you and I met for a reasons…No doubt!" (May 23, 2018
                at 12:43 am)
            o Respondent responding, "It's true! We were meant to get together and do something." (May 23 at
                8:07 am)
            o Complainant responding, "what do you want to get together and do ? lol." (5:04 am)
            o Respondent responding, "Everything!" (4:51 pm)
            o Complainant responding, "EVERYTHING?? Are you sure??!" (7:56 pm)
            o Respondent responding, "If it's what you need. Everything. Cuddling and all." (8:14 pm)
            o Complainant responding, "'Everything. Cuddling...And ALL?” (8:44 pm)
            o Respondent responding, "all and more!" (8:46 pm)
            o Complainant responding, "You’ll have to tell me more about this sometime.....I want to know!!!"
                (9:20 pm)
            o Respondent responding, "It's slow and excruciatingly romantic." (9:24 pm)
            o Complainant responding, "Excruciatingly romantic? Sounds great, now you must tell me more!!
                Do tell." (9:37 pm)
      Email from Respondent on May 25, 2018 (titled "Breathing" sent at 5:17 am), references Complainant
       telling Respondent that she was having difficulty breathing and him responding that she should "take a hot
       shower, that usually helps with the breathing (and imagine me in the shower with you too :-)" Exhibit I2.
      Email thread on May 25, 2018 (titled "Aries 005/25/18"), references the broader context of the conversation
       at this point, with both parties participating in escalating flirtatious language (Exhibit J2):
            o Complainant sending a "love horoscope" and saying she needs to rest. (7:47 am)
            o Respondent responding, "Okay babe, but you'd better rest and stop typing." (8:48 am)



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           o   Respondent responding again, "That horoscope makes me want to make sweet love to you right
               now. But get your rest!" (9:01 am)
           o Complainant responding, " You calling me’ babe’ .......totally makes me feel a certain
               way...😍💜☯️" (9:14 am)
           o Respondent responding, "Sorry I typed all that romantic stuff and distracted you. You have me
               feeling a certain way too. I'm not sure how it happened, but it feel so right." (9:20 am)
           o Complainant responding, "easy does it, and I really do want (and need) your friendship and support
               long-term.... so whatever we can do over-time to maintain that... " (9:36 am)
           o Respondent responding, "I think we did a lot of romance in our past lives. Let's focus in this life on
               doing great things (book, research, etc)!!!" (2:26 pm)
           o Complainant responding, "So, no romance in the lifetime then? After you have me all feeling a
               certain way...Romance, sounds a bit more comforting than a book and research atm, but we’ll do
               Great things indeed...." (3:49 pm)
      Email initiated by Complainant on May 25, 2018 (titled "Scorpio daily 05/25/18"), references the broader
       context of the conversation at this point, with both parties participating in sexual language (Exhibit K2):
           o Complainant telling Respondent "Also, you calling me babe, and the though of you making sweet
               love to me....it sparked something inside of me...And got me all feeling a certain way (all woozy
               like) .... " and "there is my truth for today... everything I tell You is my truth, but thinking of you
               (in this way) is definitely what’s on my mind today...." (4:29 pm)
           o Complainant telling Respondent "I want to tell you all my secrets and show you all my magic, and
               explore all sorts of magical realms that you cannot even imagine or comprehend, yet......" (4:38
               pm)
           o Respondent responding, "I'd love for you to tell me how I'm making you feel." (5:47 pm)
           o Complainant responding, " .....Sopping wet, hot and bothered, a bit woozy, Super distracted,
               passionate and intense, and pretty confused.....✨🔥🌊💦💧💦🌊🔥💫 I cannot even think
               straight...." (8:57 pm)
           o Respondent responding, " … the best part is I'm going to slowly thrust in you while kissing you all
               over, but I'll stop right before you explode in ecstasy, kiss you passionately, then bring you to the
               edge again and again…" (9:13 pm)
           o Complainant responding, " Oh, and btw, in #PlanetEva realms....💜 I’m not quite sure ‘me
               exploding in ecstasy’ is the best or most accurate depiction,,...☯️ instead....Perhaps ...More like a
               gushing and ever-flowing and omni/present wonderful, powerful, intense, and Magical waterfall...
               🔥🌊💦💧💦🌊🔥💫" and "So, perhaps in your own imagining it is you that will be ‘exploding in
               ecstasy’ so to speaks..... as you passionately rub, touch, caresses, and slowly kiss... ...attempting to
               bring me to the edge... again ...and again...and again.... and again...." (11:11 pm)
           o Respondent responding, "I love how you describe it! And imagine 73 hours straight of me cuddling,
               caressing, kissing, and doing *everything* to your exhausted, overexcited body over and over…"
               (May 26, 2018 at 5:15 am)
           o Complainant responding, " Yes, I can imagine it....Can you though? that’s the question � Plus,
               when are we going to get 73 hours?......I have some deep-seated theories on how to eventually help
               and fix my neck and back....But they are layered, intricate, detailed, and intimate..........It’ll take
               lots of time though, since it took 33 years for me to get this way and it’s a deep-seeded mess....Lots
               of lovemaking." (May 26, 2018 at 7:07 am)
      Email from Complainant on May 25, 2018 (titled "Fahrenheit 451"), references the broader context of the
       conversation at this point, with both parties participating in sexual language (Exhibit L2):
           o Complainant asking respondent how it happened that he called her "babe" and stating, "And yes, it
               really did make me a feel a certain way when you called me that." (8:27 pm)
           o Respondent responding "I'll whisper it in your ear while we're making love and you're in ecstasy"
               (8:30 pm)


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           o    Complainant responding, "Yeah....Stuff Like, ...you whispering my name, in my ear........followed
                by how much you like it ....And how good it makes you feel.... ☯️" (10:19 pm)
           o Respondent responding, "… and me teasing you and not letting you gush with ecstasy until you
                admit that you love me … then as you moan it I'll whisper in your ear 'mmm eva' as you overflow
                and release your magic waterfall (better?)" (May 26, 2018 at 5:08 am)
           o Complainant responding, " Yes, better ☯️" and "Also, you may whisper a lot more than just 'mmm
                eva.'" (May 26, 2018 at 6:57 am)
           o Respondent responding, "Now I'm going to have a hard time working as I imagine sliding
                deliciously in you over and over while you moan and I kiss you & whisper in your ear about how
                good you feel" (May 26, 2018 at 7:07 am)
           o Complainant responding, "Ecstasy is never frustrating, is it ? Even wreathing in anticipatory and
                delicious ecstasy sounds nice....BUT WAIT.... I almost just missed this other message below about
                you deliciously, slowly, and ever so intimately sliding inside of me....So we can both feel every
                intense sensation along with it.... both moaning in pleasure....You may not be even tell me or
                whisper on my ear how it makes you feel.... Might be a bit surprisingly and overwhelming....Too
                much ✨🔥🌊💧💦💧🌊🔥💫 Even without the waterfalls powerfully flowing and activated..." (May
                26, 2018 at 7:31 am)
      Email from Complainant on May 26, 2018 (titled "How will I get work done?" sent at 7:55 am), references
       Complainant stating that she is "yearning to eventually test my theories, over time....." (referring to the
       theory that requires "lots of lovemaking" to ease her chronic pain). Exhibit M2.
      Email from Complainant on May 26, 2018 (titled "Where did my buddy go" sent at 8:21 am), references
       Complainant asking where the "romantic, kind, and sweet nick" went, expressing that she is mad at Twitter
       for "sending your romantic feelings out the door!!!" and that she does not like it when Twitter upsets the
       Respondent and his "romantic vibe slips away." Exhibit N2.
      Email from Complainant on May 26, 2018 (titled "Totally worn out" sent at 7:42 pm), references
       Complainant telling Respondent to" Reread the one about my theories... Of how we can heal me..," Exhibit
       O2.
      Email from Complainant on May 26, 2018 (titled "Magical Waterfall" sent at 9:38 pm), references
       Complainant telling Respondent that she is "super sensual and sexual and passionately intense and I don’t
       you were understanding how sopping wet you were making me (or that I could be ) with all your romantic
       stories ... and sometimes it makes me want to gush all over," and that she can "gush" and stop whenever
       she wants to and that she can "gush for infinity or at least for days," and she asks if Flor copy and paste her
       theory into a new email and "let me know if that’s something you think you’ll be able to help me with and
       that we should work on." Also references Complainant sending a follow-up email sent at 9:38 pm where
       she states, "I do think it can eventually heal me though....My theory...." Exhibit P2.
      Email initiated Complainant on May 26, 2018 (titled "Where are you??" sent at 10:05 pm), references
       Complainant stating, "Send me a story!!!" Exhibit Q2.
      Email from Complainant on May 26, 2018 (titled "Oops" sent at 10:26 pm), references Complainant stating,
       "Send me more stories to wake up to and I need to know your response to the theory." Exhibit R2.
      Email from Complainant on May 26, 2018 (titled "You sent me stories?" sent at 10:30 pm), references
       Complainant stating, "Send me stories !!" Exhibit S2.
      Email from Respondent on May 26, 2018 (titled "Theory" sent at 10:54 pm), references Complainant asking
       Respondent for a response to her theory and asking " I want to know if you’re willing to help me in those
       ways and what you think of my theory." Also references Respondent responding, "I want to make love to
       you in RL [real life] Eva, and I'll do anything you need to help you with your theory." Exhibit T2.
      Email from Complainant on May 26, 2018 (titled "You have me feeling a certain way" sent at 10:57 pm),
       references Complainant responding to one of Respondent's sexual messages by saying, "I imagine you deep
       inside me, but I keep pushing you out with how 💦💧💦 I am and it keeps blowing your mind because you
       cannot understand what’s happening because you have experienced what I’m saying in such a way before...
       in your lifetimes.....And you keep wanting more and more and more....Trying to get to the source of all

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       waterfalls .,.And even when you think you may have found it... your not quite there yet....And I do know if
       we’ll get there... but if we ever do something magical will Happen that neither of us can even begin to
       imagine yet..." Exhibit U2.
      Email initiated by Complainant on May 27, 2018 (titled "💜" sent at 8:37 am), references Complainant
       initiating sexual communication. Also references Complainant stating on May 28, 2018 at 5:38 pm, " Why
       do I want to FEEL every inch of you DEEP inside of me, (as close and as deep as you can possibly get) and
       still pull you in closer to me in hot, wet, delicious ecstasy??!" Exhibit V2.
      Email thread from May 27, 2018 (titled "Hugs…" sent at 10:52 am), references conversation regarding
       making love in Respondent's office. Exhibit W2.
      Email initiated by Complainant on May 27, 2018 (titled "Mixing and Melding" sent at 11:49 am), references
       Complainant sending artful images of a man and woman engaged sexually. Exhibit X2.
      Email initiated by Complainant on May 27, 2018 (titled "Heat is literally radiating" sent at 11:55 am),
       references Complainant stating that "I’m so hot for you ..." Exhibit Y2.
      Email initiated by Complainant on May 27, 2018 (titled "Every email that's not from you …"), references
       the broader context of the conversation at this point, with both parties still participating in sexual language
       (Exhibit Z2):
             o Respondent stating, " mmm eva, I want to explode deep inside you and mix my flow with yours…"
                 (11:20 am)
             o Complainant responding, " Mmmmmm Re: mixing your flow with mine 😮🤗😳 🌊💦💧💦🌊."
                 (11:24 am)
             o Respondent responding, " so risky but you feel sooo good that I can't stop myself and I pull you in
                 deep and explode in you over and over" (11:27 am)
             o Complainant responding, "And I want it... so bad..." (11:28 am)
             o Respondent responding, "Can you just imagine our flows mixing inside you, mmm so risky but so
                 deliciously sensual that we can't stop ourselves." (11:30 am)
             o Complainant responding, "I can imagine it too well....But you CANNOT imagine how wet you just
                 got me right now... you simply cannot....,..I’m so swollen and wet for you... Plus, I’m becoming
                 ultra-sensitive to top it off........And imagining ‘us’ - ‘mixing inside of me,’ as I gush all over You
                 (pushing you out while tightening around you) as we Magically melt, dissolve and Ebb and Flow
                 together as ONE consciousness �😶😮☯️ #Magic" (11:36 am)
             o Complainant responding again, " I’ve never wanted that so badly... ☯️.....�....But I want it now,
                 with YOU" (11:51 am)
             o Complainant responding again not to overlook her previous comment. (May 28, 2016 at 5:16 pm)
             o Respondent responding that he will stop sending romantic stories. (May 28, 2018 at 5:21 pm)
             o Complainant responding that Respondent misread her email and that she does not want him to stop.
                 (May 28, 2018 at 5:26 pm)
             o Complainant responding again that she wants what Respondent has described with him. (May 28,
                 2018 at 5:30 pm)
      Email initiated by Complainant on May 27, 2018 (titled "Still Our Song?" sent at 11:17 pm), references
       Complainant referring to a song she sent to Respondent as their song. Also referencing Respondent
       agreeing on May 28 at 5:03 am. Exhibit A3.
      Email initiated by Complainant on May 28, 2018 (titled "'stocking' NVF; #Unfollow, lolnotLol" sent at
       10:50 am), references Complainant seeing that Respondent "liked" a "tweet" from someone whom she does
       not like (based on the content of the person's "tweets" and the person's appearance) and expressing her
       unhappiness that Respondent "liked" it. Exhibit B3.
      Email initiated by Complainant on May 28, 2018 (titled "Messages" sent at 10:45 am), references
       Complainant expressing that she is unhappy that Respondent has not responded to all of the emails she has
       sent. Also references Respondent responding at 12:13 pm that he has been busy working on a presentation
       he will be delivering at a conference. Exhibit C3.


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      Email initiated by Complainant on May 28, 2018 (titled "Maybe it's just my imagination" sent at 12:59 pm),
       references Complainant telling Respondent she sent 33 messages that Respondent has not replied to and
       that he seems too busy to care. Exhibit D3.
      Email from Complainant on May 28, 2018 (titled "I think I'm caught up…" sent at 5:08 pm), references
       Complainant responding to Respondent after he has stated that she can ask for romantic stories, "But I'll
       want MORE!!! And MORE ….and MORE…." Exhibit E3.
      Email initiated by Complainant on May 28, 2018 (titled "Oh and btw"), references (Exhibit F3):
            o Complainant stating, "You got me all 💦💧💦 again with all your messages...Like through my
                clothing again and stuff and no caresses…Why do you keep doing that?" (6:28 pm)
            o Respondent responding, "You are so deliciously sexy, that's why. Please tell me I'm the only one
                that's made you this way over and over and over again." (6:51 pm)
            o Complainant responding, " Yes, over and over and over and over again..." and " Please tell me *I’m
                the only one way that’s made you feel ‘this way’ over and over and over and over again..." (6:59
                pm)
            o Complainant responding again, " Plus, I’ve already told you that I’ve never wanted ‘that’ so badly
                <what you keep describing to me in such vivid details>...And I do not know why I want ‘that’ with
                YOU now..." 7:02 pm)
            o Respondent responding, " I know, and all this doubt, just makes me want to lose myself in you even
                more and whisper your name and how delicious you are over and over , and how you're turning me
                on beyond my power to resist … mmm Eva nooo" (7:03 pm)
            o Complainant responding, " So I’m not the only one that makes you feel ‘this way’ and ‘that way’
                then? Hmmm. Haha" (7:09 pm)
            o Complainant responding again, " And yes, I do have this ‘doubt’ ...About what you are telling
                me,.." (7:12 pm)
            o Complainant responding again, " And WHY do keep saying, 'mmmm Eva nooo,' I’d rather hear
                you say, 'mmmm Eva wow yesss! Yesss! Don’t stop.' <over and over and over again> As you
                encourage me on ...< and then beg and plead for more>.......Because there is more....There’s always
                more...🔥💦💧💦🔥" (7:18 pm)
      Email initiated by Complainant on May 29, 2018 (titled "Summer GA" sent at 6:33 am), references
       Complainant requesting that Respondent communicate with administrative staff regarding the assistantship.
       Exhibit G3.
      Email from Complainant on May 29, 2018 (titled "Diagram…" sent at 11:06 pm), references Complainant
       responding to a diagram Respondent made, "This is adorable and sexy that you did this..." and again on
       May 30, 2018 at 12:47 am "Not sure why it’s sexy to me, lol 😝 .... picturing you doing this... but it is"
       Exhibit H3.
      Email from Respondent on June 1, 2018 (titled "Good morning!" sent at 4:57 am), references Respondent
       expressing excitement about his research. Exhibit I3.
      Email initiated by Complainant on June 1, 2018 (titled "Annoyed" sent at 8:32 pm), references Complainant
       indicating she is annoyed because she does not feel like Respondent is reading any of her emails. Exhibit
       J3.
      Email initiated by Complainant on June 1, 2018 (titled "Emails and time delays etc" sent at 9:44 pm),
       references Complainant indicating she is annoyed because she does not feel like Respondent is reading or
       providing good responses to any of her emails, stating "#Ridiculous #unfollow #youAreReillyWhite".
       Exhibit K3.
      Email thread on June 2, 2018 (titled "Believe it or not"), references the broader context of the conversation
       at this point, with Respondent responding less frequently and Complainant expressing discontent (Exhibit
       L3):
            o Respondent telling Complainant, in response to her indication that she couldn't sleep (Complainant
                has indicated she has a toe injury that is painful), "Hang in there B! Imagine me tickling your toes
                hahaha" (7:37 am)

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           o     Complainant responding, "Doesn’t sound sexy, nor comfortable lol" (8:07 am)
           o     Respondent responding, "haha but your in pain, so I can't tell romantic stories during pain." (8:27
                 am)
            o Complainant responding, "Hey, it’s okay if you don’t like me anymore and think I’m difficult to
                 communicate with, but you don’t have to make up silly stories about why no romantic stories while
                 in pain ;) ha! Dork. Probably the only thing that would help actually... lol not lol." 8:41 am)
      Email initiated by Respondent on June 3, 2018 (titled "But please realize…" sent at 5:24 am), references
       Respondent telling Complainant that he has a lot of work to do and may not be able to respond immediately
       to her emails. Exhibit M3.
      Email initiated by Complainant on June 3, 2018 (titled "I care…." Sent at 5:26 pm), references Complainant
       indicating that Respondent is not like professors she has complained about to him and that "I’ve never had
       a class with you, I’m not your student." Also references Complainant indicating at 1:26 pm that she cares
       about Respondent and at 1:29 pm asking him, "Just don’t hurt me, or break my heart... pls...💔 I beg of
       you.......as you’ve done in past lifetimes.... apparently..." Exhibit N3.
      Email from Complainant on June 3, 2018 (titled "My toe 😥" sent at 8:49 pm), references Complaint stating,
       in reference to her injured toe, "I wish I could just rest my toe on your chest.... I meant rest my head on
       your chest 😉🤓 Although resting my foot on your chest in such a strategic (and romantic) way could also
       be helpful..., can you picture it?" Exhibit O3.
      Email initiated by Complainant on June 4, 2018 (titled "Fahrenheit 451 – Overall thoughts" sent at 1:52
       am), references Complainant beginning a discussion about the book and related her and Respondent to two
       of the characters, stating, "Yet, in our past lives though B, this is NO DOUBT us...." and "...I wonder if we
       make love in the book, I currently do not recall ..." Exhibit P3.
      Email from Complainant on June 4, 2018 (titled "My toe 😥" sent at 9:48 pm), references Complaint asking
       Respondent again "Can you picture it though?" Also references Respondent responding, "LOL @ pressing
       your toes into my chest!" and Complainant responding, "Can you picture it? I can imagine it...." Exhibit
       Q3.
      Email from Complainant on June 4, 2018 (titled "The Cycles – 28 days." sent at 10:24 pm), references
       Complainant stating, after Respondent has referred to her as babe, "(I love you you [sic] call me babe too,
       btw) 😍like I told you before, it really makes me feel certain ways." Exhibit R3.
      Email initiated by Complainant on June 4, 2018 (titled "Pls just send me a few" sent at 11:47 pm), references
       Complainant asking Respondent to send her a few messages between 8:11 and 11:11 am the next day so
       that she can wake up to them. Exhibit S3.
      Email thread on June 5, 2018 (titled "👎🏻👎🏻👎🏻" and then changed by Complainant to"👍🏼👍🏼👍🏼"), references
       (Exhibit T3):
            o Complainant stating, "i'm fine if you're romantic stories do not come to pass...." and "i also know
                 that i enjoy your 'romantic stories' and they do make me feel certain ways....." (8:06 am)
            o Respondent responding, "And imagining is more fun anyways!" (11:44 am)
            o Complainant responding, "You think so?? �Perhaps in some cases�😇 Not necessarily all though
                 😉" (11:48 am)
            o Respondent responding, "Like when I' whispering 'mmm Eva…' over and over in your ear?" (11:54
                 am)
            o Complainant responding, "Yes, exactly... like those times! 😍 Do you think imagining will be more
                 fun?!" (11:57 am)
            o Complainant responding again, "And now I'm wet again…" (11:58 am)
            o Respondent responding, "… and we're doing it with no protection because it feels so good and I
                 know I should stop but all I can do is whisper your name over and over 'Eva, mmm'" (12:02 pm)
            o Complainant responding, "Yes, but of course.....Because it’s meant to be....😉 I can now feel heat
                 emanating off my head and body... almost instantly,.. 🔥 🔥 🔥" (12:05 pm)


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           o   Complainant responding again, "Babe, You won’t be able to stop once you feel me....I wish you
               would understand that...." (12:07 pm)
           o Complainant responding again:
                    "N: “Eva, mmmm, Eva..... WHY are you so slipping, sopping, splashing wet??!!!
                      E: “I’m not yet, but you’re getting me that way, mmmm, Nick! Don’t stop, keep going!” 😉
                      N: “mmm, but you’re soooo wet. I want so much more....”
                      E: “oh, trust me babe, there’s always more!” 😉
                      You’ll be like licking your lips in pleasure.... either that or licking my lips in pleasure... 😉"
                      (12:25 pm)
           o Respondent responding, "Just imagine me on top of you, our bare skin sliding over each other, my
               mind telling me to stop before I explode, but my body thrusting deeper in you… while I whisper
               'no Eva we have to stop… mmm Eva, we have to … mmm Eva'" (12:29 pm)
           o Respondent responding, "Okay gotta get back to work, but you said to send you good vibes. That
               was it. Feeling better?" (12:30 pm)
           o Complainant responding, "Mmmmmm soooo much better! But also sooo 💦💧💦" (12:32 pm)
           o Complainant responding again, "I can imagine this so clearly 😍" and "Only thing is... I do not
               think you can imagine how sopping wet we will both be, slipping and sliding all over each other
               with Eva’s magical slip and slide natural fountain juices all over the place ... And yes, thank you
               for the delicious vibes... you have no idea how you’ve got me feeling in my exhaustion even...."
               (12:39 pm)
      Email initiated by Complainant on June 5, 2018 (titled "Our past lives song" sent at 11:16 pm), references
       Complainant indicating that the song "Past Lives" by Borns is their song. Exhibit U3.
      Additional mail threads on June 5, 2018 (titled ""But like….," "Nick's Flower's and Fountain," "5:05," "You
       okay though?," "Running Back to You," "I think I caught up and responded to," " 💦💧💦💧💦💧💦💧💦,"
       "Horoscopes 06/05/18," and "Hm? Text"), reference additional sexual communication and the last day that
       Respondent sends any sexual content, implicit or explicit. Exhibit V3.
      Email on June 6, 2018 (titled "Eva Chavez PA Contract"), references administrative staff following up
       regarding the assistantship details, Complainant offering to chat with respondent regarding the assistantship
       and suggesting 17 hours in one pay period and 17 hours in the next, Respondent responding that he suggest
       4 weeks of 8 hours and that "this gives room for feedback and changes," and Complainant responding that
       she does not understand what he means by "feedback and changes" and that his time suggestion matches
       hers and they should chat about it. Exhibit W3.
      Email initiated by Complainant on June 7, 2018 (titled "Plus,"), references (Exhibit X3):
           o Complainant expressing that Respondent was "not in romantic or communicative moods
               anyway....and also felt very far away." (12:30 pm)
           o Respondent responding, "Ya, just exhausted. Not very romantic when tired!!! (5:52 pm)
           o Complainant responding, "yeah you weren't very nice nor romantic either…" (June 8, 2018 at 5:19
               am)
           o Respondent responding, "haha sorry! But it's a feeling and when I'm tired or I'm in research mode,
               I'm in a different mindset." (June 8, 2018 at 5:48 am)
           o Complainant responds, "Yeah but your totally disregarding me or my mindset... and a lot of what
               you skimmed over too..." (June 8, 2018 at 5:52 am)
           o Respondent responds, "I understand. And will do what I can to help!" (June 8, 2018 at 9:59 am)
           o Complainant responding, "How can you help me though B?" June 8, 2018 at 1:27 pm)
           o Respondent responding, "First, by understanding (eventually), second by giving hopefully helpful
               advice" (June 8, 2018 at 4:19 pm)
      Emails on June 7, 2018 (titled "Good morning!," " Same page 📝," "Aren't you happy …," "I should've just
       stayed bedridden"), reference Respondent replying to Complainant expressing that she is unhappy with his



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       lack of responses by saying that his schedule is busy and that the evenings are a better time for him to
       respond. Exhibit Y3.
      Email from Complainant on June 8, 2018 (titled "Good morning!" sent at 6:43 am), references Respondent
       explaining a research idea and suggesting that they co-author a paper on it, and Complainant stating that
       she loves the idea and that "it actually kinda terms [sic] me on a bit researching flowers reproducing lol"
       Exhibit Z3.
      Email from Complainant on June 8, 2018 (titled "Anyways" sent at 1:28 pm), references Complainant
       responding to Respondent's statement that they are friends and will work through misunderstandings by
       stating that there is a problem with their friendship. Exhibit A4.
      Email initiated by Complainant on June 8, 2018 (Titled "Fyi" sent at 2:00 pm), references Complainant
       stating, "I think I lot of those messages and rambles o [I] sent earlier may require more of a response than
       what you briefly gave, thx though" Exhibit B4.
      Email thread on June 9, 2018 (titled "Disaster of a day"), references (Exhibit C4):
            o Complainant stating, "Just to clear things up and clear up your confusion - I typically want a
                response to EVERYTHING!!!" and "No babe wtf!!! I want responses! I 💯 want responses to
                everything or else I would not waste my damn time with it all!" (3:04 am)
            o Complainant wondering if their relationship is different than the friendship she had with Reilly
                White (which ended with him telling her he could not communicate with her any longer) and
                clarifying "other than that it’s more complex and I feel VERY different towards you." (3:04 am)
            o Respondent telling Complainant that he can't respond immediately to her emails, that she "messages
                a lot", that "Maybe we can't be super close friends like it started to be in the beginning, and maybe
                yes it was because it was a new experience for both of us (and that numerology you showed me
                was pretty convincing about things not being a coincidence). But now that I'm beginning to
                understand the pain you're in and the end-of-cycles, maybe that's not the kind of friend you need"
                and that "Anyway, different topic: Re: research assistantship: 8 hours, four weeks, diagram the
                flower reproductive ecosystem (pollen birds, bees), co-author paper. Shall we do it? That would be
                fun." (6:00 am)
            o Complainant responding that she does not understand the "circumstances" that make it so
                Respondent can't respond to her emails and, as it relates to the offer of the assistantship, "I do not
                think we should do it (for various reasons) … mainly because I truly valued our friendship that
                much more, but now I’m wondering where our friendship even stands based off your responses to
                me… but I did not want to complicate things and how much I appreciate you, for such a small
                amount of money and hours when I already know for I fact I will work WAY more than 8 hours
                per week and already have, and I do not want to be bamboozled either, and I wanted more so to
                maintain our friendship…… " Also Complainant indicating she would like work with Respondent
                outside of the University and that "I want to work with you, and I want to help you. And I do think
                we kind of NEED to work together, for various and different reasons as well. (7:27 am)
      Email initiated by Complainant on June 9, 2018 (titled "Inbox" sent at 6:40 pm), references Complainant
       indicating she misses receiving messages from Respondent and mentioning again, as it relates to
       Respondent's research idea, "I also wasn’t kidding that it kind of turns me on, when I said that in my
       message the other day." Exhibit D4.
      Email from Respondent on June 9, 2018 (titled "Horoscopes 06/09/18" sent at 8:34 pm), references
       Respondent telling Complainant, after she has asked if he will acknowledge or respond to her earlier emails,
       that he will respond to some but not all of them. Exhibit E4.
      Email initiated by Complainant on June 9, 2018 (titled "I missed your messages" sent at 8:54 pm),
       references Complainant expressing that she misses receiving messages from Respondent. Exhibit F4.
      Email initiated by Complainant on June 9, 2018 (titled "Angus and Julia Stone - The Wedding Song" sent
       at 9:41 pm), references Complainant sending a link to a song and stating "Don't worry, it's not about me,
       or you, or 'us'...you've already killed all the romance... 'completely' ;) <it's gone> :/" Exhibit G4.


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      Email from Complainant on June 10, 2018 (titled "Angus and Julia Stone - The Wedding Song" sent at 7:43
       am), references Complainant stating, "Yeah, at least you still like her voice even though you’ve killed all
       things romantic lol" Exhibit H4.
      Email from Complainant on June 10, 2018 (titled "Running Back to You" sent at 2:40 pm), references
       Complainant responding that Respondent does not remember the song she forwarded, "Probably because
       you’ve killed romance. So you just straight over looked it!" Exhibit I4.
      Email from Complainant on June 10, 2018 (titled "IMPORTANT: TASKLIST" sent at 3:02 pm), references
       Complainant indicating "I’m also a bit annoyed you haven’t or cannot make time to chat about propaganda
       or PA-ship or working together or anything...And if you’re just going to take that angry email of mine at
       face value (the response to your points 0-5, that made me angry and respond reactively and abruptly), and
       not talk about it or clear-up any confusions on what I was telling you, or discuss possibilities of working
       together.... then you truly don’t get me." Exhibit J4.
      Email from Complainant on June 11, 2018 (titled "Eva Chavez PA Contract" sent at 2:30 am), references
       Complainant stating that maybe they could still do the assistantship but that they needed to discuss if it
       would still work. Exhibit K4.
      Email from Respondent on June 11, 2018 (titled "IMPORTANT: TASKLIST" sent at 8:36 am), references
       Respondent responding to Complainant that she indicated the assistantship was not a good idea and that he
       was going to use the money to buy brainwave equipment instead, also that they could still work on the other
       personal projects they discussed. Exhibit L4.
      Email from Complainant on June 11, 2018 (titled "Saturday Sun" sent at 2:30 pm), references Complainant
       indicating she is 5'7"-5'9" tall (in response to Respondent asking how tall she was) and that "I suppose it’s
       a good thing that I think high heels are incredibly foolish, and that for some reasons you have killed the art
       of Romance, Lol not lol" Exhibit M4.
      Email initiated by Complainant on June 11, 2018 (titled "So what do you have against" sent at 3:17 pm),
       references Complainant stating, "So what do you have against chatting with me, just curious..." Exhibit
       N4.
      Email from Complainant on June 11, 2018 (titled "IMPORTANT: TASKLIST" sent at 10:58 pm),
       references Complainant expressing that Respondent was wrong to assume she did not want the assistantship
       and that she is offended he would think that. Exhibit O4.
      Email from Complainant on June 11, 2018 (titled "1984 & Fahrenheit 451" sent at 11:11 pm), references
       Complainant expressing that her feelings are hurt by Respondent seeming to back out of personal projects
       they had discussed and stating that "the only reason i said we should not do the PA ship is because i did not
       understand the whole 8 hours thing and i have never worked on anything for less than 8 hours in a day more
       or less a week and i did not want to get bamboozled when i would literally be immersing myself into it...."
       Exhibit P4.
      Email from Respondent on June 12, 2018 (titled "Eva's Summer Hours" sent at 8:13 am), references
       Respondent responding to a request for information regarding the assistantship and informing the
       University that he decided to use the grant money for equipment and that he had already informed the
       Complainant. Exhibit Q4.
      Email from Respondent on June 12, 2018 (titled "1984 & Fahrenheit 451" sent at 6:49 pm), references
       Respondent stating the way he recalled events was that he asked Complainant if she "wanted to do 8 hours
       a week, for four weeks, on the process of flower reproduction. And you said you no. Which is fine." Also
       referencing Respondent stating that he "should be a real friend, not a romantic friend." Exhibit R4.
      Email from Complainant on June 12, 2018 (titled "1984 & Fahrenheit 451" sent at 8:30 pm), references
       Complainant responding to Respondent's previous email that she "begged" Respondent to talk about the
       assistantship and that he decided to move on without any discussion with her. Also references Complainant
       stating, "And just some insight for you; it is not really those broken promises and your short email responses
       that kept me going…(nor the broken friendship promises). In actuality, it was instead the idea of a ‘romantic
       friend,’ and the sparks of those thoughts (that came out of nowhere), and a lot of those aspects that I had
       not thought about or felt in a while…that kept me going..." and "In the process, you helped me realize that

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       is the type of friend I actually need, more so a 'romantic friend' or person...or at least someone who can
       grasp me (PlanetEva) in those aspects" Exhibit S4.
      Email initiated by Complainant on June 17, 2018 (titled "Your messages" sent at 4:34 pm), references
       Complainant expressing to Respondent that she misses hearing from him. Exhibit T4.
      Email initiated by Complainant on June 20, 2018 (titled "3:33 thoughts and well wishes" sent on June 20,
       2018 at 3:33 pm), references Complainant stating, "I hope you're writing is coming well. I’m not doing the
       best, and I’m tired of living through this; the pain, the facades of others, false friendships, words and
       promises empty and holding no meaning.....I do not want to live through any of it any longer." Also
       references Respondent responding on June 21, 2018 at 7:14 am, "Yep, going well. I just had to run analytics
       on this #solar, that's the part that's taking a long time. It's based on a revision of a paper I had done earlier
       on how to spread scientific information virally" and Complainant responding "glad things are going so well
       for you and you're just going to disregard anything about me and my desperate pleas and suicidal nature of
       literally not wanting to deal with any of this anymore....THANKS FRIEND! KINDA RUDE OF YOU! But
       hip hip hooray for you and glad it's going so well!!" on June 21, 2018 at 8:16 am. Exhibit U4.
      Email initiated by Complainant on June 21, 2018 (titled "These flowers though! 😍" sent at 9:06 pm),
       references Complainant sending Respondent images of flowers that she saw during the day. Also references
       the broader context of the conversation on June 21, 2018, with Complainant sending alternating emails
       expressing anger at Respondent for not following through on his promises and song lyrics and updates
       about her day. Exhibit V4.
      Email from Complainant on June 22, 2018 (titled "Re: Catch" sent at 1:50 am), references Complainant
       expressing her anger that Respondent followed up on an earlier agreement to play catch by suggesting that
       they throw a football next time they see each other at the Anderson School of Management rather than
       throwing a baseball at a park away from the campus. Also references Complainant stating that Respondent
       was "the one that first called me babe, and lover, and all sorts of things, and asked if you could kiss my
       neck while caressing my back; and a whole series of other intimate aspects and empty promises; and then
       you are just going to randomly pretend like none of [it] happened and send me this ridiculous couple line
       email and tell me you want to be my 'real friend' now when you never treated me as a 'real friend' nor even
       responded to any of my commentary WHATSOEVER in regards to anything of that or why you tried to
       pull back and pretend non[e] of it happened it the first place, and like if we were actually 'real friends' as
       you claim to be?" and " I did not really see you as the type of person to behave in such ways and manners,
       but i would truly appreciate more of a response in regards to all of this." Exhibit W4.
      Emails initiated by Complainant on June 24, 2018 (titled "Mary Margaret Rogers" and "'Man on Pause'"),
       reference Complainant threatening to send clips of earlier communication of a sexual nature composed by
       Respondent to the department chair and administrative staff if Respondent does not respond to her.
       Specifically, "Imagine me replying to those UNM PA-ship emails (with all those ladies included) and say,
       'Has anybody heard from Nick? He sent me the attached correspondence on June 5th, and I have not heard
       much from him since?' I do not know what any of those ladies’ faces look like (as I have not met them in
       person yet, other than Robin and her intense black eye that one time)….Nonetheless, even though I do not
       know what their faces look like, it’s still fun to picture and imagine what their faces would look like if I
       were to send them those screenshots (attached) with that short message through the UNM email," and "I
       think you’ll be alarmed once I actually do what I say I was going to do in that email, to the ladies on the
       PA-ship email, simply to prove a point in regards to your non-responses as well as ignoring my messages'"
       and "I’m likely going to have to tell him [Raul Gouvea] that I sent you all those messages, screenshots and
       videos of him because as of right now, that’s really the only thing you could hold against me; and he is my
       friend so I would rather just be honest with him as to what I did and why I did it, and also so that you do
       not have anything to hold against me...." Exhibit X4.
      Email initiated by Complainant on June 25, 2018 (titled "We need to chat" sent at 11:00 am), references
       Complainant sending a screenshot of a phone call she made to Respondent and stating, "And if you are not
       going to have any respect at all to respond to my messages, then please return my phone calls, because I
       will continue to contact you until all of this is addressed.... and if you continue to avoid me and my

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       messages, I will just have to address it all directly with Mary Margaret Rogers because trust me, it will be
       addressed!" Exhibit Y4.
      Text messages sent by Complainant beginning on June 25, 2018 through July 2, 2018, reference
       Complainant threatening to send clips of earlier communication of a sexual nature composed by Respondent
       to various individuals at the University if Respondent does not respond to her. Exhibit Z4.
      Email initiated by Respondent on June 26, 2018 (titled "Got your text" sent at 7:08 am), references
       Respondent stating, "Yo Eva, got your message. Well here's the thing, at the end of the semester, when we
       first started communicating, I had a lot of free time, but after my MIT presentation many research
       opportunities opened up so I've been focusing on my research — that and a new online course, which has
       to be completed by July. Bottom line: these things have to get done over the summer, so I don't have a lot
       of free time anymore. I'll be minimizing my time on all communications and social media until I finish. But
       I will get to your messages eventually. Stay well." Exhibit A5.
      Email initiated by Complainant on June 27, 2018 (titled "Just curious though…." sent at 10:41 pm),
       references sending Complainant stating, "You want me to just continue heckling you until I do things that
       you would not believe I would do based off how you’ve acted and treated me..... ? Just go ahead and respond
       to that and it would be great ... the more you do not respond, the more it will continue to become an issue....
       like I already told you...." Exhibit B5.
      Email initiated by Complainant on June 28, 2018 (titled "You, and your cousin too" sent at 6:40 am),
       references Complainant stating, "I suppose I’ll await to see if or how you respond to me.,,, (and all my
       countless messages and direct questions that you have not responded to) before I ignorantly and carelessly
       forward any emails on....or create and send new ones to people I should not be sending those emails to
       under these conditions...." Also at 3:49 pm, Complainant stating, "Just want to make sure that you received
       this, that you understand the importance of it, as well as the fact that I do indeed expect a response from
       you. If you do not respond I’ll either forward it on or written [sic] it for Mary Margaret Rogers, Kathryn
       Jacobson, Craig White and/or whoever else needs to address it since you are not addressing it responding
       to any of it" Exhibit C5.
      Email initiated by Complainant on June 29, 2018 (titled “Fw: The 'Cool People' Club,” sent to Respondent’s
       UNM email address at 6:33 am), references Complainant stating, "and in reality, next week i will look back
       on this all and laugh and think 'wow, that was intense, and perhaps irrational too,' or maybe even 'i should
       have never sent those intimate messages nick sent me to MMR or KJ, or even CW' or to any of those other
       ladies just to smile about what their (as well as NIck's reaction must have been)- but when i am calm, cool,
       and collected and thinking those thoughts.(and humorously laughing in hind sight)... and you are wondering
       why i caused you so much stress and trouble and why i did this all.... I am certain that you will not be
       laughing next week, when i am... and when all the intensity has died down," and " and the most hilarious
       part of all of this is that all you had to do was get in touch with me and chat with me like a real man and
       person (and not the child that you are acting like by avoiding me) and literally none of this would have
       happened," and a quote from an earlier email " 'if you're my friend, truly - then you can know you can
       TRUST me 100%. that i will never intentionally hurt or attack you, frustrate you etc. However, on the other
       hand, if you are not my friend, that is a different story and i can 100% not make those promises....'" Exhibit
       D5.
      Text message initiated by Complainant on June 29, 2018 at 12:25 pm, references Complainant stating,
       "Hey, I promise I won't do any of those things I said I would do, not send you any more emails. Something
       happened, and it's not good. I genuinely apologize fir [sic] any distress I have caused you. It really was not
       intentional. Just know that you hurt me, that's all." Also references text message sent at 12:26 pm stating,
       "I'll leave you alone now. If of [sic] you ever do decide to message me, and you never hear back. Please
       do not be alarmed as well. Thank you sincerely for that 2-weeks or so of happiness that you brought into
       my life… of which I truly thought was authentic and genuine. I thought you were a supportive friend.
       Thanks for that, whether it was real or not. Take care nick [followed by emoji of a crying face, a flower,
       and praying hands]." In Exhibit Z4.



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From:                           Eva Chavez
Sent:                           Friday, May 11, 2018 5:08 AM
To:                             Nick Vincent Flor
Subject:                        Fall 2018 Grad Courses



Hello Dr Professor Nick Flor,

We met the other day in front of Gouvea's office.

I am also now following you on twitter

Please remind me again if and/or what graduate level courses you are teaching this Fall 2018.... it is taking far
longer than it should to find a grad course that you are instructing for this Fall. I've tried all the obvious
methods of searching.... figured a quick email would be best and quickest.

Perhaps we can meet and chat sometime. In fact, i am quite surprised we had not met prior to the other day.
I've been Gouvea's GA/PA for several semesters, and I am in Vanessa's office rather often, directly across from
your office.

Vanessa and i joke about your double-names on the door, but i don't believe you were ever in your office all
the times i've been by to Vanessa's office.

Nonetheless, I am glad we crossed paths the other day.... was likely meant to happen, as are most if not all
things in the Universe..... often align as they should. nice to meet you.

Thanks kindly,
~Eva




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From:                            Eva Chavez
Sent:                            Friday, May 11, 2018 6:06 PM
To:                              Nick Vincent Flor
Subject:                         Re: Fall 2018 Grad Courses



I’m not one of your grad students though...

Nick sounds nice to me, although Professor F could definitely catch on

I’m I am      interested in studying how the media shakes viewpoints on social media and it is rather blatant as of
late.... keeping me at nights even.... well that’s not true because I’m always up at nights, but it as been keeping
me up days (vampire style), and keeping me up longer than my typical 73-hour periods.

It’s crazy what’s going on out there, my new friend. #insanity      ✌

All of this is rather timely, and of the essence... I’m telling you! Indeed.

I mean I’m write about to write my appeal letter to the lsac for waiving all my lsat fees. I’ll stoll write that and
may pursue but I’ve been wanting to talk to someone seriously about OILS for awhile now, and I may tell you
about my most recent failed attempt at that under a separate cover....

Thanks !
_____________________________
From: Nick Vincent Flor
Sent: Friday, May 11, 2018 6:00 PM
Subject: Re: Fall 2018 Grad Courses
To: Eva Chavez



Hi Eva,

I think most of my grad students call me either Nick or Flor — so either is fine (or ProfessorF).

Always happy to help. Yes, maybe you should do a PhD in OILS! I've been using analytics to studying how the
media shapes viewpoints on social media if that's something you're interested in. But they have faculty doing
all kinds of interesting research related to organizations, information, and learning.

- Nick


--
Nick V. Flor, PhD
Associate Professor - Information Systems
Interdisciplinary Film & Digital Media
Anderson School of Management

                                                           1
             Case 1:20-cv-00027-JAP-LF Document 22-2 Filed 03/16/20 Page 26 of 551
University of New Mexico
nickflor@unm.edu
Faculty Concentration Advisor
BBA-Interdisciplinary Film & Digital Media Program

Honorary Chair of Rum Studies Professor

From: Eva Chavez
Sent: Friday, May 11, 2018 5:39:45 PM
To: Nick Vincent Flor
Subject: Re: Fall 2018 Grad Courses
What shall I refer to you as? Nick? Dr? Professor Flor? @ProfessorF ?

All of the above?

Either way, I just wanted to let you know that I appreciate you, and that you're simply just being contributed
to, and helped me get through another day.... as well as your prompt and timely responses.

Sometimes people do not realize the extent of the small things, and little actions that can contribute to or help
others, even in ways unknown....

so, i just wanted to drop a line and express my appreciate and gratitude for you being that person for me
today, even unknowingly.

I do believe everything happens daily, for reasons (known or unknown)... and I also do not take such
synchronicity for granted.

Thanks kindly,
~Eva

From: Nick Vincent Flor
Sent: Friday, May 11, 2018 7:16:56 AM
To: Eva Chavez
Subject: Re: Fall 2018 Grad Courses
haha excellent! Okay, we'll talk about OILS the next time we cross paths.

--
Nick V. Flor, PhD
Associate Professor - Information Systems
Interdisciplinary Film & Digital Media
Anderson School of Management
University of New Mexico
nickflor@unm.edu
Faculty Concentration Advisor
BBA-Interdisciplinary Film & Digital Media Program

Honorary Chair of Rum Studies Professor

From: Eva Chavez
Sent: Friday, May 11, 2018 7:06:08 AM
To: Nick Vincent Flor
Subject: Re: Fall 2018 Grad Courses
                                                        2
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Let me know what type of research I could do in OILS, that involves utilizing my intensity...

and my love and passion for writing and editing to also make good money, while helping lots of people in the
process....

Perhaps we were supposed to cross paths so you can convince me to apply to OILS for my PhD instead of
intensely studying for LSAT followed by 3-years of law school.

I believe in such synchronicities ...


Rather timely if it were to be the case, lol



I never know which routes in life are best...

I typically default to intuitions and synchronicities.... as opposed to sound logic or routine thinking....

Not sure which is the best or most effective method ....

_____________________________
From: Eva Chavez
Sent: Friday, May 11, 2018 6:48 AM
Subject: Re: Fall 2018 Grad Courses
To: Nick Vincent Flor



Hmm, thus presents a perplexing conundrum...

Law school never interested me for the money.

More so for my passion, intensity...relentlessness....

Also, the writing... I love writing... and editing....
...and for the research

Something about mastering the English language as well, better than most...
whatever that means


What to do, what to do              ✌

If I only knew....



From: Nick Vincent Flor
Sent: Friday, May 11, 2018 6:42:52 AM
                                                           3
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To: Eva Chavez
Subject: Re: Fall 2018 Grad Courses
haha there's more money in Law School but if you get the research bug the OILS program is the best!

- Nick
--
Nick V. Flor, PhD
Associate Professor - Information Systems
Interdisciplinary Film & Digital Media
Anderson School of Management
University of New Mexico
nickflor@unm.edu
Faculty Concentration Advisor
BBA-Interdisciplinary Film & Digital Media Program

Honorary Chair of Rum Studies Professor

From: Eva Chavez
Sent: Friday, May 11, 2018 6:21:33 AM
To: Nick Vincent Flor
Subject: Re: Fall 2018 Grad Courses
Okay, will do.

Bummer about not teaching any grad classes this upcoming semester... would’ve been cool to take a class of
yours.

I don’t speak to my bro extremely frequently, but I will indeed send your regards. He’s always spoke very
highly of you.

He also often talks about the OILS program. Perhaps I can chat with you about OILS sometime...although at the
moment I’m kinda of learning towards and set on law school... but things can always shift and change....

I’ve always had an interest in law school even long back since before I defaulted to business school for no
reason.

I received my ungrad at anderson in 2007, surprised we didn’t cross paths then either...

hmm, interesting....

Sure, I’ll have to stop by sometime...

Thanks for the prompt response
~Eva
  ✌


_____________________________
From: Nick Vincent Flor
Sent: Friday, May 11, 2018 6:14 AM
Subject: Re: Fall 2018 Grad Courses
To: Eva Chavez

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Eva,

It was nice to meet you as well. Say hi to Santiago for me.

It turns out I'm not teaching any grad courses this Fall. My next grad course will probably be OILS 604
("Learning & Exploratory Data Analytics", I have a joint appointment in the department of Organization
Information Learning Sciences ) in Spring of 2019. We mainly cover the use of analytics to study discussions on
social media.

Yes, stop by anytime to chat!

- Nick
--
Nick V. Flor, PhD
Associate Professor - Information Systems
Interdisciplinary Film & Digital Media
Anderson School of Management
University of New Mexico
nickflor@unm.edu
Faculty Concentration Advisor
BBA-Interdisciplinary Film & Digital Media Program

Honorary Chair of Rum Studies Professor

From: Eva Chavez
Sent: Friday, May 11, 2018 5:07:43 AM
To: Nick Vincent Flor
Subject: Fall 2018 Grad Courses
Hello Dr Professor Nick Flor,

We met the other day in front of Gouvea's office.

I am also now following you on twitter

Please remind me again if and/or what graduate level courses you are teaching this Fall 2018.... it is taking far
longer than it should to find a grad course that you are instructing for this Fall. I've tried all the obvious
methods of searching.... figured a quick email would be best and quickest.

Perhaps we can meet and chat sometime. In fact, i am quite surprised we had not met prior to the other day.
I've been Gouvea's GA/PA for several semesters, and I am in Vanessa's office rather often, directly across from
your office.

Vanessa and i joke about your double-names on the door, but i don't believe you were ever in your office all
the times i've been by to Vanessa's office.

Nonetheless, I am glad we crossed paths the other day.... was likely meant to happen, as are most if not all
things in the Universe..... often align as they should. nice to meet you.


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Thanks kindly,
~Eva




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                             Exhibit C1
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From:                             Eva Chavez
Sent:                             Saturday, May 12, 2018 8:36 PM
To:                               Nick Vincent Flor
Subject:                          Car accident



That day I died.... basically... the old me died


And this was my 9th life...


I was in the drivers side, upside down, smashed into the ground. I’ve tried to write about this several times.... I
always stop though... I’m still processing it all and healing from the trauma... sounds silly, since it was so long
ago.... but the struggle is real, my friend.

When Pain becomes the norm.

I’m also a licensed massage therapist, in my own healing journey, bet yet still - can not find anybody to help me
heal.... or feel better...

I still don’t drive, til this day... I take the city buses to get around... talk about entertainment... I could make at
least 11 priceless documentaries by now.. I have all the footage... I’m horrible with stuff like that...

Perhaps we could collaborate on a project of sorts... before I lose all my footage again for the 11th time and I
currently have over 11,000 photos and 700 videos lol

And that’s just with the most recent footage, that was not lost lol




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                             Exhibit D1
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From:                             Nick Vincent Flor
Sent:                             Sunday, May 13, 2018 9:54 AM
To:                               Eva Chavez
Subject:                          Re: 18-year old Bitcoin millionaire



haha no, everything on UNM e-mail can be spied on! Send them to google hangouts chat or e-mail
(professorf@gmail.com). I didn't know you knew about the Chans.

--
Nick V. Flor, PhD
Associate Professor - Information Systems
Interdisciplinary Film & Digital Media
Anderson School of Management
University of New Mexico
nickflor@unm.edu
Faculty Concentration Advisor
BBA-Interdisciplinary Film & Digital Media Program

Honorary Chair of Rum Studies Professor

From: Eva Chavez
Sent: Sunday, May 13, 2018 9:16:40 AM
To: Nick Vincent Flor
Subject: Fwd: 18-year old Bitcoin millionaire
If you follow this email chain you can see the crux and extent of what the outburst/argument was about, as well
as my follow-up and apologies when I did nothing wrong...:

Like I said, it’s old news.... I mean we’re talking half a year ago or so.... a lot has changed since then....and I lost
all respect for my friend RW in the meantime....

It was definitely an interesting experience though...,to say the least, as are mostly day-to-day experiences on
#PlanetEva.... always interesting....

In fact, I want to send you cryptic messages 4chan and 8chan Q and Qanon style about all the hidden insights I
know about faculty members ha! lol.... either that or a series of hilarious haikus explaining all this interesting
and otherwise hidden tidbits (since I’m rather good at haikus), but Q 4chan and 8chan cryptic style will be
more hilarious, intriguing and mysterious....

Where should I send these cryptic messages, here?                   lol I really do crack myself up....

  ✌

_____________________________
From: Manuel Montoya
Sent: Tuesday, November 7, 2017 8:53 AM
Subject: RE: 18-year old Bitcoin millionaire
To: Eva Chavez

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Thank you for this email, Eva. I appreciate your sharing the article and for your thoughtful remarks on Reilly
and our conversation. I also enjoyed speaking with you yesterday, and I appreciate your reaching out.
Have an excellent day, and take care.
Yours warmly,
m
Manuel-Julian R. Montoya, PhD
Associate Professor International Management, Global Structures
Endowed Professor of Creative Enterprise
Anderson School of Management
FITE Department
MSC05 3090
1 University of New Mexico
Albuquerque, NM 87131-0001
Skype: in.medias.res1
Please note my temporary office location in Hokona Hall room 366
From: Eva Chavez
Sent: Tuesday, November 7, 2017 12:19 AM
To: Manuel Montoya
Subject: Fwd: 18-year old Bitcoin millionaire
Dear Dr Manuel,
I'm not sure if you have fb or not, but this is the video I was referring to today in Reilly's
Office that I'd thought I had previously sent him...,since I'm always sending him Bitcoin links and articles (as
well as all my Goldman Sachs alumni news briefs lol)
https://www.facebook.com/BuzzFeedScience/videos/1116641691799055/
I was not indicating that I personally know anything about Bitcoin (especially the ins and outs if it), I was only
comparing and contrasting a Bitcoin skeptic to this 18-year old boy .... as well as to other close friends I know
who have had some interesting and phenomenal "success stories" with utilizing Bitcoin as both a payment
system and as an investment... Etc. Although I have researched it quite a bit myself, and with Reilly... because it
does pique my interest... but as you mentioned it can become quite the deep and complex topic that takes one
down an interesting rabbit hole...
I know now however that you were referring to and examining the bigger picture - as in what's going on
globally with currencies, sovereignty, etc ...
Whereas i was just examining and analyzing both sides of the Bitcoin coin, (as Reilly and I chat about from
time to time about).
I in no way meant to, or had intentions of coming off as disrespectful or insulting to Reilly, but I can see my
tone and mannerisms were perceived as such, and I appreciate the fact that you cared enough about Reilly, and
were passionate enough in general to respond accordingly as to how you felt, and how you perceived the
situation... I truly view and perceive Reilly as one of my few close friends, and I do not want to give the
impression (to him, to others, or to outside observers) that I am belittling him or insulting him in anyway
because i truly appreciate the Reilly....
I'm also glad however that our misunderstanding gave us the opportunity to chat further, and get to know each
other a bit better, or on a more personal level...
Let me know if you'd like to chat some more in general sometime... I would be open to that.
I'll send you an email under a separate cover about what you were telling me about your course/program that I
could get graduate credits for etc.
I would like more info on that. I actually don't really need any more graduate credits, just a few more core
classes, but I'd at least like more info on it and could possibly make it work ....
Just a few late night thoughts -
Thanks again for your your time and feedback,
                                                         2
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~Eva
_____________________________
From: Eva Chavez <eva11@unm.edu>
Sent: Monday, November 6, 2017 11:33 PM
Subject: Fwd: 18-year old Bitcoin millionaire
To: Reilly White <reillywhite@unm.edu>

This is the video I had mentioned today when I was comparing the skeptical John Ulrich btw - and I really did
like John Ulrich I meant to give you feedback on that ...
but yeah I was contrasting ulrich's skepticism to this 18-year old boy's Bitcoin success:
https://www.facebook.com/BuzzFeedScience/videos/1116641691799055/
Plus, I thought I had sent this to you, but I had actually sent it to myself... so whatever I was attempting to say
was lost in assumptions perhaps... but that was the video I was referring to...
_____________________________
From: Eva Chavez <eva11@unm.edu>
Sent: Wednesday, November 1, 2017 5:00 PM
Subject: 18-year old Bitcoin millionaire
To: Eva Chavez <eva11@unm.edu>

https://www.facebook.com/BuzzFeedScience/videos/1116641691799055/




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                             Exhibit E1
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From:                          Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                          Monday, May 14, 2018 2:32 PM
To:                            Nick Flor
Subject:                       Re: Sweet dreams....



Yes, sir. I am.

I would love to help you out at some point though.... or tentatively plan a GA in future times to come once RG
flies the coop. My plan was just to be gone by the time he leaves, at least Anderson that is....

Just please, don't make me any promises ... because then i will be upset and my feelings will be hurt when you
ban my from all communications, the empty words run dry and the nothing is left but broken promises. lol, not
lol ;)

On Mon, May 14, 2018 at 1:13 PM, Nick Flor <professorf@gmail.com> wrote:
 hey, are you working for RG during the summer?

 On Sun, May 13, 2018 at 11:55 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
  And happy writing... I hope you enjoy my writing samples... I will send you more for the morning but I will
  refrain from interrupting your writing time

  Sent from my iPhone




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                             Exhibit F1
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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Monday, May 14, 2018 10:59 PM
To:                               professorf@gmail.com
Subject:                          Xfiles. GP.IMG_4767.jpg
Attachments:                      IMG_4767.jpg; Untitled attachment 05636.txt


Xrated. Xfiles.

Seriously though... like WTF is this shizzzke???!??? Lmao

I wish I could see your face when you see this and I wish you could’ve seen Gouvea’s face when I showed him in
person....


Lmao




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                             Exhibit G1
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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Thursday, May 17, 2018 10:27 AM
To:                              Nick Flor
Subject:                         Re: Synchronicity & Hummingbirds too



We shall definitely do something great together.... and there’s not a doubt in my mind that we were meant to
cross paths....


Sent from my iPhone

On May 17, 2018, at 4:48 AM, Nick Flor <professorf@gmail.com> wrote:

       Too many coincidences. We're probably meant to do something great together. What it is, I don't
       know! haha

       On Thu, May 17, 2018 at 12:11 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        Do you really think that’s why we were meant to meet?

           Sent from my iPhone

           On May 16, 2018, at 9:19 PM, Nick Flor <professorf@gmail.com> wrote:

                 Yes, I think that's why fate made us meet haha

                 On Wed, May 16, 2018 at 9:03 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
                 wrote:
                  I probably have far more flower pics than I ever will of my bus peeps....
                   And I have a heck of a lot of bus footage.... as you know....



                  Will you help me...do something with it... one day?

                  Sent from my iPhone

                  On May 16, 2018, at 8:59 PM, Nick Flor <professorf@gmail.com> wrote:

                         And Flor means "flower" in Spanish. Whoa!

                         On Wed, May 16, 2018 at 7:50 PM, Eva R. Chavez
                         <eva.r.chavez@gmail.com> wrote:
                          The hummingbird I saw yesterday was on this yellow flower

                          And I would think it bizarre too but #PlanetEva tends to be very
                          synchronous...


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          I really do not think you know how synchronous it all is,
          actually...

          Sent from my iPhone

          On May 16, 2018, at 7:44 PM, Nick Flor
          <professorf@gmail.com> wrote:

                 Wow, maybe it wasn't chance that we met, haha.
                 This is all too bizarre.

                 On Wed, May 16, 2018 at 6:54 PM, Eva R.
                 Chavez <eva.r.chavez@gmail.com> wrote:
                  The biggest synchronicity of all yesterday
                  though was not our boy DT Tweeting a
                  WINNING article right after i sent you the
                  charlie sheen
                  "WINNING...WINNING....WINNING...WINN
                  ING...WINNING" video, but its as when i was
                  walking home and i saw that adorable little
                  hummingbird and i got all excited.

                  They always stop me dead in my tracks... i was
                  like "Oh wow." and then i got my phone and
                  tried to picture it or video it but it did not let
                  me....

                  and then right when i walked into my house i
                  saw your tweet about hummingbirds...


                  I love me some hummingbirds... it's always
                  been one of my favorites. i took a pic today of
                  the flower i saw it on... no hummingbird in the
                  pic but i do i have some great hummingbird pics
                  and videos of my own that i will look for and
                  send to you....

                  #Magic ;)




                                        2
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                             Exhibit H1
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From:                               Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                               Thursday, May 17, 2018 11:09 AM
To:                                 professorf@gmail.com
Subject:                            When is your birthdate?




I want to see what the secret language says about the birthdates.
Mine is 10/25/84.

Scorpio to the max. My entire birth chart is Scorpio galore....

I’ll only tell you what the secret language says if it’s good though.... otherwise I’ll silent my keep it to myself   ha!

I’ll need your birthdate though

☯☯☯
Sent from my iPhone




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                              Exhibit I1
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From:                              Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                              Thursday, May 17, 2018 12:35 PM
To:                                Nick Flor
Subject:                           Re: Omg this is immediate stress



Okay, deal... pencil me in.      Message me when I can call. Otherwise my # is (505) 681-7760.

Enjoy your meeting....

Yeah my GA contract does not start for a few weeks., Hrao left to Brazil today probably right after he sent out
those emails. His phone is off. We will likely be out of contact... and I’ve been wanting to email you back about
GA stuff even since before this SW drama sprouted up...

And your insights on Sean s and what I should say can be helpful as well.

Thanks kindly!

Sent from my iPhone

On May 17, 2018, at 12:29 PM, Nick Flor <professorf@gmail.com> wrote:

       Sure probably sometime after 2 I think if the meeting is only an hour 505-264-0113 are you at
       school today

       On Thu, May 17, 2018, 12:15 PM Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        Will you be available for a brief phone convo today?

           For GA chat anxiety.... and also briefly perhaps about tech Sean S, as I have to chat with him
           tomorrow...,

           If not, no worries.... this SW thing is crazy though and here I was trying to be calm lol not lol

           Sent from my iPhone

           On May 17, 2018, at 12:06 PM, Nick Flor <professorf@gmail.com> wrote:

                  Yep, I'll be on campus but I have a meeting at 1!


                  On Thu, May 17, 2018 at 11:49 AM, Eva R. Chavez <eva.r.chavez@gmail.com>
                  wrote:
                   Yeah it’s totally not funny but In the conspiracy of it I suppose it is.

                   And I didn’t mean the guy *you said to steer clear from. I meant the guy HE
                   told me to steer clear from omg this is too crazy...



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   Hey what’s your schedule like today? You on campus ?

   Sent from my iPhone

   On May 17, 2018, at 11:45 AM, Nick Flor <professorf@gmail.com> wrote:

         You can't be a double GA can you?!?

         On Thu, May 17, 2018 at 11:27 AM, Eva R. Chavez
         <eva.r.chavez@gmail.com> wrote:
          The crazy part about this is that SW does not even want me as
          his GA (see exhibit attached) and RG originally indicated to me
          to steer clear of him... and now he’s setting me up with him!!!!
          Omg this is what I mean about this buddy of mine!

          Lord, please help me



          Sent from my iPhone

          > On May 17, 2018, at 11:18 AM, Eva R. Chavez
          <eva.r.chavez@gmail.com> wrote:
          >
          > RG is now setting me up with the the guy you told me to steer
          clear from
          >
          > Wow, this will likely be WAY WAY more stressful than the
          Friberg situation...
          >
          > Oh lord please help me and send all your angels to take care
          of and watch over me ✨
          >
          > <Image-1.jpg>
          >
          >
          > Sent from my iPhone




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                             Exhibit J1
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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Thursday, May 17, 2018 4:31 PM
To:                               Nick Flor
Subject:                          Re: GA



Let’s do it. Even if it’s like 10 hrs per week or whatever.... let me know... I’ll try to check from my end I
remember there was rules last time but not sure if that was just because I was taking a summer class or not...


I do not remember all the tedious details... I was too busy bamboozling my instructors out of PA money that’s
not theirs haha, to remember the details I researched about summer GA allocations, lol...

But if we can make it work... let’s definitely make it happen    ☯    ⚔

Sent from my iPhone

On May 17, 2018, at 4:24 PM, Nick Flor <professorf@gmail.com> wrote:

       I actually do on my NSF grant. Let me check with Darlene and see if I have spare for the
       summer. That would be awesome if we could work together studying viral spreading of
       information on Twitter.

       On Thu, May 17, 2018 at 4:14 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        No I don’t mind learning it doing analytics, I can pick up on things quickly...

           I was referring to this summer though that I may have allocation availability... and when I could
           use the $, but I’m not sure what the allocation rules are for summer.... I forget...

           I knew last summer when I bamboozled WR <lol I will have to find that haiku I wrote about
           him when I was pissed>.

           But I forget the rules on summer allocation... I was wondering if you had funding source for
           summer, even if it is a few hours per week.

           I may be maxed out next semester as RG GA/PA, save as last semester....

           Sent from my iPhone

           > On May 17, 2018, at 4:10 PM, Nick Flor <professorf@gmail.com> wrote:
           >
           > BTW, I have a GA for next semester BUT I am waiting for some grant money to come in and
           if it does, I may be able to hire you (I don't want to promise because I don't want to disappoint
           you) -- if you don't mind learning and doing analytics.




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                             Exhibit K1
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From:                     Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                     Thursday, May 17, 2018 8:12 PM
To:                       professorf@gmail.com
Subject:                  Borns - past lives
Attachments:              IMG_7516.PNG; Untitled attachment 04927.txt




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From:                          Nick Flor <professorf@gmail.com>
Sent:                          Thursday, May 17, 2018 8:14 PM
To:                            Eva R. Chavez
Subject:                       Re: Borns - past lives



All these weird synchronicities! haha I think you're magical or something.

On Thu, May 17, 2018 at 8:11 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:




 Sent from my iPhone




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                             Exhibit L1
              Case 1:20-cv-00027-JAP-LF Document 22-2 Filed 03/16/20 Page 59 of 551




From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Friday, May 18, 2018 8:57 AM
To:                              Nick Flor
Subject:                         Re: WR theories



You could’ve just asked

Sent from my iPhone

On May 18, 2018, at 8:53 AM, Nick Flor <professorf@gmail.com> wrote:

       lol

       On Fri, May 18, 2018 at 8:43 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        Not very sly but perhaps creative nonetheless ...

           Sent from my iPhone

           On May 18, 2018, at 8:42 AM, Nick Flor <professorf@gmail.com> wrote:

                 haha that was my sly way of determining if you had a significant other!

                 On Fri, May 18, 2018 at 8:39 AM, Eva R. Chavez <eva.r.chavez@gmail.com>
                 wrote:
                  How come you keep theorizing? Do you think there’s more to it than what I’ve
                  told you??

                  I think I’m going to send you those WR screenshots sometime that i sent RG
                  about the instructor evaluations...

                  Even though he’d totally hate me forever til death do us part if he knew I did
                  that....


                  I lost any loyalty I had to him though, when he told me I wasn’t his friend
                  anymore... and til this day he will not respond to me... but responds to anybody
                  else in a heartbeat....

                  And that’s with zero threats from *MY ‘significant other’

                  Sent from my iPhone




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                            Exhibit M1
             Case 1:20-cv-00027-JAP-LF Document 22-2 Filed 03/16/20 Page 61 of 551




From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Friday, May 18, 2018 2:44 PM
To:                               professorf@gmail.com
Subject:                          PA $



I’ll use all the PA money that I bamboozle you out of and buy you a really nice, expensive pair of shoes

Deal? what size are you?

Speaking of which, do you think we’ll be able to do that this summer, or no?

Sent from my iPhone




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                             Exhibit N1
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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Friday, May 18, 2018 10:15 PM
To:                               Nick Flor
Subject:                          Re: Die Young - Sylvan Esso



Lol you just woke up??! Ha! ‘ Let me put my head down’ haha         you’re too funny...

Indeed. The song is intense...

Deeper meanings, for sure...



Sent from my iPhone

On May 18, 2018, at 10:12 PM, Nick Flor <professorf@gmail.com> wrote:

       (just woke up, I said let me put my head down...)

       haha the song's about me and you!

       On Fri, May 18, 2018 at 9:49 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        And this song is talking about firecracker with something to prove, now I gotta contend with the
        loving blues ... chain reactions.... holding the fuse...

           ...I got the fire electric life
           So high, so wild
           It’s not like I chose
           It’s not like I tried
           But now I gotta wait around and watch you burn so bright....


           I was gonna die young ⚔


           ✨3:33

           Sent from my iPhone

           On May 18, 2018, at 9:43 PM, Nick Flor <professorf@gmail.com> wrote:

                   It's freaky. shows up for me too. We have the weirdest connections.

                   On Fri, May 18, 2018 at 9:41 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
                   wrote:
                    Its a great song. I love it.

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   Not sure about 3:33 but it’s always been one of my numbers... for so long ...
   shows up everywhere just like 11:11.... literally everywhere!!

   And no, it’s not the witching hour!

   Sent from my iPhone

   On May 18, 2018, at 9:39 PM, Nick Flor <professorf@gmail.com> wrote:

          Nice song!

          What's up with the 3:33 LOL

          On Fri, May 18, 2018 at 9:35 PM, Nick Flor
          <professorf@gmail.com> wrote:
           listening...

           On Fri, May 18, 2018 at 9:33 PM, Eva R. Chavez
           <eva.r.chavez@gmail.com> wrote:
            Have you heard this song?

            Also, note how long the video is       ⚔☯




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           https://youtu.be/UqbyaCX7WkA




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           Sent from my iPhone




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From:                               Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                               Saturday, May 19, 2018 1:58 AM
To:                                 Nick Flor
Subject:                            Re: Some news, but only $703



$703, that's pretty precise.... ;) lol.

yeah, check to see what you can find out if its the full-amount or not. Either way though, I'll do it.... as long as
i'm able to with the allocations,etc but i think I should be... i just have not looked into the details. i can look at
that RG summer contract email i had forwarded you from yesterday or summer assistantship info in general
and see what i can find. i have not had the chance, as my new pal has been keeping me busy with interesting
and funny messages ;) lol jk jNk

also, i think medical and all of that should be covered with the RG assistantship that already went through, so i
wouldn't need anything like that.
but see what you can figure out from your end about how that would need to be disbursed etc, or what would
need to be done.

however many hours or whatever you can work out works for me... just let me know...

and if it does not work out, i won't be upset or disappointed, i appreciate you trying and looking into it. i'm not
necessarily worried about the $ or amounts per se, but anything helps...

<plus, Asm will perpetually owe me for eternity for the endless hours i racked up even with just George Friberg
from those Friberg RG days.. no joke..... i would take to friberg first thing in the morning and last thing and
nights and then throughout the days and its a saga for days... and even after that all the hours i put in for just Rg
alone, lmao. i stopped calculating them long back because the fact of the matter is that I would just realize i
would be getting BAMBOOZLED BAD lol, because i put in far more effort and hours than i am likely getting
paid for... plus, how does one account for time when projects consume my consciousness and sometimes will
take me like 73 hours straight and i have this personality and drive where i will not and cannot stop sometimes
and it can kill me physically, mentally, etc. I definitely need to practice more balance in these types of things>

the above tangent is not to complain, at all... or anything akin to that... it's just to say that whatever i could help
you with, i would love to help you with. If there is funds available that we could utilize for some minimum
hours, that is great. Either way though, i will not be disappointed and we can always discuss and brainstorm any
future projects as well...

I am flexible with whatever you can come up with as long as we can both make it work out... and 35 hours for 7
weeks is fine if that's all there's availability for....

keep me posted... thanks again for looking into it.




On Fri, May 18, 2018 at 4:55 PM, Nick Flor <professorf@gmail.com> wrote:
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Eva, I got my account balance back from Tammi. It turns out I only have $703 left in my one grant, which at
$20/hr only works out to ~35 hours. I'm sorry I don't have more. I'm checking with Tami to see if that's the full
amount I can give you or if they take stuff out for medical insurance & stuff, in which case it may be less. I
don't think so though. Is that okay? Maybe 5 hours for 7 weeks (=35 hours)




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                             Exhibit P1
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From:                           Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                           Saturday, May 19, 2018 10:20 PM
To:                             Nick Flor
Subject:                        Re: Horoscopes 05/19/18



I hadn’t checked or read these ones earlier..., Thoughts?




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Sent from my iPhone

On May 19, 2018, at 5:57 PM, Nick Flor <professorf@gmail.com> wrote:

      Definitely!

      On Sat, May 19, 2018 at 5:54 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
       Friendship pact? <handshake>


                                                  3
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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Tuesday, May 22, 2018 10:41 PM
To:                              Nick Flor
Subject:                         Re: Horoscopes 05/22/18



Here’s the other ones I just checked, i still think it’s weird though that those daily ones changed like that early
today.




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Sent from my iPhone

On May 22, 2018, at 4:03 PM, Nick Flor <professorf@gmail.com> wrote:

      I knew I shouldn't have read them when I was writing!

      On Tue, May 22, 2018 at 4:01 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:

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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Friday, May 25, 2018 7:48 AM
To:                               professorf@gmail.com
Subject:                          Aries 005/25/18
Attachments:                      IMG_7801.jpg; Untitled attachment 01091.txt; image1.jpeg; Untitled attachment
                                  01094.txt


Have a nice day B.

 I’ll message when I’m gonna rest my head but will probably be awhile because I need to get out of switch clothes
from washer to dryer, hopefully get something to eat and a series of other things... I hope to rest my head prior to 10am
but we shall see

Just know I need to heal so much, now and always




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             Case 1:20-cv-00027-JAP-LF Document 22-2 Filed 03/16/20 Page 81 of 551




From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Saturday, May 26, 2018 10:21 PM
To:                               professorf@gmail.com
Subject:                          Horoscope 05/26/18
Attachments:                      image1.jpeg; image2.jpeg; Untitled attachment 07656.txt


So are you really not into the theory...
and or healing process, in that type of way?




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From:                          Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                          Tuesday, June 5, 2018 3:27 PM
To:                            Nick Flor
Subject:                       Re: Horoscopes 06/05/18



Hahaha you freakin dork !

What do you mean I should be more honest. I’m very honest, lol. And that’s what you got from your
horoscope??! Dork!

For yours, it means that if you want to benefit from the give and take of open dialogue you must take more time
to explain your intentions. And then the quote for you was key, B “Communication—the human connection
is the key to personal and career success.”

How about these ones though? What do you make of these? I don’t think yours is about me ...

But hey, what tricky matters of the heart is tricky Nicky shying away from though?




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Sent from my iPhone

On Jun 5, 2018, at 9:27 AM, Nick Flor <professorf@gmail.com> wrote:

      Yeah, definitely you should be more honest and I should discuss research ideas, LOL

      On Tue, Jun 5, 2018 at 9:11 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
       Haven’t looked at or sent these in awhile. What are your thoughts babe?


                                                    3
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From:                                Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                                Wednesday, June 6, 2018 2:37 PM
To:                                  professorf@gmail.com
Subject:                             Horoscope 06/06/18
Attachments:                         IMG_8114.jpg; Untitled attachment 10527.txt; IMG_8116.jpg; Untitled attachment
                                     10530.txt



Are you uttering ‘half-truths,’ B?




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From:                         Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                         Saturday, June 9, 2018 10:53 PM
To:                           Nick Flor
Subject:                      Re: Horoscopes 06/09/18



What’s most insightful for you B?
....
On our horoscopes from our one monthiversary....




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Sent from my iPhone

On Jun 9, 2018, at 8:34 PM, Nick Flor <professorf@gmail.com> wrote:

      But of course. Some of them I don't know what to say, so probably not those. Thank you for the
      horoscopes, always insightful.

      On Sat, Jun 9, 2018 at 5:32 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
       Thank you for the 3:33:33 positive and good vibes. Always appreciated.

                                                     3
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Just curious as to if you’ll ‘acknowledge’ or respond to my other messages later this evening.....

Not demanding, just curious




Sent from my iPhone




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From:                     Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                     Sunday, June 10, 2018 10:25 PM
To:                       professorf@gmail.com
Subject:                  More horoscopes 06/10/18
Attachments:              IMG_8203.jpg; Untitled attachment 11177.txt; IMG_8204.jpg; Untitled attachment
                          11180.txt


Any thoughts?




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From:                           Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                           Saturday, May 19, 2018 2:30 PM
To:                             Nick Flor
Subject:                        Re: Some news, but only $703



Delete these screen shots after you read them make them magically disappear into the orbits of invisibility...

 but the synchronicity keeps happening... and is strong... as I was rereading this message to you to see if it made
any sense ... RG send me the attached... I think it means we all need to heal and rest, major healing must
ensue....(one for yesterday, the next from today, but the timing the same on each 2:21.

Even all timings are so odd too thoughzxz

Nonetheless make them magically disappear to the best of your abilities !!! Pls ✨




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⚔

All super odd synchronicities though... even in relation to the timing of the email below that I sent to you....

Thanks in advance for putting in virtual incinerator away from all findings... this one

Sent from my iPhone

On May 19, 2018, at 12:46 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:

       Like i mentioned in a previous email, i do not know if we can do a whole paper this summer, but
       we can chat and we can see what we can create....

       Sure, let me know what you can find out... and maybe we can do something where we can just
       do it all in full or something akin to that. like for example, i help you for 35 hours this summer,
       then receive the money at the end or something....idk if that is possible or what the deal is.... nor
       did i think about that thought in depth... just seems more logical with such small amounts and
       hours as opposed to book time sheets every other week for a short period of time for small
       amounts.... but if that's that way it would have to be.... either way.....

       these types of things are always tedious to very out and get rolling it seems..in general, but once
       the get going, typically the universe aligns and thing often happen the way they should...

       i see where your coming from about the RG thing.... i have my own insights as well... let us have
       a phone convo one day or something akin to that within the next week or so, before RG gets back
       to clarify, discuss and brainstorm.... yeah, people are weird about stuff like that, and i would not
       want to do anything behind his back, but then again I've known him for awhile and often times
       less is more in terms of a lot of aspects and i can give you examples... let's hold off and chat and
       see what is best and most politically correct and if it is even all gonna go down after all...

       plus, he is in brazil, and he'll text me and stuff but he gets in a different mindset when he is out
       there and he already reads or responds to emails and such even when he is not out there...

       plus he needs rest, he was very stressed prior to leaving and i could see it and feel it in his energy
       and he told me he needed to check out the remedy day spa or some place when he gets back as
       well, and he texted me yesterday that he was getting tired and need rest....as in prior to heading
       to Brazil.... and he indeed was... so i do not want to bother him with such thoughts atm, and i
       hew assigned me some stuff to do even though i reminded him several times my contract has not
       started yet, and not till the 28th. I also need to get back to SW too, I do not know him, but he is
       likely wondering why i have not responded to that email that Rg looped me in on about me
       helping him or whatever...

       so much to do... i really need to get on that lsac law school appeal letter too and as a top priority
       as i have time limit on that one and should've likely done it sooner..or already...

       the friberg stories are endless, really... it's not just like one story.... plus i've told you a few
       already, right?

       On Sat, May 19, 2018 at 7:49 AM, Nick Flor <professorf@gmail.com> wrote:
        It was exactly $703 (not joking, it's really all I have left [see screenshot] sorry about that).
        That'd be great if we could work together and write a paper before the summer was over!
                                                            4
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Okay I'll let you know what I hear back. Hopefully the entire amount can go to you without
them taking anything out.

But could you do me a favor and check with RG to see if it's okay with him that you work with
me? It's just that I know some professors get very angry if they think another professor is trying
to take away their GA. Maybe let him know it's only for the summer and that you will be doing
"a research project to analyze the viral spread of scientific information".

Oh, and you HAVE to tell me the Friberg story sometime.



<image.png>


On Sat, May 19, 2018 at 1:57 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 $703, that's pretty precise.... ;) lol.

 yeah, check to see what you can find out if its the full-amount or not. Either way though, I'll do
 it.... as long as i'm able to with the allocations,etc but i think I should be... i just have not
 looked into the details. i can look at that RG summer contract email i had forwarded you from
 yesterday or summer assistantship info in general and see what i can find. i have not had the
 chance, as my new pal has been keeping me busy with interesting and funny messages ;) lol jk
 jNk

 also, i think medical and all of that should be covered with the RG assistantship that already
 went through, so i wouldn't need anything like that.
 but see what you can figure out from your end about how that would need to be disbursed etc,
 or what would need to be done.

 however many hours or whatever you can work out works for me... just let me know...

 and if it does not work out, i won't be upset or disappointed, i appreciate you trying and
 looking into it. i'm not necessarily worried about the $ or amounts per se, but anything helps...

 <plus, Asm will perpetually owe me for eternity for the endless hours i racked up even with
 just George Friberg from those Friberg RG days.. no joke..... i would take to friberg first thing
 in the morning and last thing and nights and then throughout the days and its a saga for days...
 and even after that all the hours i put in for just Rg alone, lmao. i stopped calculating them
 long back because the fact of the matter is that I would just realize i would be getting
 BAMBOOZLED BAD lol, because i put in far more effort and hours than i am likely getting
 paid for... plus, how does one account for time when projects consume my consciousness and
 sometimes will take me like 73 hours straight and i have this personality and drive where i will
 not and cannot stop sometimes and it can kill me physically, mentally, etc. I definitely need to
 practice more balance in these types of things>

 the above tangent is not to complain, at all... or anything akin to that... it's just to say that
 whatever i could help you with, i would love to help you with. If there is funds available that
 we could utilize for some minimum hours, that is great. Either way though, i will not be
 disappointed and we can always discuss and brainstorm any future projects as well...
                                                 5
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I am flexible with whatever you can come up with as long as we can both make it work out...
and 35 hours for 7 weeks is fine if that's all there's availability for....

keep me posted... thanks again for looking into it.




On Fri, May 18, 2018 at 4:55 PM, Nick Flor <professorf@gmail.com> wrote:
 Eva, I got my account balance back from Tammi. It turns out I only have $703 left in my one
 grant, which at $20/hr only works out to ~35 hours. I'm sorry I don't have more. I'm checking
 with Tami to see if that's the full amount I can give you or if they take stuff out for medical
 insurance & stuff, in which case it may be less. I don't think so though. Is that okay? Maybe 5
 hours for 7 weeks (=35 hours)




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From:                         Nick Flor <professorf@gmail.com>
Sent:                         Saturday, May 19, 2018 5:57 PM
To:                           Eva R. Chavez
Subject:                      Re: Horoscopes 05/19/18



Definitely!

On Sat, May 19, 2018 at 5:54 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 Friendship pact? <handshake>

 <fist bump>

 <sword fight>
 ⚔
 Lol

 #Damocles lol     ☯⚔     ♏




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Sent from my iPhone

On May 19, 2018, at 5:45 PM, Nick Flor <professorf@gmail.com> wrote:

      pact then, to work together!   (fist bump)

      On Sat, May 19, 2018 at 5:18 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
       Over or under deliver? on promises....

       And I thought we weren’t make promises?

       Maybe we can make some sort of pact then    lol not a promise ⚔

       Sent from my iPhone

                                                   2
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On May 19, 2018, at 5:13 PM, Nick Flor <professorf@gmail.com> wrote:

      No, but I'll deliver on my promises! :-)

      On Sat, May 19, 2018 at 5:03 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
      wrote:
       Haha no what?

       My phone is dead, literally it just died and sparked back at 1%.       I need to
       let it rest and charge....

       Sent from my iPhone

       On May 19, 2018, at 4:54 PM, Nick Flor <professorf@gmail.com> wrote:

              haha, no!

              On Sat, May 19, 2018 at 1:48 PM, Eva R. Chavez
              <eva.r.chavez@gmail.com> wrote:
               and i want to know about your social interactions ratcheting up
               a notch, while Energetic Mars and Quirky Aquarius are not
               really telling the whole story. What is the whole story?

               and also, what feelings are you hiding, while delivering on
               your promises?

               as for my horoscope Re: Dreams.
               Always secretly held dreams in #PlanetEva realms..... i think
               my whole existence and reality may in fact be a secretly held
               dream...
               that's why i stay in planet eva realms and orbits... where i can
               understand my own magic... and i do indeed derive great
               pleasure from my creative visions....


               I would fill you in...but my horoscope says, "Don't let anyone
               sweet talk you into sharing a private space that brings your
               hear contentment."
               Remember?

               and then Albert Einstein follows that up with, "The gift of
               fantasy has meant more to me than my talent for absorbing
               positive knowledge."

               ....


               are you going to fill me in on what feelings you are hiding,
               while delivering on your promises?

                                                 3
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           On Sat, May 19, 2018 at 8:06 AM, Nick Flor
           <professorf@gmail.com> wrote:
            Now I want to know what your secretly held dreams are!

            On Sat, May 19, 2018 at 3:33 AM, Eva R. Chavez
            <eva.r.chavez@gmail.com> wrote:
             Good Morning,

             What are your thoughts on today’s horoscopes?   ⚔☯




             Sent from my iPhone




                                      4
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                              Exhibit S1
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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Saturday, May 19, 2018 6:14 PM
To:                              Nick Flor
Subject:                         Re: JB files



WOW

NICK this is all too crazy!!!!

And no it’s not bad but the synchronicity here runs WAY to DEEP...there’ll never be enough time to tell you
about all the synchronicity you just unearthed just in this one response... it’s crazy buddy...

I get exhausted just thinking about all that writing... and it makes my back ache too...

Just the writing part makes my back ache...

This is WAY too synchronous ....

It just kinda went to another stratosphere buddy

Sent from my iPhone

On May 19, 2018, at 6:00 PM, Nick Flor <professorf@gmail.com> wrote:

       Well I do *love* playing guitar. I even published a paper on imitating songs. Why? Is that bad?
       I'll play for you one day. What do you want me to play?
       <image.png>


       On Sat, May 19, 2018 at 5:56 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        I know right !! WHo the F what’s this or anything under JB files!!! Lmao

           Sent from my iPhone

           On May 19, 2018, at 5:52 PM, Nick Flor <professorf@gmail.com> wrote:

                 Yeah, WTF under JB hahahah

                 On Sat, May 19, 2018 at 5:51 PM, Nick Flor <professorf@gmail.com> wrote:
                  Guitar is my passion.

                  On Sat, May 19, 2018 at 5:38 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
                  wrote:
                   Do you play the guitar?

                   And wtf is this under JB files of all things? Lol

                                                          1
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                             Exhibit T1
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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Sunday, May 20, 2018 12:06 PM
To:                               Nick Flor
Subject:                          Re: All about an Eva...



Nobody is playing a joke on you. This is me. This is #PlanetEva. It’s not a joke, and the synchronicity is real....

The improbability is my life, Nick.

It’s improbable that I’m even alive, and nothing but a miracle at that....

All that hummingbird stuff, everything I’ve told you is        % real, true and authentic....

I don’t get surprised at synchronicity because you literally do not know the extent of it in my life, it is how my
life works and functions on a daily basis... but all this stuff with you has been extra intense and meaningful to
me, odd and interesting nonetheless and I really haven’t even told you the half of it because it’s difficult to rule
it all... I have stories for centuries and ions, my friend....

If you stick around for the long run, and remain a loyal friend I’m sure you’ll eventually find out about all sorts
of interesting magic in planet eva realms... it never disappears .... it’s always here...

Sometimes it just gets hidden and pushed away with extreme and intense cycles... but that comes with the
territory ...

And as sad and intense as I can get, trust me when I say the opposite end of that spectrum is hardly imaginable
to the average mind.... I hesitate to hint about that realm, but trust me.... there’s far more there than the eyes
can see and that the mind can ever imagine... that’s all I have to say about that...

For now

♏    ✌       ☯

Sent from my iPhone

On May 20, 2018, at 11:36 AM, Nick Flor <professorf@gmail.com> wrote:

         haha okay. But it's just that the synchronicity is so improbable. There's part of me that's
         wondering: Is someone playing a joke on me? There are too many coincidences!

         On Sun, May 20, 2018 at 11:32 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
          I don’t fake anything just to humor anybody.

           I paid like $500 for this limited edition signed Alex grey pic years ago. I had it in my massage
           room and now it’s in my bedroom.




                                                           1
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People who have passed from this physical realm have been coming to me through
hummingbirds since I was a kid and I have tons of footage of hummingbirds since ions before
you and I crossed paths.

I would never fake something so intense and deeply to humor you... and all these
synchronicities are real

And the flowers, no joke dude that dates back for decades... just wait, you’ll see what I mean I
do not think you know the extent of it!!! I’m bummed you thought I’d humor you like that....
this is all super real to me.,.
<image1.jpeg>




Sent from my iPhone
                                                2
  Case 1:20-cv-00027-JAP-LF Document 22-2 Filed 03/16/20 Page 114 of 551


On May 20, 2018, at 11:24 AM, Nick Flor <professorf@gmail.com> wrote:

      I thought you were faking it just to humor me.

      On Sun, May 20, 2018 at 11:09 AM, Eva R. Chavez <eva.r.chavez@gmail.com>
      wrote:
       What do you mean? And yes, of course I’ve always loved hummingbirds and
       flowers, eternally. What do you mean and why do you ask?

       Sent from my iPhone

       On May 20, 2018, at 11:08 AM, Nick Flor <professorf@gmail.com> wrote:

              Yes! Thinks flowers and hummingbirds (do you really like
              hummingbirds?)

              On Sun, May 20, 2018 at 11:03 AM, Eva R. Chavez
              <eva.r.chavez@gmail.com> wrote:
               Yes, to help me focus on messaging Professor F all-day instead
               of letting out angst and anger at so many people,   or instead
               immersing myself into listening to Audios, podcasts, and
               documentaries all day while I do other things, mostly exerting
               anger and frustration through writing and becoming more
               stressed and in pain....

               I’m still in pain but I haven’t really done any of those other
               things lately ...

               Sent from my iPhone

               On May 20, 2018, at 3:57 AM, Nick Flor
               <professorf@gmail.com> wrote:

                      Aw, don't get down. You have so much positive
                      energy to give to the world. I think the universe
                      had us meet to help you focus it.

                      On Sat, May 19, 2018 at 11:30 PM, Eva R.
                      Chavez <eva.r.chavez@gmail.com> wrote:
                       Yooo... perhaps this has something to do with
                       all the 333’s?? Yes? No? Maybe so?

                       This report says my life path number is ‘3’

                       Even just the below screenshot pretty much
                       sums up my personality;

                       “Eva, you can be generous to a fault”
                       ‘You are emotional and vulnerable’


                                              3
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                 “You can become moody and cynical when
                 depressed. You can succumb to cynical
                 remarks, which can be painful to those around
                 you. When used positively, your talent for self-
                 expression can be a great inspirational force in
                 the world, uplifting others, and bringing much
                 success and happiness to you.”


                 It’s when I’m down that is worrisome buddy....
                 I’m telling you, PlanetEva works on extremes...,
                 worrisome extremes at time




                                       4
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                                  5
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                 Hey, I miss hearing from you


                 But I also need to feast my neck and back and
                 my right shoulder blade cemented stuck and
                 stagnant and do a million and one other things
                    .

                 Hey, Now YOU’re distracting me..., what
                 happened there?




                 Sent from my iPhone

                 On May 19, 2018, at 11:11 PM, Eva R. Chavez
                 <eva.r.chavez@gmail.com> wrote:

                        Attached is the longest report
                        about a 10/25/1984 #PlanetEva
                        that you will likely ever find, for
                        now.

                        I got this in 2013.... I’ll glance at
                        it every couple years or so (when
                        I remember about It) and there’s
                        a lot to the report that’s eerily
                        accurate....in some cases...

                        .... interesting stuff....

                        Let me know what you find out
                        if you ever glance at it ;) lol it’s
                        been a long time since I’ve
                        looked at it...

                        Happy numerology readings
                        about An Eva

                           ✌

                        Sent from my iPhone

                        Begin forwarded message:

                                 From:
                                 "Numerologist.co
                                 m"
                                 <mike@numerolo
                                         6
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                             gist.com>
                             Date: July 23,
                             2013 at 4:28:41
                             PM MDT
                             To: "'Eva'"
                             <eva.r.chavez@g
                             mail.com>
                             Subject: RE:
                             Deluxe
                             Numerology
                             Reading - Eva
                             Chavez NGIST-
                             473323/Q53NFM
                             GE

                             Dear Eva,

                             Thank you for
                             your order of a
                             Deluxe
                             Numerology
                             Reading.
                             (reference
                             NGIST-
                             473323/Q53NFM
                             GE).

                             I am confident
                             that you'll find the
                             attached reading
                             to be the most in-
                             depth
                             numerology
                             reading you'll find
                             anywhere, and I
                             hope you find it
                             deeply
                             insightful.

                             As promised, I've
                             also given you
                             access to a pile of
                             free bonuses.

                             I've hidden these
                             bonuses here:

                             http://www.Nume
                             rologist.com/mem
                             bers/view?a=8388
                             850-
                                    7
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                             34da6f&o=47332
                             3


                             I trust you enjoy
                             your reading.
                             Thanks again!

                             Warmest regards,
                             Mike Madigan.
                             http://www.Nume
                             rologist.com/


                       <EChav01P.rtf>




                                   8
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                             Exhibit U1
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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Sunday, May 20, 2018 3:08 PM
To:                               Nick Flor
Subject:                          Re: Immortal Man



That’s how I’m listening to it, through audible via Amazon        cool yeah listen . We’ll find other great ones too
now that I had to reactivate to listen to immortal man.

And yes, dude, I was very down. I’m been down several times but never to the extent I was on may 9 and 10th
prior to us connecting ! Really it was deep...I wanted to make it ALL stop once and for all

You’re my new bestie too

Sent from my iPhone

On May 20, 2018, at 3:02 PM, Nick Flor <professorf@gmail.com> wrote:

       I had no idea you were so down. But don't give up now. You're my new bestie! Okay, if they
       have the book in audible form on Amazon, I'll get it.

       On Sun, May 20, 2018 at 1:53 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        Oh wait, here’s another one that shows the intensity of how low I was...this was from that same
        day....

           I was truly ‘reaching as far as I could around’ for any help I could get, I wanted to die:




           And this was all before you responded to me

           Sent from my iPhone

           > On May 20, 2018, at 1:36 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
           >
           > This my good and dear friend.
           >
           > The only friend I really trust and take book recommendations from.... and there are always
           super timely for me and my life and I’ve listened to lots of them. Always helpful, always
           appreciated and I basically consume my mind with info, and especially positive info when I’m
           down or just audios etc, when I immerse myself into them.
           >
           > He sent me the below message and recommendation on May 9th because I was telling him
           how deep in the sunken place o was, deeper than ever before. I really really wanted to quit . I
           was reaching for so much help because I wanted to die.
           >
           > You and I met May 9th, but it was brief and I did not know you understood me, or that we
                                                           1
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would have a connection, on May 10th the very next day I had a counseling session that I will
still have to tell you because it’s so ironic and synchronous but way too much to type..., And
after that appt on the 10th I was the lowest of all lows and I thought to myself as I waited in the
waiting room for a ride, “this is crazy, I feel depressed and suicidal, I’m proactively seeking
help, and I feel even lower than ever.” To be in a waiting room of a place and feeling that way
AFTER an appointment that you paid for a sought help with is an empty empty isolating
feeling....
>
> Anyways I’ll have to write about how all the rest of it ties in somebody but my point of this
email was that had you and not crossed paths o likely wouldve listened to the below audio book
that day immediately and then several times over since....
>
> Because that’s why I do , I immerse myself into things..... but nonetheless I started listening
to It recently and I think you would enjoy it aspects of it... you should listen to it with me.....
>
> Well not with me per se lol, but separately and simultaneously... like while you’re working on
things or driving or traveling etc...
>
> Or playing your video games ;) ha! Or do you need to hear your friends and the bad guys
approaching? To kill them ?
>
> Anyways I’m teasing...
>
> But yeah you should listen with me, and I’ve heard countless really good and interesting
audio books that won’t saturate your mind....
>
> This email went on tangents but the whole point was to tell you what audio book I’m
currently attempting to listen to one when dear new pal Flor is not distracting me            . And
that you should listen with me if you want, give it a whirl... there’s some aspects I think you’d
like... otherwise though there’s lots of great audios, podcasts and books out there....
>
> And I’ll have to tell you more about the story of us meeting and you manifesting in my path
sometime as well...
>
> But I was deep deep in the cyclical sunken place but far worse than ever before, I believe...
>
> <IMG_7613.png>
>
>
> <image1.png>
>
> <image2.png>
>
> <image3.png>
>
>
> <IMG_7614.JPG>
>
>
>
> Sent from my iPhone
                                                2
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                             Exhibit V1
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From:                             Nick Flor <professorf@gmail.com>
Sent:                             Sunday, May 20, 2018 6:28 PM
To:                               Eva R. Chavez
Subject:                          Re: Hey, I’ll respond



Deal!!!!!

On Sun, May 20, 2018 at 6:26 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 ok, i will add it to the checklist, and sent it to you when i get the chance... to help us both out...

 Deal?

 #Egoscue ;)

 On Sat, May 19, 2018 at 4:44 PM, Nick Flor <professorf@gmail.com> wrote:
  I would if I could remember everything I had to do!

  On Sat, May 19, 2018 at 1:10 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
   lol, dork.


   so are you going to teach me, or not?

   On Sat, May 19, 2018 at 7:55 AM, Nick Flor <professorf@gmail.com> wrote:
    hahaha I just remember it helped trying to make sure everything was in alignment. I think it was called
    Egoscue. LOL

    On Sat, May 19, 2018 at 2:29 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
     what do you mean something Egoscue? lol what's that?

     sounds like the school that faculty in academia must've attended, lmao "Something EgoSchool" hahaha jk

     so are you going to teach me how to better align all parts of the body then?


     On Fri, May 18, 2018 at 10:43 PM, Nick Flor <professorf@gmail.com> wrote:
      I used to do some exercises (something Egoscue) to better align all the parts of my body.

      On Fri, May 18, 2018 at 10:42 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
       Yeah I have foam rollers and stuff like that.. I really do try everything... I’ve never fenced before... that’s
       cool you did. ⚔

         Sorry to hear you threw your back out... glad to hear you got some relief...

         Sent from my iPhone


                                                            1
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                             Exhibit W1
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From:                             Nick Vincent Flor
Sent:                             Monday, May 21, 2018 1:42 PM
To:                               Robin Luann Love; Tammy Cline; Darlene Trujillo
Cc:                               Eva Chavez
Subject:                          Need to Hire PA for Index Code: 224384



Hi Robin (& Tammy & Darlene),

I have to spend the $703 from my first NSF grant by August, and all my current students are off working
elsewhere, so I'd like to hire Eva Chavez (cc'd) just for the summer. Can we draw up a contract? This would be
a PA contract, I assume.

How would the hours work since I have a fixed amount?

If PA's make ~$20, that would mean approximately 35 hrs. Would it be 10 hours for 3 weeks, plus 5 for the last
week? Or 7 hours for 5 weeks? Or 5 hours for 7 weeks? A lump sum?

Let me know! Thanks,

- Nick
--
Nick V. Flor, PhD
Associate Professor - Information Systems
Interdisciplinary Film & Digital Media
Anderson School of Management
University of New Mexico
nickflor@unm.edu

Faculty Concentration Advisor
BBA-Interdisciplinary Film & Digital Media Program

Honorary Chair of Rum Studies Professor




                                                           1
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                             Exhibit X1
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From:                             Nick Flor <professorf@gmail.com>
Sent:                             Monday, May 21, 2018 3:38 PM
To:                               Eva R. Chavez
Subject:                          Re: 2018 Mid-Year Investment Outlook…Facebook Co-Founder Chris Hughes on
                                  Fighting Inequality…Taking China’s Stock Market Global



Bestie, Buddie and all the other good B-words

On Mon, May 21, 2018 at 3:36 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 B though?



 Sent from my iPhone

 On May 21, 2018, at 3:34 PM, Nick Flor <professorf@gmail.com> wrote:

           Thanks B!

           On Mon, May 21, 2018 at 3:33 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
            I used to forward all my GS alumni stuff to WR since he found them interesting and helpful...
            and all the newsletters and updates, but now I will forward then to you instead....
            Sent from my iPhone

           Begin forwarded message:

                   From: "BRIEFINGS from Goldman Sachs" <briefings@subscriptions.gs.com>
                   Date: May 21, 2018 at 2:53:10 PM MDT
                   To: <eva.r.chavez@gmail.com>
                   Subject: 2018 Mid-Year Investment Outlook…Facebook Co-Founder
                   Chris Hughes on Fighting Inequality…Taking China’s Stock Market
                   Global
                   Reply-To: "Do Not Reply" <reply-fe561572736c0d7e7211-103051_HTML-
                   262926941-1052278-0@subscriptions.gs.com>




                                                                                                            May 21, 2018




                                                         1
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                             Exhibit Y1
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From:                             Nick Flor <professorf@gmail.com>
Sent:                             Monday, May 21, 2018 8:21 PM
To:                               Eva R. Chavez
Subject:                          Re: The Big Spank - Velvet Cheeks



Yep!

On Mon, May 21, 2018 at 8:09 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 Anything?

 Sent from my iPhone

 On May 21, 2018, at 8:03 PM, Nick Flor <professorf@gmail.com> wrote:

           Anything that helps relieve you of pain!

           On Mon, May 21, 2018 at 7:55 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
            Very true.

            What do you think is appropriate?

            Sent from my iPhone

            On May 21, 2018, at 7:40 PM, Nick Flor <professorf@gmail.com> wrote:

                   Well if it helps relieve your pain, who cares what others think is inappropriate!

                   On Mon, May 21, 2018 at 7:30 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
                   wrote:
                    Yet perhaps anything misconstrued could also be an inevitability... not sure..,


                    Sent from my iPhone

                    On May 21, 2018, at 7:27 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
                    wrote:

                            I would love to accept any help I could get....
                            Truly.

                            Yet I hesitate on the ‘appropriateness’ of you assisting me with
                            the pain of which I’m afflicted....

                            Even a caring and intuitive hand on my back would be
                            desperately helpful and needed, yet such simple things can be so
                            difficult to come by, often misunderstood, and even different
                            impressions perhaps as well...

                                                           1
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          Idk dude... just rambles...

          I hate it..,

          I have theories of how I can get better but it’s in layers,
          probably will take the rest of my lifetime however long that is,
          and I’d have to definitely quit school and no law school or PhD
          either... this shit and intensity and pain is killing me, not so
          softly... daily!



          Sent from my iPhone

          On May 21, 2018, at 7:13 PM, Nick Flor
          <professorf@gmail.com> wrote:

                   Aw, I know it's not fair. But I'll help you through
                   it the best I can. Just let me know how I can help.

                   On Mon, May 21, 2018 at 7:09 PM, Eva R.
                   Chavez <eva.r.chavez@gmail.com> wrote:
                    It’s just really severe and intense and I get all
                    teary-eyed just thinking about and talking about
                    it and yeah it’s super extremely and I have to
                    live through it until I get to this this physical
                    realm and be pain free!’n

                    That’s what I tell myself everyday as I live in
                    pain.... “well, this severe intense pain means
                    that I’m alive...so for whatever it’s worth I
                    suppose I should be happy for this pain!”

                    Sent from my iPhone

                    On May 21, 2018, at 7:03 PM, Nick Flor
                    <professorf@gmail.com> wrote:

                           Aw, B don't give up. Are there
                           any activities that make it feel
                           better (you mentioned catch, but
                           anything else?) Does watching
                           movies distract you from the
                           pain?

                           I'm just really worried for you.
                           Sorry if I make light of it. I don't
                           mean to.



                                          2
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                             Exhibit Z1
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From:                             Nick Flor <professorf@gmail.com>
Sent:                             Wednesday, May 23, 2018 8:17 AM
To:                               Eva R. Chavez
Subject:                          Re: past lives // borns lyrics



It's good! Send more.

On Wed, May 23, 2018 at 2:14 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 Yeah, i really like that past lives song.....


 It was also one of the first songs i sent you.....

 On Tue, May 22, 2018 at 5:14 AM, Nick Flor <professorf@gmail.com> wrote:
  I know and the chapter I'm listening to now is about reincarnation. lol that song's about me and you.

  On Tue, May 22, 2018 at 5:12 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
   Indeed!!

   Sent from my iPhone

   On May 22, 2018, at 5:01 AM, Nick Flor <professorf@gmail.com> wrote:

           I was joking! Another great song

           On Mon, May 21, 2018 at 11:29 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
            I do feel like we’ve met before and I do feel like you can understand and/or at least
            communicate with me and *get* my sense of humor.... better than most ...

            https://youtu.be/_VxvCjWAf3U

            Except for when you’re insinuating I’m “stocking him, IMO” of course!


            Sent from my iPhone




                                                         1
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                             Exhibit A2
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From:                             Nick Flor <professorf@gmail.com>
Sent:                             Tuesday, May 22, 2018 8:30 PM
To:                               Eva R. Chavez
Subject:                          Re:                                             - interview



No! Aw, I wish I was there to caress the pain away.

On Tue, May 22, 2018 at 8:25 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 Okay, deal thank you! Tomorrow morning instead of Immortal Man perhaps..... during your writing.... ✍

 This way you can write for 2-hours straight uninterrupted during it and I’ll leave you be and you’ll love it and
 be amazed, and I’ll be grateful... and we can move in with our lives but I’m convinced I went to that thing so I
 can send you this years later because that’s something I would never do now! Be around that many people,
 travel to etc...,

 Plus just wait til you hear Wayne Dyer start talking to Abraham about waking up like at 3:13 every morning?
 Lmao early on too like within the first 20-mins or so...

 And do you even know anything about Wayne Dyer? Lmao

 He’s not amongst the living on the physical realm Anymore but I told you Esther and Jerry hicks have been
 following me for years ever since a psychic recommend me ask and it is given and the several wayne Dyer
 conferences I’ve been to all tie into all of this and you are underestimating the synchronicity in all of this...

 I can tell....


 Or at least not understanding it and plus it’s not your *reading list* silly !

 All you gotta do is freakin click on the link and *listen* it’s not rocket science buddy... you don’t even have to
 look at it... just a click... you dork... !!!’nn


 This is so painful to write and explain all this to you btw... my back

 Sent from my iPhone

 On May 22, 2018, at 8:16 PM, Nick Flor <professorf@gmail.com> wrote:

           Okay it's next on my reading list!

           On Tue, May 22, 2018 at 7:57 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
            And I did not mean at the *rope of importance .... I meant I told you it was at the *TOP and
            utmost importance.... likely and seemingly moreso than Immortal Man....


            Lol “the way I imagine the way you look saying them. “
                                                           1
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Sent from my iPhone

On May 22, 2018, at 7:52 PM, Nick Flor <professorf@gmail.com> wrote:

      No, just the way you say things and the way I imagine the way you look saying
      them. I don't doubt you!

      On Tue, May 22, 2018 at 7:48 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
      wrote:
       Haha thank you:... ☺ <embarrassed emoji>

       But why is that cute???

       It’s so easy to listen to, meant for you, and important! <not cute>

       Are you doubting me?




       Sent from my iPhone

       On May 22, 2018, at 7:34 PM, Nick Flor <professorf@gmail.com> wrote:

              hahaha B you're so cute sometimes.

              On Tue, May 22, 2018 at 7:32 PM, Eva R. Chavez
              <eva.r.chavez@gmail.com> wrote:
               Really??? Damn I’m already 22 mins into it and was hoping
               you were listening to it and can’t believe you haven’t already...

               You’re scientific mind must be underestimating me abs the
               importance of the things that I tell you are important - as that
               video is definitely at the rope of importance if you follow my
               email chain

               Ho hum. Tomorrow is fine

                  ✌

               Sent from my iPhone

               On May 22, 2018, at 6:35 PM, Nick Flor
               <professorf@gmail.com> wrote:

                       IT'S TWO HOURS!!!!! this means I'll never
                       listen to it.


                                             2
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                 On Mon, May 21, 2018 at 1:56 PM, Nick Flor
                 <professorf@gmail.com> wrote:
                  photoshop

                  On Mon, May 21, 2018 at 1:39 PM, Eva R.
                  Chavez <eva.r.chavez@gmail.com> wrote:
                   I sent you screenshots of the date and time of
                   when I took them... how can I make that
                   up????!’

                   Sent from my iPhone

                   On May 21, 2018, at 11:48 AM, Nick Flor
                   <professorf@gmail.com> wrote:

                          Are you sure you're not
                          making up these numbers? It's
                          so improbable!

                          On Mon, May 21, 2018 at 3:11
                          AM, Eva R. Chavez
                          <eva.r.chavez@gmail.com>
                          wrote:
                           So, this is the full-interview
                           that I was in attendance at and
                           snuck away to and sent you
                           the little clips of that I had
                           found in my iPad... it’s a
                           couple hours long but it’s a
                           great listen, and all the
                           meanwhile you can pictures
                           me sneaking there by myself
                           and being there in person on
                           11/13/13 when I took that
                           crazy 3:33 pic WAY before I
                           ever met you! Definitely
                           check it out, k? Promise?

                           https://youtu.be/3eeNKseLjo4


                           Sent from my iPhone




                                       3
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                             Exhibit B2
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From:                             Nick Flor <professorf@gmail.com>
Sent:                             Wednesday, May 23, 2018 8:17 AM
To:                               Eva R. Chavez
Subject:                          Re: past lives // borns lyrics



It's good! Send more.

On Wed, May 23, 2018 at 2:14 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 Yeah, i really like that past lives song.....


 It was also one of the first songs i sent you.....

 On Tue, May 22, 2018 at 5:14 AM, Nick Flor <professorf@gmail.com> wrote:
  I know and the chapter I'm listening to now is about reincarnation. lol that song's about me and you.

  On Tue, May 22, 2018 at 5:12 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
   Indeed!!

   Sent from my iPhone

   On May 22, 2018, at 5:01 AM, Nick Flor <professorf@gmail.com> wrote:

           I was joking! Another great song

           On Mon, May 21, 2018 at 11:29 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
            I do feel like we’ve met before and I do feel like you can understand and/or at least
            communicate with me and *get* my sense of humor.... better than most ...

            https://youtu.be/_VxvCjWAf3U

            Except for when you’re insinuating I’m “stocking him, IMO” of course!


            Sent from my iPhone




                                                         1
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                             Exhibit C2
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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Wednesday, May 23, 2018 7:41 PM
To:                               Nick Flor
Subject:                          Re: I cried



To sum it up without sitting up or going in depth. You may be 20-years older than me in these physical realm,
but keep in mind that I may be lifetimes, ions and ages older than....

Do you know how many times I’ve been told I was an “Old Wise Soul” since I was a kid... countless!!!
Literally countless....

I don’t get it as much anymore because people do not see the extent of it as I get older....

I can understand and appreciate your skepticism as skepticism can be a good, healthy and beneficial thing....and
I do appreciate the yin-and-yang aspect of it all but what you got to understand is to not underestimate me; my
knowledge, experience, intelligence, and even capabilities.....

I too was skeptical about all of it... but this was decades ago.....

When I randomly went to a psychic ages ago when I was struggling . The psychic told me I’m psychic and I
don’t even know it and have tapped into it.... and I had two completely different psychics at two completely
different times tell me the exact same thing.... back when I was skeptical and didn’t believe a damn word they
were saying...


The first psychic told me I would be a healer and people would come to me because of word or mouth...mind
you this was far before I went to Massage school and I was still struggling through the intensity of working for
Goldman Sachs.....

When the second psychic told me that o asked her how to tap into it and she recommended Ask and it is given
by Esther and Jerry hicks.....

This stuff has been in my consciousness daily for 11-years straight and has kept me alive and brought me to
you...

So for you to call her cray cray or to even not even have heard of her is cray cray to me... I mean what have you
been
Living that much under a rock or something... i mean she’s been around and known since the 80’s.....

Or for me to even send you that hilarious bunny video about that audience memory asking that question and you
not understanding the depth of the synchronicity of it all and not knowing that Esther was channeling Abraham
etc etc...

Because to me there is nothing crazy about her, Abraham, any of it....

The law of attraction thing has been in my consciousness for so long that it’s not new information for me at all.
It’s my life and how I live day in and day out.... it’s simple and basic and there’s truly really nothing to be
                                                            1
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skeptical about so that’s why o don’t understand why your scientific mind is trying so hard to be skeptical about
my life and day to day existence.....

Or even just sending you this hasty reply... you’ll take bits and pieces of it and put your own meanings to it
without understanding that this is such a nutshell version of each one of those stories and that I’m in pain even
responding back to you in the first place knowing that you won’t understand me or my life, my struggles, my
experiences, my vast insights and my many many many many lifetimes of Information that I’m delivering to
you as well for both of our benefit...

I’m not naive, I’m not gullible, I’m gifted, my intelligence and skills run deep, and I’m one of the biggest
skeptics you’ll ever meet (even throughout my endless kindness and positivity) so that’s why that message and
the one about you telling me you’ll get me drinking again frustrate me beyond understanding especially when
your mind cannot process how much time and pain and thoughtful do consideration I took in sending you all
those details and messages in the first place!

This is just a train of thoughts that I will not reread or edit but just don’t take any of my thoughts or words out
of context and Old don’t trying filling any of it in with your own assumptions of what my words in this message
may mean because it’s a hasty response....

<over>

Sent from my iPhone

On May 23, 2018, at 7:22 PM, Nick Flor <professorf@gmail.com> wrote:

         DOn't rush it then. We have time to figure it out in between working together.

         I think we all feel that way to some extent. I think a big part of it is that you give a lot of
         yourself, and people don't appreciate you and they step on you. It's BS.

         I'll here to help you through it. The best revenge is success.

         On Wed, May 23, 2018 at 7:19 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
          Yeah I do still need to explain that to you in writing.... of why I was annoyed at you.... but like I
          said all these things will take a lot out of me, take a lot of time to write, and contribute to my
          pain and discomfort in the process... so it’s a bit of a catch-22.


          And it’s been a rough day.... I’m telling you wanting to quit and give up and knowing that you
          cannot is a feeling that words cannot express.... no words....

          Sent from my iPhone

          On May 23, 2018, at 7:07 PM, Nick Flor <professorf@gmail.com> wrote:

                  hm? No it didn't.

                  On Wed, May 23, 2018 at 7:07 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
                  wrote:
                   Wait why did that last message send as an attachment like that?


                                                            2
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From:                            Nick Flor <professorf@gmail.com>
Sent:                            Wednesday, May 23, 2018 9:10 PM
To:                              Eva R. Chavez
Subject:                         Re: I cried



Okay here's how I see it, and I'm probably going to ramble too, but there are too many things that triangulate
and connect for it to be luck or coincidence. The 3's I've been seeing throughout the years, the 3's I've been
seeing ever since I met you, and that 3:33 in that old seminar you went to, and then the hummingbirds and
flowers and the songs, it's like the universe is saying to me "wake up dummy" this isn't coincidence.

And then everything you have me listen to, makes me think: "Oh yeah, that actually sounds right"

It's like we've been drawn together finally, after ages of looking for each other. And you've been doing all these
things in the past and collecting information for me and to prove to me this connection is real.

And finally, I didn't tell you this, but you're constantly on my mind. Like I'm supposed to do something
important with you, and this is my last chance.

Anyway, that probably doesn't make sense but it's what's on my mind.



On Wed, May 23, 2018 at 8:46 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 I’d rather give you more time and have you collect more thoughts than you abruptly responding... so that
 works.,,..

 Even though my response was abrupt and hasty itself... but I did want to at least respond with what I was
 feeling and where I was at with all of that....

 At least in a nutshell   you know...

 An outline of my thoughts and feelings...
 to help you better understand where I was coming from....

 Plus like I told you I would never go to a place like that anywhere with that many people so I did it for you and
 you also don’t understand my connection with Dyer either prior to him passing away so there’s that aspect too

 Sent from my iPhone

 On May 23, 2018, at 8:42 PM, Nick Flor <professorf@gmail.com> wrote:

           Okay, wait, I have more… give me a second to collect my thoughts.

           On Wed, May 23, 2018 at 8:40 PM, Nick Flor <professorf@gmail.com> wrote:
            Oh I agree with you!

           On Wed, May 23, 2018 at 8:39 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
                                                         1
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From:                            Nick Flor <professorf@gmail.com>
Sent:                            Thursday, May 24, 2018 4:55 PM
To:                              Eva R. Chavez
Subject:                         Re: More ‘Eva’ stuff everywhere lmao



Probably passionate lovers.

On Thu, May 24, 2018 at 5:06 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 yes, i wonder too!

 and that Past lives Borns song was one that i had heard before as well.... but not quite as synchronous and
 meaningful as it came to us this time....

 On Wed, May 23, 2018 at 8:08 AM, Nick Flor <professorf@gmail.com> wrote:
  It's true! I wonder what we were in our past lives.

  On Wed, May 23, 2018 at 1:20 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
   i love reading your messages as well, and i like your description of "Such a different way of looking at
   things, yet all tied together" ;)

   #Synchronocity...

   On Sun, May 20, 2018 at 11:30 PM, Nick Flor <professorf@gmail.com> wrote:
    All I know for sure is I love reading your messages! Such a different way of looking at things, yet all tied
    together, lol

    On Sun, May 20, 2018 at 11:24 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
     All I know is that I almost died... and then you appeared.... but supposedly you were there all along?

     And I still haven’t told you about the timing of all of that other than the desperate texts to my friend about
     how low I was feeling...

     That’s also why I’m excited for you to listen to immortal man with me because that was recommended to
     me the day I met you I’ll have to check the timings on how far about but I’m pretty sure you and I met at
     around 11:11 ish....

     All of that must be part of the synchronicity ...

     And who knows, the way my life works... immortal man may not have even been meant for me, but meant
     for you...

     I was just the messenger perhaps... definitely wouldn’t be the first time...


     But don’t worry I’ll relisten to it with you, separately and simultaneously , especially since you’ve been
     distracting me so much since my friend sent it to me!

                                                          1
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In a good way!

Sent from my iPhone

On May 20, 2018, at 11:17 PM, Nick Flor <professorf@gmail.com> wrote:

      I only *think* I did.

      On Sun, May 20, 2018 at 11:16 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
       But you existed before you met me, right??  ♀

       Sent from my iPhone

       On May 20, 2018, at 11:15 PM, Nick Flor <professorf@gmail.com> wrote:

                 Somehow you're creating reality and adding us into your life!

                 On Sun, May 20, 2018 at 11:14 PM, Eva R. Chavez
                 <eva.r.chavez@gmail.com> wrote:
                  It truly is an interesting theory....

                 But how would that work?

                 Life is my own hologram

                    ✌

                 Sent from my iPhone

                 On May 20, 2018, at 11:11 PM, Nick Flor <professorf@gmail.com>
                 wrote:

                         I know. Why is Eva popping up everywhere? What if we
                         really don't exist, only you?

                         On Sun, May 20, 2018 at 10:51 PM, Eva R. Chavez
                         <eva.r.chavez@gmail.com> wrote:
                          So my sister just sent me these texts... her curling iron says
                          eva on it, and these pictures and texts epitomize the
                          differences between my sister and I.... haha
                          Nothing alike....absolutely her and my mom are identical
                          twins though ...

                          But she and Raul are real twins in actuality... even though
                          Raul and I seem more alike lol. Anyways it’s, confusing
                          haha...

                          Point being though

                          There’s stuff with my name all over the place lately though
                          lol ‘Eva puppets’ lol you said that!
                                                    2
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              And she’s not referring to her curling iron photo about IG
              she’s referring to she got this new procreate app that she
              wants to learn (and has been talking about it for awhile)
              and she tried it for the first time and made that ‘Raina’
              image...so she was just telling me she was proud of it...

              Funny that her curling iron says ‘eva’ in the middle
              though, of had that happen a ton lately lol #PlanetEva
                ✌

              Also I think it’s cute that she’s been wanting to learn that
              app for awhile... I removed she told me she had a list of
              over 100 things she wanted to make. I was like “Over 100
              things??!!!” Haha




               Sent from my iPhone




                                        3
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                             Exhibit E2
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From:                             Nick Flor <professorf@gmail.com>
Sent:                             Thursday, May 24, 2018 5:10 PM
To:                               Eva R. Chavez
Subject:                          Re: Man does not remember....



LOL all your songs relate to us in some way. Interesting yet funny at the same time.

On Thu, May 24, 2018 at 5:38 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 Nick Vincent Flor

 ⚔

 The Man who Does not Remember

 On Wed, May 23, 2018 at 11:11 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
  Nick Vincent Flor

  ⚔

  That’s who!!!!!!!!!!!



  Sent from my iPhone

  On May 23, 2018, at 11:09 PM, Nick Flor <professorf@gmail.com> wrote:

           Who do we know like that?

           On Wed, May 23, 2018 at 10:56 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
            Man does not remember...

            So when he is *confronted with his own harvest, ....
            He denies it....”

            *confronted, not *continued


            Sent from my iPhone




                                                         1
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                              Exhibit F2
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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Thursday, May 24, 2018 6:45 PM
To:                               Nick Flor
Subject:                          Re: The Emails - Holographic



But when I first was emailing you through UNM you told me your students call you either ‘Nick or Professor
F,’ ? No?

But I’m not one of your students, I said....

And I do like calling you by your name....

But I also like Nick Vincent

I did not like ‘Professor F’ at first, but it grew on me and I’m okay with and like it now



Even Neko too grew on me

Sent from my iPhone

On May 24, 2018, at 6:41 PM, Nick Flor <professorf@gmail.com> wrote:

       I file yours in ERC, I think Nick is fine. I like when you call me Nick. I don't let any students call
       me by my first name, so it sounds kind of shocking, lol

       On Thu, May 24, 2018 at 6:20 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        Done Deal.
        Safer and more secure as a hologram ⚔


           What do you want me to file yours as? Once I’ve responded I currently move then to ‘Nick’
           and I like calling you by your name actually, and I did not even know I liked the name Nick....
           but I do is it short for something?

           Sent from my iPhone

           On May 24, 2018, at 5:29 PM, Nick Flor <professorf@gmail.com> wrote:

                  Deal!

                  On Thu, May 24, 2018 at 7:00 AM, Eva R. Chavez <eva.r.chavez@gmail.com>
                  wrote:
                   Put me as some type of holographic ev or otherwise unidentifiable name or
                   something.... in the case of a mishap at ASM or something of the sort, deal?
                   ⚔☯
                                                          1
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    And just so you know, WR and I NEVER communicated this much ! So it
    wasn’t anything akin , and I don’t even know his his gmail and only
    communicated with him as his student, GA, and supposedly ‘friend’ through
    UNM email....

    And if ppl do monitor my UNM emails (which I doubt because nobody reads
    my emails in the first place)... I’m sure they’d get a kick out of my UNM emails
    and all their intensity but it’s way too many words for people to read lol... it’s
    like the extent of the length of my emails backfires on their monitoring because
    it’s too much for a human brain and robot alike to monitor or comprehend... just
    an outlier....

    Anyways, I digress...

    Sent from my iPhone




                                           2
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                             Exhibit G2
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From:                             Nick Flor <professorf@gmail.com>
Sent:                             Thursday, May 24, 2018 9:05 PM
To:                               Eva R. Chavez
Subject:                          Re: Wordcloud



it will be the most romantic thing we've ever experienced, hopefully under a crescent moon

On Thu, May 24, 2018 at 8:49 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:


 Perhaps....

 ...

 If/when the timing is right?




 And,



 If that leads to something more?



 Sent from my iPhone

 On May 24, 2018, at 8:18 PM, Nick Flor <professorf@gmail.com> wrote:

           Can I caress your hair and kiss you on the neck too?

           On Thu, May 24, 2018 at 8:14 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
            I did not mention it prior.....


           But....

           ....

           ....

           Cuddling is one of my all-time favorite past-times


           .....
                                                          1
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Sent from my iPhone

On May 24, 2018, at 6:44 PM, Nick Flor <professorf@gmail.com> wrote:

      Yeah, when you tell me you're in pain, I just want to cuddle you and stroke you
      hair and caress you to sleep.

      On Thu, May 24, 2018 at 6:38 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
      wrote:
       But I don’t have a pool and I do not like being in a pool and the chlorine etc
       and germs and virus and bacteria and E. coli creatures and especially public
       pools where children and adults alike urinate a defecate in pools.... and I’ve
       always just had really weird and gross feelings towards swimming pools even
       since I was a kid and tried swimming lessons once, but I never really learned
       well because I was too scared it adamant or some sort of stigma ingrained in
       my mind who knows....

       Cuddles, healing vibes and caring intuition would also help as well and I do
       not need to be in chlorine water for that ;)
       But yeah maybe I’ll do some sort of float tank or sensory deprivation tank or
       something akin where I can safely float my back tension away... idk just
       rambles....

       All of it .... rambles....

       But yeah, you’re right...I’m sure it would help me.... and my back....

       Sent from my iPhone

       On May 24, 2018, at 5:18 PM, Nick Flor <professorf@gmail.com> wrote:

               That would REALLY help your back. When I had back
               problems I would just swim and it would relax my muscles.

               On Thu, May 24, 2018 at 6:04 AM, Eva R. Chavez
               <eva.r.chavez@gmail.com> wrote:
                i knew you were going to say that but i do not really want to
                learn and like i said i do not like pools or chlorine or other such
                weird things about pools. but yeah.... perhaps some lifetime....
                definitely not on the top of any I my priority lists though...


                 I think it would be helpful for my back...swimming that is... i
                 was not so opposed to and disgusted by pools
                 themselves....etc...

                 but thank you for the thought! ;)
                                               2
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                             Exhibit H2
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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Thursday, May 24, 2018 9:37 PM
To:                               Nick Flor
Subject:                          Re: Everybody is playing their parts...



Excruciatingly romantic?

Sounds great, now you must tell me more!!

Do tell.

Sent from my iPhone

On May 24, 2018, at 9:23 PM, Nick Flor <professorf@gmail.com> wrote:

        It's slow and excruciatingly romantic.

        On Thu, May 24, 2018 at 9:19 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
         You’ll have to tell me more about this sometime.....

           I want to know!!!

           Sent from my iPhone

           On May 24, 2018, at 8:46 PM, Nick Flor <professorf@gmail.com> wrote:

                  all and more!

                  On Thu, May 24, 2018 at 8:43 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
                  wrote:
                   “Everything. Cuddling...
                   And ALL?”

                   Sent from my iPhone

                   On May 24, 2018, at 8:13 PM, Nick Flor <professorf@gmail.com> wrote:

                          If it's what you need. Everything. Cuddling and all.

                          On Thu, May 24, 2018 at 7:55 PM, Eva R. Chavez
                          <eva.r.chavez@gmail.com> wrote:
                           EVERYTHING??



                           ....

                           Are you sure??!
                                                          1
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          Sent from my iPhone

          On May 24, 2018, at 4:51 PM, Nick Flor
          <professorf@gmail.com> wrote:

                Everything!

                On Thu, May 24, 2018 at 5:03 AM, Eva R.
                Chavez <eva.r.chavez@gmail.com> wrote:
                 what do you want to get together and do ? lol

                 On Wed, May 23, 2018 at 8:07 AM, Nick Flor
                 <professorf@gmail.com> wrote:
                  It's true! We were meant to get together and do
                  something

                  On Wed, May 23, 2018 at 12:56 AM, Eva R.
                  Chavez <eva.r.chavez@gmail.com> wrote:
                   WR is sound sound asleep as are other these
                   other peeps, knowing not what they do... but
                   we cannot condemn them because they are
                   playing their parts...

                   Haha!

                   Sent from my iPhone

                   > On May 23, 2018, at 12:53 AM, Eva R.
                   Chavez <eva.r.chavez@gmail.com> wrote:
                   >
                   > There’s some powerful stuff in here B! Ha!
                   >
                   >
                   > And WR unwittingly and unknowingly
                   played his part in bringing us together....
                   >
                   > Everybody did
                   >
                   > Sent from my iPhone
                   >
                   >> On May 23, 2018, at 12:43 AM, Eva R.
                   Chavez <eva.r.chavez@gmail.com> wrote:
                   >>
                   >> And you and I met for a reasons....
                   >> No doubt!
                   >>
                   >> <Image-1.jpg>
                   >>

                                      2
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                   >>
                   >> Sent from my iPhone




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                              Exhibit I2
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From:                              Nick Flor <professorf@gmail.com>
Sent:                              Friday, May 25, 2018 5:17 AM
To:                                Eva R. Chavez
Subject:                           Re: Breathing



Oh no, do you have asthma too? Are you going to be okay? Take a hot shower, that usually helps with the
breathing (and imagine me in the shower with you too :-)

On Fri, May 25, 2018 at 12:08 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 I’m like having trouble breathing right now dude... like my chest and lungs are super tight and struggling.....

 Not cool...

 I’m ok, I think... but it does not feel great....

 I’m just gonna take a break, and bath and listen to immortal man etc... and focus on breathing ....


 And hopefully it not being a struggle...

 Sent from my iPhone




                                                          1
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                              Exhibit J2
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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Friday, May 25, 2018 3:49 PM
To:                               Nick Flor
Subject:                          Re: Aries 005/25/18



Hi Nick,

Thank you so much for your messages, the love & the positive energy.... I truly need it.

So, no romance in the lifetime then?

After you have me all feeling a certain way...

Romance, sounds a bit more comforting than a book and research atm, but we’ll do
Great things indeed.... I just help need your support in healing too, or at least your positive energy....

I have not looked at it he tasklisk yet or anything else... just laying here... thinking of you.

Sent from my iPhone

On May 25, 2018, at 2:25 PM, Nick Flor <professorf@gmail.com> wrote:

        I hope you're getting a great rest, I've been sending a lot of love & positive energy. Yeah, I think
        we did a lot of romance in our past lives. Let's focus in this life on doing great things (book,
        research, etc.)!!!

        On Fri, May 25, 2018 at 9:41 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
         Thank you for caring!!

           It means a lot

           Sent from my iPhone

           On May 25, 2018, at 9:20 AM, Nick Flor <professorf@gmail.com> wrote:

                  EVA get rest!!! I'm worried about your health. Sorry I typed all that romantic
                  stuff and distracted you. You have me feeling a certain way too. I'm not sure how
                  it happened, but it feel so right.

                  On Fri, May 25, 2018 at 9:18 AM, Nick Flor <professorf@gmail.com> wrote:
                   wow that just slipped out. I was thinking B and I typed babe (you are my babe,
                   btw!)

                   On Fri, May 25, 2018 at 9:14 AM, Eva R. Chavez <eva.r.chavez@gmail.com>
                   wrote:
                    AND...
                    ...
                                                           1
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    You calling me’ babe’ ....

    ...totally makes me feel a certain way...

      ☯

    If you ever don’t hear back from me quickly or are missing my messages,
    reread old ones that you’ve already forgot about....

    I’m sure you’ll find something new....

    Know that I’m thinking of you....

    I’ll let you know when I go to rest my head

    Sent from my iPhone

    On May 25, 2018, at 9:01 AM, Nick Flor <professorf@gmail.com> wrote:

           That horoscope makes me want to make sweet love to you right
           now. But get your rest!

           On Fri, May 25, 2018 at 8:58 AM, Eva R. Chavez
           <eva.r.chavez@gmail.com> wrote:


            Thanks!

            Sent from my iPhone

            On May 25, 2018, at 8:48 AM, Nick Flor
            <professorf@gmail.com> wrote:

                    Okay babe, but you'd better rest and stop typing.

                    On Fri, May 25, 2018 at 7:47 AM, Eva R.
                    Chavez <eva.r.chavez@gmail.com> wrote:
                     Have a nice day B.

                       I’ll message when I’m gonna rest my head but
                      will probably be awhile because I need to get
                      out of switch clothes from washer to dryer,
                      hopefully get something to eat and a series of
                      other things... I hope to rest my head prior to
                      10am but we shall see

                      Just know I need to heal so much, now and
                      always

                                           2
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                  Sent from my iPhone




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                             Exhibit K2
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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Saturday, May 26, 2018 7:07 AM
To:                               Nick Flor
Subject:                          Re: Scorpio daily 05/25/18



Yes, I can imagine it....

Can you though? that’s the question

Plus, when are we going to get 73 hours?

......

I have some deep-seated theories on how to eventually help and fix my neck and back....

But they are layered, intricate, detailed, and intimate......

.....

It’ll take lots of time though, since it took 33 years for me to get this way and it’s a deep-seeded mess
....


Lots of lovemaking.


....

And your strong, caring, supportive and intuitive hands emanating love, healing faith and home all over my
body, but especially in certain spots on my neck, back, and sides....

.....


Until we can eventually released those deep dark and ugly monsters of pain that live within me and my
throbbing and pained body that debilitated me....

....

That’s just a nutshell version of my theory though.....

It may need some tweaking and testing though....


....

It’s mostly just my theory....
                                                            1
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Yet to be proven....


In anyway.....



But....

....

I’ve tried everything else....,

Sent from my iPhone

On May 26, 2018, at 5:14 AM, Nick Flor <professorf@gmail.com> wrote:

          I love how you describe it! And imagine 73 hours straight of me cuddling, caressing, kissing, and
          doing *everything* to your exhausted, overexcited body over and over…

          On Fri, May 25, 2018 at 11:13 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
           Totally did not plan on sending that at 11:11 either

          Just saw that now in my sent messages as it sent... you’re tripping me out buddy .....


          With your sorcery!!!

          Sent from my iPhone

          On May 25, 2018, at 11:11 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:

                  Oh, and btw, in #PlanetEva realms....



                  I’m not quite sure ‘me exploding in ecstasy’ is the best or most accurate
                  depiction,,...

                  ☯

                  instead....

                  Perhaps ...

                  More like a gushing and ever-flowing and omni/present wonderful, powerful,
                  intense, and Magical waterfall...


                                                          2
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   ... <catch my drift?>

            ✨

   It may take you awhile to eventually find the layered and ever-so magical
   waterfall s ...

   As well as the memory of them.. ✨

   But perhaps once you do... the floodgates with open up.... and all those memories
   will come GUSHING in (or out) and all-over.... from deep within your
   consciousness, where you’ve safely and secretly hidden them away.... locked
   them up <the memories> and threw away the key...

   So, perhaps in your own imagining it is you that will be ‘exploding in ecstasy’ so
   to speaks..... as you passionately rub, touch, caresses, and slowly kiss...

   ...attempting to bring me to the edge...
   again ...and again...and again.... and again....

   Did you ever think about or consider that one?      ☯

   ....
   <I also was not kidding about the whole ‘73-hour’ thing either....

   In PlanetEva realms      ✌

   Sent from my iPhone

   On May 25, 2018, at 9:13 PM, Nick Flor <professorf@gmail.com> wrote:

           … the best part is I'm going to slowly thrust in you while kissing
           you all over, but I'll stop right before you explode in ecstasy, kiss
           you passionately, then bring you to the edge again and again…

           On Fri, May 25, 2018 at 8:56 PM, Eva R. Chavez
           <eva.r.chavez@gmail.com> wrote:
            .....Sopping wet, hot and bothered, a bit woozy, Super distracted,
            passionate and intense, and pretty confused.....
            ✨


            I cannot even think straight....

            ...
            Ok, back to work then


                                               3
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          Plus I need to at least put this refrigeration stuff away and
          attempt to get organized... my place is a disaster I totally need an
          action plan for the next few weeks... I’ve been so consumed in
          nick world I’ve literally let go of any obligations or things I had
          or that were bothering me.....


          It’s amazing really. What you did....

          And his you shifted my focus...
          Sent from my iPhone

          On May 25, 2018, at 8:48 PM, Nick Flor
          <professorf@gmail.com> wrote:

                 No you have to tell me. The horoscope said so :-)
                 Okay, now I'll let you get back to work.

                 On Fri, May 25, 2018 at 8:39 PM, Eva R. Chavez
                 <eva.r.chavez@gmail.com> wrote:
                  I’m hesitant to tell you all the ways you have me
                  feeling today....

                  As it’s all intimate had very personal....

                  ...and I’m not sure why types of spell YOU cast
                  on ME, to have me feeling this way and that
                  way.... or however ways you have me feeling
                  and thinking....

                  Sent from my iPhone

                  On May 25, 2018, at 5:46 PM, Nick Flor
                  <professorf@gmail.com> wrote:

                          I'd love for you to tell me how I'm
                          making you feel.

                          On Fri, May 25, 2018 at 4:57 PM,
                          Eva R. Chavez
                          <eva.r.chavez@gmail.com>
                          wrote:
                           I also don’t even want to explain
                           to you in more detail of which
                           ways you’re making it me feel,
                           because then there’s a high
                           likelihood of you feeling certain
                           ways just by expressing you to
                           you what you’re doing to me,
                           and how you have me feeling
                           ‘certain’ ways...
                                          4
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                       Sent from my iPhone

                       > On May 25, 2018, at 4:37 PM,
                       Eva R. Chavez
                       <eva.r.chavez@gmail.com>
                       wrote:
                       >
                       > I want to tell you all my secrets
                       and show you all my magic, and
                       explore all sorts of magical
                       realms that you cannot even
                       imagine or comprehend, yet......
                       >
                       > I want to share so much with
                       you all of a sudden, and it kinda
                       scares me a bit and concerns me,
                       because it’s been awhile since
                       I’ve felt this way, and I therefore
                       do not know what to make of
                       it....
                       >
                       >
                       > I’m typically so confident in
                       my reason and logic, and what I
                       think is best.... but this feels
                       different to me.....
                       >
                       >
                       >
                       > These thoughts and feelings
                       are heavy on my mind..., what
                       are you thinking and feeling,
                       aside from publishing articles
                       and books and doing great
                       things, research discoveries and
                       propaganda.....
                       >
                       > I knew we will create magic.....
                       >
                       > I just feel like a confused
                       school girl all of a sudden and
                       I’m a bit vulnerable even telling
                       you these things, as I would
                       typically not be so forthright and
                       open about such things....
                       >
                       > It feels a bit out of my control,
                       currently....
                       >
                       > Sent from my iPhone
                                     5
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                       >
                       >> On May 25, 2018, at 4:29
                       PM, Eva R. Chavez
                       <eva.r.chavez@gmail.com>
                       wrote:
                       >>
                       >> Just looked at my daily
                       horoscope now, my back hurt too
                       much to check it earlier when I
                       sent yours .,.. I am in a bit of an
                       intense frame of mind today....
                       >>
                       >> ...And, it is challenging to
                       know what’s appropriate to talk
                       about and what’s not...
                       >>
                       >>
                       >> Also, you calling me babe,
                       and the though of you making
                       sweet love to me....
                       >>
                       >> it sparked something inside
                       of me...
                       >> And got me all feeling a
                       certain way (all woozy like) ....
                       >>
                       >>
                       >> I don’t know, just the
                       thought, and you caring for me,
                       it’s creating a certain dynamic in
                       me, and tapping into different
                       aspects of #PlanetEva realms.....
                       >>
                       >> ...and it makes me want to
                       attempt to share those magical
                       realms with you somehow....
                       >>
                       >>
                       >> But I do not know what is
                       best.....
                       >>
                       >> there is my truth for today...
                       everything I tell
                       >> You is my truth, but thinking
                       of you (in this way) is definitely
                       what’s on my mind today....
                       >>
                       >> And I cannot seem to make it
                       stop!!
                       >>
                       >> <IMG_7799.jpg>
                                     6
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                       >>
                       >>
                       >> You’ve consumed my
                       thoughts and mind completely,
                       since the day I met you.....
                       >>
                       >> Sent from my iPhone




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                             Exhibit L2
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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Saturday, May 26, 2018 7:31 AM
To:                               Nick Flor
Subject:                          Re: Fahrenheit 451



Ecstasy is never frustrating, is it ?

Even wreathing in anticipatory and delicious ecstasy sounds nice....

BUT WAIT.... I almost just missed this other message below about you deliciously, slowly, and ever so
intimately sliding inside of me....

So we can both feel every intense sensation along with it.... both moaning in pleasure....


You may not be even tell me or whisper on my ear how it makes you feel....


Might be a bit surprisingly and overwhelming....


Too much ✨

Even without the waterfalls powerfully flowing and activated...

Sent from my iPhone

On May 26, 2018, at 7:06 AM, Nick Flor <professorf@gmail.com> wrote:

        Now I'm going to have a hard time working as I imagine sliding deliciously in you over and over
        while you moan and I kiss you & whisper in your ear about how good you feel

        On Sat, May 26, 2018 at 7:02 AM, Nick Flor <professorf@gmail.com> wrote:
         I want to frustrate you with ecstasy so that when you finally give in and moan your love for me,
         we can go over the waterfall together as I kiss you passionately while we're falling

           On Sat, May 26, 2018 at 6:57 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
            Yes, better ☯

           ....and what’s all this talk about you teasing me though, ? and not letting me ‘gush in ecstasy,’
           all over YOU.....

           If you make me feel certain ways, there may be no stopping the flood gates for all your
           memories to come rushing and gushing....

           Such things take time though...

                                                          1
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And these special PlanetEva realms can be extremely intimate....


Otherwise though, lots of
✨




Also, you may whisper a lot more than just “mmm eva.”

Sent from my iPhone

On May 26, 2018, at 5:08 AM, Nick Flor <professorf@gmail.com> wrote:

       (better?)

       On Sat, May 26, 2018 at 5:08 AM, Nick Flor <professorf@gmail.com> wrote:
        … and me teasing you and not letting you gush with ecstasy until you admit
        that you love me … then as you moan it I'll whisper in your ear "mmm eva" as
        you overflow and release your magic waterfall

        (better)

        On Fri, May 25, 2018 at 10:18 PM, Eva R. Chavez
        <eva.r.chavez@gmail.com> wrote:
         ....
         Yeah....
         Stuff Like,

         ...you whispering my name, in my ear....

         ....followed by how much you like it ....
         And how good it makes you feel.... ☯

         ✨
         ....

         Sent from my iPhone

         On May 25, 2018, at 8:47 PM, Nick Flor <professorf@gmail.com> wrote:

                   haha okay I have to get back to my talk. I'll let you work.

                   On Fri, May 25, 2018 at 8:43 PM, Eva R. Chavez
                   <eva.r.chavez@gmail.com> wrote:
                    ‘Delicious’



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            Sent from my iPhone

            On May 25, 2018, at 8:39 PM, Nick Flor
            <professorf@gmail.com> wrote:

                  mmm eva

                  On Fri, May 25, 2018 at 8:38 PM, Nick Flor
                  <professorf@gmail.com> wrote:
                   lol sorry I'll let you work. I should get back to
                   work too (you're just so distracting… your
                   deliciously beautiful soul)

                   On Fri, May 25, 2018 at 8:36 PM, Eva R.
                   Chavez <eva.r.chavez@gmail.com> wrote:
                    Did you read my responses to your ‘slip’ up?

                    .,,.AND,

                    the thought of you whispering anything in
                    my ear; my name, babe, or otherwise....
                    (especially about how you feel) while deep
                    in the throes of passion.... is    distracting
                    to me atm in terms of getting real work
                    done.....

                    Sent from my iPhone

                    On May 25, 2018, at 8:30 PM, Nick Flor
                    <professorf@gmail.com> wrote:

                            I don't know, it just kind of
                            slipped out when I was
                            thinking about holding you
                            and typing

                            (I'll whisper it in your ear
                            while we're making love and
                            you're in ecstasy)

                            On Fri, May 25, 2018 at 8:27
                            PM, Eva R. Chavez
                            <eva.r.chavez@gmail.com>
                            wrote:
                             Really?
                             How did this happen though?


                             And yes, it really did make
                             me a feel a certain way when
                             you called me that
                                        3
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                          Sent from my iPhone

                          On May 25, 2018, at 5:33
                          PM, Nick Flor
                          <professorf@gmail.com>
                          wrote:

                                Thanks, you
                                really are my
                                babe.

                                On Fri, May
                                25, 2018 at
                                4:11 PM, Eva
                                R. Chavez
                                <eva.r.chavez
                                @gmail.com>
                                wrote:
                                 Well, you
                                 mean a lot to
                                 me.... and I
                                 want to
                                 support and
                                 encourage
                                 you, and
                                 seriously
                                 don’t listen
                                 to those
                                 fools!

                                 Be yourself,
                                 and I’ll be
                                 there with
                                 you.

                                 Sent from
                                 my iPhone

                                 On May 25,
                                 2018, at 5:10
                                 AM, Nick
                                 Flor
                                 <professorf
                                 @gmail.com
                                 > wrote:

                                        T
                                        H
                                        a
                                        n
                                        k
                                   4
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From:                           Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                           Saturday, May 26, 2018 7:55 AM
To:                             Nick Flor
Subject:                        Re: How will I get work done?



But you’re wrong, it was you who started opening up to me.... you called me ‘babe’ and then you followed that
immediately up with “That horoscope makes me want to make sweet love to you right now. But get your rest!”

And both of those adjective were prior to me even checking my own horoscope and both of those aspects and
commentary really did something to me and has me feeling certain ways that I’ve already described to you in
somewhat of vivid details....

So, it was YOU who started opening up to ME, and making me feel certain ways that I could therefore not
suppress after you brought them out in me by those two aspects and commentary....

So, you cast the love spell, YOU opened up, and you got me feeling things and ways that I have not felt in
awhile....


And you have my yearning to eventually test my theories, over time.....


YOU did all of that to ME....

I don’t think it was the other way around, but perhaps I’m mistaken ....

Sent from my iPhone

On May 26, 2018, at 7:23 AM, Nick Flor <professorf@gmail.com> wrote:

       I know. It's like we were meant to meet. And In a strange way your encounter and problems with
       WR are what brought us together — because if you were still his GA and happy, we never would
       have met probably.

       Anyway, don't be angry or sad. I see you as a genius with a generous and a kind soul who has a
       lot to offer the world.

       And I still think we were meant to work together and produce great things.

       When you started opening up, like the horoscope said, is when I started getting these intense
       feelings.

       On Sat, May 26, 2018 at 7:13 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        I’m not sure Nick....
        I’m not even sure what you’ve done to me or why I cannot think straight or get anything done
        myself.....


                                                        1
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I used to be so angrily productive with all my writings and unnecessary writing samples and
letters. And had I met you a week prior who knows I may not have ever written the Fagan
feedback nor that long-winded technology email....etc so on and so forth....


And I still have like 2-3 important things I need to write with deadlines that you completely
took off my radar......


You helped take my mind off a lot of things that were frustrating me deeply and I have not
really thought about or heckled WR once since I met you, about all my annoyances and anger
towards him, and RG secretly probably wonders what happened but o used to complain about it
a lot.....

WR, even though all he wanted was for me to quote heckling him and just give him peace and
to never contact him again, probably wonders what the H happened to me and if I fell of the
planet or something...

You really helped shift my focus....

I was in an angry, sad, frustrating and isolated loop for awhile there.... it was not good and you
helped me out....



And all those things I was sooo angry about, slowly faded to the background instead of taking
front and center stage to my thoughts and feelings.... of my existence...

Sent from my iPhone

> On May 26, 2018, at 5:20 AM, Nick Flor <professorf@gmail.com> wrote:
>
> … since you planted those romantic waterfall images in my head? lol




                                                2
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                             Exhibit N2
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From:                               Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                               Saturday, May 26, 2018 8:21 AM
To:                                 professorf@gmail.com
Subject:                            Where did my buddy go


The romantic, kind, and sweet nick?


Damn that twitter message for sending your romantic feelings out the door!!!

I bite my thumb at you Twitter!!!


I’m not sending you those notifications anymore now...,

I don’t like when twitter majesty you upset, and your romantic vibe slips away... because now mine has slipped away as
well...

Sent from my iPhone




                                                           1
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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Saturday, May 26, 2018 7:42 PM
To:                               professorf@gmail.com
Subject:                          Re: Totally worn out


Timing is everything though, and such deep and layered healing takes time....

And such power currents have to build over time is well...

Reread the one about my theories...

Of how we can heal me..,

Sent from my iPhone

> On May 26, 2018, at 7:37 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
>
> I meant I’m not kidding about the whole 73-hour thing ..., but planet eva realms can extend much longer than 73 hours
perpetually just as powerful and non stop...
>
> It’s always there. It’s the source...
>
>
> Sent from my iPhone
>
>> On May 26, 2018, at 7:34 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
>>
>> You got me totally tense exhausted and frustrated with a throbbing headache... and that reminds me about my
headache catch-22 that I need to tell you about ...
>>
>> And the facts of the matter are that I would not be the first to give in because I’m not home about this 73-hour thing
(no matter how much you do not understand what I am saying)....
>>
>> And I can be a wonderful, powerful, perpetual sopping and gushing waterfall all on my own... plus I’m used to it
because I live in PlanetEva realms lol...
>>
>>
>> You, apparently your brain cannot process what I’m saying or what feelings will flow throw your body and how all
logic will escape you once you just feel even an iota of what flood gates, magic and wetness that I’m actually referring to
because it’s clear you do not get it...
>>
>>
>> And I was not kidding about the layers... and finding the waterfall and what it’s going to take to get there and to heal
and everything else I’ve already described to you I’m such vivid and intimate details ...
>>
>>
>> But just know that there’s nothing about me that’s ordinary especially in terms of those types of intimate, sensual
and magical planet eva experiences ...

                                                             1
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>>
>> There’s nothing ordinary about it...
>>
>> Sent from my iPhone




                                              2
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                              Exhibit P2
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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Saturday, May 26, 2018 9:38 PM
To:                              Nick Flor
Subject:                         Re: Magical Waterfall



I do think it can eventually heal me though....


My theory....


But everything needs to be right ...

To make it all work out ....

And for the actual HEALing to even start begin... when you find and paste the theory I will try to explain to
you in more detail but I’m not gonna like I’m probably gonna cry in attempting to...

Sent from my iPhone

On May 26, 2018, at 9:34 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:

       Apparently this is all a lot more difficult to explain and understand than what I thought... no
       wonder I’m so misunderstood on top of everything else....

       Like for example you talking to me and telling me I’m detail those romantic types of things you
       want to can help me get there (if I wanted to take that journey)... even like your voice telling me
       those things from afar or over the phone etc....


       Doesn’t necessarily mean all the gushing and headaches and everything else I described to you
       on vivid detail would happen... in person... especially not at first... and not all at once either...

       This is an intimate, layered, detailed, and multi-faceted stratosphere that I do not like you quite
       know what you’re getting yourself into and I’m only attempting to help you understand.... the
       extremity, complexity, and depth of it all, nick!

       Sent from my iPhone

       On May 26, 2018, at 9:16 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:

                My life is one never ending climax....,

                I can gush and stop or I suppose passionate ‘climax’ during “Love-making” even
                without the gushing....,



                                                          1
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  But something that never finishes that I can reactivate Over and over and over and
  over again is not necessarily a climax is it?

  Maybe it is but it’s unrelated to the source of all waterfalls (me).

  Or maybe i do ‘climax’ and I just have the magically ability to do it over and over
  and over and over and over again, on demand, at my will or based upon other
  things and circumstances etc...

  I’m not average I’m not typical abs my abilities are indeed rare... I also wasn’t
  kidding about the research, the science, the ‘interviews’ everything I’ve cut and
  pasted you a million times that you were not understanding.....


  I’ve never understand people and what they think is ecstasy or passion...,

  Because mine runs deep and at completely different levels than most humans....

  I’m telling you we’re not talking 33-years here. We’re taking lifetimes!!! And the
  73-hours thing is a joke babe, because I am a human and I get tired after going 73-
  hours without sleep.. that’s kinda my self-proclaimed breaking point if non-
  sleeping even though I do go longer than 73-hours without sleep..

  The gushing and magic is me. It’s Eva. It’s perpetual. It’s omnipresent... has
  nothing to do with 73 hours...

  I can gush for infinity or at least for days... not flowing perpetually, of course...
  but still non-stop in the sense of never-ending....

  But I gotta rest at some point, dork!

  Catch my drift??

  Sent from my iPhone

  On May 26, 2018, at 9:06 PM, Nick Flor <professorf@gmail.com> wrote:

          Wait, so do you have a climax? Or is it that once "activated" the
          pleasure lasts a long time (for up to 73 hours).

          I'm just trying to understand so when I go back and re-read your
          theory (I'll paste it in a new thread), I'm not assuming anything.

          On Sat, May 26, 2018 at 9:00 PM, Eva R. Chavez
          <eva.r.chavez@gmail.com> wrote:
           Thank you I am appreciate that

           And I hope you find that theory because it was really important
           and there was lots of deeper meanings there....


                                             2
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         Do me a favor and once you find it, copy and paste it in a new
         email thread and let me know if that’s something you think you’ll
         be able to help me with and that we should work on, with your
         newfound insights?

         Thanks dearly in advance

         It’s very important     ☯
         Xoxo

         Sent from my iPhone

         On May 26, 2018, at 8:56 PM, Nick Flor
         <professorf@gmail.com> wrote:

                Got it! Now I feel like a jerk. (but hey, I'm a caring
                jerk :-)

                Okay, we'll work on this together. I think it's why
                the universe had us meet.

                I'll re-read that theory you sent me now. You just
                rest.

                On Sat, May 26, 2018 at 8:51 PM, Eva R. Chavez
                <eva.r.chavez@gmail.com> wrote:
                 I’ll try my best nick but my whole life has to be
                 this way...

                 What am I supposed to do just be like:

                  “hi professor F, nice to meet you. I’m super
                 sensual and sexual and passionately intense and I
                 don’t you were understanding how sopping wet
                 you were making me (or that I could be ) with all
                 your romantic stories ... and sometimes it makes
                 me want to gush all over, but a couple problems
                 there... I don’t really feel like cleaning up all
                 those messes and gushing, and there’s not enough
                 towels in the world and the bed will have to dry
                 and I want to rest my head later and I don’t feel
                 like throwing all the sheets to wash (again), and
                 waiting for the mattresses and everything else to
                 dry and ... the whole entire exhausting process
                 that gets old after awhile... of and there’s
                 debilitating throbbing headaches that I get when I
                 gush for 73 hour periods at a time.. while those
                 are already debilitating as is... what do you think
                 causes all of this? Why such intense gushing
                 capabilities over and over followed by
                 unexplainable headaches in the magical planet
                                          3
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               eva realms that no one has heard nor can imagine.
               Nice to meet you talk to you again soon.”

               ???

               Hahahaha is that what I’m supposed to do and
               say???

               Sent from my iPhone

               On May 26, 2018, at 8:42 PM, Nick Flor
               <professorf@gmail.com> wrote:

                      Oh Eva, I trust you. Not
                      understanding you doesn't mean I
                      underestimate you.

                      Okay, but if I don't know
                      something. Can you just tell me.
                      The subtext escapes me a lot of the
                      times.

                      On Sat, May 26, 2018 at 8:36 PM,
                      Eva R. Chavez
                      <eva.r.chavez@gmail.com> wrote:
                       That’s the part I was referring to
                       as well...

                       They’re just words and emojis to
                       you that you think you
                       understand....


                       Can’t you trust me that you’re not
                       understanding it ? And that your
                       brain is nothing one thing and that
                       you can ‘handle it’ and that you
                       do understand it and what I’m
                       saying is normal... and I’m like a
                       naive school girl or something....

                       Don’t you understand by now that
                       you should not underestimate me
                       and that if I tell you once you feel
                       certain thing or a certain way or
                       something you may have not felt
                       or experienced to a certain extent
                       even though your scientific mind
                       does not believe that and thinks
                       you know everything...,

                                       4
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                             Exhibit Q2
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From:                      Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                      Saturday, May 26, 2018 10:05 PM
To:                        professorf@gmail.com
Subject:                   Where are you??


Send me a story!!!

Sent from my iPhone




                                                  1
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                             Exhibit R2
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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Saturday, May 26, 2018 10:26 PM
To:                               Nick Flor
Subject:                          Re: Oops


I was gonna rest my head like 7-hours ago you’re always distracting me...

Send me more stories to wake up to and I need to know your response to the theory.

Goodnight dear

Sent from my iPhone

> On May 26, 2018, at 9:56 PM, Nick Flor <professorf@gmail.com> wrote:
>
> I sent you some stories thinking you had gone to sleep and you would see them when you wake up.




                                                           1
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                              Exhibit S2
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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Saturday, May 26, 2018 10:30 PM
To:                              Nick Flor
Subject:                         Re: You sent me stories?



Send me stories !! I’m gonna put my head down soon though, like 8 hours ago

Sent from my iPhone

On May 26, 2018, at 10:28 PM, Nick Flor <professorf@gmail.com> wrote:

       haha just some short sentences, an hour ago when you said you were putting your head down,
       but then we had a longer convo !

       On Sat, May 26, 2018 at 10:03 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        Or you just forwarded over my theory??

           Sent from my iPhone




                                                        1
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                             Exhibit T2
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From:                              Nick Flor <professorf@gmail.com>
Sent:                              Saturday, May 26, 2018 10:54 PM
To:                                Eva R. Chavez
Subject:                           Re: Theory



I want to make love to you in RL Eva, and I'll do anything you need to help you with your theory

On Sat, May 26, 2018 at 10:38 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 Romantic stories? Or romantic imaginings?

 Sent from my iPhone

 On May 26, 2018, at 10:34 PM, Nick Flor <professorf@gmail.com> wrote:

           Still thinking of a theory, but I have LOTS of romantic stories. You'll just have to wait.

           On Sat, May 26, 2018 at 10:10 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
            Response to theory?

            Sent from my iPhone

            On May 26, 2018, at 9:45 PM, Nick Flor <professorf@gmail.com> wrote:

                   ---------- Forwarded message ----------
                   From: Eva R. Chavez <eva.r.chavez@gmail.com>
                   Date: Sat, May 26, 2018 at 7:06 AM
                   Subject: Re: Scorpio daily 05/25/18
                   To: Nick Flor <professorf@gmail.com>


                   Yes, I can imagine it....

                   Can you though? that’s the question

                   Plus, when are we going to get 73 hours?

                   ......

                   I have some deep-seated theories on how to eventually help and fix my
                   neck and back....

                   But they are layered, intricate, detailed, and intimate......

                   .....

                   It’ll take lots of time though, since it took 33 years for me to get this way
                   and it’s a deep-seeded mess
                   ....
                                                           1
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    Lots of lovemaking.


    ....

    And your strong, caring, supportive and intuitive hands emanating love,
    healing faith and home all over my body, but especially in certain spots
    on my neck, back, and sides....

    .....


    Until we can eventually released those deep dark and ugly monsters of
    pain that live within me and my throbbing and pained body that
    debilitated me....

    ....

    That’s just a nutshell version of my theory though.....

    It may need some tweaking and testing though....


    ....

    It’s mostly just my theory....


    Yet to be proven....


    In anyway.....



    But....

    ....

    I’ve tried everything else....,




                                        2
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                             Exhibit U2
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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Saturday, May 26, 2018 10:57 PM
To:                               Nick Flor
Subject:                          Re: You have me feeling a certain way



I imagine you deep inside me, but I keep pushing you out with how      I am and it keeps blowing your
mind because you cannot understand what’s happening because you have experienced what I’m saying in such
a way before... in your lifetimes.....

And you keep wanting more and more and more....’

Trying to get to the source of all waterfalls .,.


And even when you think you may have found it... your not quite there yet....

And I do know if we’ll get there... but if we ever do something magical will Happen that neither of us can even
begin to imagine yet...

Sent from my iPhone

On May 26, 2018, at 10:52 PM, Nick Flor <professorf@gmail.com> wrote:

        I imagine you frustrated but I keep kissing you, and undressing you, then I lift you and slowly
        lower you so I'm in you, but I never stop kissing you and we make love with you lifted & pressed
        against the wall…

        On Sat, May 26, 2018 at 10:38 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
         Again ....


           If you only knew...

           Sent from my iPhone




                                                         1
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                             Exhibit V2
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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Sunday, May 27, 2018 8:37 AM
To:                               professorf@gmail.com
Subject:


I want you to whisper to me (in delicious pleasure) how good it makes you feel, how amazing it is, how badly you want
more, and especially how much you care about me and want to show me through your every touch and movement,
(both inside and outside of my pained and aching body).....

Once you do all of that....

Trust me, it won’t take much telling or convincing for me to give in, further release and admit to you...what you do to
me, and how you really make me feel....

Sent from my iPhone




                                                            1
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                             Exhibit W2
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From:                              Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                              Sunday, May 27, 2018 10:52 AM
To:                                Nick Flor
Subject:                           Re: Hugs...



It’s, still writhing like that... just picturing cuddling with you ....

My body is unconsciously searching for you next to me... because it cannot find you ...

So the cuddles feel empty

Sent from my iPhone

On May 27, 2018, at 9:47 AM, Nick Flor <professorf@gmail.com> wrote:

        mmm yes I can imagine your sensuous body writhing in the bed in pleasure

        On Sun, May 27, 2018 at 9:34 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
         No, everything else too ...



           I want you badly now too

           You got me all hot and bothered over here this morning ....

           Sent from my iPhone

           On May 27, 2018, at 9:27 AM, Nick Flor <professorf@gmail.com> wrote:

                  *hugs & cuddles*

                  Only kissing?

                  On Sun, May 27, 2018 at 8:42 AM, Eva R. Chavez <eva.r.chavez@gmail.com>
                  wrote:
                   I need some hugs and cuddles this morning babe .... I’m gonna lay here thinking
                   of you.....with your arms tightly wrapped around me .... kissing all the stress and
                   pain away..... from my back, neck, and shoulders....

                   Sent from my iPhone

                   On May 26, 2018, at 11:02 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
                   wrote:

                           You’ll always remember me when you go into your office, either
                           way.... but yeah maybe I can give you something more to
                           remember me by.....
                                                              1
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          Perhaps different from what you have in mind

          Sent from my iPhone

          On May 26, 2018, at 10:56 PM, Nick Flor
          <professorf@gmail.com> wrote:

                 So when I go into my office I'll always remember
                 you.

                 On Sat, May 26, 2018 at 10:51 PM, Eva R.
                 Chavez <eva.r.chavez@gmail.com> wrote:
                  I don’t think you’re being serious...
                  and, why would you want to do that ?

                  Turns you on?? ☯


                  Sent from my iPhone

                  On May 26, 2018, at 10:47 PM, Nick Flor
                  <professorf@gmail.com> wrote:

                         soon, in RL

                         On Sat, May 26, 2018 at 10:35
                         PM, Eva R. Chavez
                         <eva.r.chavez@gmail.com>
                         wrote:
                          When?

                          In your imagination?

                          Or in RL?

                          Or just in PE GM L = PlanetEva
                          Gmail.life

                          Sent from my iPhone

                          On May 26, 2018, at 10:31 PM,
                          Nick Flor
                          <professorf@gmail.com> wrote:

                                 *hugs* I want to
                                 make love to you
                                 there!

                                 On Sat, May 26,
                                 2018 at 10:09
                                        2
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From:                              Nick Flor <professorf@gmail.com>
Sent:                              Saturday, May 26, 2018 10:57 PM
To:                                Eva R. Chavez
Subject:                           Re: Hugs...



So when I go into my office I'll always remember you.

On Sat, May 26, 2018 at 10:51 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 I don’t think you’re being serious...
 and, why would you want to do that ?

 Turns you on?? ☯


 Sent from my iPhone

 On May 26, 2018, at 10:47 PM, Nick Flor <professorf@gmail.com> wrote:

           soon, in RL

           On Sat, May 26, 2018 at 10:35 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
            When?

            In your imagination?

           Or in RL?

           Or just in PE GM L = PlanetEva Gmail.life

           Sent from my iPhone

           On May 26, 2018, at 10:31 PM, Nick Flor <professorf@gmail.com> wrote:

                  *hugs* I want to make love to you there!

                  On Sat, May 26, 2018 at 10:09 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
                  wrote:
                   Where are you?
                   Where are my hugs?

                   And I’m not sure if that’s a good idea idea in your new office? Lol

                   And what did you mean you want me there??


                   Sent from my iPhone

                                                          1
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    On May 26, 2018, at 8:18 PM, Nick Flor <professorf@gmail.com> wrote:

          making love when you're frustrated is delicious. Now I want
          you at school, in my new office…

          On Sat, May 26, 2018 at 8:07 PM, Eva R. Chavez
          <eva.r.chavez@gmail.com> wrote:
           Send me hugs B...


           And btw - in not doubting your abilities as a lover, nor abilities
           to ‘handle’ me...

           I just didn’t know things were gonna take such an exhausting
           waterfall tangent...


           I could really use your nice strong caring and intuitive hands
           on my back and back right now, truly.... I think I’ll lay and
           picture that...

           Sent from my iPhone




                                         2
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                             Exhibit X2
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From:                     Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                     Sunday, May 27, 2018 11:49 AM
To:                       professorf@gmail.com
Subject:                  Mixing and Melding
Attachments:              image1.jpeg; image2.jpeg; image3.jpeg; image4.jpeg; image5.jpeg; image6.jpeg;
                          Untitled attachment 07868.txt


TOGETHER
As One:




                                                   1
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                             Exhibit Y2
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From:                       Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                       Sunday, May 27, 2018 11:55 AM
To:                         professorf@gmail.com
Subject:                    Heat is literally radiating


Off my body right now...

I’m so hot for you ...




Sent from my iPhone




                                                   1
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                             Exhibit Z2
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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Sunday, May 27, 2018 11:36 AM
To:                              Nick Flor
Subject:                         Re: Every email that’s not from you ...



I can imagine it too well....

But you CANNOT imagine how wet you just got me right now... you simply cannot...




.,..


I’m so swollen and wet for you...


Plus, I’m becoming ultra-sensitive to top it off....


....


And imagining ‘us’ - ‘mixing inside of me,’ as I gush all over You (pushing you out while tightening around
you) as we Magically melt, dissolve and Ebb and Flow together as ONE consciousness

☯

#Magic
Sent from my iPhone

On May 27, 2018, at 11:30 AM, Nick Flor <professorf@gmail.com> wrote:

        Can you just imagine our flows mixing inside you, mmm so risky but so deliciously sensual that
        we can't stop ourselves.

        On Sun, May 27, 2018 at 11:28 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
         And I want it... so bad...

           Sent from my iPhone

           On May 27, 2018, at 11:27 AM, Nick Flor <professorf@gmail.com> wrote:

                 so risky but you feel sooo good that I can't stop myself and I pull you in deep and
                 explode in you over and over

                                                         1
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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Sunday, May 27, 2018 11:51 AM
To:                              Nick Flor
Subject:                         Re: Every email that’s not from you ...



I’ve never wanted that so badly...

☯

.....




....

But I want it now, with YOU

Sent from my iPhone

On May 27, 2018, at 11:30 AM, Nick Flor <professorf@gmail.com> wrote:

        Can you just imagine our flows mixing inside you, mmm so risky but so deliciously sensual that
        we can't stop ourselves.

        On Sun, May 27, 2018 at 11:28 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
         And I want it... so bad...

           Sent from my iPhone

           On May 27, 2018, at 11:27 AM, Nick Flor <professorf@gmail.com> wrote:

                 so risky but you feel sooo good that I can't stop myself and I pull you in deep and
                 explode in you over and over

                 On Sun, May 27, 2018 at 11:24 AM, Eva R. Chavez <eva.r.chavez@gmail.com>
                 wrote:
                  Mmmmmm

                  Re: mixing your flow with mine



                  Sent from my iPhone

                                                         1
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    On May 27, 2018, at 11:20 AM, Nick Flor <professorf@gmail.com> wrote:

          mmm eva, I want to explode deep inside you and mix my flow
          with yours…

          On Sun, May 27, 2018 at 11:01 AM, Eva R. Chavez
          <eva.r.chavez@gmail.com> wrote:
           Makes me a little sad.... lol....

           ALL 150,520 thousand of them

           Especially all the Jik JuNk ones.....

           I’m just like “No!!! Go away! You’re not Nick! You’re nothing
           but a bunch of Jik JuNk! I don’t want to shop the top coins of
           2018 and no I don’t want to ‘Save our Oceans’ or organize a
           beach cleanup!! Wtf!! I just want to cuddle up to Nick’s
           messages and rest my head!!!”

           See what I mean about conspiracy theories!!! Haha jk...

           But I will have to tell you that RG story sometime. It was just a
           super bizarre planet eva unexplainable technology thing that
           caused a trickle down of confusion and misunderstandings for
           us both !




           Sent from my iPhone




                                           2
               Case 1:20-cv-00027-JAP-LF Document 22-2 Filed 03/16/20 Page 224 of 551




From:                           Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                           Monday, May 28, 2018 5:16 PM
To:                             Nick Flor
Subject:                        Re: Every email that’s not from you ...



Hey, don’t take this lightly or overlook this when I said:
       “I’ve never wanted that so badly...


       ☯


       .....




       ....


       But I want it now, with YOU “

I   cannot explain why I’ve never wanted that so badly and now ... I feel otherwise



Sent from my iPhone

On May 27, 2018, at 11:50 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:

       I’ve never wanted that so badly...

       ☯

       .....




                                                         1
       Case 1:20-cv-00027-JAP-LF Document 22-2 Filed 03/16/20 Page 225 of 551



....

But I want it now, with YOU

Sent from my iPhone

On May 27, 2018, at 11:30 AM, Nick Flor <professorf@gmail.com> wrote:

         Can you just imagine our flows mixing inside you, mmm so risky but so
         deliciously sensual that we can't stop ourselves.

         On Sun, May 27, 2018 at 11:28 AM, Eva R. Chavez <eva.r.chavez@gmail.com>
         wrote:
          And I want it... so bad...

          Sent from my iPhone

          On May 27, 2018, at 11:27 AM, Nick Flor <professorf@gmail.com> wrote:

                 so risky but you feel sooo good that I can't stop myself and I pull
                 you in deep and explode in you over and over

                 On Sun, May 27, 2018 at 11:24 AM, Eva R. Chavez
                 <eva.r.chavez@gmail.com> wrote:
                  Mmmmmm

                  Re: mixing your flow with mine



                  Sent from my iPhone

                  On May 27, 2018, at 11:20 AM, Nick Flor
                  <professorf@gmail.com> wrote:

                         mmm eva, I want to explode deep inside you and
                         mix my flow with yours…

                         On Sun, May 27, 2018 at 11:01 AM, Eva R.
                         Chavez <eva.r.chavez@gmail.com> wrote:
                          Makes me a little sad.... lol....

                          ALL 150,520 thousand of them

                          Especially all the Jik JuNk ones.....

                          I’m just like “No!!! Go away! You’re not Nick!
                          You’re nothing but a bunch of Jik JuNk! I don’t
                          want to shop the top coins of 2018 and no I don’t
                                                  2
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                want to ‘Save our Oceans’ or organize a beach
                cleanup!! Wtf!! I just want to cuddle up to
                Nick’s messages and rest my head!!!”

                See what I mean about conspiracy theories!!!
                Haha jk...

                But I will have to tell you that RG story
                sometime. It was just a super bizarre planet eva
                unexplainable technology thing that caused a
                trickle down of confusion and misunderstandings
                for us both !




                Sent from my iPhone




                                      3
               Case 1:20-cv-00027-JAP-LF Document 22-2 Filed 03/16/20 Page 227 of 551




From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Monday, May 28, 2018 5:26 PM
To:                               Nick Flor
Subject:                          Re: Every email that’s not from you ...



NOOOOOO you dork!!!! Don’t stop            you’re always reading my messages wrong!!

Sent from my iPhone

On May 28, 2018, at 5:21 PM, Nick Flor <professorf@gmail.com> wrote:

       aww you feel otherwise. Okay, I'll stop with my stories then.

       On Mon, May 28, 2018 at 5:16 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        Hey, don’t take this lightly or overlook this when I said:
                  “I’ve never wanted that so badly...


                  ☯


                  .....




                  ....


                  But I want it now, with YOU “

           I    cannot explain why I’ve never wanted that so badly and now ... I feel otherwise



           Sent from my iPhone

           On May 27, 2018, at 11:50 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:


                                                          1
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   I’ve never wanted that so badly...

   ☯

   .....




   ....

   But I want it now, with YOU

   Sent from my iPhone

   On May 27, 2018, at 11:30 AM, Nick Flor <professorf@gmail.com> wrote:

           Can you just imagine our flows mixing inside you, mmm so risky
           but so deliciously sensual that we can't stop ourselves.

           On Sun, May 27, 2018 at 11:28 AM, Eva R. Chavez
           <eva.r.chavez@gmail.com> wrote:
            And I want it... so bad...

           Sent from my iPhone

           On May 27, 2018, at 11:27 AM, Nick Flor
           <professorf@gmail.com> wrote:

                   so risky but you feel sooo good that I can't stop
                   myself and I pull you in deep and explode in you
                   over and over

                   On Sun, May 27, 2018 at 11:24 AM, Eva R.
                   Chavez <eva.r.chavez@gmail.com> wrote:
                    Mmmmmm

                    Re: mixing your flow with mine



                    Sent from my iPhone

                    On May 27, 2018, at 11:20 AM, Nick Flor
                    <professorf@gmail.com> wrote:

                            mmm eva, I want to explode deep
                            inside you and mix my flow with
                            yours…
                                          2
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                      On Sun, May 27, 2018 at 11:01
                      AM, Eva R. Chavez
                      <eva.r.chavez@gmail.com>
                      wrote:
                       Makes me a little sad.... lol....

                       ALL 150,520 thousand of them

                       Especially all the Jik JuNk
                       ones.....

                       I’m just like “No!!! Go away!
                       You’re not Nick! You’re nothing
                       but a bunch of Jik JuNk! I don’t
                       want to shop the top coins of
                       2018 and no I don’t want to
                       ‘Save our Oceans’ or organize a
                       beach cleanup!! Wtf!! I just
                       want to cuddle up to Nick’s
                       messages and rest my head!!!”

                       See what I mean about
                       conspiracy theories!!! Haha jk...

                       But I will have to tell you that
                       RG story sometime. It was just a
                       super bizarre planet eva
                       unexplainable technology thing
                       that caused a trickle down of
                       confusion and misunderstandings
                       for us both !




                       Sent from my iPhone




                                      3
               Case 1:20-cv-00027-JAP-LF Document 22-2 Filed 03/16/20 Page 230 of 551




From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Monday, May 28, 2018 5:30 PM
To:                               Nick Flor
Subject:                          Re: Every email that’s not from you ...



This

           I    cannot explain why I’ve never wanted that so badly and now ... I feel otherwise




Was supposed to mean that I feel confused and vulnerable because I 100% have never wanted that so badly....
re: imagining mixing and melding of flows...

But I Feel otherwise now in the sense that I want that now with YOU!!!!!

And that’s the part that’s driving me crazy because I cannot explain it!!

But I want it!!!

...

I wasn’t asking you to stop
I was expressing my frustrations and confusions with my desire for what you were explaining abs describing to
me...

YOU SILLY GOOSE!!!!

....



Sent from my iPhone

On May 28, 2018, at 5:25 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:


       I       cannot explain why I’ve never wanted that so badly and now ... I feel otherwise




                                                          1
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                             Exhibit A3
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From:                           Nick Flor <professorf@gmail.com>
Sent:                           Monday, May 28, 2018 5:03 AM
To:                             Eva R. Chavez
Subject:                        Re: Still Our song?



That's our song. I love that song. Kind of an ominous title though

On Sun, May 27, 2018 at 11:17 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 Think of you every time I hear it....




 Sent from my iPhone




                                                        1
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                             Exhibit B3
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From:                          Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                          Monday, May 28, 2018 10:50 AM
To:                            Nick Flor
Subject:                       Re: “Stocking” NVF; #Unfollow, LolnotLol



Be sure to read all the way to the bottom of the email chain I do not want you to miss my ranting and raving in
the first email that was blocked out by all those ridiculous images I included throughout....

I think they make have cut off my main message I was delivering

Sent from my iPhone

On May 28, 2018, at 10:39 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:

       Haha. Yeah right that ridiculous girl has more tweets than Donald J Trump! And you love her
       school girl tweets lol.

       Anybody thank find someone cool and intriguing that posts tweets about how much money they
       spend on make-up and thanking their boyfriends ex-girlfriend for playing her role with all the
       makeup they more simply CANNOT be on my cool people list (even though I don’t have a cool
       ppl list, because there is not many) ....

       JC clown club perhaps but not any cool clubs
           The link ed
           image can not
           be d isplay ed.
           The file may
           have been
           mov ed,
           ren amed, or
           deleted.
           Verify that
           the link
           points to the
           correct file
           and location.




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                                  2
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And then that girl says stuff like: “If you’re gonna try and play games with a girl over social
media don’t do it to the girl who literally got her degree to get a job in social media and knows
the ins and outs of all social media platforms

S/o to @ProfBenavidez for helping us swerve guys”

A couple tweets apart from: “Let your girl know where is hiring           ”

Lol it’s like “ok sis, sorry bout you having to curb all them guys with your ‘drop-dead gorgeous’
painted on makeup facadery (of that’s what ppl are calling it nowadays).... but how about let’s do
some maturing first.” Haha. Some people’s children .....

Lmao this are totally WR’s types of undergrads that he’d follow around like a puppy dog.... no
joke, and giggle at every pathetic and ridiculous thing they or ‘she’. I can do an impression of
him. I found it highly disgusting and annoying, didn’t go to over half of his classes and 16-pages
of the 26-page instructor evaluation (that o never submitted) is likely about that in and of itself....
his pathetic immaturity and ‘pretty’ undergraduate coeds lol - if that’s what one wants to call
them....

Anyways he joined the JB, JC, RD club with all the rest of those pathetic and disgusting fools
that have to flirt with undergraduates and hand out A+’s to them in order to make them feel good
about themselves and their lives complete and in attempts to get unassuming students to like
them and buy them expensive damn shoes....

Trust me I can write a dossier on this topic alone..... haha just didn’t think I would be including
your cool people in my research lol



...or how Dk can respond to one of WR’s duck lipped makeup caked dream girls about
something utterly stupid and unimportant tweets through twitter, but he cannot respond to my
important emails, just like WR or the rest of those fools!!!




                                                   3
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                                  4
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#ASM at its finest!!!

What a bunch of immature clowns and we wonder why NM is at the bottom of the barrel of
education, state-wide...


FreaKIn joke! Bunch of F ing giddy clowns roaming ASM!!!



Sent from my iPhone

On May 28, 2018, at 5:11 AM, Nick Flor <professorf@gmail.com> wrote:

       It used to be just students and faculty. I definitely don't interact with those people
       though and they hardly tweet—just a way for me to snoop on what they were
       doing back in the day.

       On Mon, May 28, 2018 at 5:09 AM, Nick Flor <professorf@gmail.com> wrote:
        LOL! Sorry over the years I've changed who the cool people are that I follow and
        I never take them off.

        Definitely many of them are not cool.

        On Mon, May 28, 2018 at 12:12 AM, Eva R. Chavez
        <eva.r.chavez@gmail.com> wrote:
         Also,
         Sorry B, but,
         #IMMEDIATE #unfollow for ‘this’ being considered ‘the Cool People’...            lol

         DUDE.............................
         now I don’t know if I can follow you any longer, AND, more
         importantly.....⤵⤵⤵

         “The Cool People” Club has OFFICIALLY lost its novelty and value...

         What, are you WR now all of a sudden or something??         Lol

         <these are the types of folks WR likes, follows, and has on ‘the cool ppl lists’
         on all his social media platforms... liking duckface photos galore, on the daily...
         which is why I eventually had to block him once and for all!>                   .I
         guess his wife okay with all of that as long as they are on his cool ppl list...



         You might as well just add a bunch of ‘duck lip’ photos as your cover photo on
         TWTR, and add WR to ‘the cool ppl’ list too, while you’re at it....



                                                  5
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    The two of you can start a giddy undergraduate schoolgirl club, become make-
    up affiliates, and have a photo booth for duck lip photos on site!

    I can picture it now! #soclearly

    And JB will likely want in on it too!

    Ok, there’s my writing about JB, we can check it off the checklist now, along
    with the previous commentary I’ve made about him here and there

    ....

    No more “stocking” of WRNVF twitters, that’s for sure!

    ...

    And then that way I won’t have to stumble across any JB commentaries along
    the way either .... thank goodness, win-win for everybody....

    ....

    In fact, no more twitter for me!

    The internet is now officially broken,....

    But it was fun while it lasted, (the TWTR experience), and I’ll always be
    forever grateful for your ‘Yes!’ on twitter....
    <and that will not change>

    ....

    But wait... does the Cool Club losing its novelty and value also diminish the
    value of the ‘Yes!’ ???


    Hmmm. I’ll ponder upon that one for awhile


    Hey, and while you guys are at it - why don’t you get Gillespie in on the mix
    too, god forbid he gets left out on the undergraduate makeup affiliate duck face
    extravaganza!




    Pffftt..
                                            6
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    #ASM #COOLPEOPLECLUBS
    ....

    Also, this girl always popping up all over the place lmao and was ALWAYS on
    WR ‘COOL PEEPS’ ‘duck face’ lists....

    You should seek her out, follow her on twitter, and her to the cool ppl... you
    and WR can share lists:




    Cool ppl lists that is lol, of course!
           . #barf #theNewCoolPPL



    Don’t forget to recruit JC the clown as well, I’m sure he would definitely come
    out of the woodworks for this project!

    Ok, there’s my writing about JC as well ✅
    Done.

    Sent from my iPhone




                                             7
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From:                               Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                               Monday, May 28, 2018 12:13 AM
To:                                 professorf@gmail.com
Subject:                            “Stocking” NVF; #Unfollow, LolnotLol
Attachments:                        image1.jpeg; Untitled attachment 08030.txt; image1.jpeg; Untitled attachment 08033.txt;
                                    image1.jpeg; Untitled attachment 08036.txt


Also,
Sorry B, but,
#IMMEDIATE #unfollow for ‘this’ being considered ‘the Cool People’...         lol

DUDE.............................
now I don’t know if I can follow you any longer, AND, more importantly.....⤵⤵⤵

“The Cool People” Club has OFFICIALLY lost its novelty and value...

What, are you WR now all of a sudden or something?? Lol

<these are the types of folks WR likes, follows, and has on ‘the cool ppl lists’ on all his social media platforms... liking
duckface photos galore, on the daily... which is why I eventually had to block him once and for all!>                   . I guess
his wife okay with all of that as long as they are on his cool ppl list...



You might as well just add a bunch of ‘duck lip’ photos as your cover photo on TWTR, and add WR to ‘the cool ppl’ list
too, while you’re at it....




                                                                1
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                             Exhibit C3
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From:                          Nick Flor <professorf@gmail.com>
Sent:                          Monday, May 28, 2018 12:13 PM
To:                            Eva R. Chavez
Subject:                       Re: Messages



Oh sorry I've beenbusy working On that presentation, I'll go back and find the ones I forgot to comment on.

On Mon, May 28, 2018, 10:45 AM Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 I did not send you more messages because I sent you sooook many that you didn’t respond to and some of
 them were important, some of them I poured my heart out into (literally) and asked you important questions,
 and some were just important to me in general....

 But you were too busy and either ignored them or blatantly overlooked those important ones especially that
 one that I spent sooo long typing and explaining to you ... not even a response!!!

 Sent from my iPhone




                                                       1
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                             Exhibit D3
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From:                              Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                              Monday, May 28, 2018 12:59 PM
To:                                professorf@gmail.com
Subject:                           Maybe it’s just my imagination


But I could’ve sworn I sent you about 33 messages yesterday morning that you did not respond to.

You asked about my cycles.., I described in more detail than you were likely interested in....

I asked about you, if you have kids, etc. why you don’t talk about yourself....


....


In a separate email I made mentioned if insights of taking a drive to Torreon with you...

I sent you all these images under the title of “melding and merging” as one when you had me all hot and bothered....


And I wasted ALL this time telling you how you were making me feel (that you did not respond back to) all while I
become late to my stuff and had a horrible afternoon and evening and kinda sad too

But you seemed to busy to care..


Even though I cared about you and your stuff...

Those are just a few of the messages off the top of my head, I think there was more but don’t worry about it....

I’ll just attempt to rest my head and body

Sent from my iPhone




                                                              1
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                             Exhibit E3
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From:                           Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                           Monday, May 28, 2018 5:08 PM
To:                             Nick Flor
Subject:                        Re: I think I'm caught up…



And MORE ....and MORE....

Sent from my iPhone

On May 28, 2018, at 5:06 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:

       But I’ll want MORE!!!

       Sent from my iPhone

       On May 28, 2018, at 5:02 PM, Nick Flor <professorf@gmail.com> wrote:

             don't get over it, just ask for a romantic story!

             On Mon, May 28, 2018 at 5:01 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
             wrote:
              Thank you

              I appreciate you responding to my messages

              It means a lot.....


              And I think it’s sad that I get sad if I don’t receiving them so I need to stop that
              and get over that     .:.. I think it’s just the vulnerable mode and mood I’m in
              and this too shall pass....

              Sent from my iPhone

              > On May 28, 2018, at 4:35 PM, Nick Flor <professorf@gmail.com> wrote:
              >
              > … now I'm distracted (lol), but I have to do that paper. Talk to you in a bit.
              >
              >




                                                        1
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                              Exhibit F3
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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Monday, May 28, 2018 6:59 PM
To:                               Nick Flor
Subject:                          Re: Oh and btw



Yes,

over and over and over and over again...


....


And just through your messages??

...that you ‘supposedly’ never write??
Hmm

It’s like stronger than us...
But our we tricking ourselves??

That’s what I want to know...

I feel my emotions pushed and pulled in different directions and it makes me confused, and a bit woozy...,
<and like I said, vulnerable too, I don’t like feeling vulnerable>


....Please tell me *I’m the only one way that’s made you feel ‘this way’ over and over and over and over again...




Sent from my iPhone

On May 28, 2018, at 6:51 PM, Nick Flor <professorf@gmail.com> wrote:

       You are so deliciously sexy, that's why. Please tell me I'm the only one that's made you this way
       over and over and over again.

       On Mon, May 28, 2018 at 6:28 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        You got me all      again with all your messages...


           Like through my clothing again and stuff and no caresses...


           Why do you keep doing that?
                                                          1
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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Monday, May 28, 2018 7:02 PM
To:                               Nick Flor
Subject:                          Re: Oh and btw



Plus,

I’ve already told you that I’ve never wanted ‘that’ so badly <what you keep describing to me in such vivid
details>

...

And I do not know why I want ‘that’ with YOU now...



Sent from my iPhone

On May 28, 2018, at 6:51 PM, Nick Flor <professorf@gmail.com> wrote:

        You are so deliciously sexy, that's why. Please tell me I'm the only one that's made you this way
        over and over and over again.

        On Mon, May 28, 2018 at 6:28 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
         You got me all      again with all your messages...


           Like through my clothing again and stuff and no caresses...


           Why do you keep doing that?



           ....



           Sent from my iPhone




                                                          1
            Case 1:20-cv-00027-JAP-LF Document 22-2 Filed 03/16/20 Page 254 of 551




From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Monday, May 28, 2018 7:12 PM
To:                              Nick Flor
Subject:                         Re: Oh and btw



And yes, I do have this ‘doubt’ ...

About what you are telling me,..

Sent from my iPhone

On May 28, 2018, at 7:09 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:

       So I’m not the only one that makes you feel ‘this way’ and ‘that way’ then?

       Hmmm.


       Haha

       Sent from my iPhone

       On May 28, 2018, at 7:02 PM, Nick Flor <professorf@gmail.com> wrote:

               I know, and all this doubt, just makes me want to lose myself in you even more
               and whisper your name and how delicious you are over and over , and how you're
               turning me on beyond my power to resist … mmm Eva nooo

               On Mon, May 28, 2018 at 6:59 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
               wrote:
                Yes,

                over and over and over and over again...


                ....


                And just through your messages??

                ...that you ‘supposedly’ never write??
                Hmm

                It’s like stronger than us...
                But our we tricking ourselves??

                That’s what I want to know...

                                                         1
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   I feel my emotions pushed and pulled in different directions and it makes me
   confused, and a bit woozy...,
   <and like I said, vulnerable too, I don’t like feeling vulnerable>


   ....Please tell me *I’m the only one way that’s made you feel ‘this way’ over and
   over and over and over again...



   Sent from my iPhone

   On May 28, 2018, at 6:51 PM, Nick Flor <professorf@gmail.com> wrote:

          You are so deliciously sexy, that's why. Please tell me I'm the
          only one that's made you this way over and over and over again.

          On Mon, May 28, 2018 at 6:28 PM, Eva R. Chavez
          <eva.r.chavez@gmail.com> wrote:
           You got me all       again with all your messages...


           Like through my clothing again and stuff and no caresses...


           Why do you keep doing that?



           ....



           Sent from my iPhone




                                          2
                  Case 1:20-cv-00027-JAP-LF Document 22-2 Filed 03/16/20 Page 256 of 551




From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Monday, May 28, 2018 7:18 PM
To:                               Nick Flor
Subject:                          Re: Oh and btw



....
And WHY do keep saying, “mmmm Eva nooo,”

I’d rather hear you say, “mmmm Eva wow yesss! Yesss! Don’t stop.”
<over and over and over again>

As you encourage me on ...
< and then beg and plead for more>....

...

Because there is more....

There’s always more...



Sent from my iPhone

On May 28, 2018, at 7:02 PM, Nick Flor <professorf@gmail.com> wrote:

       I know, and all this doubt, just makes me want to lose myself in you even more and whisper your
       name and how delicious you are over and over , and how you're turning me on beyond my power
       to resist … mmm Eva nooo

       On Mon, May 28, 2018 at 6:59 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        Yes,

           over and over and over and over again...


           ....


           And just through your messages??

           ...that you ‘supposedly’ never write??
           Hmm

           It’s like stronger than us...
           But our we tricking ourselves??

                                                         1
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That’s what I want to know...

I feel my emotions pushed and pulled in different directions and it makes me confused, and a bit
woozy...,
<and like I said, vulnerable too, I don’t like feeling vulnerable>


....Please tell me *I’m the only one way that’s made you feel ‘this way’ over and over and over
and over again...



Sent from my iPhone

On May 28, 2018, at 6:51 PM, Nick Flor <professorf@gmail.com> wrote:

       You are so deliciously sexy, that's why. Please tell me I'm the only one that's
       made you this way over and over and over again.

       On Mon, May 28, 2018 at 6:28 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
       wrote:
        You got me all      again with all your messages...


        Like through my clothing again and stuff and no caresses...


        Why do you keep doing that?



        ....



        Sent from my iPhone




                                               2
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                             Exhibit G3
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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Tuesday, May 29, 2018 6:33 AM
To:                               professorf@gmail.com
Subject:                          Summer GA


Please respond back to Tammy her thank her on the 3% and I’m too tired to respond back that I’m not currently enrolled
in s summer course , not sure if it matters or if you should mention or if I should respond later in the afternoon when I
think better but just wanted to drop a line while on my mind but I can seriously hardly stand and I feel really
light/headed

Sent from my iPhone




                                                            1
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                             Exhibit H3
             Case 1:20-cv-00027-JAP-LF Document 22-2 Filed 03/16/20 Page 261 of 551




From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Tuesday, May 29, 2018 11:06 PM
To:                              Nick Flor
Subject:                         Re: Diagram



This is adorable and sexy that you did this... you’ll have to explain it more at some point .

I don’t know what it means either, but I like that you did it and also that you were thinking ‘very hard’

Sent from my iPhone

On May 29, 2018, at 8:56 PM, Nick Flor <professorf@gmail.com> wrote:

       Hm, I'm thinking very hard about this. I did a clustering diagram, and it looks like there are a
       couple of theme groupings in that message

       <image.png>

       Not sure what it means yet...


       On Tue, May 29, 2018 at 8:19 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        You didnt answer on hard you were thinking

           Sent from my iPhone

           On May 29, 2018, at 8:16 PM, Nick Flor <professorf@gmail.com> wrote:

                 lol "coincidence"

                 On Tue, May 29, 2018 at 8:12 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
                 wrote:
                  How ‘hard’ ?

                  Please just don’t think too hard in all the wrong places .....


                  Yeah we connected telepathically but probably just a coincidence


                  I thought I doubt he’ll do a diagram and then the diagram email popped up

                  Sent from my iPhone

                  On May 29, 2018, at 8:08 PM, Nick Flor <professorf@gmail.com> wrote:

                         haha, we are connected telepathically.

                                                           1
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          Please rest! I'm thinking hard about this.

          On Tue, May 29, 2018 at 7:54 PM, Eva R. Chavez
          <eva.r.chavez@gmail.com> wrote:
           Not about the word cloud, I was just wondering if you were
           actually gonna do a diagram or not as you had said then then the
           email popped up....


           The word cloud is clever to though

           Did It give you any insights


           I can hardly write btw

           Sent from my iPhone

           On May 29, 2018, at 7:52 PM, Eva R. Chavez
           <eva.r.chavez@gmail.com> wrote:



                  You read my mind

                  ....

                  Sent from my iPhone

                  On May 29, 2018, at 7:50 PM, Nick Flor
                  <professorf@gmail.com> wrote:

                          The word cloud is the simplest,
                          maybe it can give insights:

                          <image.png>


                          On Tue, May 29, 2018 at 7:53
                          AM, Nick Flor
                          <professorf@gmail.com> wrote:
                           Okay. I'm not even sure what
                           kind of diagram to draw, but I
                           will think of something.

                           On Tue, May 29, 2018 at 7:07
                           AM, Eva R. Chavez
                           <eva.r.chavez@gmail.com>
                           wrote:

                                          2
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                        Hey, maybe you’re somehow
                        the center of the diagram


                        Sent from my iPhone

                        > On May 29, 2018, at 7:05
                        AM, Eva R. Chavez
                        <eva.r.chavez@gmail.com>
                        wrote:
                        >
                        > If you draw the diagram don’t
                        forget about THE
                        CYCLES!! Pls,
                        >
                        > The CYCLES encompass
                        everything, literally.,, so that
                        should someone be captured
                        and illustrated in the
                        propaganda diagram ... jk not
                        propaganda diagram... the Eva
                        life cycle diagram ...
                        >
                        > Thanks babe !!
                        >
                        >


                        >
                        > Sent from my iPhone




                                     3
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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Wednesday, May 30, 2018 12:47 AM
To:                              Nick Flor
Subject:                         Re: Diagram



Not sure why it’s sexy to me, lol      .... picturing you doing this... but it is

Sent from my iPhone

On May 29, 2018, at 8:56 PM, Nick Flor <professorf@gmail.com> wrote:

       Hm, I'm thinking very hard about this. I did a clustering diagram, and it looks like there are a
       couple of theme groupings in that message

       <image.png>

       Not sure what it means yet...


       On Tue, May 29, 2018 at 8:19 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        You didnt answer on hard you were thinking

           Sent from my iPhone

           On May 29, 2018, at 8:16 PM, Nick Flor <professorf@gmail.com> wrote:

                 lol "coincidence"

                 On Tue, May 29, 2018 at 8:12 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
                 wrote:
                  How ‘hard’ ?

                  Please just don’t think too hard in all the wrong places .....


                  Yeah we connected telepathically but probably just a coincidence


                  I thought I doubt he’ll do a diagram and then the diagram email popped up

                  Sent from my iPhone

                  On May 29, 2018, at 8:08 PM, Nick Flor <professorf@gmail.com> wrote:

                         haha, we are connected telepathically.

                         Please rest! I'm thinking hard about this.

                                                            1
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                              Exhibit I3
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From:                           Nick Flor <professorf@gmail.com>
Sent:                           Friday, June 1, 2018 4:57 AM
To:                             Eva R. Chavez
Subject:                        Re: Good morning!



I'll get you back to your routine B! FOCUS ON POSITIVE ENERGY. I'm going to send you some of mine.

Now that that talk is out of the way, I feel so relieved, and actually more hopeful about my research. The
brainwave stuff went really well. I'm going to buy one of those brainwave headsets and somehow combine
augmented reality with thought control.

On Fri, Jun 1, 2018 at 4:45 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:



 Hopefully the messages aren’t old and out/dated by now....


 A lot of them likely are

 Hope you feel better than I do...


 Glad somebody is back on some sort of routine, and it’s clearly not I

 Sent from my iPhone

 > On Jun 1, 2018, at 4:24 AM, Nick Flor <professorf@gmail.com> wrote:
 >
 > Yo B! Finally, back to my routine. Just wanted to say good morning and that I will respond to your messages
 after my morning writing! But just wanted to say hi.




                                                        1
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                              Exhibit J3
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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Friday, June 1, 2018 8:32 PM
To:                              professorf@gmail.com
Subject:                         Annoyed




Now I’m becoming annoyed because it feels as if your not reading any of my emails!!!
Sent from my iPhone




                                                          1
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                             Exhibit K3
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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Friday, June 1, 2018 9:44 PM
To:                               Nick Flor
Subject:                          Re: Emails and time delays etc



#Ridiculous
#unfollow
#youAreReillyWhite

Sent from my iPhone

On Jun 1, 2018, at 9:35 PM, Nick Flor <professorf@gmail.com> wrote:

       Yes ma'am.

       On Fri, Jun 1, 2018 at 9:32 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        Wow are you being serious right now ...?

           Okkk

           Sent from my iPhone

           On Jun 1, 2018, at 9:26 PM, Nick Flor <professorf@gmail.com> wrote:

                  well usually the body of the e-mail is the main point. I'll check out your subject
                  lines, but I usually scroll to the message

                  On Fri, Jun 1, 2018 at 8:42 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
                  wrote:
                   Oops I meant it was not the *main point

                   Sent from my iPhone

                   On Jun 1, 2018, at 8:30 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:

                          The throbbing toes was not the pain point of that email at all yet
                          that’s all you responded to

                          Sent from my iPhone

                          On Jun 1, 2018, at 8:26 PM, Nick Flor <professorf@gmail.com>
                          wrote:

                                  No kidding. Like I said, I've had a stubbed toe and
                                  it kills. And you have TWO stubbed toes.

                                  On Fri, Jun 1, 2018 at 8:22 PM, Eva R. Chavez
                                  <eva.r.chavez@gmail.com> wrote:
                                                           1
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                The throbbing toe and a multitude of other
                frustrations along with tedious email aspect and
                timing delays etc are all driving me crazy

                Sent from my iPhone




                                      2
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                             Exhibit L3
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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Saturday, June 2, 2018 8:41 AM
To:                               Nick Flor
Subject:                          Re: Believe it or not



Really?! Lol, that’s a new one.... ha! ;)


Hey, it’s okay if you don’t like me anymore and think I’m difficult to communicate with, but you don’t have to
make up silly stories about why no romantic stories while in pain ;) ha! Dork.


Probably the only thing that would help actually... lol not lol.

Everything else is just kinda frustrating at this point...       uggg

Everything is overpowered by the toe now though, so maybe that’s a good thing idk

Sent from my iPhone

On Jun 2, 2018, at 8:27 AM, Nick Flor <professorf@gmail.com> wrote:

        haha but your in pain, so I can't tell romantic stories during pain.

        On Sat, Jun 2, 2018 at 8:07 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
         Imagining you tickling my toes totally does not help, dork!

           Doesn’t sound sexy, nor comfortable lol

           Sent from my iPhone

           On Jun 2, 2018, at 7:37 AM, Nick Flor <professorf@gmail.com> wrote:

                  Hang in there B! Imagine me tickling your toes hahaha

                  On Sat, Jun 2, 2018 at 7:03 AM, Eva R. Chavez <eva.r.chavez@gmail.com>
                  wrote:
                   Believe it or not, but I still haven’t slept or rested. Tossed and turned
                   literally ALL night.

                   And that was after talking 2 sleeps pills already since like 9pm
                   yesterday.


                   Sent from my iPhone


                                                             1
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                             Exhibit M3
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From:                           Nick Flor <professorf@gmail.com>
Sent:                           Sunday, June 3, 2018 5:24 AM
To:                             Eva R. Chavez
Subject:                        But please realize…



… that like RG, I am constantly busy with academic things, especially my research. I'm on a mission to finish
it, in order to reach full professorship, which I'll need in order to make the changes I want at the business school
and in business school research in general.

Now I do take breaks when I get stuck (a lot of breaks) but that's why I like twitter. I can read quickly and post
an equally quick reaction.

This is my long way of saying, don't get down if I don't respond immediately to your messages or you see me
posting on twitter and not responding to you.

Your messages take more thought, than a quick break, skim, and post. So when I have a longer break, I promise
to get to them.




                                                         1
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                             Exhibit N3
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From:                           Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                           Sunday, June 3, 2018 5:26 PM
To:                             Nick Flor
Subject:                        Re: I care...



Also, this goes along with those other messages I just sent and not necessarily on this thread.... but you’re also
totally underestimating the effects of the cycles on you somehow ending up in a JC.files email thread, me
calling you WR etc, you saying I’m difficult to communicate with and all the other things that frustrated you,
that you felt were extremely bizarre, or did not understand....

....
And the even funnier part is that I spent several hours and hundreds of emails explaining that all to you and then
you you just told me I was difficult to communicate with and overlooked everything I’d spent days and hours
typing you....

....
sometimes intense pain, sleep deprivation, and frustrations does not make logical sense... and then add an
intensity that over powers ALL of that....

...

AND that’s actually when I need friendship the most <catch-22> ?

I’m actually happy all those WR, JB, JC issues and stories etc have come up because they would’ve all came up
eventually as well as my deep-seated animosity towards certain actions and behaviors demonstrated by
‘instructors’ throughout the years....

....

And aside from me calling you An WR because you hurt my feelings, and you ending up in a JC.file thread... I
truly do not put you in the category as those guys, at all. Plus, I’ve never had a class with you, I’m not your
student and I did not have to sit through an entire 16-weeks watching you annoyingly and disgusting flirt with
ridiculous young college coeds.... if that were the case, it would be a different story.. but you’re also my
friend... and none of those other guys were ever my friends in the least, (except for when WR told me and
convinced me that he was my friend)

....

I expect and hope that we can move on from this “extremely bizarre week” of attempting to understand one
another, lol..,

      ☯

Sent from my iPhone

On Jun 3, 2018, at 4:51 PM, Nick Flor <professorf@gmail.com> wrote:

                                                         1
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You're my pal, I wouldn't do that. Not in this lifetime. Hang in there B. We're friends and friends
support one another.

On Sun, Jun 3, 2018 at 1:29 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 Just don’t hurt me, or break my heart... pls...

 I beg of you....


 ...as you’ve done in past lifetimes.... apparently...

 ✨

 Sent from my iPhone

 > On Jun 3, 2018, at 1:26 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 >
 > Hey,
 >
 > Just know I care about you....
 >
 > And if you know anything about me, ‘THAT’ means A LOT!
 >
 >✨
 >
 > Sent from my iPhone




                                                   2
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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Sunday, June 3, 2018 8:49 PM
To:                              Nick Flor
Subject:                         Re: My toe



You should be proud of me that I successfully made it through the day thus far without complaining about my
toe....

And I spared you the pics since it looks worse, and I did not want you worrying about me....

It feels like 100 pounds right now, and totally throbbing.... taking a break half-way down the stairs atm because
it hurts too bad to finish the rest of the way....

Now I’m dwindling and was gonna write you more about the cycles but I don’t think I can do that... too
exhausted... just mainly that about this day my attachments start aching so intensely, like where my shoulders
attach to my arms for example.... get really achy and sore and I can’t even hold up a phone or text and simply
walking down the stairs is TOO sensitive on my breasts, chest, pec muscles, etc:... except for now when I’m
practically crawling down the steps...


I wish I could just rest my toe on your chest.... I meant rest my head on your chest

Although resting my foot on your chest in such a strategic (and romantic) way could also be helpful..., can you
picture it?
Haha, I don’t think you can

.....

.....
Anyways point being it’s been a ROUGH day with my toe, I hope the pain starts subsiding and stops throbbing
too....

Thank you for all your messages! I never take them for granted!

Sent from my iPhone

On Jun 2, 2018, at 6:30 PM, Nick Flor <professorf@gmail.com> wrote:

        Well pain killer should help, but only for a couple of hours. How was the party? Did you walk
        there? Uphill? In the snow? Both ways! lol

        On Sat, Jun 2, 2018 at 4:38 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
         Found out today I actually do not think it’s my pinky toe at all... just the ring toe and the entire
         right side of my front was crushed...



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Probably why I cannot our any pressure whatsoever ... but yeah pinky toe doesn’t hurt at all but
I cannot feel or move the rest of that side of the foot though, unfortunately .,.




                                               2
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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Monday, June 4, 2018 1:52 AM
To:                              Nick Flor
Subject:                         Fahrenheit 451 - Overall thoughts



Hey B,

as hopefully you already read in my other cycles message, that i am not too okay to be typing right now... but
just really quick i wanted to give you a few of my insights into Fahrenheit 451, and its totally tripping me out.

Clarisse McClellan = Me
Guy Montag = You

Except that I am not 17-years-old, you are not 31-years old, and you are not a fireman... Yet, in our past lives
though B, this is NO DOUBT us....

...I wonder if we make love in the book, I currently do not recall ... ;)

Yet, the book is bringing back tons of memories just in reading the first several pages...

and, i also used to have a bit of a 'thing' for firemen, at Clarisse's age, lol, and at the age of me reading the
book... anyways, i legitimatey had not opened or read this book since i was 16-years old or so.. and it's falling
apart, and has my high school stamped on it because i stole it from the school (i mean i did not steal it per se
because we had to pay for whatever books we did not turned in), but i did not turn it now, and now 17-years
later, i know why... and it's already tripping me out just reading it, and the memories it is bringing back... past
life memories...and especially since you are the reason i took it out of my shelf in the first place! so i could take
that 1984/Fahrenheit 451 book pic that i sent you on twitter, when we'd first met... ;)

...so, we may have to do a Clarisse/Montag ERC/NVF Synopsis separately from our propaganda synopsis',
since these newfound memories and insights are so detailed and shocking to me ;)

However, in terms of the Propaganda synopsis' and us working on the project, and relating it to present day
propaganda etc. it appears as though there are three parts to the book:
Part One: The Hearth and the Salamander (1)
Part Two: The Sieve and the Sand (69)
Part Three: Burning Bright (111)
Afterword: (167)
Coda: (175)

We should likely just finish Fahrenheit 451 first (each part and the brief summary/discussion), and then move
on to 1984, right..once done?
What are your thoughts?

When do you want the deadline for out Part One: Propaganda Synopsis as well as the 'Clarisse/Montag
ERC/NVF synopsis' to be?
Should we add this as it's own tab in the NVFERC Important Task List, or do you think we should start a new
worksheet altogether for this one? hmm. likely the latter? thoughts?
                                                           1
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Anyways B, i truly must rest my head (whether i sleep or not)...

really struggling over here... looking forward to hearing back from you with lots of lovely and thoughtful
message responses, either before, after, or during your writing breaks ;P and i will let you focus ;)




                                                        2
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                             Exhibit Q3
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From:                              Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                              Monday, June 4, 2018 9:48 PM
To:                                Nick Flor
Subject:                           Re: My toe



Why LOL @pressing my toes into your chest??            because I cannot put enough pressure.... yet?

Can you picture it?

I can imagine it.... not sure if you imagine what I’m imagining though lol,

Honestly I just want to talk about cuddles and resting my head on your chest and anything nice where I’m not
rambling about the incompetency and ignorance of others because I legit did that ALL day today, the LSAC
even hung up on me dude....

I think i hold the word record of being hung up on for complete competence and logic!!!

Like I’m not kidding dude I’ll ask people basic questions and their brains malfunction, truly....

But now I’m getting stressed again I just want you to send he really nice calm and comforting thoughts....

I know you don’t know how much I’m struggling.... in the background I talked about suicide all day today...,


I told my mom at least 5-times today I cannot do this anymore...:

The overwhelming feeling of proactively seeking help and nobody understanding a damn thing about you!!! So
painfully isolating.....

Sent from my iPhone

On Jun 4, 2018, at 9:20 PM, Nick Flor <professorf@gmail.com> wrote:

       LOL @ pressing your toes into my chest!

       On Mon, Jun 4, 2018 at 8:39 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        Can you picture it though?

           I don’t you really think you can... it’s less of resting the toe on your chest than it is of pressing
           the toes into your chest, but I don’t think I could put enough pressure to on my toes for that
           yet.... so might have to rest my foot on your shoulder instead of pressing it up against your chest
           lol ☺

           Sent from my iPhone

           On Jun 4, 2018, at 6:56 PM, Nick Flor <professorf@gmail.com> wrote:

                                                            1
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   lol "rest my toe on your chest"

   Yeah, it's been a real hectic day and I have a backlog of your messages. I too
   wish you could rest your head on my chest and we could just chill and talk.

   Today I had to move my office (didn't take too long), then I spent the rest of the
   day doing the finishing touches for my research grant, and preparing my pool for
   opening. Highly exhausting

   On Sun, Jun 3, 2018 at 8:48 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
   wrote:
    You should be proud of me that I successfully made it through the day thus far
    without complaining about my toe....

    And I spared you the pics since it looks worse, and I did not want you worrying
    about me....

    It feels like 100 pounds right now, and totally throbbing.... taking a break half-
    way down the stairs atm because it hurts too bad to finish the rest of the way....

    Now I’m dwindling and was gonna write you more about the cycles but I don’t
    think I can do that... too exhausted... just mainly that about this day my
    attachments start aching so intensely, like where my shoulders attach to my
    arms for example.... get really achy and sore and I can’t even hold up a phone or
    text and simply walking down the stairs is TOO sensitive on my breasts, chest,
    pec muscles, etc:... except for now when I’m practically crawling down the
    steps...


    I wish I could just rest my toe on your chest.... I meant rest my head on your
    chest

    Although resting my foot on your chest in such a strategic (and romantic) way
    could also be helpful..., can you picture it?
    Haha, I don’t think you can

    .....

    .....
    Anyways point being it’s been a ROUGH day with my toe, I hope the pain
    starts subsiding and stops throbbing too....

    Thank you for all your messages! I never take them for granted!

    Sent from my iPhone

    On Jun 2, 2018, at 6:30 PM, Nick Flor <professorf@gmail.com> wrote:




                                           2
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                             Exhibit R3
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From:                                    Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                                    Monday, June 4, 2018 10:24 PM
To:                                      Nick Flor
Subject:                                 Re: The Cycles - 28 days.



(I love you you call me babe too, btw)                like I told you before, it really makes me feel certain ways...

This response also really meant a lot me, B.

Yes, the pain is real, intense, visceral....

And you’re right, I don’t think anybody should have to live like this, and it is hard to believe, and extremely
misunderstood, even though it’s apparently a natural #PlanetEva process...

And even I do not want to do it anymore...

Like, I do not want to go on living like this anymore; not another month, nor another week, and not even
another day....

Thanks so much for trying, thanks so much for your words, and this particular response really meant a lot to me
babe.

Thank you for being here for me, and attempting so more often...

You helped me live and function 28-more days in this miserable planet eva life ....

Thanks for that. Not taken for granted...

Sent from my iPhone

On Jun 4, 2018, at 7:12 PM, Nick Flor <professorf@gmail.com> wrote:

        Aw babe, thanks for sharing this with me. Your description of the pain was so visceral. I can't
        believe anyone can live like that. I'll do what I can to help you through it, and I'll try to be more
        understanding of your issues. I apologize for not understanding you better. But I'll keep trying
        and we'll work through this. Don't give up. I'm here, and I'll try to be here more often.



        On Mon, Jun 4, 2018 at 1:23 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
         Yes, it is very interesting that the met on the first day of a cycle. I thought that was the case, but
         i went back to confirm prior to sending you that email...Interesting indeed.

           In response to your message of:
                    "Now you mentioned the last 5-7 days are the worst parts of the cycle. Is it just pain, or is it emotional as well. I
                    haven't finished reading all the details of the cycle messages that you sent me, but I'm doing it now."
           Yes, it's definitely physical pain, but also intensely emotional...as i wrote previously, and you likely read thereafter.

                                                                         1
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I also included that content from the '19-days' email that i'd detailed out for you specifically what would be happening in
the next 9-10 days, and also what was happening at that moment in time ,19-days into the cycle... I've included it
<attached> for our reference and attempts to map out and remember for next or future times, and especially since i had
just told you All of this 8-days or so ago... and you seemed to forget it all...
and when you asked how you could help, or what you could do, i mentioned just to be there for me.... especially during
those times etc...

and when my feelings were hurt and i was really struggling was when you told me i was difficult to communicate with,
which is why i retorted back with the WR thing, and the Jc thing was actually a completely unrelated topic to the WR
thing...

Anyways, I digress...

the point of this email is to attempt to explain to you what is currently going on with me 27-days wish into the cycle....
and how in credibly horrible it feels.... to helps us remember and for reference....

27-Days-in:
my stomach literally aches.... deeply. not like a regular stomach ache, but like a deep-seated, disgusting horrible ache...
like my body knows its preparing to feeling like my entire life force, energy, and soul even is being drained from body,
completely...
I can hardly even sit here to type you this... my lower bathe aches deeply and is completely uncomfortable. I cannot sit
still, and i cannot sit comfortable, EVER! but especially now... my neck, back and shoulders also ache too...bad... like a
deep exhausted and drained type of achy.... like growing pains as a kid, but nobody is growing anymore, lol not lol.
My stomach is literally gurgling, awaiting the life force to be drained out of it... no joke, it hurts.. already.... both my left
and ride sides are beginning to contract...and not only are my abs tightening up along with the curling on either sides of
my stomach, but it feels as if all of my entire insides and inner being our being prepared to be squeezed out of
me.... I'm permanently making this frown face as I type this too... just because it's so uncomfortable, and this is mainly
just the calm before the storm...

As i mentioned in a previous email to you....all of my attachments on my body ache, deeply... like for example, especially
where my shoulders connect to my arms etc... like i have mentioned several times already - i have
extremely horrible posture.... but when your lower back is throbbing more than your smashed toes, your insides are
gurgling in pain, and your hunched over frowning literally trying to push through each word without crying, or my entire
insides contracting fiercely, where i am 100% doubled-over in pain...then posture becomes at it's worst, making
everything that much more painful and awkward....

within the next 24-48 hours ish is when i will hardly be able to stand up, because the pain will be squeezing so tightly
inside me that i legitimately will be unable to stand up straight, and as i mentioned in that previous message:

"I will become debilitated, there will be times the pain in my sides will be so bad I
literally will not be able to stand up straight, and whether I’m in the shower or at
school or in the bathroom I will be like doubled over in pain and literally cannot
stand up straight because it’s so intense... people will not understand the
discomfort or pain or anything else that comes along with it... .or, what I’m feeling or
going through...

My emotions reach the tip of the scale and the iceberg. I can feel everybody’s
feelings and emotions so intensely... I carry the weight of the world on my
shoulders, back and neck..... and have empathy and sorrow even for ppl who
seemingly have it all (or who nobody needs to be feeling sorrow for); I see through
everything and I feel how people truly feel and think as I carry the weight and
burden of everybody’s troubles, worries, sorrows and insecurities.... simple things
will make me happy or sad or intensely emotional...

It will feel like all life has been sucked out of my body, like I cannot go on any
longer, like I do not want to function or live… everything aches, everything is
                                                               2
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frustrating and everything seems excruciating difficult and frustrating... conspiracy
theory things start to happen... certain types of hormones and feelings are like
radiating off me body and essence and ppl could feel the intensity of my energy
from miles away but they do not know why...."

What i described to you above is exactly what is happening to me right now and within the next 24-48 hours ish. I am
becoming completely debilitated, and there will be times the pain in my sides will literally be so intense that i will no
joke not be able to stand up straight. and as i mentioned before, whether in the shower, or at school in the classroom, or
bathroom, i will be hunched over and doubled-over in pain, and people will truly not understand why.... <even if i
explained it in vivid detail as i have done over and over and over again for you>

things is all different from the regular, daily pain and trauma from my car accident... this is a different, diisgustly deep
and intense cyclical other world planet Eva reals types of intensity and pain...

Literally my insides feel squeezed right now, and i am writhing in pain trying to message this, no joke...

i cannot walk down the stairs typically at this time because as i mentioned in the previous message, my breasts; chest,
pectoralis muscles etc. are completely sensitive, and even walking down the stairs hurts... but right now that is not an
issue since i am in too much pain still from the throbbing toe...

Ugggg B.... I'm incredibly in pain and uncomfortable... it's a deep-seated, disgusting and indescribable pain that i would
not really wish on anybody...it aches, it's exhausting... it's deep, painful...and sad.....

Tomorrow will be super rough for me, my dear B.....and this is all still prior to the cycle beginning again... which i will
let you know when that occurs (probably tmi) so you will know you have know the existence of and been my friend in
#PlanetEva for a full-cycle in all of it's pain and intensity throughout ... and you're right.... it is also approaching a month
of when we met! At least in this lifetime.....

and i still feel like we met much longer ago, but 'past lives couldn't ever hold us down,' B

i'm here for you now B... and i also need you now, and your messages too... pls. to cuddle up to...



uggg this disgusting pain!!! i seriously need to stop the doubled over feelings are beginning and as if the life is
being squeezed our of me from the inside out...

:'(
:'(
:'(
:'(

On Fri, Jun 1, 2018 at 4:32 PM, Nick Flor <professorf@gmail.com> wrote:
 Okay, well that is kind of interesting that we met on the first day of a cycle. So that means I get
 to see you through a full cycle.

 Now you mentioned the last 5-7 days are the worst parts of the cycle. Is it just pain, or is it
 emotional as well. I haven't finished reading all the details of the cycle messages that you sent
 me, but I'm doing it now.

 You said I could help map out your cycles, but then you had another idea. What was this idea?

 On Thu, May 31, 2018 at 4:37 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
  It’s also sheer chance, ‘coincidence,’ and miracle we met because Gouvea and I were not
  supposed to meet that day...

      And I remember all of it really well...
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...

Even the days leading up to it... day of, and days thereafter...

Sent from my iPhone

> On May 31, 2018, at 4:19 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
>
> I think the fact that I met you on the first day and that we can map it out in that way
>
> Makes it all the more intriguing, interesting... and synchronous....!!!
>
> Sent from my iPhone
>
>> On May 31, 2018, at 4:17 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
>>
>> What’s really cool about it all though is that you met me on the first day of the cycle.
>> Day 1: May 9th.
>>
>> So count 28-days from that cycle and the cycle begins again.
>>
>> I really have explained this to you a few times... and I’m not sure where you got the the
whole 18-day thing from when we were chatting, lol you dork.
>>
>> What woman’s cycles is 18-days??! and I really have explained this to you a few times...
>>
>> But it’s okay, I’ll forgive you....and cut you you some slack with your talk etc... but,
>>
>> Just try harder next time!!!!
>> <Btw that reminds me you never did respond to that one RG email I forwarded you about
the Eva Quote!! > it was likely forwarded through UNM mail early on....
>>
>>
>> Anyways I digress....
>>
>>
>> But yeah, we met on May 9th, day 1 of cycle. So count 28-days out (give or take, by
mostly 28-days)....
>>
>>
>> So, 28-days from May 9th would be around June 5th ish... give or take and at the point a
cycle will be complete and a new one begins....
>>
>> <I.e. re-read the ‘19-days email in its entirety ‘ because you obviously keep ‘skimming
over’ anything that has to do with cycles in the 1,111 emails we have sent (for whatever
reasons you overlook the cycles idk lol). >
>> Side note: also the ‘19-days’ part was in reference to his many days it had been since we
met at that point, (and I’m still not sure where you got the ‘18-days’ from, who knows...
perhaps your brain mingled and mashed all your ‘skimming’ and you turn natural 28-day
cycle into 18-days because I tell you that we met ‘19-days’ ago through the subject line in an
                                               4
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email? Lol     dork!
>>
>> But I’ll cut you slack because of your trip and talk but yeah ‘DON’T SKIM MY
EMAILS!!!’ Lolnot lol
>>
>> In same cases, that defeats the entire point if me even writing them....
>>
>> Just know we met 23-days ago on the first day of the ‘cycle’ and the next 5-7 days will be
the most intense and I keep telling you this over and over, and I suppose I can explain more
after you confirm to me that you’ve read all the details of my other emails about it, that you
follow and/or comment on what I’m saying, and ask any questions that you might have..... etc
that you’re somehow not understanding for whatever reasons lol.
>>
>>
>> And I had this idea that you can help me learn and map and understand the cycles
>>
>> .....
>>
>>
>> But then I had another, DEEPer, and more layered epiphany and insights thereafter that
kinda shifted everything a bit and was something I had not though of before....
>>
>>
>>
>> ....
>>
>>
>>
>>
>> ...
>>
>> Shifting of cycles in different ways, instead of mapping out, understanding, and managing
the ins and outs of them....
>>
>> Anyways,.. all rambles.....
>>
>> Likely completely lost in translation...
>>
>>
>> ....
>>
>> I just hope you start to understand at some point....
>>
>> ....
>>
>> Or at least begin to remember....
>>
>> ....
>>
>> And don’t hesitate to ask either....

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>>
>> ....
>>
>>
>> As everything is not as confusing as you’re making it out to be..,
>>
>> ....
>>
>> Especially when we keep explaining and going over it over and over and over lol
>>
>> ....
>>
>> You silly.
>>
>> ...
>>
>> Be well silly goose...
>>
>> You’ll do great!
>>
>>
>>
>>
>> Sent from my iPhone




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                              Exhibit S3
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From:                               Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                               Monday, June 4, 2018 10:45 PM
To:                                 professorf@gmail.com
Subject:                            Pls just send me a few


Pls just send me a few of your nice messages to wake up to ... like send them during the witching hour sometime during
8:11-11:11 am ish or something so that when I look for them I’m not sad

Honestly this will all likely change too, with the cycles..., me being needy for your messages, lol. I’m typically not this
needy,...

But for now though; I’m vulnerable, I’m in pain, I’m sad, down, and depressed, with very low self-confidence....

receiving your messages somehow make me feel better ....




Sent from my iPhone




                                                               1
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                             Exhibit T3
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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Tuesday, June 5, 2018 12:39 PM
To:                              Nick Flor
Subject:                         Re:



I can imagine this so clearly
“Just imagine me on top of you, our bare skin sliding over each other, my mind telling me to stop before I
explode, but my body thrusting deeper in you… while I whisper "no Eva we have to stop… mmm Eva, we have
to … mmm Eva"

Only thing is... I do not think you can imagine how sopping wet we will both be, slipping and sliding all over
each other with Eva’s magical slip and slide natural fountain juices all over the place ...

And yes, thank you for the delicious vibes... you have no idea how you’ve got me feeling in my exhaustion
even....



Sent from my iPhone

On Jun 5, 2018, at 12:28 PM, Nick Flor <professorf@gmail.com> wrote:

       Just imagine me on top of you, our bare skin sliding over each other, my mind telling me to stop
       before I explode, but my body thrusting deeper in you… while I whisper "no Eva we have to
       stop… mmm Eva, we have to … mmm Eva"

       On Tue, Jun 5, 2018 at 12:13 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        I’ve asked you to trust me that once that happens, all logic you once knew and everything and
        anything you thought you knew about life (and in your scientific mind), might just magically
        disintegrate into thin air....

           Sent from my iPhone

           On Jun 5, 2018, at 12:02 PM, Nick Flor <professorf@gmail.com> wrote:

                 … and we're doing it with no protection because it feels so good and I know I
                 should stop but all I can do is whisper your name over and over "Eva, mmm..."

                 On Tue, Jun 5, 2018 at 12:01 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
                 wrote:
                  There, the subject line status has now changed after your last few messages!!

                  Sent from my iPhone

                  On Jun 5, 2018, at 11:54 AM, Nick Flor <professorf@gmail.com> wrote:



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          Like when I'm whispering "mmm Eva…" over and over in your
          ear?

          On Tue, Jun 5, 2018 at 11:47 AM, Eva R. Chavez
          <eva.r.chavez@gmail.com> wrote:
           You think so??

          Perhaps in some cases

          Not necessarily all though

          Sent from my iPhone

          On Jun 5, 2018, at 11:44 AM, Nick Flor
          <professorf@gmail.com> wrote:

                 And imagining is more fun anyways!

                 On Tue, Jun 5, 2018 at 8:52 AM, Nick Flor
                 <professorf@gmail.com> wrote:
                  Aw, thanks!

                  On Tue, Jun 5, 2018 at 8:06 AM, Eva R.
                  Chavez <eva.r.chavez@gmail.com> wrote:
                   yeah, you seem to make it easy ! ;)
                   you and your romantic ways! :P

                   ...

                   hey - also, side note: i'm fine if you're romantic
                   stories do not come to pass....
                   According to Neville, they've all already
                   happened anyways, right? simply by us merely
                   imagining them....

                   ...

                   i'm not sure what to make of any of it, nor do I
                   know how serious you are being when you say
                   any of it, but I do know your friendship means
                   so much to me, especially now - and i do not
                   want to lose that.....i want it always.... now and
                   forever....

                   ...

                   i also know that i enjoy your 'romantic stories'
                   and they do make me feel certain ways.....



                                         2
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                  and i do not know WHY or WHAT to make of
                  any of it... because it's so unexpected and
                  unplanned..... yet also, rather timely.....


                  ....


                  i do not know what to think or say about any of
                  it.... i only know how important it is to me...

                  ....

                  and how nice it feels to read or messages, and
                  that you care.....

                  On Tue, Jun 5, 2018 at 7:06 AM, Nick Flor
                  <professorf@gmail.com> wrote:
                   I only started with you! I've never done this
                   before. It's easy… I just imagine you in my
                   arms and go from there.

                   On Tue, Jun 5, 2018 at 6:43 AM, Eva R.
                   Chavez <eva.r.chavez@gmail.com> wrote:
                    I was going to ask what type of dancing,
                    when i first saw this.... but i have since found
                    out that you mean romantic slow dancing
                    with you running your hands all over your body as we
                     slowly circle....

                     and yes, that definitely has me feeling certain ways...

                     ....



                     where did you learn to write so romantically?
                     <pondering emojis>

                     On Mon, Jun 4, 2018 at 7:23 PM, Nick Flor
                     <professorf@gmail.com> wrote:
                      NO Stay strong B! Tell me what is wrong?
                      Is your toe better? I am worried about you
                      after that description of the cycle pain.

                         Hey, do you dance? Can we dance together
                         sometime?

                         On Mon, Jun 4, 2018 at 1:15 PM, Eva R.
                         Chavez <eva.r.chavez@gmail.com> wrote:


                            Sent from my iPhone
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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Wednesday, June 6, 2018 2:14 AM
To:                              Nick Flor
Subject:                         Re:



Btw - I think it’s adorable that you told me you will, after you turn in your homework and rest your head


Sent from my iPhone

On Jun 5, 2018, at 11:15 PM, Nick Flor <professorf@gmail.com> wrote:

       haha I will after I turn in my homework and rest my head…

       On Tue, Jun 5, 2018 at 10:36 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        And, how right do you think that’ll feel?


           Sent from my iPhone

           On Jun 5, 2018, at 10:32 PM, Nick Flor <professorf@gmail.com> wrote:

                 Damn, that was very romantic & sexy!

                 On Tue, Jun 5, 2018 at 9:30 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
                 wrote:
                  How right do you think it will feel when we dive really DEEP into the realms of
                  bliss and you can feel all my immense and overwhelming sexual energies
                  oozing, gushing and enveloping you into a delicious ecstasy that neither of us
                  has ever quite experienced before....

                  And Babe, you won’t be able to STOP!
                  Trust me, neither of us will....

                  But yet there’s SOOO much more to give....
                  And you can still keep getting closer and closer and closer, even when you feel
                  like you cannot go any deeper or get any closer, there’s still more!!!

                  Tell me what you want, and what you want to hear me tell you and whisper to
                  you, ever so intimately ....




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    I want you to tell me EVERYTHING!

    Sent from my iPhone

    On Jun 5, 2018, at 9:19 PM, Nick Flor <professorf@gmail.com> wrote:

          I'm the same way! I never talk this way. It's strange but at the
          same time feels right.

          On Tue, Jun 5, 2018 at 9:15 PM, Eva R. Chavez
          <eva.r.chavez@gmail.com> wrote:
           Hey, did you read all these sexy message threads?

           Also, when you said “… and we're doing it with no protection
           because it feels so good and I know I should stop but all I can
           do is whisper your name over and over "Eva, mmm..."


           And my response to that was:
           “Yes, but of course.....
           Because it’s meant to be....”


           ....


           Haha, I’m tell you B, comments like that are so far from an sort
           of regular type of Eva comments, your mind would be blown....


           I’m telling you, any of my former best friends or anybody I ever
           dated would straight call out BLASPHEMY.... it’s just not
           something I’d typically do or say....


           I mean I know for a fact I’ve changed, in countless ways, in the
           past 19-months or so.... I used to be so outgoing and super
           sociable... the life of the party, literally... I would make
           everybody laugh and feel comfortable , and had the most
           interesting and diverse group of friends of anybody, ever..... so
           many stories about the former Eva....


           Now though, I’m not very sociable at all, I’m in secure, I
           literally cannot stand being at parties or around ppl. Btw I did
           have to end up making the graduation party on Friday and it
           was the epitome of how much I’ve changed... I cannot even
           hold a conversation with anybody anymore without being
           awkward..... but hey, all good. There’s also some good and
           positive aspects of this new Eva.... and of course, everybody

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          misses that Old Eva, as do I.... but really, it was time to move
          on....


          But anyways I digress....


          Just now when I tell you stuff like:
          “Yes, but of course.....
          Because it’s meant to be....”

          In response to you saying we should partake in delicious,
          intense and passionate love-making, without protection...

          Well, that’s not exactly what you said, what you said was “…
          and we're doing it with no protection because it feels so good...”

          Anyways, just know that my responses to you are uniquely
          special and rare, and in fact I cannot recall EVER responding to
          ANYBODY in that manner, ever! And that’s including ALL my
          past lives !

          It’s just not something I’d typically do or say....

          So, it feels very intriguing and interesting.,. To say such things,
          and respond to you in such ways and manners

          Sent from my iPhone

          On Jun 5, 2018, at 12:30 PM, Nick Flor
          <professorf@gmail.com> wrote:

                  Okay gotta get back to work, but you said to
                  send you good vibes. That was it.

                  Feeling better?

                  On Tue, Jun 5, 2018 at 12:30 PM, Nick Flor
                  <professorf@gmail.com> wrote:


                   On Tue, Jun 5, 2018 at 12:29 PM, Eva R.
                   Chavez <eva.r.chavez@gmail.com> wrote:
                    Doing ‘it?’

                    Sent from my iPhone

                    On Jun 5, 2018, at 12:02 PM, Nick Flor
                    <professorf@gmail.com> wrote:


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                        … and we're doing it with no
                        protection because it feels so
                        good and I know I should stop
                        but all I can do is whisper your
                        name over and over "Eva,
                        mmm..."

                        On Tue, Jun 5, 2018 at 12:01
                        PM, Eva R. Chavez
                        <eva.r.chavez@gmail.com>
                        wrote:
                         There, the subject line status
                         has now changed after your
                         last few messages!!

                         Sent from my iPhone

                         On Jun 5, 2018, at 11:54 AM,
                         Nick Flor
                         <professorf@gmail.com>
                         wrote:

                                Like when I'm
                                whispering
                                "mmm Eva…"
                                over and over in
                                your ear?

                                On Tue, Jun 5,
                                2018 at 11:47
                                AM, Eva R.
                                Chavez
                                <eva.r.chavez@
                                gmail.com>
                                wrote:
                                 You think so??


                                 Perhaps in
                                 some
                                 cases

                                 Not necessarily
                                 all though

                                 Sent from my
                                 iPhone

                                 On Jun 5,
                                 2018, at 11:44
                                 AM, Nick Flor
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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Tuesday, June 5, 2018 12:32 PM
To:                              Nick Flor
Subject:                         Re:



Mmmmmm soooo much better!

But also sooo

Sent from my iPhone

On Jun 5, 2018, at 12:30 PM, Nick Flor <professorf@gmail.com> wrote:

       Okay gotta get back to work, but you said to send you good vibes. That was it.

       Feeling better?

       On Tue, Jun 5, 2018 at 12:30 PM, Nick Flor <professorf@gmail.com> wrote:


           On Tue, Jun 5, 2018 at 12:29 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
            Doing ‘it?’

           Sent from my iPhone

           On Jun 5, 2018, at 12:02 PM, Nick Flor <professorf@gmail.com> wrote:

                  … and we're doing it with no protection because it feels so good and I know I
                  should stop but all I can do is whisper your name over and over "Eva, mmm..."

                  On Tue, Jun 5, 2018 at 12:01 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
                  wrote:
                   There, the subject line status has now changed after your last few messages!!


                   Sent from my iPhone

                   On Jun 5, 2018, at 11:54 AM, Nick Flor <professorf@gmail.com> wrote:

                          Like when I'm whispering "mmm Eva…" over and over in your
                          ear?

                          On Tue, Jun 5, 2018 at 11:47 AM, Eva R. Chavez
                          <eva.r.chavez@gmail.com> wrote:
                           You think so??

                           Perhaps in some cases
                                                        1
Case 1:20-cv-00027-JAP-LF Document 22-2 Filed 03/16/20 Page 306 of 551


           Not necessarily all though

           Sent from my iPhone

           On Jun 5, 2018, at 11:44 AM, Nick Flor
           <professorf@gmail.com> wrote:

                  And imagining is more fun anyways!

                  On Tue, Jun 5, 2018 at 8:52 AM, Nick Flor
                  <professorf@gmail.com> wrote:
                   Aw, thanks!

                   On Tue, Jun 5, 2018 at 8:06 AM, Eva R.
                   Chavez <eva.r.chavez@gmail.com> wrote:
                    yeah, you seem to make it easy ! ;)
                    you and your romantic ways! :P

                    ...

                    hey - also, side note: i'm fine if you're
                    romantic stories do not come to pass....
                    According to Neville, they've all already
                    happened anyways, right? simply by us
                    merely imagining them....

                    ...

                    i'm not sure what to make of any of it, nor do
                    I know how serious you are being when you
                    say any of it, but I do know your friendship
                    means so much to me, especially now - and i
                    do not want to lose that.....i want it always....
                    now and forever....

                    ...

                    i also know that i enjoy your 'romantic stories'
                    and they do make me feel certain ways.....

                    and i do not know WHY or WHAT to make
                    of any of it... because it's so unexpected and
                    unplanned..... yet also, rather timely.....


                    ....




                                         2
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                   i do not know what to think or say about any
                   of it.... i only know how important it is to
                   me...

                   ....

                   and how nice it feels to read or messages, and
                   that you care.....

                   On Tue, Jun 5, 2018 at 7:06 AM, Nick Flor
                   <professorf@gmail.com> wrote:
                    I only started with you! I've never done this
                    before. It's easy… I just imagine you in my
                    arms and go from there.

                    On Tue, Jun 5, 2018 at 6:43 AM, Eva R.
                    Chavez <eva.r.chavez@gmail.com> wrote:
                     I was going to ask what type of dancing,
                     when i first saw this.... but i have since
                     found out that you mean romantic slow
                     dancing with you running your hands all over your
                      body as we slowly circle....

                      and yes, that definitely has me feeling certain ways...

                      ....



                      where did you learn to write so romantically?
                      <pondering emojis>

                      On Mon, Jun 4, 2018 at 7:23 PM, Nick Flor
                      <professorf@gmail.com> wrote:
                       NO Stay strong B! Tell me what is wrong?
                       Is your toe better? I am worried about you
                       after that description of the cycle pain.

                          Hey, do you dance? Can we dance together
                          sometime?

                          On Mon, Jun 4, 2018 at 1:15 PM, Eva R.
                          Chavez <eva.r.chavez@gmail.com> wrote:


                             Sent from my iPhone




                                             3
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From:                              Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                              Tuesday, June 5, 2018 11:58 AM
To:                                Nick Flor
Subject:                           Re:



And now I’m wet again... and I had just tried off my my never ending shower...,
lol this is all under a 3 thumbs down subject line

Sent from my iPhone

On Jun 5, 2018, at 11:54 AM, Nick Flor <professorf@gmail.com> wrote:

       Like when I'm whispering "mmm Eva…" over and over in your ear?

       On Tue, Jun 5, 2018 at 11:47 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        You think so??

           Perhaps in some cases

           Not necessarily all though

           Sent from my iPhone

           On Jun 5, 2018, at 11:44 AM, Nick Flor <professorf@gmail.com> wrote:

                  And imagining is more fun anyways!

                  On Tue, Jun 5, 2018 at 8:52 AM, Nick Flor <professorf@gmail.com> wrote:
                   Aw, thanks!

                   On Tue, Jun 5, 2018 at 8:06 AM, Eva R. Chavez <eva.r.chavez@gmail.com>
                   wrote:
                    yeah, you seem to make it easy ! ;)
                    you and your romantic ways! :P

                    ...

                    hey - also, side note: i'm fine if you're romantic stories do not come to pass....
                    According to Neville, they've all already happened anyways, right? simply by
                    us merely imagining them....

                    ...

                    i'm not sure what to make of any of it, nor do I know how serious you are
                    being when you say any of it, but I do know your friendship means so much to
                    me, especially now - and i do not want to lose that.....i want it always.... now
                    and forever....
                                                           1
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    ...

    i also know that i enjoy your 'romantic stories' and they do make me feel
    certain ways.....

    and i do not know WHY or WHAT to make of any of it... because it's so
    unexpected and unplanned..... yet also, rather timely.....


    ....


    i do not know what to think or say about any of it.... i only know how
    important it is to me...

    ....

    and how nice it feels to read or messages, and that you care.....

    On Tue, Jun 5, 2018 at 7:06 AM, Nick Flor <professorf@gmail.com> wrote:
     I only started with you! I've never done this before. It's easy… I just imagine
     you in my arms and go from there.

     On Tue, Jun 5, 2018 at 6:43 AM, Eva R. Chavez <eva.r.chavez@gmail.com>
     wrote:
      I was going to ask what type of dancing, when i first saw this.... but i have
      since found out that you mean romantic slow dancing with you running your
          hands all over your body as we slowly circle....

          and yes, that definitely has me feeling certain ways...

          ....



          where did you learn to write so romantically?
          <pondering emojis>

          On Mon, Jun 4, 2018 at 7:23 PM, Nick Flor <professorf@gmail.com> wrote:
           NO Stay strong B! Tell me what is wrong? Is your toe better? I am worried
           about you after that description of the cycle pain.

            Hey, do you dance? Can we dance together sometime?

            On Mon, Jun 4, 2018 at 1:15 PM, Eva R. Chavez
            <eva.r.chavez@gmail.com> wrote:


                 Sent from my iPhone



                                                        2
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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Tuesday, June 5, 2018 12:05 PM
To:                              Nick Flor
Subject:                         Re:



Yes, but of course.....
Because it’s meant to be....



I can now feel heat emanating off my head and body... almost instantly,..


Sent from my iPhone

On Jun 5, 2018, at 12:02 PM, Nick Flor <professorf@gmail.com> wrote:

       … and we're doing it with no protection because it feels so good and I know I should stop but all
       I can do is whisper your name over and over "Eva, mmm..."

       On Tue, Jun 5, 2018 at 12:01 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        There, the subject line status has now changed after your last few messages!!

           Sent from my iPhone

           On Jun 5, 2018, at 11:54 AM, Nick Flor <professorf@gmail.com> wrote:

                 Like when I'm whispering "mmm Eva…" over and over in your ear?

                 On Tue, Jun 5, 2018 at 11:47 AM, Eva R. Chavez <eva.r.chavez@gmail.com>
                 wrote:
                  You think so??

                  Perhaps in some cases

                  Not necessarily all though

                  Sent from my iPhone

                  On Jun 5, 2018, at 11:44 AM, Nick Flor <professorf@gmail.com> wrote:

                         And imagining is more fun anyways!

                         On Tue, Jun 5, 2018 at 8:52 AM, Nick Flor
                         <professorf@gmail.com> wrote:
                          Aw, thanks!

                                                        1
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          On Tue, Jun 5, 2018 at 8:06 AM, Eva R. Chavez
          <eva.r.chavez@gmail.com> wrote:
           yeah, you seem to make it easy ! ;)
           you and your romantic ways! :P

           ...

           hey - also, side note: i'm fine if you're romantic stories do not
           come to pass....
           According to Neville, they've all already happened anyways,
           right? simply by us merely imagining them....

           ...

           i'm not sure what to make of any of it, nor do I know how
           serious you are being when you say any of it, but I do know
           your friendship means so much to me, especially now - and i
           do not want to lose that.....i want it always.... now and
           forever....

           ...

           i also know that i enjoy your 'romantic stories' and they do
           make me feel certain ways.....

           and i do not know WHY or WHAT to make of any of it...
           because it's so unexpected and unplanned..... yet also, rather
           timely.....


           ....


           i do not know what to think or say about any of it.... i only
           know how important it is to me...

           ....

           and how nice it feels to read or messages, and that you care.....

           On Tue, Jun 5, 2018 at 7:06 AM, Nick Flor
           <professorf@gmail.com> wrote:
            I only started with you! I've never done this before. It's easy…
            I just imagine you in my arms and go from there.

            On Tue, Jun 5, 2018 at 6:43 AM, Eva R. Chavez
            <eva.r.chavez@gmail.com> wrote:
             I was going to ask what type of dancing, when i first saw
             this.... but i have since found out that you mean romantic
             slow dancing with you running your hands all over your body as we
                 slowly circle....

                                           2
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             and yes, that definitely has me feeling certain ways...

             ....



             where did you learn to write so romantically?
             <pondering emojis>

             On Mon, Jun 4, 2018 at 7:23 PM, Nick Flor
             <professorf@gmail.com> wrote:
              NO Stay strong B! Tell me what is wrong? Is your toe
              better? I am worried about you after that description of the
              cycle pain.

               Hey, do you dance? Can we dance together sometime?

               On Mon, Jun 4, 2018 at 1:15 PM, Eva R. Chavez
               <eva.r.chavez@gmail.com> wrote:


                    Sent from my iPhone




                                                3
             Case 1:20-cv-00027-JAP-LF Document 22-2 Filed 03/16/20 Page 313 of 551




From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Tuesday, June 5, 2018 12:07 PM
To:                              Nick Flor
Subject:                         Re:



 Babe,

You won’t be able to stop once you feel....

I wish you would understand that....

....

I know you still don’t understand...

But at least you can Imagine!



Sent from my iPhone

On Jun 5, 2018, at 12:02 PM, Nick Flor <professorf@gmail.com> wrote:

         … and we're doing it with no protection because it feels so good and I know I should stop but all
         I can do is whisper your name over and over "Eva, mmm..."

         On Tue, Jun 5, 2018 at 12:01 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
          There, the subject line status has now changed after your last few messages!!

           Sent from my iPhone

           On Jun 5, 2018, at 11:54 AM, Nick Flor <professorf@gmail.com> wrote:

                 Like when I'm whispering "mmm Eva…" over and over in your ear?

                 On Tue, Jun 5, 2018 at 11:47 AM, Eva R. Chavez <eva.r.chavez@gmail.com>
                 wrote:
                  You think so??

                  Perhaps in some cases

                  Not necessarily all though

                  Sent from my iPhone

                  On Jun 5, 2018, at 11:44 AM, Nick Flor <professorf@gmail.com> wrote:

                                                         1
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          And imagining is more fun anyways!

          On Tue, Jun 5, 2018 at 8:52 AM, Nick Flor
          <professorf@gmail.com> wrote:
           Aw, thanks!

          On Tue, Jun 5, 2018 at 8:06 AM, Eva R. Chavez
          <eva.r.chavez@gmail.com> wrote:
           yeah, you seem to make it easy ! ;)
           you and your romantic ways! :P

           ...

           hey - also, side note: i'm fine if you're romantic stories do not
           come to pass....
           According to Neville, they've all already happened anyways,
           right? simply by us merely imagining them....

           ...

           i'm not sure what to make of any of it, nor do I know how
           serious you are being when you say any of it, but I do know
           your friendship means so much to me, especially now - and i
           do not want to lose that.....i want it always.... now and
           forever....

           ...

           i also know that i enjoy your 'romantic stories' and they do
           make me feel certain ways.....

           and i do not know WHY or WHAT to make of any of it...
           because it's so unexpected and unplanned..... yet also, rather
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           i do not know what to think or say about any of it.... i only
           know how important it is to me...

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           and how nice it feels to read or messages, and that you care.....

           On Tue, Jun 5, 2018 at 7:06 AM, Nick Flor
           <professorf@gmail.com> wrote:
            I only started with you! I've never done this before. It's easy…
            I just imagine you in my arms and go from there.

                                          2
Case 1:20-cv-00027-JAP-LF Document 22-2 Filed 03/16/20 Page 315 of 551

            On Tue, Jun 5, 2018 at 6:43 AM, Eva R. Chavez
            <eva.r.chavez@gmail.com> wrote:
             I was going to ask what type of dancing, when i first saw
             this.... but i have since found out that you mean romantic
             slow dancing with you running your hands all over your body as we
             slowly circle....

             and yes, that definitely has me feeling certain ways...

             ....



             where did you learn to write so romantically?
             <pondering emojis>

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             <professorf@gmail.com> wrote:
              NO Stay strong B! Tell me what is wrong? Is your toe
              better? I am worried about you after that description of the
              cycle pain.

               Hey, do you dance? Can we dance together sometime?

               On Mon, Jun 4, 2018 at 1:15 PM, Eva R. Chavez
               <eva.r.chavez@gmail.com> wrote:


                    Sent from my iPhone




                                                3
            Case 1:20-cv-00027-JAP-LF Document 22-2 Filed 03/16/20 Page 316 of 551




From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Tuesday, June 5, 2018 12:25 PM
To:                               Nick Flor
Subject:                          Re:



N: “Eva, mmmm, Eva..... WHY are you so slipping, sopping, splashing wet??!!!

E: “I’m not yet, but you’re getting me that way, mmmm, Nick! Don’t stop, keep going!”

N: “mmm, but you’re soooo wet. I want so much more....”

E: “oh, trust me babe, there’s always more!”

You’ll be like licking your lips in pleasure.... either that or licking my lips in pleasure...




Sent from my iPhone

On Jun 5, 2018, at 12:10 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:

        I meant once you feel *me....




        ☔☔☔

        Sent from my iPhone

        On Jun 5, 2018, at 12:02 PM, Nick Flor <professorf@gmail.com> wrote:

                … and we're doing it with no protection because it feels so good and I know I
                should stop but all I can do is whisper your name over and over "Eva, mmm..."

                On Tue, Jun 5, 2018 at 12:01 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
                wrote:
                 There, the subject line status has now changed after your last few messages!!

                 Sent from my iPhone

                 On Jun 5, 2018, at 11:54 AM, Nick Flor <professorf@gmail.com> wrote:
                                                            1
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         Like when I'm whispering "mmm Eva…" over and over in your
         ear?

         On Tue, Jun 5, 2018 at 11:47 AM, Eva R. Chavez
         <eva.r.chavez@gmail.com> wrote:
          You think so??

          Perhaps in some cases

          Not necessarily all though

          Sent from my iPhone

          On Jun 5, 2018, at 11:44 AM, Nick Flor
          <professorf@gmail.com> wrote:

                 And imagining is more fun anyways!

                 On Tue, Jun 5, 2018 at 8:52 AM, Nick Flor
                 <professorf@gmail.com> wrote:
                  Aw, thanks!

                  On Tue, Jun 5, 2018 at 8:06 AM, Eva R. Chavez
                  <eva.r.chavez@gmail.com> wrote:
                   yeah, you seem to make it easy ! ;)
                   you and your romantic ways! :P

                   ...

                   hey - also, side note: i'm fine if you're romantic
                   stories do not come to pass....
                   According to Neville, they've all already
                   happened anyways, right? simply by us merely
                   imagining them....

                   ...

                   i'm not sure what to make of any of it, nor do I
                   know how serious you are being when you say
                   any of it, but I do know your friendship means
                   so much to me, especially now - and i do not
                   want to lose that.....i want it always.... now and
                   forever....

                   ...

                   i also know that i enjoy your 'romantic stories'
                   and they do make me feel certain ways.....



                                          2
Case 1:20-cv-00027-JAP-LF Document 22-2 Filed 03/16/20 Page 318 of 551

                 and i do not know WHY or WHAT to make of
                 any of it... because it's so unexpected and
                 unplanned..... yet also, rather timely.....


                 ....


                 i do not know what to think or say about any of
                 it.... i only know how important it is to me...

                 ....

                 and how nice it feels to read or messages, and
                 that you care.....

                 On Tue, Jun 5, 2018 at 7:06 AM, Nick Flor
                 <professorf@gmail.com> wrote:
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                  before. It's easy… I just imagine you in my
                  arms and go from there.

                  On Tue, Jun 5, 2018 at 6:43 AM, Eva R.
                  Chavez <eva.r.chavez@gmail.com> wrote:
                   I was going to ask what type of dancing,
                   when i first saw this.... but i have since found
                   out that you mean romantic slow dancing with
                   you running your hands all over your body as we slowly
                    circle....

                    and yes, that definitely has me feeling certain ways...

                    ....



                    where did you learn to write so romantically?
                    <pondering emojis>

                    On Mon, Jun 4, 2018 at 7:23 PM, Nick Flor
                    <professorf@gmail.com> wrote:
                     NO Stay strong B! Tell me what is wrong? Is
                     your toe better? I am worried about you
                     after that description of the cycle pain.

                        Hey, do you dance? Can we dance together
                        sometime?

                        On Mon, Jun 4, 2018 at 1:15 PM, Eva R.
                        Chavez <eva.r.chavez@gmail.com> wrote:


                           Sent from my iPhone
                                             3
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From:                            Nick Flor <professorf@gmail.com>
Sent:                            Tuesday, June 5, 2018 12:29 PM
To:                              Eva R. Chavez
Subject:                         Re:



Both good!!!

On Tue, Jun 5, 2018 at 12:28 PM, Nick Flor <professorf@gmail.com> wrote:
 Just imagine me on top of you, our bare skin sliding over each other, my mind telling me to stop before I
 explode, but my body thrusting deeper in you… while I whisper "no Eva we have to stop… mmm Eva, we
 have to … mmm Eva"

 On Tue, Jun 5, 2018 at 12:13 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
  I’ve asked you to trust me that once that happens, all logic you once knew and everything and anything you
  thought you knew about life (and in your scientific mind), might just magically disintegrate into thin air....

  Sent from my iPhone

  On Jun 5, 2018, at 12:02 PM, Nick Flor <professorf@gmail.com> wrote:

           … and we're doing it with no protection because it feels so good and I know I should stop but
           all I can do is whisper your name over and over "Eva, mmm..."

           On Tue, Jun 5, 2018 at 12:01 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
            There, the subject line status has now changed after your last few messages!!

           Sent from my iPhone

           On Jun 5, 2018, at 11:54 AM, Nick Flor <professorf@gmail.com> wrote:

                   Like when I'm whispering "mmm Eva…" over and over in your ear?

                   On Tue, Jun 5, 2018 at 11:47 AM, Eva R. Chavez <eva.r.chavez@gmail.com>
                   wrote:
                    You think so??

                    Perhaps in some cases

                    Not necessarily all though

                    Sent from my iPhone

                    On Jun 5, 2018, at 11:44 AM, Nick Flor <professorf@gmail.com> wrote:

                           And imagining is more fun anyways!



                                                        1
Case 1:20-cv-00027-JAP-LF Document 22-2 Filed 03/16/20 Page 320 of 551

           On Tue, Jun 5, 2018 at 8:52 AM, Nick Flor
           <professorf@gmail.com> wrote:
            Aw, thanks!

            On Tue, Jun 5, 2018 at 8:06 AM, Eva R. Chavez
            <eva.r.chavez@gmail.com> wrote:
             yeah, you seem to make it easy ! ;)
             you and your romantic ways! :P

             ...

             hey - also, side note: i'm fine if you're romantic stories do not
             come to pass....
             According to Neville, they've all already happened anyways,
             right? simply by us merely imagining them....

             ...

             i'm not sure what to make of any of it, nor do I know how
             serious you are being when you say any of it, but I do know
             your friendship means so much to me, especially now - and i
             do not want to lose that.....i want it always.... now and
             forever....

             ...

             i also know that i enjoy your 'romantic stories' and they do
             make me feel certain ways.....

             and i do not know WHY or WHAT to make of any of it...
             because it's so unexpected and unplanned..... yet also, rather
             timely.....


             ....


             i do not know what to think or say about any of it.... i only
             know how important it is to me...

             ....

             and how nice it feels to read or messages, and that you
             care.....

             On Tue, Jun 5, 2018 at 7:06 AM, Nick Flor
             <professorf@gmail.com> wrote:
              I only started with you! I've never done this before. It's
              easy… I just imagine you in my arms and go from there.


                                         2
Case 1:20-cv-00027-JAP-LF Document 22-2 Filed 03/16/20 Page 321 of 551

             On Tue, Jun 5, 2018 at 6:43 AM, Eva R. Chavez
             <eva.r.chavez@gmail.com> wrote:
              I was going to ask what type of dancing, when i first saw
              this.... but i have since found out that you mean romantic
              slow dancing with you running your hands all over your body as we
              slowly circle....

              and yes, that definitely has me feeling certain ways...

              ....



              where did you learn to write so romantically?
              <pondering emojis>

              On Mon, Jun 4, 2018 at 7:23 PM, Nick Flor
              <professorf@gmail.com> wrote:
               NO Stay strong B! Tell me what is wrong? Is your toe
               better? I am worried about you after that description of
               the cycle pain.

                Hey, do you dance? Can we dance together sometime?

                On Mon, Jun 4, 2018 at 1:15 PM, Eva R. Chavez
                <eva.r.chavez@gmail.com> wrote:


                     Sent from my iPhone




                                               3
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OEO Case #I-2018-08-43
November 28, 2018




                             Exhibit U3
           Case 1:20-cv-00027-JAP-LF Document 22-2 Filed 03/16/20 Page 323 of 551




From:                           Nick Flor <professorf@gmail.com>
Sent:                           Tuesday, June 5, 2018 11:16 PM
To:                             Eva R. Chavez
Subject:                        Re: Our past lives song



That is one of my early favorites

On Tue, Jun 5, 2018 at 11:02 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 Hey B our past lives song just came on....




 Sent from my iPhone




                                                       1
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OEO Case #I-2018-08-43
November 28, 2018




                             Exhibit V3
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From:                             Nick Flor <professorf@gmail.com>
Sent:                             Tuesday, June 5, 2018 5:40 AM
To:                               Eva R. Chavez
Subject:                          Re: But like....



I like imagining slow dancing with you to a nice romantic song

On Tue, Jun 5, 2018 at 12:27 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 Are you always this romantic?




 Sent from my iPhone

 On Jun 4, 2018, at 11:55 PM, Nick Flor <professorf@gmail.com> wrote:

           Whenever you feel down, just imagine us slow dancing...

           On Mon, Jun 4, 2018 at 11:51 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
            Each day is a real struggle for me B. Not kidding!

           I’ll keep trying...

           Sent from my iPhone

           On Jun 4, 2018, at 11:41 PM, Nick Flor <professorf@gmail.com> wrote:

                   No, you can't talk like that. You have to live so we can fulfill whatever destiny
                   we need to do!!!

                   On Mon, Jun 4, 2018 at 10:26 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
                   wrote:
                    What if I don’t want to go on living like this ANYMORE???!??


                    Uggggggggggggggggggg
                    Sent from my iPhone




                                                          1
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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Tuesday, June 5, 2018 5:40 AM
To:                              Nick Flor
Subject:                         Re: Nick’s Flower’s and Fountain



Sounds so nice, right?

you diving into the nice cool, refreshing fountain....

i was thinking, the gushing fountain from the video is likely a more realistic metaphor than the waterfall....
because the fountain is more controlled, can likely be turned on or off, is always there, and is not constantly
flowing non-stop throughout the seasons....


sometime the waterfall could be accurate, but that's likely a whole different story.... ;)

On Mon, Jun 4, 2018 at 6:51 PM, Nick Flor <professorf@gmail.com> wrote:
 LOL, exactly my friend, EXACTLY! haha

 On Sun, Jun 3, 2018 at 7:44 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
  Yes, lol, that was all rather synchronous right before meeting you....

  Flowers opening up and ready to bloom.... an array of colors of beautiful blooming flowers, and gushing
  water fountain....wanting to water all the nearby flowers in the vicinity




  Sent from my iPhone

  On Jun 3, 2018, at 7:37 PM, Nick Flor <professorf@gmail.com> wrote:

           lol yep! Lots of beautiful blooming flowers and a gushing fountain!!!

           On Sun, Jun 3, 2018 at 7:32 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:

           I also took this one less than 24-hours if meeting you... perhaps it was a preemptive
           premonition of connecting with Flor... and also a gushing fountain




           Sent from my iPhone




                                                          1
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From:                             Nick Flor <professorf@gmail.com>
Sent:                             Tuesday, June 5, 2018 8:51 AM
To:                               Eva R. Chavez
Subject:                          Re: 5:05



haha I leave it to your imagination. Maybe we're just holding each other and caressing…

On Tue, Jun 5, 2018 at 7:52 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 yes, the does sound nice... i must've missed the (naked!) part earlier.... but now this also sounds like making
 love to me ;)


 and i do not mean that this sounds similar to making love to an Eva....
 What i mean is- to me, the thought of slow dancing naked, and you running your hands all over my body as we
 slowly 'circle' - sure is starting to also sounds like making love, lol....

 On Tue, Jun 5, 2018 at 5:50 AM, Nick Flor <professorf@gmail.com> wrote:
  Whenever you're starting to get down, just imagine us slow dancing, bodies close (naked!), and me running
  my hands all over your body as we slowly circle. That should bring a smile to your face.

  (are these the kinds of messages that will cheer you up? Let me know!)

  On Tue, Jun 5, 2018 at 5:28 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
   i love your messages, your hellos, and your breaks...

   and i have a plan for us communicating better through emails, and our witching and writing hours etc... that i
   think will help us both... let's discuss when we can or i will write under a separate cover when i get a
   chance....

   thanks for your messages...my day is already that much better than yesterday now! :P

   you could've prevented RG a lot of stress from cray cray intensity eva messages if you had only messaged
   me ;) lol not lol

   ...

   i'm also happy you told me you would message me during the witching hour today, which also makes me
   happy... and is part of the plan going forward... at least would factor to consider of possibilities on better
   communicating, going forward....

   <kissy emojis> ;)

   On Tue, Jun 5, 2018 at 5:05 AM, Nick Flor <professorf@gmail.com> wrote:
    Yo B, how's it going. Stay strong, and think of cool flowers :-)

    (Just taking a quick break)

                                                          1
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From:                            Nick Flor <professorf@gmail.com>
Sent:                            Tuesday, June 5, 2018 8:50 AM
To:                              Eva R. Chavez
Subject:                         Re: You okay though?



It's whatever you want to imagine it to be :-)

On Tue, Jun 5, 2018 at 7:50 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 cuddling naked kinda sound like making love to me, no? :O

 not necessarily ?

 On Tue, Jun 5, 2018 at 6:05 AM, Nick Flor <professorf@gmail.com> wrote:
  Not beachwear? naked then? LOL

  On Tue, Jun 5, 2018 at 5:31 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
   beachwear, lmao! you're so silly!

   On Tue, Jun 5, 2018 at 5:24 AM, Nick Flor <professorf@gmail.com> wrote:
    In our beachwear! Yes.

    On Tue, Jun 5, 2018 at 12:04 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
     With the water splashing on the shores in the background.,..off In the distance...
     in a tent ⛺

     It’s cool out, but we’re All warm and snug with body heat snuggled in one sleeping bag
     Sent from my iPhone

     On Jun 4, 2018, at 11:49 PM, Nick Flor <professorf@gmail.com> wrote:

            Imagine we're in the beach in Hawaii, cuddling in a sleeping bag.

            On Mon, Jun 4, 2018 at 11:26 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
             It means a lot to me that you care though.



             Truly.... like tear in the eye type of meaning

             Like it pulls at my heart strings... that you care.....

             Thanks

             Sent from my iPhone

             On Jun 4, 2018, at 7:56 PM, Nick Flor <professorf@gmail.com> wrote:

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       I have no doubt.

       On Mon, Jun 4, 2018 at 7:43 PM, Eva R. Chavez
       <eva.r.chavez@gmail.com> wrote:
        And no I’m not really okay....

        But hopefully one day I will be

        Sent from my iPhone

        > On Jun 4, 2018, at 7:38 PM, Nick Flor <professorf@gmail.com> wrote:
        >
        > Sounds like not a good day.




                                          2
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From:                            Nick Flor <professorf@gmail.com>
Sent:                            Tuesday, June 5, 2018 8:55 AM
To:                              Eva R. Chavez
Subject:                         Re: i think i caught up and responded to



I like it! Well just think of me in the tub then doing EVERYTHING to you

On Tue, Jun 5, 2018 at 8:19 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 i think i caught up and responded to most of your recent messages B.... i should step away for awhile now and
 figure out how i am going to approach my day, when i will get the rest i so badly need, and how i am going to
 somehow make it to the dispensary before the close at 7pm, but if i do not do it this morning i do not think i
 will have the gumption to timing to make it on time before they close.... and they do not open till 10am so i
 likely wouldn't get to sleep till like noon wish and that is too far away ... uggg... i hate situation like this....

 and when i end up in them!!!! uggggg


 look forward to your messages... i miss you... i feel everything so very intensely now.... words, feelings,
 romantic stories, etc...

 ...


 also complete side note: not sure why but on the 28th day before one cycle ends and another begins.... i get
 these intense desires of sorts... like a surge of emotion, desire, feelings and arousing of sorts of sexual
 excitement... it just emerges out of nowhere... to of the pain and frustration and then disappears once the cycle
 begins again....

 just an interesting and odd side note... not that it does not happen other times throughout the 28-day cycle ....
 but the timing and intensity of that aspect on the last day or day prior to.. always a bit intriguing,... no doubt...

 not sure if that's tmi or what but i think i gave you TMI LOOOONGGG BACK!!




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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Tuesday, June 5, 2018 6:39 AM
To:                              Nick Flor
Subject:                         Re: Running Back to You



You totally overlooked this song BABE! and you need to give it a second-chance....

First off, the version i heard and sent you, wasn't really too techno or techno sounding.....
Also, it has everything you like actually, nice dreamy lyrics, acoustic, etc. so on and so forth ...

plus, it talks about Old lovers, past lives, walking outside to kiss the moon, and wishing i kissed you!
it has everything babe, slow dancing and all (just as you like) ;)

If we dance real slow until the music fades
Will we do the same?

I could not find a good version of the one i listened to and had sent you... but here is an acoustic version with
"Nick" the For the Foxes singer, and Allison Weis, so you could see what you were overlooking with your
techno bias... i mean we could've been slow-dancing to it already if you weren't anti the song ;)

https://www.youtube.com/watch?v=I2px3d7Wlh8

also, I know you hate wasting electricity very much so...but from the sounds of all these songs, you're gonna
have to keep a light on for me babe ;) AND i have an entire "Running back to YOU" station entirely on
accident from one day when i was trying to like this song, lol, accidentally created a Running back to YOU
station, so it must somehow be important.....

Running Back to YOU

Hey, Old Lover, when you fall asleep
There’s a piece of YOU in every song I sing
Where your childhood runs wild and free
Without me

Held your love in a silver spoon
Walked outside just to kiss the moon
Looking back I wish I kissed you
Kissed YOU

To keep the light on, honey, is the least that I can do
If I keep running back to you
Your heart is a slow train coming, I’m afraid to make my move
If I keep running back to you
…
                                                          1
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Hey, Old Lover, it’s a lonely day
There’s a record on and the song I made
If we dance real slow until the music fades
Will we do the same?

Held your heart till the bitter end
You held my hand like I was your best friend
In another life we will meet again
Again

To keep the light on, honey, is the least that I can do
If I keep running back to you

Your heart is a slow train coming, I’m afraid to make my move
If I keep running back to you
If I keep running back to you
You, you, you

To keep the light on, honey, is the least that I can do
If I keep running back to you

Your heart is a slow train coming, I’m afraid to make my move
If I keep running back to you
If I keep running back to you
YOU


ps. B - will you hold my heart until the bitter end,
and will YOU hold my hand like I was your best friend?


also, do you want to sing and play this sometime together... even though it's too techno sounding
;)

On Mon, Jun 4, 2018 at 6:53 PM, Nick Flor <professorf@gmail.com> wrote:
 Nice lyrics, but I too techno sounding. Ruins the nice lyrics. I prefer acoustic, some drums, light bass on songs
 with nice lyrics.

 On Sun, Jun 3, 2018 at 6:35 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
  Running back to You - the foxes.

  Not sure if I’ve sent this to you yet or not, but it’s playing now....

  It dies talk about leaving a light on though, and I know how you hate wasting energy as such lol

                                                           2
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From:                              Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                              Tuesday, June 5, 2018 12:00 PM
To:                                Nick Flor
Subject:                           Re:



Just you whispering “mmmm Eva” into my ear though....

Sent from my iPhone

On Jun 5, 2018, at 11:54 AM, Nick Flor <professorf@gmail.com> wrote:

       Like when I'm whispering "mmm Eva…" over and over in your ear?

       On Tue, Jun 5, 2018 at 11:47 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        You think so??

           Perhaps in some cases

           Not necessarily all though

           Sent from my iPhone

           On Jun 5, 2018, at 11:44 AM, Nick Flor <professorf@gmail.com> wrote:

                  And imagining is more fun anyways!

                  On Tue, Jun 5, 2018 at 8:52 AM, Nick Flor <professorf@gmail.com> wrote:
                   Aw, thanks!

                   On Tue, Jun 5, 2018 at 8:06 AM, Eva R. Chavez <eva.r.chavez@gmail.com>
                   wrote:
                    yeah, you seem to make it easy ! ;)
                    you and your romantic ways! :P

                    ...

                    hey - also, side note: i'm fine if you're romantic stories do not come to pass....
                    According to Neville, they've all already happened anyways, right? simply by
                    us merely imagining them....

                    ...

                    i'm not sure what to make of any of it, nor do I know how serious you are
                    being when you say any of it, but I do know your friendship means so much to
                    me, especially now - and i do not want to lose that.....i want it always.... now
                    and forever....

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    ...

    i also know that i enjoy your 'romantic stories' and they do make me feel
    certain ways.....

    and i do not know WHY or WHAT to make of any of it... because it's so
    unexpected and unplanned..... yet also, rather timely.....


    ....


    i do not know what to think or say about any of it.... i only know how
    important it is to me...

    ....

    and how nice it feels to read or messages, and that you care.....

    On Tue, Jun 5, 2018 at 7:06 AM, Nick Flor <professorf@gmail.com> wrote:
     I only started with you! I've never done this before. It's easy… I just imagine
     you in my arms and go from there.

     On Tue, Jun 5, 2018 at 6:43 AM, Eva R. Chavez <eva.r.chavez@gmail.com>
     wrote:
      I was going to ask what type of dancing, when i first saw this.... but i have
      since found out that you mean romantic slow dancing with you running your
          hands all over your body as we slowly circle....

          and yes, that definitely has me feeling certain ways...

          ....



          where did you learn to write so romantically?
          <pondering emojis>

          On Mon, Jun 4, 2018 at 7:23 PM, Nick Flor <professorf@gmail.com> wrote:
           NO Stay strong B! Tell me what is wrong? Is your toe better? I am worried
           about you after that description of the cycle pain.

            Hey, do you dance? Can we dance together sometime?

            On Mon, Jun 4, 2018 at 1:15 PM, Eva R. Chavez
            <eva.r.chavez@gmail.com> wrote:


                 Sent from my iPhone




                                                        2
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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Tuesday, June 5, 2018 10:34 PM
To:                               Nick Flor
Subject:                          Re:



Which parts? Do tell.

...

Tell me more

Sent from my iPhone

On Jun 5, 2018, at 10:32 PM, Nick Flor <professorf@gmail.com> wrote:

       Damn, that was very romantic & sexy!

       On Tue, Jun 5, 2018 at 9:30 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        How right do you think it will feel when we dive really DEEP into the realms of
        bliss and you can feel all my immense and overwhelming sexual energies oozing, gushing and
        enveloping you into a delicious ecstasy that neither of us has ever quite experienced before....

           And Babe, you won’t be able to STOP!
           Trust me, neither of us will....

           But yet there’s SOOO much more to give....
           And you can still keep getting closer and closer and closer, even when you feel like you cannot
           go any deeper or get any closer, there’s still more!!!

           Tell me what you want, and what you want to hear me tell you and whisper to you, ever so
           intimately ....




           I want you to tell me EVERYTHING!

           Sent from my iPhone

           On Jun 5, 2018, at 9:19 PM, Nick Flor <professorf@gmail.com> wrote:

                  I'm the same way! I never talk this way. It's strange but at the same time feels
                  right.

                                                           1
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   On Tue, Jun 5, 2018 at 9:15 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
   wrote:
    Hey, did you read all these sexy message threads?

    Also, when you said “… and we're doing it with no protection because it feels
    so good and I know I should stop but all I can do is whisper your name over and
    over "Eva, mmm..."


    And my response to that was:
    “Yes, but of course.....
    Because it’s meant to be....”


    ....


    Haha, I’m tell you B, comments like that are so far from an sort of regular type
    of Eva comments, your mind would be blown....


    I’m telling you, any of my former best friends or anybody I ever dated would
    straight call out BLASPHEMY.... it’s just not something I’d typically do or
    say....


    I mean I know for a fact I’ve changed, in countless ways, in the past 19-months
    or so.... I used to be so outgoing and super sociable... the life of the party,
    literally... I would make everybody laugh and feel comfortable , and had the
    most interesting and diverse group of friends of anybody, ever..... so many
    stories about the former Eva....


    Now though, I’m not very sociable at all, I’m in secure, I literally cannot stand
    being at parties or around ppl. Btw I did have to end up making the graduation
    party on Friday and it was the epitome of how much I’ve changed... I cannot
    even hold a conversation with anybody anymore without being
    awkward..... but hey, all good. There’s also some good and positive aspects of
    this new Eva.... and of course, everybody misses that Old Eva, as do I.... but
    really, it was time to move on....


    But anyways I digress....


    Just now when I tell you stuff like:
    “Yes, but of course.....
    Because it’s meant to be....”


                                           2
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    In response to you saying we should partake in delicious, intense and passionate
    love-making, without protection...

    Well, that’s not exactly what you said, what you said was “… and we're doing it
    with no protection because it feels so good...”

    Anyways, just know that my responses to you are uniquely special and rare, and
    in fact I cannot recall EVER responding to ANYBODY in that manner, ever!
    And that’s including ALL my past lives !

    It’s just not something I’d typically do or say....

    So, it feels very intriguing and interesting.,. To say such things, and respond to
    you in such ways and manners

    Sent from my iPhone

    On Jun 5, 2018, at 12:30 PM, Nick Flor <professorf@gmail.com> wrote:

            Okay gotta get back to work, but you said to send you good
            vibes. That was it.

            Feeling better?

            On Tue, Jun 5, 2018 at 12:30 PM, Nick Flor
            <professorf@gmail.com> wrote:


             On Tue, Jun 5, 2018 at 12:29 PM, Eva R. Chavez
             <eva.r.chavez@gmail.com> wrote:
              Doing ‘it?’

              Sent from my iPhone

              On Jun 5, 2018, at 12:02 PM, Nick Flor
              <professorf@gmail.com> wrote:

                      … and we're doing it with no protection because
                      it feels so good and I know I should stop but all
                      I can do is whisper your name over and over
                      "Eva, mmm..."

                      On Tue, Jun 5, 2018 at 12:01 PM, Eva R.
                      Chavez <eva.r.chavez@gmail.com> wrote:
                       There, the subject line status has now changed
                       after your last few messages!!

                       Sent from my iPhone

                       On Jun 5, 2018, at 11:54 AM, Nick Flor
                       <professorf@gmail.com> wrote:
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                        Like when I'm whispering
                        "mmm Eva…" over and over in
                        your ear?

                        On Tue, Jun 5, 2018 at 11:47
                        AM, Eva R. Chavez
                        <eva.r.chavez@gmail.com>
                        wrote:
                         You think so??

                        Perhaps in some cases

                        Not necessarily all though

                        Sent from my iPhone

                        On Jun 5, 2018, at 11:44 AM,
                        Nick Flor
                        <professorf@gmail.com>
                        wrote:

                                And imagining
                                is more fun
                                anyways!

                                On Tue, Jun 5,
                                2018 at 8:52
                                AM, Nick Flor
                                <professorf@g
                                mail.com>
                                wrote:
                                 Aw, thanks!

                                 On Tue, Jun 5,
                                 2018 at 8:06
                                 AM, Eva R.
                                 Chavez
                                 <eva.r.chavez
                                 @gmail.com>
                                 wrote:
                                  yeah, you
                                  seem to make
                                  it easy ! ;)
                                  you and your
                                  romantic
                                  ways! :P

                                  ...

                                  hey - also,
                                  side note: i'm
                                        4
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From:                                Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                                Tuesday, June 5, 2018 12:46 PM
To:                                  professorf@gmail.com
Subject:


That’s basically what’s going on over here...

I just stood up from laying disbelief and reading your messages and I’m driving sopping wet....

You did this to me....

I’m also so damn tired I cannot stay awake anyway, I won’t be up to stay awake to go to the dispensary and likely won’t
make it before they close at this rate.... so it’ll be a long night for me... uggg I hate such timings as this and lit being
prepared and being too damn tired to take care of what I need to...

Anyways I’m beyond rambling now...,

I need sleep soooooooooo bad

I hope I find you in dreamworld and hear you repeat my name over and over and over again in pleasure as your deep
inside #PlanetEva realms...

Uggg I’m so tired it legitimately hurts....

Sent from my iPhone




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From:                              Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                              Tuesday, June 5, 2018 8:28 PM
To:                                professorf@gmail.com
Subject:                           Hm? Text
Attachments:                       Image-1.jpg; Untitled attachment 10403.txt



Yeah that was me asking you to call me over 12-hours ago when you had me all
And radiating        of my body .

That was asking you (and ‘begging’) you to call so I could hear your voice, you silly




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                             Exhibit W3
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From:                          Eva Chavez
Sent:                          Thursday, June 7, 2018 3:20 PM
To:                            Nick Vincent Flor
Subject:                       Re: Eva Chavez PA Contract



Also, 4 weeks at 8 hours per week pretty much comes out to around 17 hrs per pay period, as I
had mentioned (for 34 hrs), which would make it a 4-week contract divided into two pay
periods. Let’s chat!


Thanks,
~Eva
_____________________________
From: Eva Chavez
Sent: Thursday, June 7, 2018 2:34 PM
Subject: Re: Eva Chavez PA Contract
To: Nick Vincent Flor




Prof F.,


Yeah, let’s chat about this when you get a chance. I’m not sure you’re understanding what I’m
saying, and not am I sure exactly what you mean by room for feedback and changes - so, let’s
clarify this as well to make sure we’re on the same page.


Let me know when you can pencil me in.


Thanks kindly,
~Eva


From: Nick Vincent Flor
Sent: Wednesday, June 6, 2018 9:39:42 PM
To: Eva Chavez
Subject: Re: Eva Chavez PA Contract
Eva,
                                                       1
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I think it should be 4 weeks of 8 hours — this gives room for feedback and changes.

- Prof. F.

--
Nick V. Flor, PhD
Associate Professor - Information Systems
Interdisciplinary Film & Digital Media
Anderson School of Management
University of New Mexico
nickflor@unm.edu
Faculty Concentration Advisor
BBA-Interdisciplinary Film & Digital Media Program

Honorary Chair of Rum Studies Professor


From: Eva Chavez
Sent: Wednesday, June 6, 2018 11:35:07 AM
To: Nick Vincent Flor
Subject: Fwd: Eva Chavez PA Contract
Hey Professor F,


Let’s chat about this if we need to.


Can I just put like 17 hours in one period, 17 hours in another, boom and that’s it?


Or whatever the max is per period based on the contract... Whatever is easiest And most
straight-forward will be best.


Thanks,
~Eva



From: Robin Luann Love
Sent: Wednesday, June 6, 2018 10:58:04 AM
To: Nick Vincent Flor
Cc: Eva Chavez
Subject: Eva Chavez PA Contract
Hi Nick and Eva,
In order to submit the PA contract I need to know how you are going to work out the 34 hours. The contract will start 10
working days from the date that I submit it, so the sooner the better. Please let me know how many hours/week Eva
plans to work.
Thank you.
Robin L. Love

                                                           2
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November 28, 2018




                             Exhibit X3
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From:                              Nick Flor <professorf@gmail.com>
Sent:                              Friday, June 8, 2018 4:19 PM
To:                                Eva R. Chavez
Subject:                           Re: Plus,



First, by understanding (eventually), second by giving hopefully helpful advice

On Fri, Jun 8, 2018 at 1:27 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 How can you help me though B?

 Sent from my iPhone

 On Jun 8, 2018, at 9:58 AM, Nick Flor <professorf@gmail.com> wrote:

           I understand. And will do what I can to help!

           On Fri, Jun 8, 2018, 6:46 AM Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
            Yeah never ‘fake’ anything, please!

            and whatever - I’m literally lifetimes older than you.., no joke!

            And even in this lifetime.,, I’m life 33 going on 88...

            “To be honest” though, if something does not change, I truly cannot go on like this much I
            cannot...

            Physically I cannot go through this anymore.,,
            My body

            Sent from my iPhone

            On Jun 8, 2018, at 6:17 AM, Nick Flor <professorf@gmail.com> wrote:

                   Okay I will try to be more mindful, but I don't want to fake anything and I just
                   crash when I'm tired (rest my head for a little bit, lol remember I'm old!)

                   On Fri, Jun 8, 2018 at 5:51 AM, Eva R. Chavez <eva.r.chavez@gmail.com>
                   wrote:
                    Yeah but your totally disregarding me or my mindset... and a lot of what you
                    skimmed over too...


                    Anyways, all good

                    Sent from my iPhone

                    On Jun 8, 2018, at 5:47 AM, Nick Flor <professorf@gmail.com> wrote:

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          haha sorry! But it's a feeling and when I'm tired or I'm in
          research mode, I'm in a different mindset.

          On Fri, Jun 8, 2018 at 5:23 AM, Eva R. Chavez
          <eva.r.chavez@gmail.com> wrote:
           I meant Not nice *nor romantic



           Sent from my iPhone

           On Jun 8, 2018, at 5:16 AM, Nick Flor
           <professorf@gmail.com> wrote:

                  Okay then! lol

                  On Thu, Jun 7, 2018 at 6:29 PM, Eva R. Chavez
                  <eva.r.chavez@gmail.com> wrote:
                   Ya, well - me either then!!!!

                           .



                   Sent from my iPhone

                   On Jun 7, 2018, at 5:52 PM, Nick Flor
                   <professorf@gmail.com> wrote:

                           Ya, just exhausted. Not very
                           romantic when tired!!!

                           On Thu, Jun 7, 2018 at 12:29
                           PM, Eva R. Chavez
                           <eva.r.chavez@gmail.com>
                           wrote:

                               You were not in romantic or
                               communicative moods
                               anyway.... and also felt very
                               far away

                               ....


                               Sent from my iPhone




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                             Exhibit Y3
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From:                          Nick Flor <professorf@gmail.com>
Sent:                          Thursday, June 7, 2018 5:52 PM
To:                            Eva R. Chavez
Subject:                       Re: Same page



Seems like only in the evenings I can message, and early mornings, if this daily pace keeps up

On Thu, Jun 7, 2018 at 11:53 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 I meant for *now I will partake in a long bath

 Sent from my iPhone

 > On Jun 7, 2018, at 11:43 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 >
 > Yo b
 >
 > We need to get on the same page again soon. Let me know when you can make time for me... for how, I will
 take a long bath then I have appointments this afternoon ...
 >
 > Keep me posted
 >
 > ✌
 >
 > Sent from my iPhone




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From:                                   Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                                   Thursday, June 7, 2018 6:42 PM
To:                                     Nick Flor
Subject:                                Re: Good morning!



Don’t let me interrupt any of your wife’s projects then!!

Sent from my iPhone

On Jun 7, 2018, at 5:50 PM, Nick Flor <professorf@gmail.com> wrote:

       Ah, great that your feeling better. I guessed you were bedridden.

       haha I was going to respond, but my wife was keeping me pretty busy today doing her projects.

       Don't know when we can voice chat with this hectic schedule.



       On Thu, Jun 7, 2018 at 11:39 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        I’m ‘okay’ B. Thx.

           Where are my messages though?

           You were bedridden too feeling like a machete was stabbed through your lower right back all
           the way across and through the body sticking of upper left abdomen and ribs?

           I could’ve sworn there was so many messages you told me you’d respond too...

           You never responded after doing your hw or resting your head, or debugging unclogging etc....

           I was in a lot of pain....

           Plus what about the task list etc .

           When are you penciling me in for phone chat so on and so forth.... etc

           I have appts today and a bit of a hectic afternoon....

           Gonna get in      shortly



           Sent from my iPhone

           > On Jun 7, 2018, at 5:03 AM, Nick Flor <professorf@gmail.com> wrote:

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>
> No messages? Are you okay, B?




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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Thursday, June 7, 2018 6:26 PM
To:                              Nick Flor
Subject:                         Re: Aren’t you happy ...



K - not sure what to say about that ....

Sent from my iPhone

On Jun 7, 2018, at 5:53 PM, Nick Flor <professorf@gmail.com> wrote:

       Well I can message in the night, it's just that the days are getting pretty busy!

       On Thu, Jun 7, 2018 at 2:59 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        Aren’t you happy ... that I’m alive?
        Geez all I get is a:

           “2L off course!”

           No lol’s, no emoji’s, no excitement to hear from me, no nothing but a nonsensical 2L off
           course...


           Thanks for humoring me!

           Let me know when you can make time for me...

           I had to cancel my appt

           Sent from my iPhone




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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Friday, June 8, 2018 4:57 AM
To:                              Nick Flor
Subject:                         Re: I should’ve just stayed bedridden



the morning did not come quickly either ;'(
i told you it was a long ways away....

<sadness emojis>

On Thu, Jun 7, 2018 at 6:28 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 That’s a long ways away

 Sent from my iPhone

 On Jun 7, 2018, at 5:53 PM, Nick Flor <professorf@gmail.com> wrote:

           I will think of something nice tomorrow morning!

           On Thu, Jun 7, 2018 at 3:08 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:

           Nothing nice to wake up to today anyways it seems....



           Sent from my iPhone




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                             Exhibit Z3
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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Friday, June 8, 2018 6:43 AM
To:                              Nick Flor
Subject:                         Re: Good morning!



No need to apologize...

I love the idea...

So much...


Probably too much actually...


Everything is too intense!!     Lmao

I want to tell you all my thoughts about it all but I cannot!!!

We definitely need to co-author a paper though...

Sacco told me last night to get the F out of there and start my publishing and editing company once I starting
telling him how giddy editing makes me. He’s like “are you kidding me, your so good at everything you do! Get
the hell out of there and go make real money doing everything your excellent at!” He told me people need
editors all the damn time and I know it because I edit every damn textbook and the all suck!! Even after 18
editions of whatever ...,


I had to cut him off though when he had me as the best “script supervisor” winning academy award because
he’s friends with the ground day movie “script supervisor”

I had to cut him off... I’m like “dude... I’m lucky if I make it through each day... now go Inside your house
because I can hear those damn crickets chirping and they remind me of the crickets I hear when I email all of
Anderson’s damn faculty or when I go on a tweet storm roasting all of them.”

Lmao and he still continued on with his story after that..,

Hey, I really love the flower idea... in so many ways and in so many layers... and it actually kinda terms me on a
bit researching flowers reproducing lol

But yeah I do have a lot to say on the topic and to respond but I start feeling like all intense and dizzy ...

I wish I would’ve described to you the intensity of past 24-48 hours so you can know what type of state I’m
under and condition I’m in...

It’s like your getting all sorts of info and vibes off me now that you wouldn’t otherwise get off me...

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Like a drunk rambling all sorts of nonsensical truths or something ...

And this intense energy emitting off my body these past few days... Indescribable

And the life and energy being entirely sucked out of my body.., even as we speak...

It’s like psychedelics while sober or something... I cannot believe this..,

Sent from my iPhone

On Jun 8, 2018, at 6:15 AM, Nick Flor <professorf@gmail.com> wrote:

       I'm getting there :-) (in terms of my understanding)

       But yeah, people keep talking about viral messages, but I think that's the wrong way of looking
       at it.

       Understanding how flowers reproduce (I know that sounds funny, but I'm serious) will provide a
       better metaphor for understanding how to spread information, than how viruses spread.

       Then we can co-author a paper: A biologically-inspired method for spreading information
       (based on our study of flowers)

       I've already started mapping the process out, but I have a long ways to go (this is part of what I
       do in the morning). I'll diagram the seed spreading process today:




       Sorry, rambling.

       On Fri, Jun 8, 2018 at 5:49 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:


              % fascinating ....

        And a bit intense for me atm...

        I wish I could transfer over all my feelings and emotions to you ... all million and one of them
        that are constantly occurring...

        You’d be tripped out by the layers and intensity of it all ... no doubt...

        ...

                                                          2
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At least you’d understand me better though...

...

Worlds better!

Sent from my iPhone

On Jun 8, 2018, at 5:43 AM, Nick Flor <professorf@gmail.com> wrote:

         I will, if I'm behind my computer and not doing home projects.

         Okay, so I'm thinking for our summer research project (and this has to do with
         spreading information) that nature has already figured out how to do it.

         0. You have an animal or a plant
         1. Genes contain the blueprint (information) for recreating that animal/plant,
         packaged in chromosomes in cells.
         2. Cells split, creating eggs and sperm, with half the chromosomes
         3. Those combine with sperm and eggs from other animals/plants
         4. goto step 0

         So you can think of it as the genes creating animals/plants to spread themselves

         Therefore we should research and document the process by which plants
         (flowers) reproduce. Because that is how the information reproduces itself. It's
         nature's solution to spreading information virally and it's totally efficient.

         And flowers have the most diverse mechanisms for fertilization, birds, bees,
         wind -- all those you can think of as different (insect/environment) "social"
         media for combining an egg and a sperm to get a seed. And then the transport
         mechanism for the seeds themselves (bird poopy, wind) is also fascinating.

         Thus, by mapping the biological process of flower fertilization and seed
         spreading, we are mapping natures way of spreading information "virally"

         In other words, a flower is a better metaphor for spreading information than the
         virus metaphor we use today.

         Isn't that fascinating?

         On Fri, Jun 8, 2018 at 5:18 AM, Eva R. Chavez <eva.r.chavez@gmail.com>
         wrote:
          That’s cute about fruit flies & flowers....
          What fascinating stuff have you been reading??

          Also you better respond to my messages today!

            ✌


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    Sent from my iPhone

    > On Jun 8, 2018, at 5:15 AM, Nick Flor <professorf@gmail.com> wrote:
    >
    > Taking a break from writing to say, "hi" -- really fascinating stuff on fruit flys
    & flowers *'ve been reading.




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                             Exhibit A4
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From:                               Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                               Friday, June 8, 2018 1:28 PM
To:                                 Nick Flor
Subject:                            Re: Anyways



Well, it’s kinda of a big problem

Sent from my iPhone

On Jun 8, 2018, at 9:58 AM, Nick Flor <professorf@gmail.com> wrote:

       Yeah.

       On Fri, Jun 8, 2018, 6:44 AM Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        Yeah, well, you see, there’s a bit of a problem with our friendship....

           ....

           Makes it far more complicated... of a friendship

           Sent from my iPhone

           On Jun 8, 2018, at 6:16 AM, Nick Flor <professorf@gmail.com> wrote:

                     haha, that's okay! Remember we're friends and we will work through any
                     misunderstandings.

                     On Fri, Jun 8, 2018 at 5:44 AM, Eva R. Chavez <eva.r.chavez@gmail.com>
                     wrote:
                      I really don’t know what to say and everything is so intense and I don’t want to
                      be misunderstood either...

                      So....

                            ♀

                      ...

                      And I even just lost my train of thought now


                      Sent from my iPhone




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                             Exhibit B4
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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Friday, June 8, 2018 2:00 PM
To:                               professorf@gmail.com
Subject:                          Fyi




I think I lot of those messages and rambles o sent earlier may require more of a response than what you briefly gave, thx
though


Sent from my iPhone




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                             Exhibit C4
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From:                      Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                      Saturday, June 9, 2018 7:27 AM
To:                        Nick Flor
Subject:                   Re: Disaster of a day



Okay, just a general comment, and I haven't thought too deeply about any of this, I'm just
reacting, so this is my first impressions:

0. You're pretty amazing, and you have an interesting view of life. And I'm happy to have
you as a friend.

Thank you. I think you’re pretty awesome as well and I truly appreciate you and your
friendship. Your sense of humor, your intelligence… lots of things…

1. What makes me different is I respond. I'm not like the other people around you who
totally ignore you. And I respond because I'm your friend. Unlike Reilly and John
Benavidez, I actually have a reputation for NOT responding to students. So, the fact that I
respond to you means I think you're special.Actually, Reilly did used to respond to me, a
lot as well, and he was my ‘friend,’ until his wife told him “It’s either me or THAT,” of which
I will address in your point #2 below (but bear in mind, I have already addressed this
precise topic in lots of detail so you must’ve either 1) over looked it, 2) skimmed it or 3)
forgot or 4) rudely mentioning it again despite none of 1-3.

And, if anybody has a reputation of not responding it’s me and my 170 unread texts and
friends, even just this morning, sending me messages like “OK I take it you are not okay
then and not to disturb you any longer.” Etc. so on and so forth, and 152,000+ unread
emails….

I really am flattered by the fact that you think I am “special,”

But, then again, I also resort back to your ‘cool people’ list and I looked at your cousin’s
page you were INDEED quite extremely responsive to that particular ‘student’ for QUITE
an extensive period of time, ‘acknowledging’ just about every single one of her tweets and
literally ‘responding’ to the most ridiculous tweets and I had ever read in quite a long time.
Like literally for months you would respond to every single one of her tweets and they
were all 100% braindead, childish, garbage school girl things (that not even her school girl
friends would like, only you). I would not believe you would even ‘acknowledge’ if
someone paid you to, unless for some reasons that ‘cool girl’ student was also “special” to
you, so as I mentioned before, it kind of takes/took away from the “special” aspect and
from the you having a “reputation for NOT responding to students” commentary. If you
know what I mean, and as I have already mentioned previously.


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Also, you never told me what the whole big sob story is… did ‘Aaron Carter’ not ask her
out, or did her previously bf break up with her because she valued make-up more than life
and personalities, or was it when he realized all that gunk washed off at nights? Lol
<yet serious question too>

2. Aside, after thinking about it some more, I don't think Reilly's wife found out anything. I
think that's a story he made up because he didn't want to talk to you anymore, because
you message a lot and demand a response, and he got tired of responding.
Not sure if you remember but you already told me this, and I already responded, on a few
occasions, in a few different manners (and you never acknowledged my responses). Too
exhausted to search for my past detailed response to you about it, but essentially, I told
you that you are wrong, and I 100% believe Reilly and believe him that his wife told him
that, and not only do I believe she told him that, but I also believe she read and monitored
all of his emails, especially his emails to and from me…. And as I have already mentioned
to you before (of which you likely skimmed, did not pay attention to, or you forgot) - Reilly
and my messages were NOTHING like YOURS and MINE! 100% absolutely not! So, as
I’ve also mentioned, his wife could have read every single word of every single email and
it only would have confused her even more…. Plus, their issues have absolutely nothing
to do with me, and Reilly and I had no messages whatsoever of flirting or of cuddling (or
anything EVER remotely along those lines) …. Or anything that could have possibly have
been considered as “crossing the lines” or anything of the sort…and as I have also
already mentioned, was only through UNM webmail when I was his GA AND when I was
his student.

SO, YOUR and MY communications and ‘friendship’ is 100% different and I find it rude of
you to tell me, (especially for the second or third time) “I think that's a story he made up
because he didn't want to talk to you anymore, because you message a lot and demand a
response, and he got tired of responding.” 100% rude of you!!!

Also, Reilly is an extremely lonely and insecure dude (as I’ve mentioned 100 times) he
also truly valued me and my friendship, and if his and his wife’s relationship had not been
so messed up (nothing to do with me) and him and her both so insecure, then she would
not have read all of his messages and said “it is either me or THAT” about someone that
was not even interested in her husband, especially sexually or romantically.

AND THEN, to top it off, for you to tell me that is likely what YOUR wife would say if she
found OUR messages… do you NOT see the complete irony in all of this, and what you
are trying to say, as well as your assumptions and accusations?? Hmm, if not, not sure
what to say about all that… but the irony runs DEEP, indeed!

3. Yes, I did tell you to reach out, and I do respond. I just can't respond immediately. But
as a friend, I respond. So, it's very unfair that you put me in the same category as the
Dimitri's and Raj's and Reilly's and other faculty that don't respond at all. Very unfair.
HODL UP HOMIE back up a bit , REWIND and why don’t you just CASH ME OUTSIDE
HOW BOUT DAT!! Where in the H did I EVER compare you to or put you in the same
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category as Dimitri, or Raj?!?! WTF DUDE for reals!!! Now you’re crossing a few lines! I
NEVER ONCE put you in that category or insinuated that… so the ONLY thing VERY
UNFAIR that I sense here is you making that accusation itself!!!! 100% unfair!!! What I
instead politely and precisely asked you was: “Also, it makes me curious as to how our
friendship is even different than mine and WR’s (other than that it’s more complex and I
feel VERY different towards you) ....and I’m not comparing you to him btw, I’m legitimately
wondering and asking....”
And I KNEW you were going to get ALL HURT simply because I forgot the word *was but
the word *WAS should have been in there (see below):
“Also, it makes me curious as to how our friendship is even different than mine and
WR’s *WAS(other than that it’s more complex and I feel VERY different towards you)
....and I’m not comparing you to him btw, I’m legitimately wondering and asking....”
And not to mention, you did NOT respond to me other than will your rude assumptions
that I had already responded to in the past, you telling me that I message A LOT and
‘demand’ responses, and all of this other not very nice stuff that a friend would not do…
and I already clarified to you COUNTLESS times where my genuine comment came from
1) Reilly white was my friend 2) he did respond and was responsive 3) his wife is insecure
and told him he could not message me 4) he, similarly to perhaps you and others, do as
their wives say whether they want to or not, or whether they are happy or not 5) I told you
mine and your relationship is VERY different, 6) I blatantly (and vulnerably) expressed my
feelings about you and towards you (aside from friendship feelings, which you ignored,
overlooked and did not comment on), 7) I told you I was not comparing you to him (and
that I was legitimately wondering and asking) , and you still retorted back with rude and
hurtful comments 8) and then you randomly through in there that I was putting you into
categories as Dmitri and raj and that I am being ‘very unfair’ but in reality you are not
seeing how unfair and unthoughtful your responses and commentary are…


4. Due to my circumstances I can't respond immediately. It's not just that I'm married, I
have research and teaching prep to do. You message a lot, throughout the day. My
world, as a faculty member, revolves around my research and teaching first. That's not
selfish, because in doing that I help other people. But those activities require long and
solid blocks of time, interruptions are costly. So, what are your ‘circumstances’ and why do
you keep saying that? And no, that is ABSOLUTELY Not what told me. In fact, you told
me the opposite, you told me that if you do not respond immediately through message to
give you a call and you made me promise that I would! So, do not even know why you are
changing things up now and telling me the opposite. And as I have told you before I
NEVER once called Reilly White nor did I communicate with him at all the way I do with
you, so yeah, completely different in that regards.

Also, it’s 100% obvious to me that you do not see how much I can help you with your
’activities’ as a ‘faculty member’ and with your research and all the other stuff that you
would like assistance with and to focus on. I guess I need to hunch over in pain and write
you a layered 11-page document about how helpful I can be to you in those areas and to
your research, writing, editing, etc. for you to understand how sometimes when the
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universe brings something right in front of your face and you are too busy clouded by your
own thoughts and focus that you tell me “those activities require long and solid blocks of
time, interruptions are costly” is incredibly condescending and rude, especially if you truly
knew how much your “interruptions” with you could inevitably help you with those exact
things you are working on and wanting to focus on, but that’s fine – I WILL KEEP MY
COSTLY INTERRUPTIONS TO A MINIMUM!!!! Especially from here on out, and
ESPECIALLY if that is what you are wanting and asking of me!!!

5. Does that mean I don't care? If I didn't, I wouldn't respond. But I do because I'm your
friend. I appreciate so much that you care, and that you respond, as well as your
friendship. I do not know how many times I need to tell you that or repeat it for you to
believe me or accept my words as honest truth. I have never taken you for granted.

That's all. Maybe we can't be super close friends like it started to be in the beginning, and
maybe yes it was because it was a new experience for both of us (and that numerology
you showed me was pretty convincing about things not being a coincidence). But now that
I'm beginning to understand the pain you're in and the end-of-cycles, maybe that's not the
kind of friend you need. Fine NICK, sounds wonderful – now that you are ‘understand the
pain I’m in and the end-of-cycles,’ then you do not think we can be ‘super close friends’
anymore!! And dude, this is with you only knowing me for 30-days!!! Wow, some
friendship, thanks!!! And no, you really aren’t beginning to understand things that well, you
only met me 30-days ago!!!!! And yeah, I guess that is NOT the type of friend I need!!!!
Especially if you are trying to tell me that it’s not! Thank you for your 30-days of
friendship!!! I truly appreciated it and it meant the world to me for those 30-days….
Literally it meant EVERYTHING!!

Anyway, to make a long story short, because I'm rambling, maybe I'm not the friend you
want, but I am a friend who will try to help you get through what you're going through. I'm
just delayed in my responses. Thx

I hope that makes sense.

Anyway, different topic: Re: research assistantship: 8 hours, four weeks, diagram the
flower reproductive ecosystem (pollen birds, bees), co-author paper. Shall we do it? That
would be fun.

I’ve tried contacting you about this for over a week (to speak), calling you, asking you to
pencil me in etc., asking you when you can make time for me. I really did not want to type
this through email (any of it) because I know you what understand me, just like you did the
entire message that you just responded to with your bulleted numbers 0-5, responding in
defense…. Of yourself, and your words, actions, friendship, etc. I wanted to speak with
you instead, but ho hum, your ‘circumstances.’

I do not think we should do it (for various reasons) … mainly because I truly valued our
friendship that much more, but now I’m wondering where our friendship even stands
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based off your responses to me… but I did not want to complicate things and how much I
appreciate you, for such a small amount of money and hours when I already know for I
fact I will work WAY more than 8 hours per week and already have, and I do not want to
be bamboozled either, and I wanted more so to maintain our friendship……

Do not get me wrong, I 100% want to work with you; I am extremely interested in the topic
(you would not know how much so because you have not spoken with me about it or
heard any of my thoughts and feelings), but I think we should write a book about that
topic, and not just an article, and that it should not be associated with UNM, at least in
regards to me, because I will immerse myself into a project as such and nobody can ever
pay me enough when I immerse myself into things, truly…. I want to work with you, and I
want to help you. And I do think we kind of NEED to work together, for various and
different reasons as well.

The book/paper will lead to other things though, and I am concerned about that… and
when I express my genuine, authentic and detailed concerns you only write back
defending yourself and not addressing my feelings nor concerns, and furthermore you
telling me that you “don’t do detailed responses” and are “more of a spur-of-the-moment
micro messager” doesn’t really make me feel any better about all my detailed messages
that I apparently DEMAND responses from, nor does it solidify our abilities to work well
together….

I truly think I can help, and when I get a chance I will try to dedicate some time to send in
an email about your research, your battles with that, my thoughts, and all the ways I think I
can help and be of assistance, if you are willing and able to work with me, and you and I
are able to get on the same page and move on from whatever either of us think occurred
(or did not occur) in the past 30-days.

..

Thank you for crossing paths with me, for your friendship, for your kind words and
thoughts, and for your countless responses and messages in the past 30-days that I
demanded responses from…. Even your spur of the moment micro-messages meant the
world to me, and may have even extended my life an additional 30-days, so I’ll never take
what they meant to me for granted.

Thank you so much, dear friend, as I will treasure that forever…
Those moments, and those messages….

The meant the world to me…. And I 100% mean that with every fiber of sincerity and
authenticity in my body…..

#VeryGrateful

On Sat, Jun 9, 2018 at 6:00 AM, Nick Flor <professorf@gmail.com> wrote:

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Okay, just a general comment, and I haven't thought too deeply about any of this, I'm just reacting, so this is
my first impressions:

0. You're pretty amazing, and you have an interesting view of life. And I'm happy to have you as a friend.

1. What makes me different is I respond. I'm not like the other people around you who totally ignore you. And
I respond because I'm your friend. Unlike Reilly and John Benavidez, I actually have a reputation for NOT
responding to students. So the fact that I respond to you means I think you're special.

2. Aside, after thinking about it some more, I don't think Reilly's wife found out anything. I think that's a story
he made up because he didn't want to talk to you anymore, because you message a lot and demand a response,
and he got tired of responding.

3. Yes, I did tell you to reach out, and I do respond. I just can't respond immediately. But as a friend, I respond.
So it's very unfair that you put me in the same category as the Dimitri's and Raj's and Reilly's and other faculty
that don't respond at all. Very unfair.

4. Due to my circumstances I can't respond immediately. It's not just that I'm married, I have research and
teaching prep to do. You message a lot, throughout the day. My world, as a faculty member, revolves around
my research and teaching first. That's not selfish, because in doing that I help other people. But those activities
require long and solid blocks of time, interruptions are costly.

5. Does that mean I don't care? If I didn't, I wouldn't respond. But I do because I'm your friend.

That's all. Maybe we can't be super close friends like it started to be in the beginning, and maybe yes it was
because it was a new experience for both of us (and that numerology you showed me was pretty convincing
about things not being a coincidence). But now that I'm beginning to understand the pain you're in and the end-
of-cycles, maybe that's not the kind of friend you need.

Anyway, to make a long story short, because I'm rambling, maybe I'm not the friend you want, but I am a
friend who will try to help you get through what you're going through. I'm just delayed in my responses.

I hope that makes sense.

Anyway, different topic: Re: research assistantship: 8 hours, four weeks, diagram the flower reproductive
ecosystem (pollen birds, bees), co-author paper. Shall we do it? That would be fun.

On Sat, Jun 9, 2018 at 3:04 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 See, I don’t know how to respond to this B!

 So.....basically what you’re telling me is that your wife would tell you exactly what you don’t even think
 WR’s wife told him?!!

 You know....
 All of this leaves me in a predicament; and it also does make me wonder how much you do care etc. You
 mentioned I have to wait and see how much you care, but what if I’m not around to ‘wait’ and ‘see’
 anymore....

 Also, it makes me curious as to how our friendship is even different than mine and WR’s (other than that it’s
 more complex and I feel VERY different towards you)....and I’m not comparing you to him btw, I’m
 legitimately wondering and asking....
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...

I mean, if you’re not available to chat (even about PA stuff etc, which I had been trying to chat about for the
past week as well), and if you have 5pm curfews, and big projects at home that I should not be interrupting
etc.... and no time, hectic schedule, and are too busy and with ppl around etc (not about to chat) the few times
I have tried you, AND you tell me directly you cannot be “on call” for me.... and can only respond to my
messages at your convenience when I suppose you’re not hanging out with, being intimate with, or doing
projects for your wife....

Yet,

you’re the friend that asked me to be sure and contact you or reach out etc if I ever felt that way so on and so
forth .... and that you’d “Shake me”
<side note: I have a hilarious side story about shaking me, that I’ll have to tell you at some point. Happened
recently but haven’t had the chance to show you>

....

Anyways, I digress... when we first met you indicated to contact you if I ever needed to, and not to hesitate....

....


But then when I do, and I really need you and I really need a friend... then I’m cast aside because it does not
conveniently ‘fit in’ with you or your circumstances.....
and I have to wait and see how much you care.... ??

...

Hey, I do appreciate you A LOT... and I actually really like you a lot too, in ways that are different from
friendship; and neither of us can explain how that happened, but it did.... and I’m actually really not too sure
how to feel about any of it, nor how you feel about me, and I know you appreciate my perspectives and the
way I view the world etc, my creativity... the other nice things you’ve told me about my intellect so on and so
forth... that I’m intriguing and unique, blah blah blah....

Yet, when it comes to other aspects of this uniquely special connection we’ve found ourselves in... i don’t
really know what to believe (or think), about any of it, or how to feel.... nor why I feel this way.... and/or why
you popped up out of nowhere after literally being there all along.... all the other synchronicity that you and I
experienced that we’ll apparently now disregard.....

...

And what are the chances that we’d both randomly feel certain ways - slim to none, is my thoughts.... but then
again, I convince myself that you don’t really feel these certain ways towards me, and it’s just because it was
new and exciting to meet someone with different perspectives that you even paid any attention to me in the
first place...

And that’ll soon fade just like everything else, and I’ll have to keep the magical realms of planet eva to
myself....until the not so magical realms get too difficult for me to bear and I will not have the will, gumption
nor reasons to continually move forward. ..
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....

I’m really exhausted with my world having to revolve around everybody else’s and me always being there for
everybody else.., and it never being the other way around....

I feel like chopped liver. Like an outcast, completely isolated..., people only care to contact me when it’s
convenient and “hunky dory” for them and when it makes them happy and comfortable.... it’s never out of
their way or the other way around..... well In actually, it is the other way around... it’s when they need
something or some uplifting and when things are not hunky Dory for them then they will also contact me....

What types of friendships are those anyways?? Selfish ones, it seems...

People are damn selfish in general and they want it all... I have so many stories about this, and people, and
failed friendships etc.

It’s annoying really... and a bit hurtful....


If you cannot be there for me, it’s okay...
I’d rather just know that and face that.... than have you string me along all feeling certain ways about you, and
getting deeper and deeper into those feelings because I’ve already felt it, I already feel it, I do not know how
to stop it, and I do not know what to do about it      ♀

I only know it complicates everything....

I think our options may be limited at this point; we cannot change any of our communications from the past
month, and we can pretend they do not exist, or didn’t happen, but they did....

I want to tell you how I feel about everything, but when I try.... it gets lost....

And you expect me to keep type type typing away, yet you send me brief one liners saying you read my
words and are pondering them, but then nothing further.... no insights into your pondering or thought process
or anything... just you saying you are at a loss of words and not knowing how to respond...

Or in your last message when you say stuff like “ Well, usually I don't respond because I don't know you want
a response, or it's not a big deal to me, but not because it's intentional.”

Just to clear things up and clear up your confusion - I typically want a response to EVERYTHING!!! No joke.
I don’t waste all this time in all this pain when I should be doing a million and one other things to type all
these words, thoughts, feelings, and emotions to you... only to have you say you don’t respond because you
don’t know o want a response!!!! No babe wtf!!! I want responses! I want responses to everything or else I
would not waste my damn time with it all!wtf B why would you even say that??!

And even more rude and disrespectful is you saying “or it’s not a big deal to me” ?!?!
So all my words, feelings, emotions, struggles etc, that I expect responses to, are not a big deal to you!!!?!???
That is so heartbreaking and hurtful B, truly!!!!

All of this is a BIG deal to ME, ever DAMN word of it!!! It hurts my feelings so bad that you would even
somehow indicate that all my typing all the time and energy o didn’t writing you about anything is not a big
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deal to you!!! Just just rip my heart right in hand why don’t you??!?            thanks b! That comment really
hurt me deeply...

intentional or not

My feelings are hurt, and my heart is really vulnerable..... I know you’ve broke it before because this all feels
to sad and familiar....

I cannot have it broken again.....

Now, we’ll remain stuck this way....
For eternity....

Like all the other folks that do not increase their awareness to transcend to next levels.....

....

I feel really sad and broken.... still.

I need to somehow piece myself back together. Thank you for the role you’ve played in helping me move
forward and live on...

Even if it’s all temporary and/or short-lived....


As is life

Sent from my iPhone




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From:                               Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                               Saturday, June 9, 2018 6:20 PM
To:                                 professorf@gmail.com
Subject:                            Inbox
Attachments:                        image1.jpeg; Untitled attachment 10896.txt; image1.jpeg; Untitled attachment 10899.txt



Not gonna lie (in fact I hardly ever lie), but I do miss receiving your messages....

My inbox is so empty without your messages, B!

Also I think it a bit ironic that this email came in after yours because all this talk about DNA , genetics, and flowers
reproducing: o had been wanting to mention this to you, but again, have not had the chance....

Anyways the story behind the story is that after the PA-ship was over with WR, I edited one of his important publications
for him.... since I was not working for him anymore, and was essentially just editing the paper to help him out, we had
made a deal that if his paper got published.... he would order me one if those damn 23 and me kits because he’s really
into ancestry, genealogy, history and stuff like etc. (again, due to his ‘back story,’ or in this case, lack thereof....

Anyways, I wasn’t super interested in the DNA thing but I agreed to it anyway simply because I wanted to help him out
with his paper....

So I help him out, spend lots of time and hours in his paper, and when it did not get published the first time, after I
edited it (not even just for content, but purely editing), it successfully got published....

But of course, but the time the publication was approved, we were no longer friends anymore and it was just yet one
broken promises filled with empty words....

So of course I heckled the kid about not coming through on any of his words or promises after I spent so much time
helping him, to get his paper published, as a friend...

Anyways after a few months of heckling he sent some $ to me in an envelope through RG. I did not have to use it for the
23 and me thing, but since that was the deal we had made, I went ahead and did it shortly thereafter.... AND THEN I got
pissed that I dud the damn report (for no reasons other than him telling me it was cool) and that now somebody had my
DNA on file somewhere...

And then after I heckled him for convincing me to do that stupid bullshit and that I wished I never did ...

Anyways, I digress....

I’m not really much of a biology type of gal, or did not used to be,... it simply did not interest me much back in the school
days, yet now, so many odd things have been lining up for me to study this.... with my own DNA (eben and human), and
also your whole idea with the flower thing! Dude you have no clue how odd that is that you would bring that up and
how perfectly it aligns (the topic) with my own flower pictures, footage, images, and just my lifelong connection with
flowers..... ha, and I also wasn’t kidding that it kind of turns me on, when I said that in my message the other day, except
in my hasty and rushed response I believe I said “termed” me on lol.... but I mean I have pictures of close up orchids in
my bedroom near my head and if you only knew how much flower footage I have, and that along with all this random
and odd dna info that’s been crossing my path....


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And then my own perspectives on it all, your truly wouldn’t believe the synchronicity of what’s been happening behind
the scenes and with some of the things you brought up that I haven’t even made mention of or told you about.,.
Because it’s all so

There’s some very odd things lining up for me with all of this and it’s confusing me even more...

Anyways, point being, of you are interested in genetics (and particularly mine) as well as LOTS of info and reports about
it, I can like share my report with you somehow...

Perhaps it will help ‘our’ research....

....
I do not really know how I ‘feel’ about any of the results, but I do know that I find it fascinating that 7.0% of my DNA is
categorized as “unassigned.” Is that not odd???! Totally #PlanetEva alien species DNA right there -> 7.0% ✌

Thoughts?

Let me know if you are interested in or want access to my report and I’ll see if I can figure it out... thx

  ✌




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From:                           Nick Flor <professorf@gmail.com>
Sent:                           Saturday, June 9, 2018 8:34 PM
To:                             Eva R. Chavez
Subject:                        Re: Horoscopes 06/09/18



But of course. Some of them I don't know what to say, so probably not those. Thank you for the horoscopes,
always insightful.

On Sat, Jun 9, 2018 at 5:32 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 Thank you for the 3:33:33 positive and good vibes. Always appreciated.

 Just curious as to if you’ll ‘acknowledge’ or respond to my other messages later this evening.....

 Not demanding, just curious




 Sent from my iPhone




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From:                     Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                     Saturday, June 9, 2018 8:54 PM
To:                       professorf@gmail.com
Subject:                  I missed your messages




Sent from my iPhone




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                             Exhibit G4
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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Saturday, June 9, 2018 9:41 PM
To:                               Nick Flor
Subject:                          Angus and Julia Stone - The Wedding Song



Don't worry, it's not about me, or you, or 'us'...

you've already killed all the romance... 'completely' ;)
<it's gone> :/
...

but i've always liked this song and since you liked the "You're the One that I Want" version of Angus and Julia
Stone, i thought to send you this one as well...

i heard it once years ago, and used to listen to it a lot during that time....

https://www.youtube.com/watch?v=d__0w973V5Q




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                             Exhibit H4
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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Sunday, June 10, 2018 7:43 AM
To:                              Nick Flor
Subject:                         Re: Angus and Julia Stone - The Wedding Song



Yeah, at least you still like her voice even though you’ve killed all things romantic lol

Sent from my iPhone

On Jun 10, 2018, at 6:42 AM, Nick Flor <professorf@gmail.com> wrote:

       I like her voice though. Very unique and good for this genre.

       On Sat, Jun 9, 2018 at 10:00 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        I think it made me not even like the previous song I sent you or the movie grease haha

           Sent from my iPhone

           On Jun 9, 2018, at 9:55 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:

                 Haha really though - what an annoying song!!

                 Sent from my iPhone

                 On Jun 9, 2018, at 9:52 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:

                        Actually, now that I listen to it again, years later!

                        What a depressing song! Lmao

                        Sent from my iPhone

                        On Jun 9, 2018, at 9:40 PM, Eva R. Chavez
                        <eva.r.chavez@gmail.com> wrote:

                                 Don't worry, it's not about me, or you, or 'us'...

                                 you've already killed all the romance... 'completely'
                                 ;)
                                 <it's gone> :/
                                 ...

                                 but i've always liked this song and since you liked
                                 the "You're the One that I Want" version of Angus
                                 and Julia Stone, i thought to send you this one as
                                 well...


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               i heard it once years ago, and used to listen to it a
               lot during that time....

               https://www.youtube.com/watch?v=d__0w973V5
               Q




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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Sunday, June 10, 2018 2:40 PM
To:                              Nick Flor
Subject:                         Re: Running Back to You



Probably because you’ve killed romance. So you just straight over looked it!

Sent from my iPhone

On Jun 10, 2018, at 12:58 PM, Nick Flor <professorf@gmail.com> wrote:

       I don't remember this! I like that song. Yeah, we can sing it as a duet, that's an easy one to
       learn. I like the harmonies.

       On Sun, Jun 10, 2018 at 7:31 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
        You never responded back to my response to any of this btw

           Sent from my iPhone

           On Jun 4, 2018, at 6:53 PM, Nick Flor <professorf@gmail.com> wrote:

                 Nice lyrics, but I too techno sounding. Ruins the nice lyrics. I prefer acoustic,
                 some drums, light bass on songs with nice lyrics.

                 On Sun, Jun 3, 2018 at 6:35 PM, Eva R. Chavez <eva.r.chavez@gmail.com>
                 wrote:
                  Running back to You - the foxes.

                  Not sure if I’ve sent this to you yet or not, but it’s playing now....

                  It dies talk about leaving a light on though, and I know how you hate wasting
                  energy as such lol




                  Sent from my iPhone




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From:                          Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                          Sunday, June 10, 2018 3:02 PM
To:                            Nick Flor
Subject:                       Re: IMPORTANT: TASKLIST



My email on this meant “yo homie hurry up with your deadlines, the update, and your response to my long
update that you completely overlooked and ignored!”

My question wasn’t whether we were gonna still work on it or not

What you talking??!

I’m also a bit annoyed you haven’t or cannot make time to chat about propaganda or PA-ship or working
together or anything...
And if you’re just going to take that angry email of mine and face value (the response to your points 0-5, that
made me angry and respond abruptly), and not talk about it or clear-up our confusions or what I was telling you,
or discuss possibilities if dueling together.... then you truly don’t get me.


It was an open invitation to you to see if you truly wanted to work with me or not and what we can discuss to
understand each other, but instead you completely avoid it and decide that you have nothing to say or respond!
Wow!

Sent from my iPhone

On Jun 10, 2018, at 2:35 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:

       I don’t know what you mean and we’re totally still working on 1984 and Fahrenheit 451 together
       buddy!

       Sent from my iPhone

       On Jun 10, 2018, at 1:10 PM, Nick Flor <professorf@gmail.com> wrote:

              We'll still work on those things, just not the ones that have to do with research
              like the reading 1984 & fahrenheit 451.

              On Sun, Jun 10, 2018 at 9:45 AM, Eva R. Chavez <eva.r.chavez@gmail.com>
              wrote:
               YO HOMIE!!!

               What’s the status of this ?


               Sent from my iPhone

               On Jun 4, 2018, at 6:59 PM, Nick Flor <professorf@gmail.com> wrote:

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         I listened to Immortal Man today, two chapters. GOod stuff on
         forgiveness and the usual good imagination stuff.

         Haha, I did not catch medium!

         Not entirely sure when I can call for sure, but since I can call you
         whenever, I will call when no one is around!

         On Sun, Jun 3, 2018 at 10:31 PM, Eva R. Chavez
         <eva.r.chavez@gmail.com> wrote:
          Hey B,

          Okay, what do you think of the attached then (and below)?

          Topics: Order by importance
          Ordered by importance to the best of my ability. Feel free to update anything that
          needs updating.

          Immortal Man: Haven't listened since I got back, will listen. Really like it.
          Cool, glad to hear you like it! Let me know where you're starting at so i can listen
          with you. I have been listening, but also waiting for you as well.

          NVF: June 1 was supposed to be when I got back to my routine.
          I know sweetheart, silly goose. I was mostly just teasing you, also you did not
          notice (nor make mention of) my joke on that spreadsheet about the priority level
          of return being 'Medium' lol.

          Dates:
          I like the target end date, and also having actual start and end dates.
          Thanks for the feedback. I had a 'Target' column - Let me know what you think.

          Phone Chats: will do.
          Okay B, when you penciling me in for?

          Priority: Yes, this is good.
          Okay, thanks, also, i ordered by importance, and note that you have a few
          approaching deadlines coming soon!

          Who: I think we need it because it has to be assigned to somebody.
          Okay, silly goosey. I guess we can keep it, or call it something better, but who is
          also fine too ;)

          ERC: Sounds good, keep adding tasks and you and I will make sure we both get
          them done!
          Okay, i actually needed to do al those things weeks ago. like yester-year!

          Thanks! And new format looks much better. I like the checkbox. And almost
          a month since we've met!
          <that's adorable, all of it; all of the above - format, checkbox, and almost a month
          sincere've met! :P

          On Sun, Jun 3, 2018 at 4:37 PM, Nick Flor
          <professorf@gmail.com> wrote:
           Topics:
           Agreed on separate spreadsheets for big ones
           Order by importance

           Immortal man:
           Haven't listened since I got back, will listed. Really like it.
                                                  2
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          NVF: June 1 was supposed to be when I got back to my routine

          Dates:
          I like the target end date, and also having actual start and end
          dates

          Phone CHats: will do

          Priority: Yes, this is good

          Who: I think we need it because it has to be assigned to
          somebody

          ERC: Sounds good, keep adding tasks and you and I will make
          sure we both get them done!

          Thanks! And new format looks much better. I like the
          checkbox. And almost a month since we've met!

          On Sun, Jun 3, 2018 at 11:51 AM, Eva R. Chavez
          <eva.r.chavez@gmail.com> wrote:
           Hello Kind Sir,

           I had not had the chance to provide my feedback or thoughts
           on the task list since you sent it to me, so here it is now:

           Topics: I think the topics should be in some sort of order;
           alphabetical perhaps, or by importance, or by something
           different altogether. Thoughts?

           A lot of those topics will likely need their own spreadsheets,
           because they are big projects; i.e. like the Flor experience one,
           or the Music project, Bus Footage project etc.

           Similarly, same goes for the 1984 and Fahrenheit 451 projects
           - we will likely need separate spreadsheets, for deadlines etc.
           We should really start this project btw - reading the chapters,
           writing the short synopsis, etc. Let me know when you're ready
           to begin and chip away at this...

           Immortal Man: same goes for Immortal Man too. also, did
           you give up on Immortal man B? you dropped off that
           bandwagon, and never responded back to my ch 4 stuff. did
           you hate it? ;)

           Dates: Something about the date/s column needs to be changed
           or updated; perhaps add a "Target End Date" column and then
           update the current "End Date" column to say "Actual End
           Date" or something like that... not sure. i just feel it can be
           somehow improved or adjusted.
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           Phone Chats: Let me know when you can pencil me in next
           because I do have lots to say, but you know it kills me to type
           and write, be hunched over and in pain, etc, so on and so forth.

           Priority: Not sure if you want priority level included or not,
           but if so, you can go add priority levels for those tasks we've
           already accomplished ;) and fill in any other items on the
           checklist that i am overlooking.

           WHO: also, i am not sure i like the "Who" column/tab etc, or
           perhaps i do like it and it can be formatted differently,... or
           perhaps it's fine as is, thoughts?

           NVF: btw you got back on the 31st you silly! not 06/01... but
           perhaps you meant back to your routine on 06/01? ;) What
           other pending deadlines do you have?

           ERC: I have WAY more things to add to this list, no joke...
           basically everything i did not do ever since i met you... i need
           you to help me focus on those things and make sure I am
           making some sorts of steps/productivity in those
           tasks/writings.

           Please add and/or make andy updates or suggestions to the
           attached checklist and respond back with your feedback. Any
           formatting and re-formatting suggestions of the spreadsheet/s
           are also appreciated as well.

           Thanks kindly,




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                             Exhibit K4
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From:                            Eva Chavez
Sent:                            Monday, June 11, 2018 2:30 AM
To:                              Nick Vincent Flor
Subject:                         Re: Eva Chavez PA Contract



Hey,

Let's chat about this. Maybe we can still do it, and try for July.... but WE need to discuss if it still works etc.

Thanks,
~Eva

From: Eva Chavez
Sent: Thursday, June 7, 2018 3:19:47 PM
To: Nick Vincent Flor
Subject: Re: Eva Chavez PA Contract
Also, 4 weeks at 8 hours per week pretty much comes out to around 17 hrs per pay period, as I
had mentioned (for 34 hrs), which would make it a 4-week contract divided into two pay
periods. Let’s chat!


Thanks,
~Eva
_____________________________
From: Eva Chavez
Sent: Thursday, June 7, 2018 2:34 PM
Subject: Re: Eva Chavez PA Contract
To: Nick Vincent Flor




Prof F.,


Yeah, let’s chat about this when you get a chance. I’m not sure you’re understanding what I’m
saying, and not am I sure exactly what you mean by room for feedback and changes - so, let’s
clarify this as well to make sure we’re on the same page.


                                                           1
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Let me know when you can pencil me in.


Thanks kindly,
~Eva


From: Nick Vincent Flor
Sent: Wednesday, June 6, 2018 9:39:42 PM
To: Eva Chavez
Subject: Re: Eva Chavez PA Contract
Eva,

I think it should be 4 weeks of 8 hours — this gives room for feedback and changes.

- Prof. F.

--
Nick V. Flor, PhD
Associate Professor - Information Systems
Interdisciplinary Film & Digital Media
Anderson School of Management
University of New Mexico
nickflor@unm.edu
Faculty Concentration Advisor
BBA-Interdisciplinary Film & Digital Media Program

Honorary Chair of Rum Studies Professor


From: Eva Chavez
Sent: Wednesday, June 6, 2018 11:35:07 AM
To: Nick Vincent Flor
Subject: Fwd: Eva Chavez PA Contract
Hey Professor F,


Let’s chat about this if we need to.


Can I just put like 17 hours in one period, 17 hours in another, boom and that’s it?


Or whatever the max is per period based on the contract... Whatever is easiest And most
straight-forward will be best.


Thanks,
~Eva


                                                      2
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From: Robin Luann Love
Sent: Wednesday, June 6, 2018 10:58:04 AM
To: Nick Vincent Flor
Cc: Eva Chavez
Subject: Eva Chavez PA Contract
Hi Nick and Eva,
In order to submit the PA contract I need to know how you are going to work out the 34 hours. The contract will start 10
working days from the date that I submit it, so the sooner the better. Please let me know how many hours/week Eva
plans to work.
Thank you.
Robin L. Love
Administrative Assistant III
Department of Marketing, Information Systems,
Information Assurance, and Operations Management(MIDS)
Anderson School of Management
Direct phone: (505) 277-8438
Fax: (505) 277-7108
E-mail: rlove01@unm.edu


The University of New Mexico● 1924 Las Lomas NE● MSC05 3090
1 University of New Mexico● Albuquerque, NM 87131-0001 ● www.mgt.unm.edu




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                             Exhibit L4
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From:                            Nick Flor <professorf@gmail.com>
Sent:                            Monday, June 11, 2018 8:36 AM
To:                              Eva R. Chavez
Subject:                         Re: IMPORTANT: TASKLIST



Well you said in that long e-mail that you didn't think doing the research assistantship was a good idea, because
of what it would lead to. So I'm not going to push it. I listed what I wanted you to do (the flower information
reproduction), and if you don't want to do that, it's fine. Really. So I'm going to kill that idea (RAship) now.
Besides, I think I can use that money to buy brainwave equipment.

And we can still work on the other projects (flower, bus videos, etc). That'll be fun.

On Sun, Jun 10, 2018 at 3:17 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 Fixing a couple typos from the second half of that last message *(below):

 “I’m also a bit annoyed you haven’t or cannot make time to chat about propaganda or PA-ship or working
 together or anything...
 And if you’re just going to take that angry email of mine *at face value (the response to your points 0-5, that
 made me angry and respond *reactively and abruptly), and not talk about it, or clear-up *any confusions *on
 what I was telling you, or discuss possibilities if *working together (not dueling, lol).... then you truly don’t get
 me.

 It was an open invitation to you to see if you truly wanted to work with me or not, and what we can discuss to
 understand each other better in terms of it, but instead you completely avoid it and decide that you have
 nothing to say or respond! Wow!”

 ....

 Apologies that we clearly misunderstood each other on these messages as well as that entire email chain that
 you have no response to that I’m referring to...


 As I am not a fan of misunderstandings and miscommunications...

 Sent from my iPhone

 On Jun 10, 2018, at 3:01 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:

           My email on this meant “yo homie hurry up with your deadlines, the update, and your response
           to my long update that you completely overlooked and ignored!”

           My question wasn’t whether we were gonna still work on it or not

           What you talking??!

           I’m also a bit annoyed you haven’t or cannot make time to chat about propaganda or PA-ship or
           working together or anything...
                                                          1
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And if you’re just going to take that angry email of mine and face value (the response to your
points 0-5, that made me angry and respond abruptly), and not talk about it or clear-up our
confusions or what I was telling you, or discuss possibilities if dueling together.... then you truly
don’t get me.


It was an open invitation to you to see if you truly wanted to work with me or not and what we
can discuss to understand each other, but instead you completely avoid it and decide that you
have nothing to say or respond! Wow!

Sent from my iPhone

On Jun 10, 2018, at 2:35 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:

       I don’t know what you mean and we’re totally still working on 1984 and
       Fahrenheit 451 together buddy!

       Sent from my iPhone

       On Jun 10, 2018, at 1:10 PM, Nick Flor <professorf@gmail.com> wrote:

               We'll still work on those things, just not the ones that have to do
               with research like the reading 1984 & fahrenheit 451.

               On Sun, Jun 10, 2018 at 9:45 AM, Eva R. Chavez
               <eva.r.chavez@gmail.com> wrote:
                YO HOMIE!!!

                What’s the status of this ?


                Sent from my iPhone

                On Jun 4, 2018, at 6:59 PM, Nick Flor <professorf@gmail.com>
                wrote:

                        I listened to Immortal Man today, two
                        chapters. GOod stuff on forgiveness and the
                        usual good imagination stuff.

                        Haha, I did not catch medium!

                        Not entirely sure when I can call for sure, but
                        since I can call you whenever, I will call when no
                        one is around!

                        On Sun, Jun 3, 2018 at 10:31 PM, Eva R. Chavez
                        <eva.r.chavez@gmail.com> wrote:
                         Hey B,

                         Okay, what do you think of the attached then (and
                         below)?
                                                   2
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From:                               Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                               Monday, June 11, 2018 2:30 PM
To:                                 Nick Flor
Subject:                            Re: Saturday Sun



       how so and in what ways?

I guess your perceptions of me are gonna change because I am as tall as if not taller than Bruce Lee.


Ok, so how did your perspectives of me change now?

         ♀

And I guess you answered my first question without answering it that I did somehow give off a 5’4” ish type of
vibe....

Yet, still that’s good feedback though... indicates to me how much I need to work on myself and my
posture...and the image I give off to others

I’m 5’7,” But I technically should be at least 5’9”

I have extremely bad posture, slumped shoulders, and lots of pain....

Which makes me at least 2 inches shorter than I should really
be.

Now tell me about your new perceptions of me?!



....

I suppose it’s a good thing that I think high heels are incredibly foolish, and that for some reasons you have
killed the art of Romance,
Lol not lol

Sent from my iPhone

On Jun 11, 2018, at 8:53 AM, Nick Flor <professorf@gmail.com> wrote:

          Yes, your height will change my perception of you.

          On Mon, Jun 11, 2018 at 2:19 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
           hey B,

             is this why you are not responding to me? lol
                                                             1
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because you do not know my height.

answer my 2 questions B, you goose!

1) Did I really look and give off a 5’4” ish type of vibe that day ;)

2) *Will my height change your perceptions of me?


On Wed, Jun 6, 2018 at 1:21 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 Hey, so after you answer the first questions of *You guess 5’4” though, really?!!


            Did I really look and give off a 5’4” ish type of vibe that day ;) ha!

The next question is: *Will my height change your perceptions of me?


Sent from my iPhone

On Jun 5, 2018, at 9:28 AM, Nick Flor <professorf@gmail.com> wrote:

          STOP TELL ME HOW TALL YOU ARE!

          On Tue, Jun 5, 2018 at 9:17 AM, Eva R. Chavez <eva.r.chavez@gmail.com>
          wrote:
           You guess 5’4” though, really?!!

            Did I really look and give off a 5’4” ish type of vibe that day ;) ha!

            Sent from my iPhone

            On Jun 5, 2018, at 8:51 AM, Nick Flor <professorf@gmail.com> wrote:

                      wait how tall are you?!?

                      On Tue, Jun 5, 2018 at 7:57 AM, Eva R. Chavez
                      <eva.r.chavez@gmail.com> wrote:
                       hahaha. i'm not sure how to respond to this....

                       you're such a dork for so many reasons with this one.....
                       5'4"??! Really? Why would you guess 5'4"

                       Ha! wow, that's an odd, interesting, and silly guess....

                       Also, i almost guessed 5'7" prior to sending but then i deleted,
                       as i said, never know what somebody will take offense to these
                       days.... ;0

                       You said, "But hey Bruce Lee was 5'7" haha

                       you so silly! ;)
                                                              2
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           On Tue, Jun 5, 2018 at 7:05 AM, Nick Flor
           <professorf@gmail.com> wrote:
            are you 5'4?

            I'm only 5'7, so I'm short. But hey Bruce Lee was 5'7

            On Mon, Jun 4, 2018 at 11:55 PM, Eva R. Chavez
            <eva.r.chavez@gmail.com> wrote:
             That’s adorable that you like that line....

             And also your question, and you tell me how you’re height
             first, lol

             I was going to ask you how tall you are but I wasn’t sure if
             that was a rude question or not... one never knows now-a-
             days what types of questions or genuine commentary will
             offend others, lol.

             What would you guess my height as from glancing at me
             timidly from the copy room, from a distance and nervously
             think the new faculty would kick you out for letting the silly
             undergraduates in to get ‘cool water’ or ‘chilled water’ lol
             silly

             Sent from my iPhone

             On Jun 4, 2018, at 11:43 PM, Nick Flor
             <professorf@gmail.com> wrote:

                    "She felt like resting her head
                    My shoulder was the perfect height "

                    I like this part, but, um... how tall are you? I
                    keep forgetting to ask.

                    On Mon, Jun 4, 2018 at 10:31 PM, Eva R.
                    Chavez <eva.r.chavez@gmail.com> wrote:
                     All these songs keep having lyrics about
                     ‘resting her head’ and such things.... not sure
                     if you’ve noticed, but there’s been a few...
                     we’re behind on songs and song lyrics but I
                     always appreciate reading your little
                     responses, even if they are brief...

                     I like your insights on what you cannot with
                     and don’t, etc... I find it cute....




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                   Sent from my iPhone




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From:                        Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                        Monday, June 11, 2018 3:17 PM
To:                          professorf@gmail.com
Subject:                     So what do you have against



So what do you have against chatting with me, just curious...

Sent from my iPhone




                                                    1
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From:                        Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                        Monday, June 11, 2018 10:58 PM
To:                          Nick Flor
Subject:                     Re: IMPORTANT: TASKLIST



I’m sorry B, but you got me all wrong.

Firstly, you must’ve completely misunderstood everything I wrote (and that you read), including
the fact that I told you I did not want to even type you any of that in the first place, and that I
wanted to chat with you about it instead.

I sent you several emails kindly asking you when you could pencil me in to chat specifically about
the PA/RA ships and your email saying 8 hours for 4 weeks for room for feedback and changes,
etc., and I did respond back to that and asked if we could get on the same page several times, of
what you even meant by that…or just chat about it in general before responding back to robin

<I’d also wrote that hasty email response to you in regards to your 0-5 points; completely
reactively, under not very good conditions while annoyed at you (for your response), while in
pain, feeling like a machete was stabbing through my lower right back all the way through my
upper left abdomen, and I could not move (all of which I explained to you, various times), All
beside the point, but still>.

I do not recall EVER saying or indicating I did NOT want to work on the flower information
reproduction. I actually take a bit of offense to you saying that, quite frankly, because what I
indicated was quite the opposite!

I told you I LOVED the idea flower information reproduction ide, so much! I wrote you an entire
email on that :O and I mentioned you had no clue how much I loved ‘the idea’ and basically my
entire life up til this point has come down to working on this project… etc. so on and so forth.

SO, how you can tell me, “I listed what I wanted you to do (the flower information reproduction),
and if you don't want to do that, it's fine. Really. So I'm going to kill that idea (RAship) now,” is
beyond my understanding. Really.

Where did I ever indicate that I did not want to do or work on the flower information
reproduction project?!

If you want to you use that small amount of money for ‘brainwave equipment’ that’s fine, go
ahead and do that, it’s your prerogative. But please do not indicate that I said or indicated in any
way that I did not want to the flower information reproduction. I truly do not know where you
                                                    1
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gathered that from, why you would say that, or why you would make assumptions as such, and
just move on so quickly regardless of anything we’d discussed etc., and not even touching base.

Truly, I do not get it, but it’s fine…. probably was meant to go down this way I suppose… i
apologize for the obviously major misunderstandings and communication breakdowns we both
had in regards to this one....

On Mon, Jun 11, 2018 at 8:36 AM, Nick Flor <professorf@gmail.com> wrote:
 Well you said in that long e-mail that you didn't think doing the research assistantship was a good idea,
 because of what it would lead to. So I'm not going to push it. I listed what I wanted you to do (the flower
 information reproduction), and if you don't want to do that, it's fine. Really. So I'm going to kill that idea
 (RAship) now. Besides, I think I can use that money to buy brainwave equipment.

 And we can still work on the other projects (flower, bus videos, etc). That'll be fun.

 On Sun, Jun 10, 2018 at 3:17 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
  Fixing a couple typos from the second half of that last message *(below):

  “I’m also a bit annoyed you haven’t or cannot make time to chat about propaganda or PA-ship or working
  together or anything...
  And if you’re just going to take that angry email of mine *at face value (the response to your points 0-5, that
  made me angry and respond *reactively and abruptly), and not talk about it, or clear-up *any confusions *on
  what I was telling you, or discuss possibilities if *working together (not dueling, lol).... then you truly don’t
  get me.

  It was an open invitation to you to see if you truly wanted to work with me or not, and what we can discuss to
  understand each other better in terms of it, but instead you completely avoid it and decide that you have
  nothing to say or respond! Wow!”

  ....

  Apologies that we clearly misunderstood each other on these messages as well as that entire email chain that
  you have no response to that I’m referring to...


  As I am not a fan of misunderstandings and miscommunications...

  Sent from my iPhone

  On Jun 10, 2018, at 3:01 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:

         My email on this meant “yo homie hurry up with your deadlines, the update, and your response
         to my long update that you completely overlooked and ignored!”

         My question wasn’t whether we were gonna still work on it or not

         What you talking??!

         I’m also a bit annoyed you haven’t or cannot make time to chat about propaganda or PA-ship
         or working together or anything...
                                                         2
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And if you’re just going to take that angry email of mine and face value (the response to your
points 0-5, that made me angry and respond abruptly), and not talk about it or clear-up our
confusions or what I was telling you, or discuss possibilities if dueling together.... then you
truly don’t get me.


It was an open invitation to you to see if you truly wanted to work with me or not and what we
can discuss to understand each other, but instead you completely avoid it and decide that you
have nothing to say or respond! Wow!

Sent from my iPhone

On Jun 10, 2018, at 2:35 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:

       I don’t know what you mean and we’re totally still working on 1984 and
       Fahrenheit 451 together buddy!

       Sent from my iPhone

       On Jun 10, 2018, at 1:10 PM, Nick Flor <professorf@gmail.com> wrote:

               We'll still work on those things, just not the ones that have to do
               with research like the reading 1984 & fahrenheit 451.

               On Sun, Jun 10, 2018 at 9:45 AM, Eva R. Chavez
               <eva.r.chavez@gmail.com> wrote:
                YO HOMIE!!!

                What’s the status of this ?


                Sent from my iPhone

                On Jun 4, 2018, at 6:59 PM, Nick Flor
                <professorf@gmail.com> wrote:

                       I listened to Immortal Man today, two
                       chapters. GOod stuff on forgiveness and the
                       usual good imagination stuff.

                       Haha, I did not catch medium!

                       Not entirely sure when I can call for sure, but
                       since I can call you whenever, I will call when
                       no one is around!

                       On Sun, Jun 3, 2018 at 10:31 PM, Eva R.
                       Chavez <eva.r.chavez@gmail.com> wrote:
                        Hey B,

                        Okay, what do you think of the attached then (and
                        below)?
                                                 3
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From:                                   Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                                   Monday, June 11, 2018 11:11 PM
To:                                     Nick Flor
Subject:                                Re: 1984 & Fahrenheit 451



I guess i am just not understanding what you are saying here; in this email as well as the other one where you
say things such as, "We'll still work on those things, just not the ones that have to do with research like the reading 1984 & fahrenheit
451."

or when you say things like, " I just don't think writing about 1984 and Fahrenheit 451 is as good (in terms of research publications) as
analyzing writing about propaganda in social media."



and do not see how it's not a good idea or how it does not fit into propaganda and maybe if we started reading and discussing them we would
easily identify cool and creative ways of how... and i'm going to do that project on my own anyway, but i thought it was our project
(unrelated to UNM) and it was how we originally connected in the first place a month ago! I mean we had entire tweet discussions about this,
and then several emails thereafter..... what is it that we are not understanding... and why are you not wanting to do that with me anymore?

and btw, this is completely unrelated to the flower information reproduction thing you mentioned because i was HIGHLY interested in that
idea and would've loved to have worked on that with you, and would still love to!

I just do not understand what your deal is with 1984 and Fahrenheit 451 all of a sudden and saying we can work on other things aside from
that and that its not a good idea, and that we can do bus videos or whatever...

I do not understand what you are saying, and fine, i guess i'll just do the whole reading and analyzing and synopsis of 1984 and Fahrenheit
451 on my own then since you are randomly backing out of it, but the ENTIRE point of that project was for US to discuss what we read and
think together!!
I'm super confused and my feelings are hurt. feels like you are backing out on all sorts of things you said you would do.

and btw i am not backing out on anything and never was, the only reason i said we should not do the PA ship is because i did not understand
the whole 8 hours thing and i have never worked on anything for less than 8 hours in a day more or less a week and i did not want to get
bamboozled when i would literally be immersing myself into it....

where did we lose each other, truly??

my 11:11 wish is to understand that, and where you are coming from

On Mon, Jun 11, 2018 at 8:39 AM, Nick Flor <professorf@gmail.com> wrote:
 Hm? We can still work on the other projects, flowers & bus video. I just don't think writing about 1984 and
 Fahrenheit 451 is as good (in terms of research publications) as analyzing writing about propaganda in social
 media.

 On Sun, Jun 10, 2018 at 3:22 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:

  Those are my projects that we came up with!

  I have no idea what you’re talking about when you say we are not going to work on them!! Go freakin take a
  hike then, and I’ll walk away!!!

  Because you truly must not understand me!!!


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That was our project from day 1 on 5/11/18 the second we discussed it!

So you must be losing your mind, or highly misunderstanding things!!!

Sent from my iPhone




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From:                             Robin Luann Love
Sent:                             Tuesday, June 12, 2018 8:28 AM
To:                               Nick Vincent Flor
Subject:                          RE: Eva's Summer Hours


Thanks, Nick.

From: Nick Vincent Flor
Sent: Tuesday, June 12, 2018 8:17 AM
To: Robin Luann Love <rlove01@unm.edu>
Subject: Re: Eva's Summer Hours

Robin,

I decided not to do this and to use the money on equipment instead. I have already informed Eva.

- Nick

--
Nick V. Flor, PhD
Associate Professor - Information Systems
Interdisciplinary Film & Digital Media
Anderson School of Management
University of New Mexico
nickflor@unm.edu

Faculty Concentration Advisor
BBA-Interdisciplinary Film & Digital Media Program

Honorary Chair of Rum Studies Professor




From: Robin Luann Love
Sent: Tuesday, June 12, 2018 8:13 AM
To: Nick Vincent Flor; Eva Chavez
Subject: Eva's Summer Hours

Hi Nick and Eva,

Have you determined the dates for your 34 hours as PA this summer?

Thank you.

Robin L. Love
Administrative Assistant III
Department of Marketing, Information Systems,
                                                          1
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From:                            Nick Flor <professorf@gmail.com>
Sent:                            Tuesday, June 12, 2018 6:49 PM
To:                              Eva R. Chavez
Subject:                         Re: 1984 & Fahrenheit 451



Well the PAship is in the past now so I think it's not useful to discuss it. But the way I remember it is asking
you if you wanted to do 8 hours a week, for four weeks, on the process of flower reproduction. And you said
you no. Which is fine.

Now as for the 1984 and Fahrenheit 451, I liked that as a means of studying propaganda. But I need to get a
publication out this summer quickly on the topic of propaganda and viral message spreading, and IMO the best
way for me to do that is to study Trump tweets and look at how both sides try to push their message.

But now that I think about it further, I'm still interested in how Orwell & Bradbury's visions of a dystopian
future map to today. So I would like to read those books and summarize. Let's start on this immediately.

Okay as for the question: "Where did we lose each other"

I don't think we did. I went to the MIT conference and got really excited about doing my research again. In May
I was so burned out from teaching in Walsh's project management thing that I was ready for doing something
different. That's why I really liked your projects. I was sick of academic stuff. But my excitement in my
research was rekindled again.

That's one part of the answer. I don't think we lost each other as friends.

But the other part of the answer is: having experienced the end of your cycle, I have a better (but not full,
obviously) understanding of the pain you're going through, and I think that I should not make the pain worse.
That I should be a real friend, not a romantic friend. A friend who is there to listen to you, give my opinions,
discuss ideas with you, cheer you up when you're down, defend you if anyone says anything bad about you,
play catch & boggle with you, read books etc.

Anyway, I really want to stay your friend. I like your observations. I like talking with you. I like the songs you
give me and the pictures and the videos. I want to work with you to help you organize all those things into a
single medium.

Sorry for the rambling.

On Tue, Jun 12, 2018 at 12:07 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 Okay, you pondering pondering pondering... thinking it over?

 Please read and respond to the important task list email that I forwarded you over this a.m as well since you
 had overlooked it.

 Thanks and much appreciated

 Sent from my iPhone

                                                          1
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On Jun 12, 2018, at 8:14 AM, Nick Flor <professorf@gmail.com> wrote:

      Okay, let me ponder this and respond later today.

      On Mon, Jun 11, 2018 at 11:11 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
       I guess i am just not understanding what you are saying here; in this email as well as the other
       one where you say things such as, "We'll still work on those things, just not the ones that have to do with
       research like the reading 1984 & fahrenheit 451."

       or when you say things like, " I just don't think writing about 1984 and Fahrenheit 451 is as good (in terms of research
       publications) as analyzing writing about propaganda in social media."



       and do not see how it's not a good idea or how it does not fit into propaganda and maybe if we started reading and
       discussing them we would easily identify cool and creative ways of how... and i'm going to do that project on my own
       anyway, but i thought it was our project (unrelated to UNM) and it was how we originally connected in the first place a
       month ago! I mean we had entire tweet discussions about this, and then several emails thereafter..... what is it that we
       are not understanding... and why are you not wanting to do that with me anymore?

       and btw, this is completely unrelated to the flower information reproduction thing you mentioned because i was
       HIGHLY interested in that idea and would've loved to have worked on that with you, and would still love to!

       I just do not understand what your deal is with 1984 and Fahrenheit 451 all of a sudden and saying we can work on
       other things aside from that and that its not a good idea, and that we can do bus videos or whatever...

       I do not understand what you are saying, and fine, i guess i'll just do the whole reading and analyzing and synopsis of
       1984 and Fahrenheit 451 on my own then since you are randomly backing out of it, but the ENTIRE point of that
       project was for US to discuss what we read and think together!!
       I'm super confused and my feelings are hurt. feels like you are backing out on all sorts of things you said you would do.

       and btw i am not backing out on anything and never was, the only reason i said we should not do the PA ship is because
       i did not understand the whole 8 hours thing and i have never worked on anything for less than 8 hours in a day more or
       less a week and i did not want to get bamboozled when i would literally be immersing myself into it....

       where did we lose each other, truly??

       my 11:11 wish is to understand that, and where you are coming from

       On Mon, Jun 11, 2018 at 8:39 AM, Nick Flor <professorf@gmail.com> wrote:
        Hm? We can still work on the other projects, flowers & bus video. I just don't think writing
        about 1984 and Fahrenheit 451 is as good (in terms of research publications) as analyzing
        writing about propaganda in social media.

        On Sun, Jun 10, 2018 at 3:22 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:

         Those are my projects that we came up with!

         I have no idea what you’re talking about when you say we are not going to work on
         them!! Go freakin take a hike then, and I’ll walk away!!!

         Because you truly must not understand me!!!

         That was our project from day 1 on 5/11/18 the second we discussed it!


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So you must be losing your mind, or highly misunderstanding things!!!

Sent from my iPhone




                                          3
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                              Exhibit S4
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From:                        Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                        Tuesday, June 12, 2018 8:30 PM
To:                          Nick Flor
Subject:                     Re: 1984 & Fahrenheit 451



Hey, just an fyi - this is coming from a space of really hurt feelings but below (in purple) is my
response to your email:

First off, please do not apologize for this email in regards to ‘rambles’ because to me, this is not
a ramble, and it is actually one of the few emails (of all the hundreds that you have sent me
since we met), that I thoroughly and genuinely appreciated (in its honesty and intent)… simply
because you attempted to explain yourself, and not just fire off reactionary thoughts that do
not address anything (and in some cases, can be extremely condescending and hurtful). SO,
thank you so much for that, please do not apologize and please send more responses with detail
into your actual thought processes, like this!!

Well the PA ship is in the past now so I think it's not useful to discuss it. But the way I remember it
is asking you if you wanted to do 8 hours a week, for four weeks, on the process of flower
reproduction. And you said you no. Which is fine.
Why is it in the past now? You’re just going to give up on it that easily? And no that is
ABSOLUTLEY NOT what happened at ALL, truly Nick, it is not. I have explained to you - countless
times what happened and you keep ignoring it. WHY?!!

I never said ‘NO!’ In fact, begged you “let’s chat about it!” and get on the same page. DO you
need me to go back and screen shot it all for you so you can see how it went down?

I sent you detailed emails about it and you did not respond, and when you responded today you
said we were moving on when we NEVER addressed anything. You formulated assumptions in
your own mind and then made decisions and more assumptions based off your own
assumptions, without addressing any of it with me, nor my pleading to speak with you; and I
cannot believe you did that. A ‘real friend’ would not do that.

< I wrote the above prior to sending the other messages, but yeah, you are right it is now a thing
of the past, it seems>

Now as for the 1984 and Fahrenheit 451, I liked that as a means of studying propaganda. But I
need to get a publication out this summer quickly on the topic of propaganda and viral message
spreading, and IMO the best way for me to do that is to study Trump tweets and look at how both
sides try to push their message.

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But now that I think about it further, I'm still interested in how Orwell & Bradbury's visions of a
dystopian future map to today. So, I would like to read those books and summarize. Let's start on
this immediately.
Uhh, I don’t just think up great ideas for nothing!

So, the fact that you would previously tell me it is not good is not only hurtful and
condescending, is simply not accurate. It brought us together for a reason! And I would not type
you all that excitement about it for nothing! On twitter and through the countless emails and
attempts of starting the project. It is still obvious you do not trust me, or my ideas. I wanted to
start on it “immediately” since long back, but you always seem to be doubting me and my ideas.

Okay as for the question: "Where did we lose each other"

I don't think we did. I went to the MIT conference and got really excited about doing my research
again. In May I was so burned out from teaching in Walsh's project management thing that I was
ready for doing something different. That's why I really liked your projects. I was sick of academic
stuff. But my excitement in my research was rekindled again.

That's one part of the answer. I don't think we lost each other as friends.
Well, to me it felt that way and I already explained why, and I can actually continue writing pages and pages
for days as to why. I truly think we lost each other, and it appears I am more insightful and aware as to why.
And it actually feels like we are still losing each other, if not completely lost already.

But the other part of the answer is: having experienced the end of your cycle, I have a better (but
not full, obviously) understanding of the pain you're going through, and I think that I should not
make the pain worse. That I should be a real friend, not a romantic friend. A friend who is there to
listen to you, give my opinions, discuss ideas with you, cheer you up when you're down, defend
you if anyone says anything bad about you, play catch & boggle with you, read books etc.
DUDE, honestly you DID NOT experience ANYTHING lmao. You only experienced what you
thought you were experiencing based off your own assumptions. Dude, you did not even know
me for 30-days and you still hardly know ANYTHING about me, truly (cycles aside).

You already told me that I cannot contact you and that I must’ve ‘misunderstood you’ when you
told me to promise to contact you if I ever needed to etc. and then you denied it, and said I
misunderstood you. But I can search the archives for all those commentaries as well. There
were ABSOLUTELY no misunderstandings on my end, from any of our 3 phone conversations,
nor our countless messages.

….
So, what you expect is for me to type, type, type away while in pain (awkward, horrible,
uncomfortable pain that you do not care about) and then you say you are “a friend that is there
to listen….”

                                                      2
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Hey, when have you been here to ‘listen’ to me? What I recall in the past month is type typing,
typing, away hunched over in pain. We have not truly ‘discussed’ many ideas. And the ones we
have discussed you shot down; said they were not good, did not want to do them anymore, and
then backed out of the PA-ship altogether and called it a 'thing of the past,' when you did not
even have enough respect to chat without about it prior to saying that. Plus, according to Robin
and I both it apparently was NOT a thing of the past; that was just the conclusion you came to
based off inaccurate assumptions.
< I wrote the above prior to sending the other messages, but yeah, you are right it is now a thing
of the past, and the manner of which you approached it all really hurt me>

I do not think you have ever defended me….yet (to my knowledge) and we have never played
boggle, catch, or read books, etc. so on and so forth (and I actually doubt any of that will ever
come to fruition), similarly to the PA-ship, and you dropping that so quickly like it was hot. And
you never even updated the task list after I asked you to in great detail.

So, all those things are aspects that you are, in actuality, NOT doing for me, and you are NOT
being that friend that you are describing yourself (and perceiving yourself) as.

And Ironically, that is the ABSOLUTE last thing I need right now is another friend who is
describing themselves as a ‘real true friend,’ and calling themselves a ‘real true friend,’ but not
ACTUALLY BEING or acting like a REAL OR TRUE friend, and this is precisely what has ended a lot
of my friendships, historically…. False friendships, one-side, very not true friends.

And just some insight for you; it is not really those broken promises and your short email
responses that kept me going…(nor the broken friendship promises).

In actuality, it was instead the idea of a ‘romantic friend,’ and the sparks of those thoughts (that came out
of nowhere), and a lot of those aspects that I had not thought about or felt in a while…that kept me going...
not false friendship aspects that i do not trust.

In the process, you helped me realize that is the type of friend I actually need, more so a
'romantic friend' or person...or at least someone who can grasp me (PlanetEva) in those
aspects; (figuratively not literally). Not someone who says they are, or claims to be a ‘real
friend,’ only to run away if anything gets tough, or through life's ups and downs) and is actually
NOT a real friend; (and is not available to chat, and wants and expects me to type and type
away in pain only when it is convenient for them and all of their ‘circumstances’…. And they do
not give a god damn shit about my circumstances!

BTW - I am not lacking people that want my friendship or desire to be my friend ICYDK!!
<additional side note: you say you are notorious for NOT responding to emails, but I also
detailed to you that I have not checked my email this much in over a decade, but I suppose
none of that matters to YOU, and you only see your side of things, always, it seems>

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so yeah, I am not lacking people that want or desire my friendship. Instead, what I am lacking is people who
truly and genuinely care (which it does not seem that you do based off the Impression I am getting). I desire
people who do what they say they are going to do (and not the opposite), and who are people of their own
word.

I do not need people in my life who do, say and promise all these things, and then do the EXACT
OPPOSITE! And then all their empty words, run dry down the drain.

That is literally 100% the EXACT opposite of what type of friendship I currently need, and the
exact opposite of what type of person I want or need in my life.

You promised and said a lot of things, and it is apparently all empty, because none of it held any
meaning.

...

And DUDE, lmao, Eva is an intense character, and I have an intense personality (cycles aside) so
the fact that you are shying about from me because you think ‘the cycles’ are too intense is
absolutely cowardice and inaccurate lmao.

I also have had a broken toe for 11 days out of the 33 that you met me and tons of other stuff
going on, (also which you do not care about because you have not even asked how I am doing,
and I truly still cannot walk and it hurts the same as it did 11-days ago (nothing to do with
cycles) and you still do not or did not seem to care….or even ask).

So, for you to read my messages for 30-days and decide and come to your little conclusion that
‘the ending cycles’ are too intense for you (when you were basically mostly absent during those
few days) and that you are going to pretend to be my ‘real friend’ now and not a ‘romantic
friend’ because of it, lol, dude I’m sorry but again you got me ALL wrong, and so many
assumptions flowing through that mind of yours that it is completely silly.

You promised so many times you would not give up on me blah blah blah, that you would trust
me, blah blah blah, so on and so forth, sooo many things as such.

You also have NO CLUE how I even work, it’s COMPLETELY OBVIOUS by you saying that I said
‘no, I did not want to work with you’ or do the PA ship and then you just giving up on everything
and all your words so easily. I did not perceive you as that type of person AT ALL, but I suppose I
was wrong.

It does make me laugh though that you would tell me all those things and then to somehow
think you are helping me by being a supposed ‘real friend’ and not helping me with ANY SORT
OF PAIN whatsoever or anything you said you woud do or help with, or be there for, lol. That
does not help me N, not at all.
                                                      4
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Anyway, I really want to stay your friend. I like your observations. I like talking with you. I like the
songs you give me and the pictures and the videos. I want to work with you to help you organize
all those things into a single medium.

It all seems so one-sided, truly. And highly disappointing.

Sorry for the rambling.
My feelings are hurt. Romantic friend, or ‘real friend’ aside… you really did hurt my feelings,
which is 100% not helpful to me. Thanks for trying though.

I’m done, and back deep into the sunken place, and it has ABSOLUELTY NOTHING to do with
cycles, and more so to do with the type of person and friend I thought you were, but now it
feels otherwise...


...
<Deep Sunken State is back in full-effect>

On Tue, Jun 12, 2018 at 6:48 PM, Nick Flor <professorf@gmail.com> wrote:
 Well the PAship is in the past now so I think it's not useful to discuss it. But the way I remember it is asking
 you if you wanted to do 8 hours a week, for four weeks, on the process of flower reproduction. And you said
 you no. Which is fine.

 Now as for the 1984 and Fahrenheit 451, I liked that as a means of studying propaganda. But I need to get a
 publication out this summer quickly on the topic of propaganda and viral message spreading, and IMO the best
 way for me to do that is to study Trump tweets and look at how both sides try to push their message.

 But now that I think about it further, I'm still interested in how Orwell & Bradbury's visions of a dystopian
 future map to today. So I would like to read those books and summarize. Let's start on this immediately.

 Okay as for the question: "Where did we lose each other"

 I don't think we did. I went to the MIT conference and got really excited about doing my research again. In
 May I was so burned out from teaching in Walsh's project management thing that I was ready for doing
 something different. That's why I really liked your projects. I was sick of academic stuff. But my excitement in
 my research was rekindled again.

 That's one part of the answer. I don't think we lost each other as friends.

 But the other part of the answer is: having experienced the end of your cycle, I have a better (but not full,
 obviously) understanding of the pain you're going through, and I think that I should not make the pain worse.
 That I should be a real friend, not a romantic friend. A friend who is there to listen to you, give my opinions,
 discuss ideas with you, cheer you up when you're down, defend you if anyone says anything bad about you,
 play catch & boggle with you, read books etc.



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Anyway, I really want to stay your friend. I like your observations. I like talking with you. I like the songs you
give me and the pictures and the videos. I want to work with you to help you organize all those things into a
single medium.

Sorry for the rambling.

On Tue, Jun 12, 2018 at 12:07 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 Okay, you pondering pondering pondering... thinking it over?

 Please read and respond to the important task list email that I forwarded you over this a.m as well since you
 had overlooked it.

 Thanks and much appreciated

 Sent from my iPhone

 On Jun 12, 2018, at 8:14 AM, Nick Flor <professorf@gmail.com> wrote:

        Okay, let me ponder this and respond later today.

        On Mon, Jun 11, 2018 at 11:11 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
         I guess i am just not understanding what you are saying here; in this email as well as the other
         one where you say things such as, "We'll still work on those things, just not the ones that have to do with
         research like the reading 1984 & fahrenheit 451."

         or when you say things like, " I just don't think writing about 1984 and Fahrenheit 451 is as good (in terms of research
         publications) as analyzing writing about propaganda in social media."



         and do not see how it's not a good idea or how it does not fit into propaganda and maybe if we started reading and
         discussing them we would easily identify cool and creative ways of how... and i'm going to do that project on my own
         anyway, but i thought it was our project (unrelated to UNM) and it was how we originally connected in the first place a
         month ago! I mean we had entire tweet discussions about this, and then several emails thereafter..... what is it that we
         are not understanding... and why are you not wanting to do that with me anymore?

         and btw, this is completely unrelated to the flower information reproduction thing you mentioned because i was
         HIGHLY interested in that idea and would've loved to have worked on that with you, and would still love to!

         I just do not understand what your deal is with 1984 and Fahrenheit 451 all of a sudden and saying we can work on
         other things aside from that and that its not a good idea, and that we can do bus videos or whatever...

         I do not understand what you are saying, and fine, i guess i'll just do the whole reading and analyzing and synopsis of
         1984 and Fahrenheit 451 on my own then since you are randomly backing out of it, but the ENTIRE point of that
         project was for US to discuss what we read and think together!!
         I'm super confused and my feelings are hurt. feels like you are backing out on all sorts of things you said you would
         do.

         and btw i am not backing out on anything and never was, the only reason i said we should not do the PA ship is
         because i did not understand the whole 8 hours thing and i have never worked on anything for less than 8 hours in a
         day more or less a week and i did not want to get bamboozled when i would literally be immersing myself into it....

         where did we lose each other, truly??

         my 11:11 wish is to understand that, and where you are coming from

         On Mon, Jun 11, 2018 at 8:39 AM, Nick Flor <professorf@gmail.com> wrote:
                                                                   6
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Hm? We can still work on the other projects, flowers & bus video. I just don't think writing
about 1984 and Fahrenheit 451 is as good (in terms of research publications) as analyzing
writing about propaganda in social media.

On Sun, Jun 10, 2018 at 3:22 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:

 Those are my projects that we came up with!

 I have no idea what you’re talking about when you say we are not going to work on
 them!! Go freakin take a hike then, and I’ll walk away!!!

 Because you truly must not understand me!!!

 That was our project from day 1 on 5/11/18 the second we discussed it!

 So you must be losing your mind, or highly misunderstanding things!!!

 Sent from my iPhone




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                             Exhibit T4
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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Sunday, June 17, 2018 4:34 PM
To:                              professorf@gmail.com
Subject:                         Your messages


I miss hearing from you though
     ♀

Sent from my iPhone




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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Thursday, June 21, 2018 8:16 AM
To:                              Nick Flor
Subject:                         Re: 3:33 thoughts and well wishes



glad things are going so well for you and you're just going to disregard anything about me and my desperate
pleas and suicidal nature of literally not wanting to deal with any of this anymore....


THANKS FRIEND!


KINDA RUDE OF YOU! but hip hip hooray for you and glad it's going so well!!

On Thu, Jun 21, 2018 at 7:14 AM, Nick Flor <professorf@gmail.com> wrote:
 Yep, going well. I just had to run analytics on this #solar, that's the part that's taking a long time. It's based on
 a revision of a paper I had done earlier on how to spread scientific information virally.

 On Wed, Jun 20, 2018 at 3:33 PM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
  I hope you’re writing is coming well.

  I’m not doing the best, and I’m tired of living through this; the pain, the facades of others, false friendships,
  words and promises empty and holding no meaning.....


  I do not want to live through any of it any longer

  Sent from my iPhone




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                             Exhibit V4
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From:                       Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                       Thursday, June 21, 2018 9:06 PM
To:                         professorf@gmail.com
Subject:                    These flowers though!
Attachments:                IMG_8436.jpg; Untitled attachment 12104.txt; IMG_8437.jpg; Untitled attachment
                            12107.txt; IMG_8439.jpg; Untitled attachment 12110.txt


Saw these flowers today !

Pretty damn bright!




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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Friday, June 22, 2018 1:50 AM
To:                               Nick Flor
Subject:                          Re: Catch



So, here's the deal in regards to this:

I've already told you on multiple occasions, i avoid campus as much as possible. I always have. Basically at all
costs, and i do not go there just to hang out for no apparent reasons.

I'm only there for any classes I must be in attendance for, and/or if I need to meet up with somebody....
otherwise you will not find me lingering around campus just for the sake of it (which is also another odd thing
about the day we met, because I had a client final presentation at 10am, and i think we met (you and I) around
11;11 wish based off everything i can remember from that time and day (as well as how long it took the client
presentation).

Also, as a side note, I was not even supposed to meet with Raul that day (nor was he planning on going to
campus) so it was only be sheer chance that you and i met (coincidence).

Re:Catch

I do not know why you have gone back on just about every word you have ever told me, and now even for
CATCH! :O
<insert the most shock emoji of all here>
geez, buddy you are progressingly becoming more and more lame each day with every word you do not uphold
to.
....

since i avoid campus other than having to be there for class (or unless i absolutely need to be there), then i do
not think the likelihood of me showing to campus so that you and i could 'supposedly play catch' will be very
high.

...

Like I've told you before, i was thinking more like mitts at a park (which i thought would help my back) instead
of typing you all these messages that you condescendingly 'skim' through, and overlook and disregard the
majority of important aspects, and do not care about #EXTREMELYRUDE

I'm truly not sure what sort of 'real friend' would do that, at all.

We also have already specifically discussed NOT playing catch at ASM, but, truly, I guess that nothing i say
holds any sort of meaning to you whatsoever... Is that what is really going on?

Not that i am opposed to play catch with a football, because i can catch and throw a football just as well as i can
catch and throw any other type of ball... but i'm not about to make a random trip to campus to supposedly play
catch with a supposed friend who i know will not coordinate or go through with that as is.... (same as all the
other things he says, and then takes back).....
                                                            1
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...
And if we were going to be working together that would be one story, but since apparently not only will we not
be working together, and you dropped all your words on the GAships, 1985, Fahrenheit 451, your friendship,
and all sorts of other things and now you are even trying to do the same thing about catch? wow, buddy. just
wow. i don't even understand how any could stoop so low, actually...


,,,,

And on a genuine note - I know you are going to take offense to this but i truly mean it and am not trying to be
rude or condescending....

Yet, i truly do not see how your actions and behaviors are any different from Sarah smith's or Reilly Whites.
can you please answer me as to how they are ? because you avoiding everything important i ask you or tell you
actually does not prove otherwise...
...

You said several things, and then went back on your words... I do not see how that is any different than what
they did in my experiences with them both (and from everything i have already shared with you about that with
both of them)

... you say that you are different because you respond to me, but as i have already mentioned to (of which you
disregarded) they both responded to me just fine, and actually did not overlook and avoid huge chucks of
content as you do, or just 'skim' through things.....
...

The only difference, that I can identify, is that you were writing me all these intimate things (which they did
not).

I mean really, you were the one that first called me babe, and lover, and all sorts of things, and asked if you
could kiss my neck while caressing my back; and a whole series of other intimate aspects and empty promises;
and then you are just going to randomly pretend like none of happened and send me this ridiculous couple line
email and tell me you want to be my 'real friend' now when you never treated me as a 'real friend' nor even
responded to any of my commentary WHATSOEVER in regards to anything of that or why you tried to pull
back and pretend non of it happened it the first place, and like if we were actually 'real friends' as you claim to
be?

Seriously though, Nick... I am 100% in all genuineness and friendship asking you - "Why Would you do all of
that?"
I 100% would like to know, and i think i deserve more of a response then these condescending messages you
have been sending me.

Trust me, I have plenty more to say (and i will say it, and i will continue to ask you until you answer me and
quit avoiding everything i ask you)... and things like this cannot really be swept under the rug with me, like
you're trying to do by just blatantly avoiding everything i am asking and telling you.

I did not really see you as the type of person to behave in such ways and manners, but i would truly appreciate
more of a response in regards to all of this.

Thanks kindly,
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On Thu, Jun 21, 2018 at 8:10 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
 Are you sure about that? it has not really felt that way to me... and the fact you ignore all my serious questions
 and content, especially in regards to our friendship, shows that it is not much of friendship itself... don't you
 think?

 and then take back pretty much everything you say, and then do not respond, overlook, and do not even
 acknowledge my words when i call you out or even when i merely ask...


 and you never did respond to any of my friendship messages and content etc....

 and whatever re: playing catch 'at anderson' - I already told you that was not happening... guess you forgot
 about that one too! geez buddy , so rude!!!

 On Thu, Jun 21, 2018 at 6:46 AM, Nick Flor <professorf@gmail.com> wrote:
  haha we are still friends. Next time I see you at Anderson we'll play catch. I believe I have a football
  somewhere in my office.

  On Sun, Jun 17, 2018 at 8:08 AM, Eva R. Chavez <eva.r.chavez@gmail.com> wrote:
   Happy Father’s Day btw.

   When we were still friends, I’d envisioned us playing ‘catch’ today....

   Silly me, I know.

   I found an image of two stick figures playing catch for us... and also, a couple playing catch through VR,
   which is not the type of catch I had in mind....

   Ho hum. Such is life




   Sent from my iPhone




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From:                       Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                       Sunday, June 24, 2018 10:28 AM
To:                         Nick Flor
Subject:                    Mary Margaret Rogers
Attachments:                IMG_8480.jpg; IMG_8481.jpg; Mary Margaret Rodgers.docx



So, you say Mary Margaret Rogers is your new boss?

I find it incredibly fascinating (and ironic) that not only is Mary Margaret Rogers awaiting my
written feedback on the Exit Exam, but she is also awaiting (and asked for) my written feedback
on my experiences at Anderson, thus far, and also Anderson Faculty, as I told her I would send.

Although I have not met her in-person yet…we did have a great rapport and I gave her high
praises that based off our interactions I think she would do a great job as Department Chair.

Have you pondered how simple and easy it would be for me to slide a simple screenshot into her
DM’s and see how well she really does first-hand at her new department chair role? just curious...

Or imagine this one instead: Imagine me replying to those UNM PA-ship emails (with all those
ladies included) and say, “Has anybody heard from Nick? He sent me the attached
correspondence on June 5th, and I have not heard much from him since?”

I do not know what any of those ladies’ faces look like (as I have not met them in person yet,
other than Robin and her intense black eye that one time)….

Nonetheless, even though I do not know what their faces look like, it’s still fun to picture and
imagine what their faces would look like if I were to send them those screenshots (attached) with
that short message through the UNM email 

Talk about the spread of propaganda, lmao.

Not only would they blow a freaking gasket or two, and their minds would have exploded (beyond
one’s own imagination), shortly thereafter that shit would spread like wildfire so rapidly and
quickly, you (or anybody else) would not even know what happened, lol.

I’m certain you do not find the whole scenario as humorous as I do… but take this as a great
reminder that you should definitely be more careful when you are haphazardly and carelessly
saying such non-truths and making such empty promises to supposed ‘bff’s’ who you are
supposedly hiring as your PA.


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I mean, get real Nick, seriously - you wrote that shit on June 5th, which is less than 20-days ago…
so again, as I have already asked you before, “How are you going to pretend that none of it
happened, stop responding to my messages, go back on all your empty words and promises and
then tell me such immature, pathetic and nonsensical crap and excuses as “ having experienced
the end of your cycle, I have a better (but not full, obviously) understanding of the pain you're
going through, and I think that I should not make the pain worse. That I should be a real friend,
not a romantic friend. A friend who is there to listen to you, give my opinions, discuss ideas with
you, cheer you up when you're down, defend you if anyone says anything bad about you, play
catch & boggle with you, read books etc.”

And then when I respond back and ask you about those things directly – you do not have even
have the respect, integrity or dignity to respond with any type of decent answer or valid
response. Part of my response to that was the below (of which of course, you rudely disregarded,
yet again).

“I sent you detailed emails about it and you did not respond, and when you responded today
you said we were moving on when we NEVER addressed anything. You formulated assumptions
in your own mind and then made decisions and more assumptions based off your own
assumptions, without addressing any of it with me, nor my pleading to speak with you; and I
cannot believe you did that. A ‘real friend’ would not do that.”


And furthermore, here is the rest of my response that you rudely and blatantly ignored (with no
regard whatsoever), ALL of which I STILL do expect responses to.

I am not sure what type of person you thought of me that you could send me all these messages
and then just avoid me altogether and not respond…. But stuff like that typically does not work
out with me.

All I have to say is that you best start responding to these serious inquires and questions of mine
because you obviously know nothing about an Eva or how an Eva works or you truly would’ve
never claimed or stated to be ‘my new bff’ tell me all these empty words and broken promises,
only to take back every single word you previously stated, and that not respond AT ALL to my
responses to you.

If you knew absolutely anything about me whatsoever, you would have thought twice about
backing out of all your words, and not responding to me directly (which I find childish, immature
and lame, and find it difficult to imagine a 54-year old who claimed to be my new best friend, as
behaving in these manners).

“DUDE, honestly you DID NOT experience ANYTHING lmao. You only experienced what you
thought you were experiencing based off your own assumptions. Dude, you did not even know
me for 30-days and you still hardly know ANYTHING about me, truly (cycles aside).
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You already told me that I cannot contact you and that I must’ve ‘misunderstood you’ when you
told me to promise to contact you if I ever needed to etc. and then you denied it, and said I
misunderstood you. But I can search the archives for all those commentaries as well. There
were ABSOLUTELY no misunderstandings on my end, from any of our 3 phone conversations,
nor our countless messages.

….
So, what you expect is for me to type, type, type away while in pain (awkward, horrible,
uncomfortable pain that you do not care about) and then you say you are “a friend that is there
to listen….”

Hey, when have you been here to ‘listen’ to me? What I recall in the past month is type typing,
typing, away hunched over in pain. We have not truly ‘discussed’ many ideas. And the ones we
have discussed you shot down; said they were not good, did not want to do them anymore, and
then backed out of the PA-ship altogether and called it a 'thing of the past,' when you did not
even have enough respect to chat without about it prior to saying that. Plus, according to Robin
and I both it apparently was NOT a thing of the past; that was just the conclusion you came to
based off inaccurate assumptions.
< I wrote the above prior to sending the other messages, but yeah, you are right it is now a thing
of the past, and the manner of which you approached it all really hurt me>

I do not think you have ever defended me…. yet (to my knowledge) and we have never played
boggle, catch, or read books, etc. so on and so forth (and I actually doubt any of that will ever
come to fruition), similarly to the PA-ship, and you dropping that so quickly like it was hot. And
you never even updated the task list after I asked you to in great detail.

So, all those things are aspects that you are, in actuality, NOT doing for me, and you are NOT
being that friend that you are describing yourself (and perceiving yourself) as.

And Ironically, that is the ABSOLUTE last thing I need right now is another friend who is
describing themselves as a ‘real true friend,’ and calling themselves a ‘real true friend,’ but not
ACTUALLY BEING or acting like a REAL OR TRUE friend, and this is precisely what has ended a lot
of my friendships, historically…. False friendships, one-side, very not true friends.

And just some insight for you; it is not really those broken promises and your short email
responses that kept me going… (nor the broken friendship promises).

In actuality, it was instead the idea of a ‘romantic friend,’ and the sparks of those thoughts (that
came out of nowhere), and a lot of those aspects that I had not thought about or felt in a
while…that kept me going... not false friendship aspects that I do not trust.


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In the process, you helped me realize that is the type of friend I actually need, more so a
'romantic friend' or person...or at least someone who can grasp me (PlanetEva) in those
aspects; (figuratively not literally). Not someone who says they are, or claims to be a
‘real friend,’ only to run away if anything gets tough, or through life's ups and downs) and is
actually NOT a real friend; (and is not available to chat, and wants and expects me to type and
type away in pain only when it is convenient for them and all of their ‘circumstances’…. And
they do not give a god damn shit about my circumstances!

BTW - I am not lacking people that want my friendship or desire to be my friend ICYDK!!
<additional side note: you say you are notorious for NOT responding to emails, but I also
detailed to you that I have not checked my email this much in over a decade, but I suppose
none of that matters to YOU, and you only see your side of things, always, it seems>

so yeah, I am not lacking people that want or desire my friendship. Instead, what I am lacking is
people who truly and genuinely care (which it does not seem that you do based off
the Impression I am getting). I desire people who do what they say they are going to do (and
not the opposite), and who are people of their own word.

I do not need people in my life who do, say and promise all these things, and then do the EXACT
OPPOSITE! And then all their empty words, run dry down the drain.

That is literally 100% the EXACT opposite of what type of friendship I currently need, and the
exact opposite of what type of person I want or need in my life.

You promised and said a lot of things, and it is apparently all empty, because none of it held any
meaning. “

There was much more to that email of which you rudely did not respond to, but that is the
response to your lame excuse of your lack of friendship, and also your ability and ways in taking
back every word you ever said to me.

One would think that you would have learned enough about me by now to know that is not the
way I function or work; I am 100% relentless and if I do not think something is fair, right or
appropriate I will be there to the bitter end making sure it is addressed (even if be 10-15years
down the road) and that has historically proven to be the case time and time again.

…

Again, just express the truth to about what happened, in actuality?

Is it because I do not cake make-up on my face like your cousin that you flirted with through fb for
literally months and months on end when she supposedly your student? Is it because I think
lipstick is clown stuff and find it highly disgusting? Is it because I confessed to you that I think long
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nails are gross? Or because I do not have fake eyelashes that fall off or get taken off after on the
gunked up make-up on the top and bottom lashes, lmao.

Is it because my confidence is not soaring as high as it used to be? Is it because I do not wear high-
heels? Or perhaps because I would’ve guessed 5’7” as your height to make you feel good?

I do not believe you that you stopped contacting me because you supposedly “experienced the
end of your cycle, I have a better (but not full, obviously) understanding of the pain you're going
through, and I think that I should not make the pain worse.”

I’m telling you that you did not experience anything at all, and what type of bs friend says shit like
that anyway? It’s like “I know I promised you all these things and said all these empty words, but I
meant none of it.” And you did ABSOLUTELY nothing for me other than make it all worse by being
yet another person who I cannot trust their words, or their empty bull crap friendship promises.

What type of immature child would do and say that, really?

I truly thought only immature children did such things and took part in such games. I guess not
though…. And I learned that LONG back. I supposed I must have forgot.

I promise my feelings will not get hurt, because the fact that you pretended to be my friend (when
i needed a real friend most) and then backed out of every single word you ever said, and then
shyed away from me after i opened up about insecurities of which you made assumptions
about.... because you've already hurt me by doing all those things, more so than assuming,
egotistical and omniscient mind of yours could ever imagine - no joke! what you did was
extremely rude and hurtful and i can hardly believe it even occurred in real life. But trust me, I
believe it….and I am not surprised….

.....

Also, I did not reread this email; I do not care either, and I am not going to think twice before
sending it either… especially since you’ve already went back on so many of your words already
(basically anything you’ve ever told me).

I will promise to anxiously await your responses before doing anything irrational, but still, that’s
not saying much since my feelings are truly hurt that you would do like a Reilly White did; claim to
be my friend (amongst other things), and then take all your meaningless words back and think you
could just avoid me, and not respond with anything truthful, honest or meaningful.




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From:                                Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                                Sunday, June 24, 2018 8:23 PM
To:                                  professorf@gmail.com
Subject:                             “Man on Pause”


One day if we ever correspond again, I’ll have to tell you the RG “Man on Pause” story from the other day....

All I have to say is that if the dude makes this shit up on his own, then he should definitely be doing stand-up comedy
instead of being in an instructor at Anderson... because he’s straight hilarious....

Also, side note: I’m likely going to have to tell him that I sent you all those messages, screenshots and videos of him
because as of right now, that’s really the only thing you could hold against me; and he is my friend so I would rather just
be honest with him as to what I did and why I did it, and also so that you do not have anything to hold against me....

.....

Speaking of RG, Lmao homeboy sure as h*ll got an earful from me today about the ridiculousness and absurdity of
Anderson Faculty and instructors, lmao, the dude truly must’ve thought I lost my mind.

Like “honey just breathe.” And
“Where are you, are you outside?”

Types of stuff. lol lmao

Lmao I don’t believe anybody has ranted and raved so much to him EVER lmao, I almost could not breathe because I was
on a roll talking so much damn shit lmao ....

I % wish he would’ve recorded me today during my rant, when I was ranting about ASM instructors, and also telling
him about me tweets, all at the same time, lmao. That would be beautifully hysterical if he somehow recorded all that
damn hilariously truthful, yet insightful and funny ass shit I said about Anderson instructors....

Never a dull moment in #PlanetEva that’s for damn sure!      ✌

Also, please be sure to get back to me soon on that Mary Margaret Rogers email because I think you’ll be alarmed once I
actually do what I say I was going to do in that email, to the ladies on the PA-ship email, simply to prove a point in
regards to your non-responses as well as ignoring my messages.

I will be not so patiently awaiting....

Thanks ever so kindly,


Sent from my iPhone




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From:                              Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                              Monday, June 25, 2018 11:00 AM
To:                                professorf@gmail.com
Subject:                           We need to chat
Attachments:                       Image-1.jpg; Untitled attachment 12217.txt


And if you are not going to have any respect at all to respond to my messages, then please return my phone calls,
because I will continue to contact you until all of this is addressed.... and if you continue to avoid me and my messages, I
will just have to address it all directly with Mary Margaret Rogers because trust me, it will be addressed!

All of it!




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From:                           Nick Flor <professorf@gmail.com>
Sent:                           Tuesday, June 26, 2018 7:08 AM
To:                             Eva R. Chavez
Subject:                        Got your text



Yo Eva, got your message. Well here's the thing, at the end of the semester, when we first started
communicating, I had a lot of free time, but after my MIT presentation many research opportunities opened up
so I've been focusing on my research — that and a new online course, which has to be completed by July.
Bottom line: these things have to get done over the summer, so I don't have a lot of free time anymore.

I'll be minimizing my time on all communications and social media until I finish. But I will get to your
messages eventually.

Stay well.




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From:                             Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                             Wednesday, June 27, 2018 10:41 PM
To:                               professorf@gmail.com
Subject:                          Just curious though....


How do you live with your false truths, empty words, lies etc? Ego pulls you through...or? I’m being serious here... I’m
totally curious ...

And the fact that cannot just communicate with me



   ♀


You want me to just continue heckling you until I do things that you would not believe I would do based off how you’ve
acted and treated me..... ?

Just go ahead and respond to that and it would be great ... the more you do not respond, the more it will continue to
become an issue.... like I already told you....

Sent from my iPhone




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                             Exhibit C5
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From:                           Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                           Thursday, June 28, 2018 6:40 AM
To:                             professorf@gmail.com
Subject:                        Fwd: You, and your cousin too



I suppose I’ll await to see if or how you respond to me.,,, (and all my countless messages and direct questions
that you have not responded to) before I ignorantly and carelessly forward any emails on....or create and send
new ones to people I should not be sending those emails to under these conditions.... because there’s still plenty
more to say and document of everything you've told me.... but I’m not feeling well at all and I also warned you
early on, and several times, that if you just were even attempting to be a decent person of your word instead of
avoiding me as well as everything that you said and not answering my responses, calls, messages etc , and
taking back all your bs friendship words and promises .... then things never would’ve got to this point in the first
place..., but suit yourself

Sent from my iPhone

Begin forwarded message:

       From: "Eva R. Chavez" <eva.r.chavez@gmail.com>
       Date: June 28, 2018 at 5:51:39 AM MDT
       To: Nick Flor <professorf@gmail.com>
       Cc: nickflor@unm.edu
       Subject: You, and your cousin too

       So, you’re telling students you’re going to make them famous? Lol (See
       attached). And then responding with “Once you’re in graduate school I’ll tell you.”

       Lmao…hmmm. Ummm… okkkkkk, if you SAY SO!

       I’m telling you, I can send these kids a Chris Record YouTube link and guaranteed
       they will learn more about ‘becoming famous’ on social media from his free trainings
       than any $1600 thrown down the drain for a ASM course, and obsessed professors
       claiming to make self-proclaimed “make-up and attention whores” famous…

       I mean, come on really??!! Give me a break Nick, you are really telling students you
       can help ‘make them famous’ and then (once they realize you cannot make them
       famous) you follow it up with , “Once you’re in graduate school I’ll tell you??!!”
       Haha! WOW!

       Lmao – I’m sure the suspense and anticipation is killing her!

       Just wait til she finds out that you (nor John Benavidez) are never going to make her
       famous, and by sharing profile pics of your face as a farm animal with caked on
       make-up otherwise, that is only liked by your instructors (who are obsessed with
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you), is definitely not anyway of becoming famous!! Probably the furthest route ever of
becoming famous!

Also, I find it wildly interesting how you claim to hate duck-lips and ripped jeans, yet
you are one of 3 people who liked and ‘acknowledge’ your little cousin’s profile pic
with a snap chat filter as a farm animal and also the same goes for her ripped jeans
pics!

LMAO NICK YOU”RE HILARIOUS!!! YOU LOVE ripped jeans, duck-lips, caked on make
queen self-proclaimed insecure make-up and “attention whores”!!! LMAO that’s
wild!!! I could NEVER in a million years bring myself to like or acknowledge a farm-
animal filter pic of ANYBODY, I do not care of they were my cousin that had a TBI or if
it were my best friend, or family member… but I am glad you and John Benavidez
(but especially YOU) feel the need to acknowledge every single BS pic or tweet
regardless of how unintelligent, ridiculous, and pointless this kid’s tweets are, that
you guys are crushing on….

Now I know why you defended yourself so awkwardly and ridiculously the first time I
brought this up when I actually had NO IDEA the extent of your obsession with this
chic!!! And also, the hypocritical nature of all the things you said about facades,
duck-lips, ripped jeans, and the fact that you claim you are "known for" NOT
responding to students hahahaha lmao – I suppose that means any student who is
not your tweeting kissing cousin named Katherine Anne Tarin!

You seriously have me LAUGHING HARD about ALL of this stuff that you said the opposite of
and about... it's actually all rather shocking too though! I am so glad I got to see your true colors
and that you basically mean the opposite of everything you said and say…. I laugh every time I
read those emails about how lame you were being, the series of excuses you gave in defending
yourself and the "sob stories," and all of it….


I seriously had no clue the extent of this all it at that point. I was at first only talking crap about
how such ridiculous tweets could be at the top of your list to acknowledge, but I literally did not
know how DEEP it all ran until yesterday when I did that search for my research paper… wildest
shit I’ve seen in a while! Like I said in all my messages, I found it highly disturbing (yet
somewhat entertaining) and I still do not understand why you adamantly claimed to be any
different from JC, WR, DK, JB, or any of those guys… can you please inform me again of why you
say you are or claim to be any different from those guys and all their immature and blatant
flirtations and behaviors with ‘current’ or ‘former students’ in their classes…. Because I sure as
heck do not see any distinct differences other than that you claimed to be my friend, you
claimed to be there for me, and all sorts of other bullshit that they never did, but that you had
the nerve and disrespect to do, and then only to take it all back! WOW, my mind is still blown
that you were so adamant about it, and also that I trusted your empty words so intently….

…..
                                                   2
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Thank you so much for all this content for my research paper thesis. I actually do not
know if I could thank you enough for that, as it is the only silver lining I see out of this
ENTIRE situation of crossing paths with you, and us meeting… I’ve literally never had
an instructor in undergraduate or graduate school give me SOOOOOOO much
content in such a short amount of time; contrary to all of his supposed words and
friendship!!! it’s wild!!!

All of your empty friendship words and facades have caused me nothing but stress
and pain as well… like disgusting amounts of stress and pain; fair worse than prior to
me meeting you and receiving all your bullshit empty words, and lies, and lies and
lies…that kept me going for a while there, when I still trusted you and believed in
you.

…

And btw – you never did tell me you cousin’s sob story, but I am taking it from the
looks of it that the sob story is that she dated a guy before she was 20-years old or so
that did not treat the ‘make-up queen’ the way she should have been treated, and
then some other girl (perhaps one did who did not value make-up over life) who the
school boy said was ‘just his friend’ then after when he likely got tired of said make-
up queen ‘attention whore persona’ decided the other girl was more than just a
friend (and likely a much better catch, partner, and lover (than your cousin) that did
not judge people’s personality’s by eyebrows or make-up or who go broke trying to
look decent until your face is ‘blended’ so much it is no longer your face anymore….,
and then the young boy likely ended up marrying the new naturally pretty ‘friend’
that did not need to cake make-up on in order to feel superior to others….… it’s
actually ironic because I am still not sure why I did it, but I expressed all my
insecurities to you and you did not give it any respect whatsoever…. But I actually do
feel bad for this girl because it’s obvious that girls that feel the need to cake on such
intensive amounts of make-up (and then brag about it as their security shield) are
typically the most insecure of all… but hey, no need for her to worry about that,
right? Because she has Professor Nick F and Professor John B there to obsess over
her, acknowledge every single social media tweet of hers, and make her feel better
about herself after experiencing such horrid “sob stories” in life! Lucky girl indeed!
<insert major eye-rolling emoji here> and what an amazing duty and role for you and
professor benavidez to take on, but mostly YOU!!! lol you literally responded to
99.9999 of all this girls ridiculousness ... it's became greatly apparent where all your
priorities have been the past few years, and also why you are so busy to uphold your
words, or the Ga-ship, the plans to work together, research, or anything else you said
that meant nothing whatsoever!


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And then, of course, to top it off, she also has anxiety, is insecure about herself,
especially without those utterly fake and artificial eye-lashes and hair-color, (and the
fact that she literally has no eye-lashes without those fake-ass gunk ones that
children are calling eye-lashes now-a-days), and that other than her two former
instructors that are obsessed with her and her highlighted face on fleek, lmao, then
nobody would be giving her attention.

And then of course, Aaron Carter (whoever the F that is, lmao) has not followed her
back yet, and she loves to brag about her drinking (of which you apparently LOVE)
and how she will someday be famous and have a career on social media all because
of Professor F and Professor Benavidez’s training!?? LMAO

NICK – that is actually not called a “sob story” AT ALL - that is called life…. well, the
very last part of the whole story with Prof F and Prof B supposedly getting the kid
famous, well that does indeed sound a bit sob-story wish (for anybody to believe
that), but I mean the part about her school girl boyfriend marrying somebody else or
her having anxiety and being insecure, lmao – NICK that is NOT a sob story! Haha. If
those are the “sob stories” that you are referring to like may you like, like like like
away and everything she does or says, than these little children have obviously not
experienced sob stories yet!!! And Wow, if these are what people are considering
“sob stories” these days -then wow, just wow.

I find it disconcerting that nobody gives a shit about me or my actual real-life deep
pain, and actual real trauma and “sob stories.” (Even you who pretended to and claimed
to, and literally PROMISED to do anything to help – again all blatant lies). Pain that supposedly
you cared about at first, but then your care faded just as quickly as you came into my life… I
truly have never understood how people could be so blatantly lame and fake, and I truly never
will. I find it heart-breaking and hurtful though

From my perspective me meeting you at a very low point in my life and you
carelessly making all these empty promises like if you were WR, and saying you
would always be there for me, I was your new bff, if I ever needed you to contact
you, that you cared, that we were going to work together, do great thing together,
publish articles, and books, etc. so on and so forth and whatever other fake and lame
promises you made within a 28-day period only to take back every last word of EVRY
SINGLE DAMN thing that you said….. from playing catch, to sending me positive vibes
and loving energy, to every last word of it – ALL BS! And all of your reasoning was so
fake and lame and you could not answer me directly or honestly through the
countless times I asked you and through the countless times I pleaded to speak with
you about it all, so that I did not have to hunch over and type you in pain, of which
you obviously did not give a shit about in the least!



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And the fact that you do not have the respect or dignity to respond or communicate
with me directly, and you keep making up these stupid lame excuses and claiming
you are too busy to be a person of your word, all while you have the time to flirt on
twitter with your kid cousin and a routinely and regular basis and ‘acknowledge’ and
comment on literally the stupidest shit I have EVER read in my ENTIRE life… and then
after you tell me you basically acknowledge all the stupidest crap in the world on
twitter whether you like it or not, and that is why you felt the need to acknowledge
every single one of your cousin’s tweets for over going on 2-years, YET I (your
supposed friend) sends you stuff about articles, or real-true tweets about suicide and
you blatant ignore ALL of IT!!! obviously her immature drinking and make-up tweets
take higher precedence, it obvious.

And the last time we did speak was on May 31stin the middle of the night only for me
to help YOU out and talk you through your ‘hot sweat’ and make you feel better
about your presentation, but do you give a sh*t to call me or contact me when you
said you would – OF COURSE NOT! Because it is not selfishly convenient for you or
somehow benefitting you, then your supposed friendship apparently disappears
right down the drain…. you still never answered me on wtf type of friend does that
anyways? But apparently is a false fake friend who never meant a damn word of
what he said in the first place!!!

I literally want to cry just typing you this with how much you truly hurt me and how
terrible i now feel… I wish we could go back in time and that I would’ve never
magically got directed to RG’s office that day at 11:11 whenever I was not supposed
to meet him in the first place, and he was not planning to be on campus… I truly wish
I could go back and have made a different decision that day…… because you will
NEVER truly know what your FALSE friendship has done to me, and the fact that I
trusted you, especially when I told you how extremely hard it was for me to trust…. I
actually am crying as I type this because I find you extremely rude, hurtful and
dishonest…. and it hurts my feelings so bad that I ever trusted you with anything in
the first place; with my words, with my friendship, my insecurities, my trust, my
heart, everything…. but mostly my friendship…. I feel like you stabbed me in the back
and tricked me harder than any false friend ever has in my life, and you hurt me far
more than Reilly White ever did because Reilly never told me the half of the bullshit
that you did, and he never lied to me either like you did…. I actually know more
about Reilly White than you will ever know, which is also why and how I know that
he did not blatantly lie to me as you did and have!

What hurts me even more is that you said you would NEVER hurt me in this lifetime
and that is literally the ONLY thing you did for me, or to me, in this lifetime - is hurt
me more than anybody ever has!!!
…..

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Let’s just be honest Nick, I could totally commit suicide today and you would not give
a shit at all…. You would continue on with your supposed research, sharing Donald
Trump’s tweets (like if that means anything to anybody by you doing that) and your
lame blatant public rampant twitter flirtations with your crush on our cousin and
everything else would continue on as normal, and all the research I could have
helped you with, or editing I could’ve done, or work we could’ve done together all
down the drain….all your BS words – down the drain… all your promises – all for
naught and only to intentionally hurt me.

To me, that is much more of a sob story then your little cousin and her school girl
relationship not working out for her the way she would’ve liked….


Especially the fact that you and your empty words and broken promises have
contributed to me feeling worse than I ever have in my life, not able to trust the BS
words that anybody ever tells me again, and the fact that you truly never cared,
hurts me more than you will ever know….

I wish there was a way I could explain to you how you have made me feel, but
without me killing myself in the name of you and all your lies, empty words, broken
promises, excuses and just downright immaturity…. There are really no words to
express what you did and how you made me feel other than me doing that…. But I
know you would not give a shit anyways if I did do that (despite anything you told me
previously) and would continue on with your little world, more facades, and likely
more empty words and lots more flirtation with the school girl that you are blatantly
obsessed with ……

You’re the biggest sob story of my life, and I truly have never had ANYBODY ever tell
me so many bullshit fake empty words in such a short amount of time. EVER!!EVER


I find you highly rude and extremely hurtful…. Seemingly heartless even… and very
selfish!

Thanks for hurting me more than anybody ever has, truly. That is the way I will
always think of and remember you….

YOU being extremely hurtful with all your empty words, as well as your BLATANT and
non-stop flirting with a young school on twitter who you claimed to be your cousin
from embarrassment of your blatant flirtations and self-realizations that you can
deny it all you want but it’s blatantly obvious…. I literally have NEVER seen anything
like that before in my life! Not with WR, not with Jim Cormier, not even with Rob Del
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Campo or John Benavidez… NEVER… only you with YOU! Those tweets are what I am
referring to…. I’ve have not observed anything like it before, especially so blatant …
and that’s why I find it all so highly disturbing…. Along with all the things you told me
that were basically meaningless and the opposite of what you really meant.

Sent from my iPhone




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From:                            Eva R. Chavez <eva.r.chavez@gmail.com>
Sent:                            Thursday, June 28, 2018 3:46 PM
To:                              Nick Vincent Flor
Subject:                         Fwd: You, and your cousin too



Just want to make sure that you received this, that you understand the importance of it, as well as the fact that I
do indeed expect a response from you. If you do not respond I’ll either forward it on or written it for Mary
Margaret Rogers, Kathryn Jacobson, Craig White and/or whoever else needs to address it since you are not
addressing it responding to any of it, and it’s extremely important to me. The fact that you are ignoring the
importance of it and how much it means also indicates that you could care less....

Only focused on yourself I suppose.... which is odd why you not care about any of this since it affects you
directly.

Sent from my iPhone

Begin forwarded message:

       From: "Eva R. Chavez" <eva.r.chavez@gmail.com>
       Date: June 28, 2018 at 5:51:39 AM MDT
       To: Nick Flor <professorf@gmail.com>
       Cc: nickflor@unm.edu
       Subject: You, and your cousin too

       So, you’re telling students you’re going to make them famous? Lol (See attached).
       And then responding with “Once you’re in graduate school I’ll tell you.”
       Lmao…hmmm. Ummm… okkkkkk, if you SAY SO!
       I’m telling you, I can send these kids a Chris Record YouTube link and guaranteed
       they will learn more about ‘becoming famous’ on social media from his free trainings
       than any $1600 thrown down the drain for a ASM course, and obsessed professors
       claiming to make self-proclaimed “make-up and attention whores” famous…
       I mean, come on really??!! Give me a break Nick, you are really telling students you
       can help ‘make them famous’ and then (once they realize you cannot make them
       famous) you follow it up with , “Once you’re in graduate school I’ll tell you??!!”
       Haha! WOW!
       Lmao – I’m sure the suspense and anticipation is killing her!
       Just wait til she finds out that you (nor John Benavidez) are never going to make her
       famous, and by sharing profile pics of your face as a farm animal with caked on
       make-up otherwise, that is only liked by your instructors (who are obsessed with
       you), is definitely not anyway of becoming famous!! Probably the furthest route ever of
       becoming famous!
       Also, I find it wildly interesting how you claim to hate duck-lips and ripped jeans, yet
       you are one of 3 people who liked and ‘acknowledge’ your little cousin’s profile pic

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From:                           Eva Chavez
Sent:                           Friday, June 29, 2018 6:33 AM
To:                             Nick Vincent Flor
Subject:                        Fw: The ”Cool People” Club
Attachments:                    Cool People Club.pdf



Professor B s,

I know you may think i am being irrational, which there may be a bit of truth there....but i have valid reasons
for my irrationalities.... what are your valid reasons?

the fact of the matter is that you are being FAR more irrational than i am being, by simply NOT responding to
me, and not upholding any of your words.
and that is 100% a fact.

Honestly, even if you had been somewhat of a decent friend and person of your word, things would have
never got to this point.

and in reality, next week i will look back on this all and laugh and think "wow, that was intense, and perhaps
irrational too," or maybe even "i should have never sent those intimate messages nick sent me to MMR or KJ,
or even CW" or to any of those other ladies just to smile about what their (as well as NIck's reaction must have
been)- but when i am calm, cool, and collected and thinking those thoughts.(and humorously laughing in hind
sight)... and you are wondering why i caused you so much stress and trouble and why i did this all.... I am
certain that you will not be laughing next week, when i am... and when all the intensity has died down.


You obviously have no clue how timing is of the essence on this one, lol. and you definitely do not know
anything about me it all by the way poi are reacting and non-responding.... do you think that is going to make
me stop? LOL, no, in fact it does the EXACT opposite (in case you have not noticed, it encourages me even
more to make everybody aware that you are not a person of your word, and or not loyal, true, genuine,
honest, or authentic).

when i cause all sorts of uneccesary drama and trouble for you and you want to try and address then or
"eventually" i will seriously be like, "dude cash me outside how bout dat!"

nah, but really, i will be like "fool, i told you a thousand times... and you did not listen!!"
i'll be like "you must've had wax in your ears and are going blind in your eyes, because i could not be more
clear with you on what all of this would lead to once it became apparent that you were truly never my friend
and were filled with nothing but BS lies.

and then YOUR reputation is going to be the one on the line, and possibly eventually even your job, all
because you did not want to uphold a friendship with me nor me a person of your word.... i find that highly
fascinating.... nobody cares about my reputation, everybody is already filled with falsities in their mind about
anything that has to do with me, what i am about, and what i stand for (including you), I represent and stand
for honesty, fairness, truth, and being a person of my word... and i do not care what ANYBODY thinks... i will
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always uphold to those values and be true to them... all are values of which you obviously do not care about
or uphold, so i can therefore give a shit if you care about how kind, thoughtful and intelligent i actually am....

your blatant avoidance of me after all your empty words and broken promises make it more clear than ever
that you clearly do not understand or know a damn thing about me....

you're like digging yourself your own unnecessary issues by your lack of integrity and non-response....

because once i am calm, cool, and collected next week, i will not be able to take anything back that i do this
week, and i truly do no think you will be happy about any of it (especially when you could have prevented it all
so easily)...


and the most hilarious part of all of this is that all you had to do was get in touch with me and chat with me
like a real man and person (and not the child that you are acting like by avoiding me) and literally none of this
would have happened and i would have continued respecting and admiring you, as i had when we first met,
and when i thought you were a decent person, of your word.

I find it intriguing how you want to throw all of that down the drain all for the sake of your ego; condescending
and omniscient nature, as well as your pride.

Like i said Nick, suit yourself.... this is all going to affect you far more than it affects me.
i'm used to people being ridiculous... and just did not expect all this blatant bs WRDKJB ridiculous from
someone who i trusted, cared about, and considered a friend.

I am just merely a student struggling to live my life each day and not kill myself or commit suicide, but the lies,
empty words, broken promises and condescending nature of instructors who claim to be my friend and who
are supposed to be grown men and legitimate adult mentors and professionals.... is not helping my well-being
or mental state of affairs in the least.....

i find it completely ignorant and careless of you to behave in these manners, when literally ALL of this could
have been prevented... and you still will not respond to me... so you must not believe me when i say none of it
matters to be and when i get in these modes i could care less about how any of this will affect you because it's
obvious you never have a damn shit about me or cared about me in any type of way.... even as an instructor,
person or friend....

i even specifically told you, verbatim, on several occasions:

"if you're my friend, truly - then you can know you can TRUST me 100%. that i will never intentionally hurt or attack
you, frustrate you etc.

However, on the other hand, if you are not my friend, that is a different story and i can 100% not make those
promises...."

You claimed to have understood, but you obviously did not because you have NEVER demonstrated any type
of friendship to me, and when i directly asked you about when you have amongst several other things - of
course, you did not have the decency nor dignity to respond (as per the usual).



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as far as I am concerned, you were NEVER a friend to me, and have NEVER upheld a single DAMN word of
yours....

I am not breaking any promises whatsoever... i told you if you were i friend to me then you would know that
you could trust me with your life basically - 100%.
i also adamantly declared to you "However, on the other hand, if you are not my friend, that is a different story and i
can 100% not make those promises...."



I am therefore not breaking any promises because you were never a friend to me. the EXACT OPPOSITE of a
FRIEND actually, you were the anti-friend coming in disguise as a fraud facade.... and i feel for it too! and i fell
for it hard.... and i greatly disrespect you because of it all as well as your definite lack of respect for your
supposed friends!!!


From: Eva R. Chavez
Sent: Friday, June 29, 2018 5:58 AM
To: Nick Flor
Cc: Nick Vincent Flor; Eva Chavez
Subject: The ”Cool People” Club
As promised, I have revived the below messages from the grave, since you never read nor acknowledged ANY of it the
first few times I sent it all, and not even a single response on any of it (likely because you do not know how to respond
about all your false truths, empty words, and BS lies).
But since I am a person of my word (unlike you) and since I promised to revive this message from the dead and continue
to send it until you actually acknowledge it.
Plus, I know this is part of the reason why you started shifting away from me and backing out of all your words in the
first place; because I was able to see right through (and call you out on) all your BULLSHIT lies and denial - early on…. and
you still continued to lie through your freaking teeth about it all, and continued to remain in denial.
Why can’t you just acknowledge what I am saying to you, and man-up and admit to the fact that you were being
pathetic and are indeed not a man of your word, whatsoever. And lmao, if you would have just been a decent person of
your word, and even sometime of a real friend…none of this would have to this point, yet apparently, you cannot even
demonstrate any sort of honest friendship – WHATSOEVER!
So, below is 10-pages of old message that you literally ignored and did not respond to AT ALL, with new commentary
added on in Purple!
May 28th, 2018(via “Stocking” NVF; #Unfollow, LolnotLol”)
“The Cool People” Club has OFFICIALLY lost its novelty and value...

What, are you WR now all of a sudden or something?? Lol

                . I guess his wife is okay with all of that as long as they are on his ‘cool ppl’ list...



You might as well just add a bunch of ‘duck lip’ photos as your cover photo on TWTR, and add WR to ‘the cool ppl’ list
too, while you’re at it....

The two of you can start a giddy undergraduate schoolgirl club, become make-up affiliates, and have a photo booth for
duck lip photos on site!
I can picture it now! #so clearly


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And JB will likely want in on it too!
Ok, there’s my writing about JB, we can check it off the checklist now, along with the previous commentary I’ve made
about him here and there
....

Hey, and while you guys are at it - why don’t you get Gillespie in on the mix too, god forbid he gets left out on the
undergraduate makeup affiliate duck face extravaganza!

Pffftt…
#ASM #COOLPEOPLECLUBS
....
Also, this girl always popping up all over the place lmao and was ALWAYS on WR ‘COOL PEEPS’ ‘duck face’ lists....
You should seek her out, follow her on twitter, and add her to the cool ppl... you and WR can share lists:
I find this highly hilarious (and entertaining) that you do not take any of my other words of wisdom or advice, but
when it comes to duck-lipped, cake-face ‘make-up whores’ you sure as hell do not hesitate to take my advice, seek
out these chics, and follow them!!! Haha LMAO NICK YOU ARE SO RIDICULOUS! It totally tops the charts!

Cool ppl lists that is lol, of course!
          . #barf #theNewCoolPPL



Don’t forget to recruit JC the clown as well, I’m sure he would definitely come out of the woodworks for this project!
Ok, there’s my writing about JC as well ✅
Done.
…..
my response to your lame ass excuses (of much I will compile later):
“Haha. Yeah right that ridiculous girl has more tweets than Donald J Trump! And you love her school girl tweets lol.
Anybody that finds someone cool and intriguing that posts tweets about how much money they spend on make-up and
thanking their boyfriend’s ex-girlfriend for playing her role with all the makeup they more simply CANNOT be on my cool
people list (even though I don’t have a cool ppl list, because there is not many) ....
JC clown club perhaps but not any cool clubs”
…
And then that girl says stuff like: “If you’re gonna try and play games with a girl over social media don’t do it to the girl
who literally got her degree to get a job in social media and knows the ins and outs of all social media platforms
S/o to @ProfBenavidez for helping us swerve guys”
A couple tweets apart from: “Let your girl know where is hiring"
Lol it’s like “ok sis, sorry bout you having to ‘swerve’ all them guys with your ‘drop-dead gorgeous’ painted on makeup
Facadery (of that’s what ppl are calling it nowadays) .... but how about let’s do some maturing first.” Haha. Some
people’s children ....
Lmao this are totally WR’s types of undergrads that he’d follow around like a puppy dog.... no joke, and giggle at every
pathetic and ridiculous thing they or ‘she’. I can do an impression of him. I found it highly disgusting and annoying, didn’t
go to over half of his classes and 16-pages of the 26-page instructor evaluation (that o never submitted) is likely about
that in and of itself.... his pathetic immaturity and ‘pretty’ undergraduate coeds lol - if that’s what one wants to call
them....
Anyways he joined the JB, JC, RD club with all the rest of those pathetic and disgusting fools that have to flirt with
undergraduates and hand out A+’s to them in order to make them feel good about themselves and their lives complete
and in attempts to get unassuming students to like them and buy them expensive damn shoes....
Trust me I can write a dossier on this topic alone.... haha, just didn’t think I would be including your cool people in my
research lol. Yes, I indeed will write this dossier; and you and your lies and excuses, and hypocrisy will be front and
center of the enter paper, no doubt.

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...or how Dk can respond to one of WR’s duck lipped makeup caked dream girls about something utterly stupid and
unimportant tweets through twitter, but he cannot respond to my important emails, just like WR or the rest of those
fools!!! I still think it is hilarious that you felt the need to follow that bimbo cake-face Sarah McPhee after me telling
you she was one of WR’s and DK’s cake-faced girls! LMAO about how you could not resist! YOU’RE SO RIDICULOUS!!
#ASM at its finest!!!
What a bunch of immature clowns and we wonder why NM is at the bottom of the barrel of education, state-
wide...FreaKIn joke! Bunch of F ing giddy clowns roaming ASM!!!
….
Oh, and I definitely should not say *Unassuming students because I’m all those cases those students knew EXACTLY
what they were doing......!!!!
Especially in the JB, RD, JC, WR types of cases .... I even have a recent example of this (several) with all these undergrads
that were up in arms about JC being gone...,
....
hEY - MAYBE that’s why the ‘make-up girl’ bus videos was one of your faves!!! Haha.
It was one of your ‘peeps!’
LOL – did not even remember sending this comment to you before, I thought yesterday to the UNM email was the
first time I had sent it, but yeah, lo and behold, now we both know why the “Make-up Girl” video was your favorite.
….
I’m just sooo sick of seeing these immature men flirting with undergraduate students for the past 18+ years of my life...,
it’s like “ok ok we get it, you’re ridiculous!” LMAO little did I know at this time on May 28thhow much that YOU ARE
one of “these immature men flirting with undergraduate students for the past 18+ years of my life.”
Not *you’re as in you, but you in the general sense of ASM and probably academia all the same....
no that should have totally meant “*You’re as in YOU,” because you are definitely one of the most ridiculous people I
have met, no doubt!
I mean whether it’s John Benavidez, or Rob Del Campo, Jim Cormier, Reilly White - you name it! This dudes for whatever
reasons cannot help themselves to like these ridiculous undergraduate coeds and follow them around like “puppy dogs”
giggling and liking everything they say and do....
LMAO and little did I know that NICK VINCENT FLOR was at the ABSOLUTLE TOP OF THE LIST OF THESE DISGUSTING
ASS IMMATURE MEN who follow young girls around like puppy dogs!! #DISGUSTING!
#NICKSTrueColors , and you are 99% Reilly White that’s for DAMN sure! Lmao, I find it funny how you tried to deny all
of this only for it to come to light. WOW< you are actually the KING of giggling and acknowledging everything that
immature and ridiculous kid did and posted.
I’ve seen it so much I’m utterly sick and tired of it....
FAR MORE TIRED OF IT THAN YOU WILL EVER KNOW!
Funny thing is, I’ve never experienced It myself though..., only observed it... even when I was an undergrad..., these fools
would treat me a certain way (rudely and the exact posits hardly even ever acknowledging my work or my presence),
and then go laugh and giggle and follow these kids around giving them A+’s for literally no reasons at all!!! I TRULY Did
not know that I would be BLATANTLY observing this with my supposed new friend, who was obviously FULL OF
NOTHING BUY SHIT AND LIES!!!
So yeah perhaps I just have a ‘sad enough back story’ or maybe I’m just not quite as naive, ridiculous, giggly and flirting
as these kids.... but for some reason I have received the exact opposite response from the clowns (gladly).... but it’s
ridiculous to observe for two decades straight...
AND NOW I am receiving the exact opposite from this particular clown named Nick Vincent FLOR!!!
Trust me on this I have so many stories it would you barf.
And apparently, it would not make you barf, because your tweets in and of themselves to Katherine Anne Tarin itself,
literally made me want to BARF… I was so disgusting by your blatant lies and denial!
Not kidding about the dossier, tome, novel etc... and I’m totally not kidding about this, but for some reasons you think I
am!
I didn’t know that was the point of academia!!! But apparently so!!
IT’S LITERALLY DISGUSTING I HONESTLY DO NOT KNOW HOW YOU LIVE WITH YOURSELF AND YOUR LIES!!!!
May 30th, 2018(via “JC.Files”)


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Anyways, so those little girls, (especially the one in particular), reminded me of a blonder version of your little bimbo
twitter make-up queen “COUSIN” who unfortunately has it so rough that she has to ‘swerve’ ALL the guys on social
media.
I will repeat the quote again below since you blatantly ignored how it was BY FAR the most ridiculous thing I forced
myself to read on TWITTER in 2018! 100%
“If you’re gonna try and play games with a girl over social media don’t do it to the girl who literally got her degree to get
a job in social media and knows the ins and outs of all social media platforms… s/o to @ProBenavidez for helping swerve
the guys”
a couple messages from “Let your girl know where is hiring”
…
and then to see the way you and JB (both) respond to her, her tweets, and her comments… and like all her stupid ass
shit … it’s like ewwww. And then I was like ewwwwww, ‘totally WR status’ types of cool peeps up in here…. #BARF
And don’t get me wrong, I know I said let’s forget that whole convo ever happened, but trust me – I am NOT done with
that ONE yet!!!! And probably won’t be for awhile…
Lmao… and it will come back from the dead; no doubt, because I am totally convinced that you did not read the series of
emails I sent you about that and that all those stupid-ass screen shots blocked all my VERY IMPORTANT content and that
you were TOO busy defending yourself attempting that you were not ‘flirting’ to even pay attention to what I was
actually saying!!!
Yes, that was truly the case, you did not read anything and were TOO DMAN BUSY defending attempting to defend
yourself that you were not ‘flirting’ when that is utter BS because it is soooooo damn ridiculously obviously that you
were flirting with that kid for going on at least 2-years.
I was really thrown off by the way you responded…
….
You went from first saying, “…over the years I’ve changed who the cool people are that I follow and I never take them
off. Definitely many of them are not cool.”
… followed immediately by “It used to be students and faculty. I definitely don’t interact with those people though and
they hardly tweet—just a way for me to ‘snoop’ on what they were doing back in the day.”
…
and then when I called you out and was like, “haha, yeah right that ridiculous girl has more tweets than Donald J Trump!
And you love her school girl tweets!”
…
Then your excuses start changing to, “Oh, that’s one of my students. She posts silly things that I just ‘like’ because I know
her sad back story.”
….
And then when I point out that duh, it obviously was one of your student’s and that was my entire point…and how
ridiculous the tweets and flirting is lol….
And then after I tell you how I totally thought I had made my way to WR’s page, you tell me that this ridiculous kid is
BTW ‘a graduate student,’ haha.
…
and then when I say I thought makes it even more ridiculous and I gave her maybe 17 and no older than 21 and god help
us all and about our education system etc. and intelligence level of ‘graduate students’ at UNM, based off her intelligent
tweets (or lack thereof) ….
….
AND THEN, you even had the nerve to lie ‘joke’ to me and tell me this ridiculous bimbo of a kid is your COUSIN, and
make me FEEL BAD, and think she has a traumatic brain injury and APOLOGIZE for the things I said, which elicited
absolutely NO APOLOGY!!!
…
And then when you started sending me those silly screenshots STILL defending yourself telling me why you like all the
stupid tweets that you do not ‘agree with,’ but just to flatter young co-eds, show you care, and acknowledge to current
and former students that you are ‘snooping’ on their tweets, also that you don’t like when people don’t read your
tweets, all WHILE you don’t like or read any of MINE!!! Haha…. #TOTALWRMOVE !!! GEE, THANKS BUDDY!!!!
#MuchAppreciated

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….
It’s all good…. It was just all intriguing and eye-opening to me…. I was like “WHAAA?? This is the dude I’m all sprung on”
and then it made me feel confused, as did your thread and series of excuses and lies even, there within!
Dude seriously though, I beg of you - please do not be a JC, JB, or RD!!!I don’t care how pretty, or how much cleavage,
or how petty and ridiculous these (or even how smart or intelligent) these undergraduates, or supposedly in this case
‘the graduate’ students are, or how SAD their supposed bull-shit sob story is!!! YOU ARE TOTALLY A JC, JB, WR, and RD
and I am highly disgusted that I somehow fell for you and all your BLATANT LIES!!!! #DISGUSTING
Because if you read any of my messages in that thread you would CLEARLY know that I take MAJOR ISSUE with these
types of behaviors and it completely disgusts me… #COMPLETELYDISGUSTING
….
AND it has nothing to do with my own ‘insecurities’ either, that I wrote you about. Completely unrelated… and does not
have to do with jealousy either…. More so annoyance than anything, but definitely not jealousy….
I have actually only felt the emotion of jealously about 3 times in my entire life, and I felt it clearly, it was never towards
a female for any reasons about what they have or how they look.
When I used to tell Reilly about how blatantly ridiculous and stupid he was acting around these girls, I think he thought I
was jealous… and it’s like “No, dude… I’m trying to help you. This has nothing to do with me. You look like and are acting
like a giddy idiot, why?” ok, I did not say that directly, but it’s like “no, I totally would never be jealous of any student
who flirts with their professors to get a decent grade because they are not bright enough to do it with their intelligence.”
Nor definitely NOT of anybody who proudly posts on twitter about how much money she spends on make-up or
thanking her little immature boyfriend and his petty ex for loving make-up so much and playing her role so that she does
not have to waste ALL that time explaining to her boyfriend how important it is to her….
I will NEVER understand people who act or think in these ways. NEVER.
It’s like pfffft. That’s not jealousy… that’s matter of fact, truthful and blunt observations. And then to see the way JB
interacts with these kids, and to picture you as his co-teacher…. Idk, all those types of behaviors give me weird feelings
and I find it all totally annoying, petty and disgusting…. (based on my own perceptions and past experiences) ….
It’s like no, I would rather not associate myself, thx kindly.
….
I seriously wanted to follow Reilly White around with a mirror when I had him in class so I could reflect back to him how
stupid and ridiculous he looked when he was flirting with this bimbo idiotic non-intelligent semi-decent looking
ridiculous students… it’s like “can you not see and feel yourself acting like a giddy idiot?” Really though, can people not
feel themselves acting a certain way and doing and saying ridiculous things?? Hmm. Perplexing…
LMAO I bet you had several students in your class that wanted to follow you and John Benavidez around with a mirror
and reflect back to you how pathetical and ridiculous you guys appear following around these children like puppy
dogs and flirting with the stupidest tweets of ALL TIME! I am 100% certain of this. I even find it disgusting in browsing
through your cousin’s tweets and literally every LAME ASS ACKNOWLEDGMENT RESPONSE OF YOURS, I think they are
completely immature and disturbing.
…..
Anyways, I will never understand that…
And like I said, I NEVER once flirted with ANY of my college professors I had for a class, not in undergraduate or graduate
school alike….and, not to mention, I had to work my ass off for less than the grades I actually should have received and
earned, each time… While all those other stupid-ass ridiculous dim-witted pretty bitches get treated like royalty by these
immature bastards!!
….
< and all those same professors who “like” other people’s stuff just for the sake of ridiculousness and sad sob stories all
would give me the hardest time, and would not even acknowledge my presence…> It’s like really, “F-OFF!!! Not you, but
just what I have been blatantly observing right in front of my face (not covertly) for nearly 2-decades now…. NOT Sure
why I said “NOT YOU” because NICK VINCENT FLOR is actually the KING of this!
…
Like I said, not sure if I was just not ridiculous enough, not cute or pretty enough, or just too smart and intimidating for
those fools…. But I will definitely resend you that thread in its entirety again and again and again until you’ve proved to
me that you actually read it, instead of just disregarding EVERYTHING I spent all that time writing and trying to explain,
only to have you defending yourself about something so silly and ridiculous over and over again in very silly and strange

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ways, lol. This is the email where I am resending you this thread in its entirety (like I said I was going to and promised I
would, until you prove you actually read it instead of defending yourself about something over and over again in
really ridiculous and strange ways that made you come off as HIGHLY immature and pathetic! 100%
Also, I will write about JB on another email chain but just know - he may have not told me I had small thumbs nor even
gave me that much attention in-and-of itself … but in my mind, he is nothing but a Cormier character and that is why he
has his die-hards, I think he’s a bit disgusting and not attractive whatsoever.
Him and I had absolutely no rapport, he constantly smelled like cigarettes (which I despise and highly disgusts me),
talked and smelled of alcohol often, and was just overall not very nice, kind, or appealing in anyways whatsoever….
I also do not like to associate you with him … nor any of the little girls he flirts with (undergraduate or graduate) in
person, at parties, or through any form of social media whatsoever, or another other platform where his stupid-ass
students supposedly have to ‘swerve’ the guys and then have that CREEPER OL MAN to THANK!!! UTTER BULLSHIT!!!!
100%!!!! I guess she has both CREEPER RIDICULOUS OLD MEN TO THANK – NICK VINCENT FLOR and JOHN BENAVIDEZ!
DEAR LORD, please watch over us and help us ALL!
….
I have not seen him in 12-years, but unless he has changed, I found him to be utterly disrespectful, nothing to look at,
and extremely condescending and unapproachable. I’ve racked my brain for a single nice comment to say about the guy
and I cannot think of any, other than me telling you that I would give him a chance if YOU somehow thought highly of
him for some god-awful reasons unknown….
…
I also am quite certain it was his despicable face and energy that kept us from meeting in the first place, and I do not like
to associate yours and his energies together.
BTW – fyi YOU 111% belong in the Cormier Files…. Little did I know how much you belong there, even much more so
than others – do you belong in the JIM CORMIER files!!
June 9th, 2018(via “Disaster of a Day”)
I really am flattered by the fact that you think I am “special,”
But, then again, I also resort back to your ‘cool people’ list and I looked at your cousin’s page you were INDEED quite
extremely responsive to that particular ‘student’ for QUITE an extensive period of time, ‘acknowledging’ just about every
single one of her tweets and literally ‘responding’ to the most ridiculous tweets and I had ever read in quite a long time.
Like literally for months you would respond to every single one of her tweets and they were all 100% braindead, childish,
garbage school girl things (that not even her school girl friends would like, only you). I would not believe you would even
‘acknowledge’ if someone paid you to, unless for some reasons that ‘cool girl’ student was also “special” to you, so as I
mentioned before, it kind of takes/took away from the “special” aspect and from the you having a “reputation for NOT
responding to students” commentary. If you know what I mean, and as I have already mentioned previously.
Also, you never told me what the whole big sob story is… did ‘Aaron Carter’ not ask her out, or did her previously bf
break up with her because she valued make-up more than life and personalities, or was it when he realized all that gunk
washed off at nights? Lol
June 28th, 2018(via “You, and your cousin too” email)
And btw – you never did tell me you cousin’s sob story, but I am taking it from the looks of it that the sob story is that
she dated a guy before she was 20-years old or so that did not treat the ‘make-up queen’ the way she should have been
treated, and then some other girl (perhaps one did who did not value make-up over life) who the school boy said was
‘just his friend’ then after when he likely got tired of said make-up queen ‘attention whore persona’ decided the other
girl was more than just a friend (and likely a much better catch, partner, and lover (than your cousin) that did not judge
people’s personality’s by eyebrows or make-up or who go broke trying to look decent until your face is ‘blended’ so
much it is no longer your face anymore…., and then the young boy likely ended up marrying the new naturally pretty
‘friend’ that did not need to cake make-up on in order to feel superior to others….…
it’s actually ironic because I am still not sure why I did it, but I expressed all my insecurities to you and you did not give it
any respect whatsoever…. But I actually do feel bad for this girl because it’s obvious that girls that feel the need to cake
on such intensive amounts of make-up (and then brag about it as their security shield) are typically the most insecure of
all… but hey, no need for her to worry about that, right? Because she has Professor Nick F and Professor John B there to
obsess over her, acknowledge every single social media tweet of hers, and make her feel better about herself after
experiencing such horrid “sob stories” in life! Lucky girl indeed! and what an amazing duty and role for you and
professor Benavidez to take on, but mostly YOU!!! lol you literally responded to 99.9999 of all this girl’s ridiculousness ...

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it's became greatly apparent where all your priorities have been the past few years, and also why you are so busy to
uphold your words, or the Ga-ship, the plans to work together, research, or anything else you said that meant nothing
whatsoever!
And then, of course, to top it off, she also has anxiety, is insecure about herself, especially without those utterly fake and
artificial eye-lashes and hair-color, (and the fact that she literally has no eye-lashes without those fake-ass gunk ones
that children are calling eye-lashes now-a-days), and that other than her two former instructors that are obsessed with
her and her highlighted face on fleek, lmao, then nobody would be giving her attention.
And then of course, Aaron Carter (whoever the F that is, lmao) has not followed her back yet, and she loves to brag
about her drinking (of which you apparently LOVE) and how she will someday be famous and have a career on social
media all because of Professor F and Professor Benavidez’s training!?? LMAO
NICK – that is actually not called a “sob story” AT ALL - that is called life…. well, the very last part of the whole story with
Prof F and Prof B supposedly getting the kid famous, well that does indeed sound a bit sob-story wish (for anybody to
believe that), but I mean the part about her school girl boyfriend marrying somebody else or her having anxiety and
being insecure, lmao – NICK that is NOT a sob story! Haha. If those are the “sob stories” that you are referring to like
may you like, like like like away and everything she does or says, then these little children have obviously not
experienced sob stories yet!!! And Wow, if these are what people are considering “sob stories” these days -then wow,
just wow.
I find it disconcerting that nobody gives a shit about me or my actual real-life deep pain, and actual real trauma and “sob
stories.” (Even you who pretended to and claimed to, and literally PROMISED to do anything to help – again all blatant
lies). Pain that supposedly you cared about at first, but then your care faded just as quickly as you came into my life… I
truly have never understood how people could be so blatantly lame and fake, and I truly never will. I find it heart-
breaking and hurtful though
…..
Even if I was still somewhat interested in you (which I am not because of what you have revealed to me), I would not
even be able to respect you, simply because of the way you lie, take back all your words, and have blatant crushes (of
which you are in denial about) on people that I would NEVER respect if my life depended on it. Truly.
NICKS TRUE COLORS HAVE SHOWN FORTH…
I also find it funny how accurate all of this was even before I knew the truth of it all, as well as your childish and
immature DENIAL of it….




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